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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

ESTATE OF KE ZHENGGUANG,

                                      Petitioner,

                  —against—
                                                      8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                    Respondent.



ESTATE OF KE ZHENGGUANG,

                                      Petitioner,

                  —against—

YU NAIFEN STEPHANY                                    8:20-cv-2260-PWG
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                    Respondent.


                             DECLARATION OF STEPHANY YU

       1.      I am the respondent in the above consolidated cases, and submit this declaration

in support of my motion for the Court to adopt my proposed form of judgment, instead of the

proposal from the Petitioner (the “Estate”).

       2.      Unless indicated otherwise, the statements in this declaration are based on my

personal knowledge, and the exhibits are true copies of the originals. The exhibits that we have

had translated into English contain the English translation first, followed by a certification from

the translator, and then followed by the original Chinese language document.
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Introduction

       3.      In these consolidated cases, the Estate seeks to enforce various rulings from an

arbitration proceeding in Hong Kong concerning the breakup of a real estate partnership in

China. The tribunal directed the parties to carry out certain corporate and real estate transactions

that were first set forth in a contract from 2010 (the “2010 Agreement”) by which my partners

and I set out how we were to separate our interests. While I do not believe the award should be

enforced here in the United States (and, in fact, have been pursuing legal proceedings in China to

advance the transactions required by the award), I recognize and respect that the Court has ruled

that the tribunal’s decisions are enforceable here.

       4.      As I understand it, the question now before the Court concerns the proper form of

the judgment, so that we can complete this case and appeal. My lawyers have prepared one form

of judgment (with my consultation and approval) (Ex. 1), and they have provided me with the

competing proposal from the Estate (Ex. 2). The most significant difference concerns interest on

a payment that is referred to as “Order 8” in the arbitral award. In summary, once various

corporate and real estate transactions are completed, the respondents in the arbitration (including

me) must make a final payment to the two claimants (one of whom is the petitioner here, the

Estate) in Hong Kong Dollars of the equivalent of RMB 150 million, subject to certain offsets.

       5.      The amount that would be due to the Estate under Order 8 is approximately $10

million U.S. Dollars, and the Estate is seeking to impose on me the obligation to pay interest at

6% on that amount from the day the arbitration award was issued in February 2018 forward

(approximately $1,700 per day). This is the approximately $1.8 million the Estate is seeking in

¶ 4(c) of its proposed judgment.

       6.      The Estate’s request is inconsistent with the tribunal’s rulings, which awarded

only 36 months of pre-award interest, and no post-award interest. In addition, it is inconceivable
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that the tribunal would have decided to impose indefinite interest on the respondents because the

tribunal was not asked to decide, and did not decide, who has been responsible for the delay in

fulfilling the conditions to the Order 8 payment over the past two-and-one-half years. Nor would

the tribunal have a basis to assume that any future delay would be attributable to the respondents.

As I will detail below, the delay has been caused by the Estate, which has been stalling and

playing games for years, in an apparent effort to gain a tactical advantage in how the corporate

transactions are undertaken, in order to shift certain tax burdens to the respondents.

       7.      In contrast to the Estate’s stalling, I am eager to carry out the tribunal’s rulings,

and finally put all dealings with my former business partners in the past. These are not just

words. I have gone to great lengths to carry out the 2010 Agreement and the arbitral award. Even

before the 2010 Agreement was signed, I transferred to the claimants (through my companies)

control over a highly valuable subsidiary, referred to as Siji Huacheng or “SJHC,” and also gave

them control over certain commercial properties referred to as the Jiuting Shops. The claimants

have been able to profit from these transfers for years, whereas our side (my companies and my

sisters) have not received what we were supposed to receive in return under the 2010 Agreement.

We have not received, for example, two villas that we were supposed to receive in exchange for

the Jiuting Shops. And the claimants were supposed to complete the formal ownership transfer of

SJHC, so that my sisters and I would not retain the responsibility or liability for SJHC, a

company that for the past decade has been completely run by the claimants.

       8.      One reason these steps have not been completed is that the Estate and its

co-claimant have been uncooperative and have been fighting with one another as to how to

actually move forward with the transactions that are encompassed in the tribunal’s decisions.

Another is that the Estate has deliberately obstructed things to gain leverage to re-structure the



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transactions in a way that would shift tax obligations to our side. I have even filed litigation in

China to move things forward, but the Estate has taken unreasonable positions in that litigation to

create more delay.

       9.      While I am sure the Estate will present a different, and untrue, version of the

facts, the broader point here is that it would make no sense for the tribunal to have concluded,

beforehand, that interest payments for the delay fall exclusively to me, no matter what. That

would allow the Estate to continue delaying things indefinitely, earning 6% annual interest all

along the way, regardless of who causes the delay, and regardless of whether any delay is

attributable to the various necessary regulatory approvals in China and Hong Kong over which I

have no control. I do not believe this unreasonable outcome is what the tribunal ruled, and that is

why I respectfully request that the Court deny the Estate’s request for post-award interest.

       10.     Understanding the details of the award, and the events that followed, is critical to

understanding these issues. Some of that history is set forth in two declarations I have already

submitted in this case. I stand by those declarations in full, and attach them both here for the

Court’s convenience. (See Ex. 3; Ex. 4 (both without exhibits)). Other parts of the history were

set forth in two declarations from Gu Yong, an executive with my companies in China, and I

attach these here, as well. (See Ex. 5 (without exhibits); Ex. 6.)

       11.     I will summarize the relevant events below, so that the Court can have factual

background in one place. This will include events set forth in my prior declarations, as well as

new information pertaining to subsequent events.

The Parties

       12.     I am a Chinese native and, until moving with my family to Maryland in 2016, had

lived most of my life in China. I maintain a residence in China, and frequently travel there for

business.
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       13.     In the early 2000s, I was among a group of business partners that formed Oasis

Investment Group Limited (“Oasis”) to buy and develop real estate in China. The other partners

were Ke Zhengguang, Xu Hongbiao and my two sisters, Naiwen and Naijun.

The 2009 and 2010 Agreements

       14.     In November 2009, the Oasis partners and certain of their affiliated entities

entered into a preliminary written agreement to separate their interests in Oasis, entitled “Equity

Reorganization Preliminary Agreement” (the “2009” Agreement). Broadly speaking, the 2009

Agreement called for Oasis to repurchase the shares held by Messrs. Ke and Xu for RMB 250

million, and to also transfer to them one of Oasis’s subsidiaries, Shanghai Greencourt Four-

Season-Flower-City Property Development Co., Ltd., or Siji Huacheng (“SJHC”). SJHC owns a

property development in China and today is worth at least $100 million.

       15.     In April 2010, the Oasis partners and certain of their affiliated entities (including

Oasis itself) entered a follow-on written agreement entitled “Agreement on the Implementation

of ‘The Preliminary Share Restructuring Agreement’” (the “2010 Agreement”), with a similar

but more intricate plan for the business separation. (Ex. 7.) The 2010 Agreement referred to my

sisters and me as the “Controlling Shareholders” and to Messrs. Ke and Xu as the “Non-

controlling Shareholders.”

       16.     The 2010 Agreement included multiple, detailed provisions concerning how the

parties’ interests were to be divided. In very simplified terms, there are three primary

components: (a) the subsidiary transfer, (b) the property swap, and (c) the cash payments.

       17.     First, for the subsidiary transfer, Messrs. Xu and Ke were to receive 100%

ownership in SJHC through a multi-step process. The mechanics were as follows. An Oasis

subsidiary, Greencourt Properties Ltd. (“Greencourt Properties”), a Hong Kong company, would

transfer its 80% ownership stake in SJHC to a newly formed company, Shibang Company Ltd.
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(“Shibang”). (Id. at 5 (§ 2.3.1).) Next, Oasis would sign an Equity Purchase Option Agreement

agreeing to transfer Shibang to the Non-controlling Shareholders after the expiration of a three-

year “entrustment period.” (Id. (§2.3.2).) Once the Equity Purchase Option Agreement was

signed, Greencourt Properties was to sign an Entrustment Agreement granting the

Non-controlling Shareholders the right to manage and control Shibang for the entrustment

period. (Id. (§ 2.3.3).) At the same time, another Oasis subsidiary, Shanghai Oasis Kechuang

Ecological Technology Co., Ltd. (“Oasis Kechuang”), a Chinese company would transfer its

20% ownership stake in SJHC to a domestic company in China appointed by the Non-controlling

Shareholders. (Id.). All debts and claims as between SJHC and Oasis were to be “settled” within

one month. (Id. at 8 (§ 3.6).)

       18.     Figures 1 and 2 below depict, in simplified terms, the corporate structure before

the SJHC transaction (Figure 1), and then what was supposed to happen immediately after,

during the entrustment period (Figure 2).




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       19.     The purpose of this indirect transfer mechanism was to make the overall

transaction more tax efficient. Under Chinese law, an equity transfer between affiliates can be

treated as a tax-free “reorganization” if certain conditions are met. One condition, for example, is

that the seller of the equity (here, Greencourt Properties) must directly own 100% equity in the

buyer of the equity (here, Shibang) and must agree not to sell the equity of the buyer within three

years. That is why the parties agreed on a three year “entrustment period” during which SJHC

would still be majority owned by Shibang (an indirect subsidiary of Oasis), but would be

controlled by Messrs. Ke and Xu. I would not have agreed to include SJHC as part of the buyout

consideration to Messrs. Ke and Xu if doing so would simply force me to pay additional taxes.

That would make the deal too expensive. It would have been easier to simply pay them cash, or

to offer other consideration instead. It was only the expectation of transferring SJHC as a tax-free

transaction that made the economics work, and this was the basis for structuring the transfer in

two steps, meeting the government’s requirements for tax-free treatment.


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       20.     Second, for the property exchange, a different subsidiary of Oasis, Shanghai

Greencourt Real Estate Development Limited (“Greencourt Real Estate”), a Chinese company,

was to sign an agreement transferring approximately 8,000 square meters of commercial space

(the “Jiuting Shops”) in Shanghai to the Non-controlling Shareholders. (Id. at 7 (§ 3.1).) In

exchange, a company controlled by the Non-controlling Shareholders was supposed to sign an

agreement transferring to Oasis and the Controlling Shareholders two “Villas,” each of

approximately 1,200 square meters, also located in Shanghai, China and owned by SJHC. (Id. at

7 (§ 3.2).) Figure 3 below depicts the property exchange.




       21.     Third, for the cash buyback component, Oasis was to buy back the interests of

Messrs. Xu and Ke by paying cash to the entities through which they held their shares, in three

installments, totaling a base amount of RMB 250 million (subject to various regulatory, tax and

other adjustments). (Id. at 2-7 (Arts. 1-2).) The third and final installment of RMB 150 million

(as adjusted) was to be paid only when the other steps in the separation process (summarized
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above) were complete. (Id. at 4-7 (§ 2.2.1(4)).) This was to incentivize Messrs. Xu and Ke, who

already controlled SJHC, to complete the transfer and relieve Oasis, my sisters and me of the

liability risks associated with holding title to a company over which we had no control.

Arbitration in Hong Kong

        22.       In February 2013, the Non-controlling Shareholders filed a Notice of Arbitration

against Oasis and against the Controlling Shareholders relating to various disputes that arose in

attempting to implement the 2010 Agreement. Mr. Ke died during the arbitration and the Estate

took over representing his interests in the case.

        23.       In February 2018, the tribunal issued its final award (the “Final Award”), which

can be briefly summarized as follows. (Ex. 8.)

        24.       First, Orders 1-3, concern the property exchange and debt settlement, and direct

various parties to carry out those provisions, as set forth in the 2010 Agreement. (Id. at 95-96.)

        25.       Second, Orders 4-7 concern the transfer of SJHC. Order 4 directs the

Non-controlling shareholders to “submit an audit report to the relevant approval authorities” for

the transaction. (Id. at 96.) This was necessary to establish the value of the transaction, and to fix

a price for tax purposes, all of which is required to obtain the necessary regulatory approval.

Orders 5-7 specify what entities must engage in what transactions to complete the formal

transfer. (Id.)

        26.       Third, Order 8 requires Oasis to make the final payment, subject to adjustments,

when the conditions have been completed.

        27.       Finally, Order 9 sets forth certain damages for rent in China relating to the

property exchange. Oasis and the Controlling Shareholders did not believe the Villas offered by

the Non-controlling shareholders met the requirements of the 2010 Agreement because the

square footage was too small. (Award at 84 (¶ 288).) Thus, instead of formally transferring the
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commercial space, the Oasis subsidiary that owned the commercial space allowed the

Non-controlling shareholders to use most of the commercial space (approximately 6,000 of the

8,000 square meters) via an “authorization letter.” (Id. at 85-86 (¶¶ 294-95).) The tribunal

concluded that the Controlling Shareholders should have fully exchanged the commercial space

for the Villas and thus were liable to the Non-controlling Shareholders for the rental value of the

2,000 square-meter portion that the Controlling Shareholders retained. (Id. 86-89 (¶¶ 296-303).)

The tribunal calculated the damages to be RMB 10,346,211 based upon an analysis of rental

rates in similar commercial buildings in China. (Id.) To date, we have not received use or

ownership of the Villas.

Efforts to Comply With the Specific Performance Aspects of the Award

       28.     Oasis and the Controlling Shareholders have endeavored to comply with the

Award, but have been impeded at nearly every step along the way by the Estate and Mr. Xu

fighting with one another or otherwise not cooperating, and by the Estate’s outright obstruction. I

do not care how the Estate and Mr. Xu sort out their disputes, but simply want to put this matter

in the past, and complete what the parties agreed to do more than a decade ago.

       29.     One of the biggest challenges with carrying out the award has been the SJHC

transaction, which has been beset with issues arising from disputes between Mr. Ke’s heirs and

Mr. Xu over control of the company. While the formal transfer of the shares of SJHC to the

Non-controlling Shareholders has not been completed, Oasis ceded control of SJHC to the them

even before the 2010 Agreement. Oasis has had no control over, nor gained any economic

benefit from, SJHC since then.

       30.     For reasons that are unclear, however, Mr. Ke’s heirs have apparently seized from

the other claimant, Xu Hongbiao, control of the SJHC board, and have gained control of the

corporate seal necessary to execute legal documents (referred to as a “chop”). In the Chinese
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legal and business worlds, very little can be done without the corporate “chop,” and control of

the “chop” is virtually synonymous with day-to-day control of a company. Mr. Xu has

complained vociferously about having been pushed aside, and, as a result, to this day will not

cooperate with Mr. Ke’s representatives unless they give him joint control over SJHC.

       31.     The disputes between the Estate and Mr. Xu have also impeded the regulatory

aspect of the SJHC transaction. Regulators must approve the transaction, but Mr. Xu and Mr.

Ke’s representatives cannot agree on who should lead the process, and have refused to provide

the Controlling Shareholders the necessary materials (including the audit report referred to in

Order 4) to actually complete this step of the process. The Controlling Shareholders have signed

the necessary shareholder agreement for the transactions, but cannot take the next steps forward

without cooperation from the claimants, including by the claimants providing the required

documentation.

       32.     The claimants’ infighting has impeded the property exchange, too. The claimants

have repeatedly provided conflicting instructions as to what company is to be the buyer. In

addition, the claimants have not agreed as to exactly how the property would be divided. There

are 14 Jiuting Shops, and the claimants have not agreed whether they will own the entire lot

together in equal proportion (or some other proportion), or whether each will take ownership of a

certain number of the shops. We cannot proceed without the claimants providing a unified path

forward. The roadblocks to the property exchange have been particularly prejudicial and unfair

to Oasis and to me, since the claimants have had near complete control over the Jiuting Shops for

years (including the economic benefits), while Oasis has never possessed or had any benefit from

the Villas that were supposed to be provided in exchange.




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       33.      Even the seemingly straightforward damages award in Order 9 has been the

subject of needless games. I have always been willing to pay the RMB 10,346,211 awarded in

Order 9, and repeatedly tried to do so. While Mr. Xu has accepted his portion of the payment, the

Estate has made it impossible to complete the payment to it without creating the risk of severe,

personal penalties to me. That is because the Estate has refused to provide payment instructions

for a bank in Mainland China. As the Estate well knows, under China’s strict currency control

laws, it is illegal to pay obligations arising from events in China (such as the damages here,

associated with Chinese real estate) outside China in foreign currency. (See Exs. 9, 10 (prior

expert declarations without exhibits).) The details of my efforts to lawfully make this payment in

Mainland China, and the Estate’s failure to cooperate are set out in more detail in my prior

declarations.

       34.      In brief summary, my counsel sent the Estate’s counsel multiple letters throughout

2018 trying to obtain payment instructions in Mainland China, but the Estate refused to

cooperate. On November 1, 2018, at my direction, Greencourt Real Estate attempted to wire the

funds to a Hong Kong bank account that the Estate’s counsel had provided. (Ex. 11.) The wire

was not allowed to go through, however, likely because, among other reasons, it cannot be

approved without proof that the proper taxes had been paid and authorization from the Chinese

currency regulator (referred to as “SAFE”). Moreover, the payment of such a large amount

would be easily tracked by SAFE and, if found to be improper, could trigger an investigation and

regulatory action by SAFE.

       35.      On December 31, 2018, Greencourt Real Estate sent a check for the full amount

sought in this case, RMB 5,173,105.50, to one of the lawyers representing the Estate in the

arbitration, Eva Yao, who works in the Shanghai office of the DLA Piper law firm. (Ex. 12.) As



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with the payment to Mr. Xu, the payment was made from Greencourt Real Estate, the Oasis

subsidiary that, according to the final award, was supposed to transfer to the claimants the

commercial real estate that was the subject of the damages award. The check was never

deposited.

Shanghai Legal Proceedings

       36.     On April 3, 2019, at my direction, Greencourt Properties filed a Civil Complaint

in Shanghai, China against SJHC (which the Estate has controlled at relevant times) to force it to

cooperate in the first step of the share transfer, namely the transfer of 80% of SJHC’s equity to

Shibang. (Ex. 13, 14.) The transfer was properly authorized by the SJHC shareholders (Oasis and

Greencourt Properties), but SJHC, under the day-to-day control of the Estate, refused to

cooperate. Mr. Xu authorized Shibang to join the lawsuit because, at least as to this aspect of the

dispute, he agreed with me.

       37.     The Estate’s response (via SJHC) to the case reflects more of its obstruction.

SJHC argued that any transfer to Shibang was improper because, according to SJHC, under the

2010 Agreement, Shibang was supposed to be a direct subsidiary of Oasis, as opposed to being

an indirect subsidiary via Greencourt Properties (a direct subsidiary of Oasis).

       38.     The Estate has argued in the litigation that it prefers this structure because it takes

the transaction outside the special tax rules discussed above for tax-free reorganizations. Under

the rules, an equity transaction between two non-Chinese entities can be subject to special tax

treatment in China for corporate income tax purpose only if the seller directly owns 100% equity

in the buyer (among other requirements) and agrees not to transfer the buyer’s equity within

three years. Greencourt Properties transferring SJHC’s equity to its own subsidiary, Shibang,

would qualify, but Greencourt Properties transferring the equity to its parent, Oasis, would not.

Without the special tax treatment, the initial transfer of SJHC from Greencourt Properties would
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be a taxable transaction, with Oasis having to immediately pay taxes on the gain in value of

SJHC since it was first acquired in 2007. This is a benefit to the Estate because Oasis paying

taxes on the gain up front would establish a new, higher tax basis for the value of SJHC. After

the three-year entrustment period, when the Estate’s nominee company (Cheergain) obtains

formal ownership of SJHC, the higher tax basis would mean a lower taxable gain for Cheergain.

In short, the Estate wants to make Oasis pay taxes up front, so that its company can pay less in

taxes later.

        39.    The Estate’s position on this point is ridiculous.

        40.    It is inconsistent with the Final Award in the arbitration, which directs Oasis to

cause its “subsidiary, Greencourt Properties, to jointly sign, the Equity Purchase Option

Agreement and Entrustment Agreement concerning Shibang Company.” (Final Award, at 96

(Order 6) (emphasis added).) Greencourt was to sign these agreements concerning Shibang

because it was (and was always supposed be) the parent company of Shibang. Through five years

of the arbitration neither Mr. Ke nor his representatives suggested once that Shibang was

supposed to be re-formed under a different parent company.

        41.    In fact, Shibang was established as a subsidiary of Greencourt Properties (not

Oasis) in 2009 when both Messrs. Ke and Xu were directors. (Id. Ex. 15; Ex. 16.) They agreed to

its formation for exactly the purpose of holding the SJHC equity. (Id. ¶ 40.)

        42.    The 2010 Agreement specifically states that Greencourt Properties (not Oasis) is

the company that is to “entrust[]” control of Shibang to the companies of Messrs. Ke and Xu:

“Cheergain International Group Limited and Focus Town Limited are entrusted by Greencourt

Properties to manage Shibang Company.” (2010 Agreement § 2.3.2 (emphasis added).) The

Estate is obviously making up this new position.



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       43.      In May and June 2020, my lawyers presented these and other arguments to the

civil court in Shanghai. (Ex. 17, 18.)

Arbitral Tribunal Issues Its Costs and Interest Ruling, Including a Correction

       44.      While the proceedings were ongoing in Shanghai, the arbitral tribunal in Hong

Kong issued two rulings (an initial decision and a clarification) that the Estate is seeking to

enforce here.

       45.      The first is a ruling dated March 16, 2020, in which the arbitral tribunal awarded

the claimants certain of the costs of the arbitration, and interest. (the “March 2020 Costs and

Interest Ruling”). (Ex. 19.)

       46.      As is relevant here, the Estate argued that the respondents should be forced to pay

pre-award interest on Order 8 from December 2012 through the date of the award in February

2018 (a period of over five years) and should be forced to pay pre-award interest on Order 9 (the

damages award) for a period of approximately six months. (Id. at 15 (¶ 39). The pre-award

interest rate the Estate proposed was the Hong Kong “prime” rate (currently 5%), plus 1%,

compounding annually. (Id. 15-16 (¶¶ 40-41).) The Estate argued that post-award interest should

accrue at the Hong Kong statutory rate of 8%. (Id. at 16 (¶¶ 42-43).) The respondents argued

that, if any interest is to be awarded for Order 8, the interest rate should be HKBOR plus 2%,

without compounding, and the interest period should be 36 months only. (Id. at 35 (¶ 72).) Our

proposal of 36 months was based on taking the length of arbitration proceedings, and subtracting

the period when, through no fault of ours, the arbitration was delayed by proceedings associated

with the Estate substituting for Mr. Ke. (Id. at 26 (¶ 61(2)).)

       47.      The tribunal largely adopted our position, and stated: “The arbitration tribunal

holds the opinion that the method of calculation of the Respondents is reasonable and adopted.”

(Id. at 41 (¶ 102).) The relevant Order, paragraph 108, stated as follows:
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                With regards to Orders No.8 and No.9 in the final award of the
                arbitral tribunal (excluding the arbitration fees and interest), the
                Respondents shall pay the interest. The method to calculate the
                interest is as follows: Simple interest with the principal amount of
                RMB 145,974,006 multiplied by the interest rate which is the most
                preferential loan interest rate of HSBC in Hong Kong plus 1%.

(Id. at 42 (¶ 108).)

        48.     We asked the tribunal to clarify and correct the award, because (among other

things) the initial decision did not properly distinguish the interest and payment obligations

between Orders 8 and 9.

        49.     On June 26, 2020, the tribunal issued its ruling on our application (Ex. 20 (the

“June 2020 Costs and Interest Ruling” and, with the March 2020 Ruling, the “Costs and Interest

Rulings”).) Here, too, the tribunal largely sided with us. As is relevant here, the tribunal modified

paragraph 108 to state as follows:

                According to the 8th and 9th orders of the arbitral tribunal in the
                Final Award (Except Interest and Arbitration fees), the respondents
                must pay interest. The calculation method of the interest is: (i)
                RMB 135,627,795 of the principal × simple interest (HSBC prime
                rate + 1%) × 36 months of interest period (applicable to the 8th
                order of the Final Award); + (ii) RMB 10,346,211 of the principal
                × simple interest (HSBC prime rate + 1%) × 204 days of interest
                period (from 8 August 2017 to 28 February 2018) (applicable to
                the order of the Final Award).

(Id. at 12 (¶ 44).)

        50.     To me, this is clear that the interest period for Order 8 is 36 months. The tribunal

did not indicate that the respondents were to accrue interest indefinitely with respect to a

payment that is not yet due and that is conditional on various transactions that require the parties’

cooperation to complete. Nothing occurred during the arbitration to suggest that the tribunal was

blaming all the delays, past and future, relating to carrying out the award on our side. After all,




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the tribunal agreed with the respondents that the interest period should only be 36 months, and

not the five years the claimants sought.

Further Proceedings in Shanghai Civil Court

       51.     On June 30, 2020, just a few days after the June 2020 Costs and Interest Ruling

from the arbitral tribunal, the civil court in Shanghai issued its judgment. (Ex. 21.) The court

found that the SJHC transfer would have negative tax implications for the claimants, and so the

court directed the parties to negotiate with one another to come up with an allocation of the tax

burdens before the SJHC transfer occurs: “[T]he court holds that the controlling shareholder and

the participating shareholders should negotiate on the tax burden under the circumstance that

special tax treatment may be applied to the equity transfer involved in the case, in order to reach

a new agreement, and the plaintiff may not separately request the equity transfer before a new

agreement is formed.” (Id. at 9.)

       52.     Additionally, the court found that the transfer of SJHC’s equity could not be

accomplished without unanimous consent of the board. An instruction from all the shareholders

was not enough. (Id. at 10.)

       53.     We disagree with this ruling and have appealed. (Ex. 22, 23 (appeal briefs).)

Among the many errors is that the court did not take into account that Messrs. Ke and Xu agreed

from the start to structure the transaction to take advantage of special tax treatment that they are

now disputing. (Id.) A hearing on the appeal took place on October 27, 2020, and we expect to

prevail.

The Shanghai Proceedings and the Estate’s Demand for Post-Award Interest

       54.     The Shanghai proceedings are important to the question before this Court about

Order 8 interest because it would make no sense for the respondents to have to pay interest for

delay caused by the Estate, including, for example, the Estate’s ridiculous legal positions in the

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Shanghai case. This remains true even assuming the first court’s judgment is upheld. According

to that judgment, the parties would be required to “negotiate on the tax burden” and how to share

it among the parties. These negotiations will be greatly impacted by whether or not the

respondents are responsible, as the Estate argues, for interest payment all along (which is

approximately $1,700 per day). If so, then the Estate will have even more incentive to stall and

delay until it gets what it wants. In fact, the Estate would be rewarded for causing delay. In

addition, if the appeals court adopts the lower court’s view that unanimous board consent is

required to advance the transaction, that would make matters worse. It is highly doubtful that the

SJHC board, which includes Mr. Xu and representatives of the Estate, will agree to proceed as

outlined in the 2010 Agreement and Final Award. This means that, if the decision stands and if

this Court agrees to award post-award interest on Order 8, I might accrue interest indefinitely,

while the Estate holds out for a more advantageous transaction.

       55.     The arbitral tribunal surely did not intend for this result. In fact, the arbitral

tribunal did not have before it the details about the Shanghai proceedings, or even the detailed

history presented in this case about the Estate’s other improper games. It does not make sense to

me how the Estate can argue that I should be indefinitely responsible for substantial interest

payments associated with Order 8, regardless of whether I have any responsibility for the delay

in completing the preconditions for the Order 8 payment to come due.

       56.     I would urge the Court to consider this important factual context in deciding on

the form of judgment in this case.




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                  EXHIBIT 1
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

ESTATE OF KE ZHENGGUANG,

                                    Petitioner,

                 —against—
                                                    8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                  Respondent.



ESTATE OF KE ZHENGGUANG,

                                    Petitioner,

                 —against—

YU NAIFEN STEPHANY                                  8:20-cv-2260-PWG
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                  Respondent.


                  [PROPOSED] CONSOLIDATED FINAL JUDGMENT

       WHEREAS Ke Zhengguang and Respondent Yu Naifen Stephany (a/k/a/ Stephany Yu,

a/k/a/ Stephany Naifen Yu a/k/a/ Stephany N. Dombrowski) (“Stephany Yu”) are among the

parties to that certain “Agreement on the Implementation of ‘The Preliminary Share

Restructuring Agreement,’” which called for disputes to be resolved via arbitration in Hong

Kong (18-cv-03546, ECF No. 35-1) (the “2010 Agreement”);
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          WHEREAS in February 2013, Ke Zhengguang and Xu Hongbiao (the “Arbitral

Claimants”) filed an arbitration against the remaining parties to the 2010 Agreement, Stephany

Yu, Oasis Investment Group Limited, Yu Naiwen and Yu Naiyen (the “Arbitral Respondents”);

          WHEREAS the Petitioner the Estate of Ke Zhengguang (the “Estate”) was substituted by

for Ke Zhengguang following his death;

          WHEREAS the arbitral tribunal issued a final award, dated February 28, 2018 (id. ECF

No. 35-3), as clarified in a supplemental award, dated December 19, 2018 (id. ECF No. 35-5)

(collectively, the “Final Award”);

          WHEREAS the Estate filed an Amended Petition in this Court against Stephany Yu

(id. ECF No. 35) under the Convention on the Recognition and Enforcement of Foreign Arbitral

Awards, June 10, 1958, 21 U.S.T. 2517, 33 U.N.T.S. 38 and 9 U.S.C. § 207 (the “New York

Convention”), to confirm the Final Award (the “First Petition”) (18-cv-03546);

          WHEREAS Stephany Yu moved to dismiss the First Petition (18-cv-03546, ECF Nos.

40-45);

          WHEREAS, on February 24, 2020, the Court denied the motion and granted the First

Petition (id. ECF No. 53);

          WHEREAS in March 2020 the arbitral tribunal issued a ruling relating to costs and

interest (20-cv-2260 ECF 1-3) and, in June 2020, issued a ruling clarifying and/or correcting the

March 2020 ruling (id. ECF 1-5) (collectively, the “Costs and Interest Rulings”);

          WHEREAS in August 2020, the Estate filed a Petition under the New York Convention

to confirm the Costs and Interest Rulings (id. ECF 1) (the “Second Petition”) (20-cv-2260);

          WHEREAS the parties stipulated to a procedure for briefing their disputes relating to the

Second Petition, while preserving (but not re-litigating) their disputes with respect to the First



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Petition, in anticipation of the Court issuing a single, consolidated Final Judgment that would

then be the subject of a consolidated appeal (18-cv-03546, ECF No. 69; 20-cv-2260 ECF No.

19); and

       WHEREAS the Court has considered the parties’ submissions and is prepared to enter a

single, consolidated Final Judgment.

       It is hereby ADJUDGED as follows:

       1.      The Final Award and Costs and Interests Rulings are confirmed, and their Orders

are hereby entered as the judgment of the Court, but only insofar as those Orders by their terms

impose obligations upon the parties before the Court, the Estate and Stephany Yu.

       2.      With respect to Order 9 of the Final Award, judgment is entered against Stephany

Yu in the amount of $817,350.67,1 plus pre-award interest in the amount of $24,512.19,2 for a

total of $841,862.86. Post-judgment interest shall be based on the rate specified in 28 U.S.C.

§ 1961, from the date of entry of this Final Judgment until its satisfaction.

       3.      With respect to the attorneys’ fees and costs for the arbitration, judgment is

entered against Stephany Yu in the amount of $1,029,136.27.3 Post-judgment interest shall be




1
 This is calculated as the Estate’s one-half portion of the Order 9 award amount,
RMB10,346,211, times the currency exchange rate published in the Wall Street Journal from
RMB to U.S. Dollars of 0.1580, as of February 28, 2018, the date of the Final Award.
2
 This is calculated as the Estate’s one-half portion of the Order 9 award amount,
RMB10,346,211, times 6% interest (Hong Kong Prime, plus 1%) for the 204-day interest period
specified in the Costs and Interest Rulings, times the currency exchange rate published in the
Wall Street Journal from RMB to U.S. Dollars of 0.1413, as of June 26, 2020, the date the Costs
and Interest Rulings were finalized.
3
 This is calculated as the attorneys’ fees (6,599,822 HKD) and arbitration costs (1,377,978.55
HKD) awarded to the Estate, times the currency exchange rate published in the Wall Street
Journal from HKD to U.S. Dollars of 0.1290, as of June 26, 2020, the date the Costs and Interest
Rulings were finalized.

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based on the rate specified in 28 U.S.C. § 1961, from the date of entry of this Final Judgment

until its satisfaction.

        4.       With respect to Order 8 of the Final Award, judgment is entered against Stephany

Yu for pre-award interest in the amount of $1,724,778.67,4 payable only if and when the

conditions for payment of the principal of Order 8 are satisfied, at which point post-judgment

interest shall begin to accrue, and will accrue at the rate specified in 28 U.S.C. § 1961, until the

amounts due under Order 8 are satisfied.

        5.       No post-award, pre-judgment interest is awarded.

        6.       Each party is to bear its own costs and fees.




                                                                 Hon. Paul W. Grimm, U.S.D.J.
                                                                 Dated:




4
 This is calculated as the Estate’s one-half portion of the Order 8 award principal,
RMB67,813,898, times 6% interest (Hong Kong Prime, plus 1%) for the 36-month period
specified in the Costs and Interest Rulings, times the currency exchange rate published in the
Wall Street Journal from RMB to U.S. Dollars of 0.1413, as of June 26, 2020, the date the Costs
and Interest Rulings were finalized.

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                  EXHIBIT 2
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

ESTATE OF KE ZHENGGUANG,

                                    Petitioner,

                 —against—
                                                   8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                  Respondent.




ESTATE OF KE ZHENGGUANG,

                                    Petitioner,

                 —against—
                                                   8:20-cv-02260-GJH
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                  Respondent.



         [PETITIONER’S PROPOSED] CONSOLIDATED FINAL JUDGMENT

       WHEREAS, Ke Zhengguang and Respondent Yu Naifen Stephany (a/k/a/ Stephany Yu,

a/k/a/ Stephany Naifen Yu a/k/a/ Stephany N. Dombrowski) (“Stephany Yu”) are among the

parties to that certain “Agreement on the Implementation of ‘The Preliminary Share Restructuring

Agreement,’” which called for disputes to be resolved via arbitration in Hong Kong (ECF No. 35-

1) (the “2010 Agreement”);
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        WHEREAS, in February 2013, Ke Zhengguang and Xu Hongbiao (the “Arbitral

Claimants”) filed an arbitration against the remaining parties to the 2010 Agreement, Stephany

Yu, Oasis Investment Group Limited, Yu Naiwen and Yu Naiyen (the “Arbitral Respondents”);

        WHEREAS, Petitioner the Estate of Ke Zhengguang (the “Estate”) was substituted by the

arbitral tribunal as a party in the arbitration for Ke Zhengguang following his death;

        WHEREAS, the arbitral tribunal issued a final award, dated February 25, 2018 (Case No.

8:18-cv-03546-PWG; ECF No. 35-3), as clarified in a supplemental award, dated December 19,

2018 (ECF No. 35-5) (collectively, the “Final Award”), which did not address issues related to

attorneys’ fees, costs, or interest;

        WHEREAS, in March 2019, the Estate filed an Amended Petition in this Court against

Stephany Yu (Case No. 8:18-cv-03546-PWG; ECF No. 35) under the Convention on the

Recognition and Enforcement of Foreign Arbitral Awards, June 10, 1958, 21 U.S.T. 2517, 33

U.N.T.S. 38 and 9 U.S.C. § 207, to confirm the Final Award; and

        WHEREAS, on February 24, 2020, the Court issued a Memorandum Opinion (the

“February 24, 2020 Opinion”) granting the Amended Petition (Case No. 8:18-cv-03546-PWG;

ECF No. 53);

        WHEREAS, on March 16, 2020, the arbitral tribunal issued an award (the “March 2020

Award”) which awarded attorney’s fees, costs, and interest to Petitioner;

        WHEREAS, on June 26, 2020, the arbitral tribunal issued an award (the “June 2020

Award,” and together with the March 2020 Award, the “Costs and Interest Award”) correcting and

clarifying the March 2020 Award;




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       WHEREAS, in August 2020, Petitioner initiated a new, related action in this Court (Case

20-cv-2260) by filing a Petition under the New York Convention to confirm the Costs and Interest

Award. (ECF 1);

       WHEREAS, on October 16, 2020, Petitioner and Respondent entered into a stipulation (the

“Consolidation Stipulation”) that, among other things, consolidated the above-referenced actions

(18-cv-03546 and 20-cv-2260) pursuant to Rule 42 of the Federal Rules of Civil Procedure for all

purposes, including resolving disputes as to the form and content of a consolidated judgment

pertaining to both the First Petition and the Second Petition;

       WHEREAS, on October 16, 2020, the Court approved the Consolidation Stipulation;

       NOW THEREFORE, it is hereby ADJUDGED as follows:

       1.       The Final Award is confirmed, and its Orders are hereby entered as the judgment

of the Court.

       2.       With respect to Order 9 of the Final Award, judgment is entered against

Respondent in the amount of $817,350.67.1

       3.       The Costs and Interest Award is confirmed, and its Orders are hereby entered as

the judgment of the Court.

       4.       With respect to the Costs and Interests Award, judgment is entered against

Respondent in the amount of $4,546,256.93, which includes the following component amounts:




1
  This is calculated as Petitioner’s one-half portion of the award amount, RMB10,346,211, times
the currency exchange rate published in the Wall Street Journal from RMB to U.S. Dollars of
0.1580, as of February 28, 2018.

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            a. The sum of $1,027,286.03, which represents legal fees and costs that Respondent

               was ordered to pay to Petitioner in paragraph 107 of the March 2020 Award, as

               modified by the June 2020 Award, after converting to U.S. dollars;2

            b. The sum of $1,770,510.83, which represents Petitioner’s share of the pre-Final

               award interest awarded by paragraph 108 of the March 2020 Award, as modified

               by the June 2020 Award;3

            c. The sum of $1,791,774.23, which represents Petitioner’s share of the post-Final

               award interest awarded by paragraph 108 of the March 2020 Award, as modified

               by the June 2020 Award, calculated through and including December 31, 2020.4

       5.      In addition, with respect to the Costs and Interests Award, the Clerk of the Court

shall enter judgment in an additional amount (which represents post-Final Award interest based

on the same formula outlined in 4(c) above, calculated through the date of this judgment), as


2
  The sum of $1,027,286.03 represents legal fees and costs awarded to Petitioner (HKD
7,977,800.55) in the March 2020 Award (as modified by the June 2020 Award), converted to U.S.
dollars at the exchange rate published in the Wall Street Journal as of March 16, 2020 (each US
dollar equals 7.7659 HK dollars).
3
  The sum of $1,770,510.83 represents pre-Final Award interest on 50% of the principal amount
awarded by the Tribunal in Orders 8 and 9 of the 2018 Final Award (pre-award interest on the
remaining 50% of such principal amount is due to the other claimant in the arbitration, Xu
Hongbiao, who is identified as the “First Claimant.”). The sum of $1,770,510.83 (which comprises
$1,745,581.39 pre-award interest in Order No. 8 and $24,929.44 pre-award interest in Order No.
9) has been calculated using the formula set forth in the March 2020 Award as modified by the
June 2020 Award (RMB 12,380,828.12), converted to U.S. dollars at the exchange rate published
in the Wall Street Journal as of March 16, 2020.
4
  The sum of $1,791,774.23 represents post-Final Award interest on 50% of the principal amount
awarded by the Tribunal in Orders 8 and 9 of the 2018 Final Award (post-award interest on the
remaining 50% of such principal amount is due to the other claimant in the arbitration, Xu
Hongbiao, who is identified as the “First Claimant.”). The sum of $1,791,774.23 (which comprises
post-award interest of $1,664,778.51 awarded in Order No. 8 and post-award interest of
$126,995.72 awarded in Order No. 9) has been calculated using the formula set forth in the March
2020 Award as modified by the June 2020 Award (RMB 12,226,631.59), converted to U.S. dollars
at the exchange rate published in the Wall Street Journal as of March 16, 2020.


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follows. Interest shall be shall be calculated based the principal amount of RMB 72,987,003

(which represents 50% of the principal amount awarded by the Tribunal in Orders 8 and 9 of the

Final Award) at 6% per annum (which is the HSBC prime rate in Hong Kong, plus 1%, as

mandated by the Costs and Interest Award), running from January 1, 2021 until the date that the

Clerk of the Court enters this judgment.

       6.      Post-judgment interest shall be based on the rate specified in 28 U.S.C. § 1961,

from the date of entry of this Final Judgment until its satisfaction.

       7.      Each party is to bear its own costs and fees.




                                                                Hon. Paul W. Grimm, U.S.D.J.
                                                                Dated:




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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

ESTATE OF KEZHENGGUANG,

                                      Petitioner,

                  —against—
                                                      8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                    Respondent.


                             DECLARATION OF STEPHANY YU

       1.      I am the respondent in this case, and submit this declaration in support of my

motion to dismiss the case. Unless indicated otherwise, the statements in this declaration are

based on my personal knowledge, and the exhibits are true copies of the originals.

Introduction

       2.      As detailed more fully below, the petitioner in this case (the “Estate”) is

attempting to enforce an arbitration award against me personally in a manner that would be

fundamentally unfair. The award directs various parties to complete complex real estate and

corporate transactions in China that I (for myself and on behalf of various related companies)

have been trying to carry out for the past year, only to be thwarted by non-cooperation and

infighting between the Estate and its co-claimant, Mr. Xu Hongbiao. Mr. Xu is not part of these

proceedings.

       3.      There is also a damages component of the award that, via the relevant company in

China, I have tried repeatedly to pay in China, but that the Estate will not accept there. Its

lawyers have insisted on payment outside China, which they well know violates Chinese
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currency control laws and which places me at severe personal risk in China, where I regularly

travel, and have significant business operations. The Estate apparently does not care if the

Chinese government comes after me. This is particularly frustrating because the liability in

reality belongs to a company in China that has ample assets and that is prepared to pay there.

       4.       I want to get these transactions completed, and have the damages paid, so as to

have no more dealings with the claimants, but am caught in the middle of their disputes. I cannot

execute the necessary corporate transactions, or get the necessary regulatory approval, without

cooperation and uniform instruction from the two claimants (only one of whom is part of these

proceedings).

       5.       If the Estate is successful at enforcing the award here, and making me pay the

damages award here, then I will be in an impossible situation of potentially violating Chinese

law with respect to the payment, and, depending on how the remainder of the award is enforced

here, will be at risk of inconsistent demands from Chinese regulators (who must approve broad

aspects of the implementation of the award), and at risk of inconsistent demands and/or

additional litigation from Mr. Xu, who has threated all along the way to hold me responsible if

he does not get his way.

       6.       At bottom, there is no reason for litigation here. If any legal proceedings are

necessary, they should take place in China, which is where the underlying events took place, and

were a court would be better suited to deal with all the stakeholders, including Mr. Xu, and

including the relevant companies, as opposed to placing a target only on me as an individual. I

would therefore urge the Court to dismiss the petition.




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The Parties

       7.        I am a Chinese native and, until moving with my family to Maryland in 2016, had

lived most of my life in China. I maintain a residence in China, and frequently travel there for

business.

       8.        In the early 2000s, I was among a group of business partners that formed Oasis

Investment Group Limited (“Oasis”) to buy and develop real estate in China. The other partners

were Ke Zhengguang, Xu Hongbiao and my two sisters, Naiwen and Naijun.

The 2009 and 2010 Agreements

       9.        In November 2009, the Oasis partners and certain of their affiliated entities

entered into a preliminary written agreement to separate their interests in Oasis, entitled “Equity

Reorganization Preliminary Agreement” (the “2009” Agreement). (Ex. A.) Broadly speaking,

the 2009 Agreement called for Oasis to repurchase the shares held by Messrs. Ke and Xu for

RMB 250 million, and to also transfer to them one of Oasis’s subsidiaries, Shanghai Greencourt

Four-Season-Flower-City Property Development Co., Ltd., or Siji Huacheng (“SJHC”). (Id.)

       10.       In April 2010, the Oasis partners and certain of their affiliated entities (including

Oasis itself) entered a follow-on written agreement entitled “Agreement on the Implementation

of ‘The Preliminary Share Restructuring Agreement’” (the “2010 Agreement”), with a similar

but more intricate plan for the business separation. The 2010 Agreement referred to my sisters

and me as the “Controlling Shareholders” and to Messrs. Ke and Xu as the “Non-controlling

Shareholders.”

       11.       The 2010 Agreement included multiple, detailed provisions concerning how the

parties’ interests were to be divided. In very simplified terms, there are three primary

components: (a) a cash buyback, (b) a subsidiary transfer, and (c) a property exchange (a new

feature that was not part of the 2009 Agreement).

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       12.     First, for the cash buyback component, Oasis was to buy back the interests of

Messrs. Xu and Ke by paying cash to the entities through which they held their shares, in three

installments, totaling a base amount of RMB 250 million (subject to various regulatory, tax and

other adjustments). (2010 Agreement at 2-7 (Arts. 1-2).) The third and final installment of

RMB 150 million (as adjusted) was to be paid only when the other steps in the separation

process (summarized below) were complete. (Id. at 4-7 (§ 2.2.1(4)).)

       13.     Second, for the subsidiary transfer, Messrs. Xu and Ke were to receive 100%

ownership in a subsidiary of Oasis, SJHC, through a complex, multi-step process. SJHC is the

entity that owns a large and profitable property development in China.

       14.     The mechanics were as follows. An Oasis subsidiary, Greencourt Properties Ltd.

(“Greencourt Properties”), a Hong Kong company, would transfer its 80% ownership stake in

SJHC to Oasis’s newly formed company, Shibang Company Ltd. (“Shibang”). (2010 Agreement

at 5 (§ 2.3.1).) Next, Oasis would sign an Equity Purchase Option Agreement agreeing to

transfer Shibang to the Non-controlling Shareholders after the expiration of a three-year

“entrustment period.” (Id. (§2.3.2).) Once the Equity Purchase Option Agreement was signed,

Greencourt Properties was to sign an Entrustment Agreement granting the Non-controlling

Shareholders the right to manage and control Shibang for the entrustment period. (Id. (§ 2.3.3).)

At the same time, another Oasis subsidiary, Shanghai Oasis Kechuang Ecological Technology

Co., Ltd. (“Oasis Kechuang”), a Chinese company would transfer its 20% ownership stake in

SJHC to a domestic company in China appointed by the Non-controlling Shareholders. (Id.). All

debts and claims as between SJHC and Oasis were to be “settled” within one month. (Id. at 8

(§ 3.6).) Figures 1 and 2 below depict, in simplified terms, the corporate structure before the




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SJHC transaction (Figure 1), and then what was supposed to happen immediately after, during

the entrustment period (Figure 2).




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       15.     Third, for the property exchange, a different subsidiary of Oasis, Shanghai

Greencourt Real Estate Development Limited (“Greencourt Real Estate”), a Chinese company,

was to sign an agreement transferring approximately 8,000 square meters of commercial space

(the “Jiuting Shops”) in Shanghai to the Non-controlling Shareholders. (Id. at 7 (§ 3.1).) In

exchange, a company controlled by the Non-controlling Shareholders was supposed to sign an

agreement transferring to Oasis and the Controlling Shareholders two “Villas,” each of

approximately 1,200 square meters, also located in Shanghai, China and owned by SJHC. (Id. at

7 (§ 3.2).) The property exchange was not part of the original, 2009 Agreement. The idea

originated from Mr. Ke; my preference had been to keep the separation simpler, as we had

originally agreed. Knowing now all the complications that have ensued in completing this

transaction (discussed below), I wish we had never agreed to it.

       16.     The 2010 Agreement stated that “the prices of the properties involved are equal,”

namely 72 million RMB, and that the consideration each side was transferring was “to be set off

against each other.” (Id. at 7 (§ 3.3).) Figure 3 below depicts the property exchange.




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Arbitration in Hong Kong

       17.     In February 2013, the Non-controlling Shareholders filed a Notice of Arbitration

against Oasis and against the Controlling Shareholders relating to various disputes that arose in

attempting to implement the 2010 Agreement.

       18.     In February 2018, the Panel ultimately issued its final award (the “Award”),

which can be briefly summarized as follows.

       19.     First, Orders 1-3, concern the property exchange and debt settlement, and direct

various parties to carry out those provisions, as set forth in the 2010 Agreement.

       20.     Second, Orders 4-7 concern the transfer of SJHC. Order 4 directs the

Non-controlling shareholders to “submit an audit report to the relevant approval authorities” for

the transaction. This was necessary to establish the value of the transaction, and to fix a price for




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tax purposes, all of which is required to obtain the necessary regulatory approval. Orders 5-7

specify what entities must engage in what transactions to complete the formal transfer.

       21.     Third, Order 8 requires Oasis to make the final payment, subject to adjustments,

when the conditions have been completed.

       22.     Finally, Order 9 sets forth certain damages for rent in China relating to the

property exchange. Oasis and the Controlling Shareholders did not believe the Villas offered by

the Non-controlling shareholders met the requirements of the 2010 Agreement because the

square footage was too small. (Award at 84 (¶ 288).) Thus, instead of formally transferring the

commercial space, the Oasis subsidiary that owned the commercial space allowed the

Non-controlling shareholders to use most of the commercial space (approximately 6,000 of the

8,000 square meters) via an “authorization letter.” (Id. at 85-86 (¶¶ 294-95).) The Panel

concluded that the Controlling Shareholders should have fully exchanged the commercial space

for the Villas and thus were liable to the Non-controlling shareholders for the rental value of the

2,000 square-meter portion that the Controlling Shareholders retained. (Id. 86-89 (¶¶ 296-303).)

The Panel calculated the damages to be RMB 10,346,211 based upon an analysis of rental rates

in similar commercial buildings in China. (Id.)

Efforts to Comply With the Specific Performance Aspects of the Award

       23.     Oasis and the Controlling Shareholders have endeavored to comply with the

Award, but have been impeded at nearly every step along the way by the Estate and Mr. Xu

fighting with one another or otherwise not cooperating. I do not care how the Estate and Mr. Xu

sort out their disputes, but simply want to put this matter in the past, and complete what the




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parties agreed to almost a decade ago with finality and without the risk of being subjected to

conflicting obligations or more litigation.1

       24.     One of the biggest challenges with carrying out the award has been the SJHC

transaction, which has been beset with issues arising from disputes between Mr. Ke’s heirs and

Mr. Xu over control of the company. While the formal transfer of the shares of SJHC to the

Non-controlling shareholders has not been completed, Oasis ceded control of SJHC to the them

even before the 2010 Agreement. Oasis has had no control over, nor gained any economic

benefit from, SJHC since then.

       25.     For reasons that are unclear, however, Mr. Ke’s heirs have apparently seized from

the other claimant, Xu Hongbiao, control of the SJHC board, and have gained control of the

corporate seal necessary to execute legal documents (referred to as a “chop”). In the Chinese

legal and business worlds, very little can be done without the corporate “chop,” and control of

the “chop” is virtually synonymous with day-to-day control of a company. Mr. Xu has

complained vociferously about having been pushed aside, and, as a result, to this day will not

provide the necessary cooperation to complete the transaction, unless Mr. Ke’s representatives

give him joint control over SJHC.

       26.     The disputes between the Estate and Mr. Xu have also impeded the regulatory

aspect of the SJHC transaction. Regulators must approve the transaction, but Mr. Xu and Mr.

Ke’s representatives cannot agree on who should lead the process, and have refused to provide

the Controlling Shareholders the necessary materials (including the audit report referred to in

Order 4) to actually complete this step of the process. The Controlling Shareholders have signed


1
 The details of these disputes are set forth more fully in the accompanying declaration of Yong
Gu (“Gu Decl.”), and the in the correspondence attached to his declaration.


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the necessary shareholder agreement for the transactions, but cannot take the next steps forward

without cooperation from the claimants, including by the claimants providing the required

documentation.

       27.     The claimants’ infighting has impeded the property exchange, too. The claimants

have repeatedly provided conflicting instructions as to what company is to be the buyer. In

addition, the claimants have not agreed as to exactly how the property would be divided. There

are 14 Jiuting Shops, and the claimants have not agreed whether they will own the entire lot

together in equal proportion (or some other proportion), or whether each will take ownership of a

certain number of the shops. We cannot proceed without the claimants providing a unified path

forward. The roadblocks to the property exchange have been particularly prejudicial and unfair

to Oasis and to me, since the claimants have had near complete control over the Jiuting Shops for

years (including the economic benefits), while Oasis has never possessed or had any benefit from

the Villas that were supposed to be provided in exchange.

Efforts to Pay the Damages Amount in Order 9

       28.     Even the seemingly straightforward damages award in Order 9 has been

obstructed by the claimants (in this case, by the Estate). I have always been willing to pay the

RMB 10,346,211 awarded in Order 9, and repeatedly tried to do so. But the Estate, by insisting

on payment outside China in violation of currency control laws, has made it impossible to

complete the payment without risking severe, personal penalties. The details of my efforts, and

the Estate’s failure to cooperate are set out below.

       29.     On May 2, 2018, I paid half of the damages relating to the lost rent in Shanghai

associated with the property exchange to Mr. Xu, who provided details for a bank in China into

which the funds were wired.



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       30.     The payment to Mr. Xu was made from Greencourt Real Estate, the Oasis

subsidiary that, according to the final award, was supposed to transfer to the claimants, at the

direction of me and the other respondents, the commercial real estate that was the subject of the

damages award. I paid this first half to Mr. Xu based on the instruction from claimants’ counsel

that Mr. Xu was entitled to half of this portion of the award. However, I do not know with

complete certainty how the underlying obligation is divided as between Mr. Xu and Mr. Ke, and

have not received a release in return from Mr. Xu.

       31.     As mentioned, the other claimant, the Estate, has not been cooperative. We have

tried through multiple letters to get the Estate to cooperate with our making payment.

       32.     On March 23, 2018, counsel for the Estate sent a letter regarding performance of

the orders in the arbitral award. (Gu Decl. Ex. 1.) The letter demanded payment of the RMB

10,346,211 to a bank account that would be specified later. (Id. at 2.)

       33.     On April 2, 2018, our counsel sent a letter in response. (Gu Decl. Ex. 3.) Our

counsel stated that we were prepared to pay the damages amount in Order 9, and asked that

payment information be provided for a domestic Chinese bank account. (Id. at 2 (¶ 3).) The

letter explained that, in light of China’s strict foreign exchange control laws, any payment to be

made outside China would require the parties to jointly apply to a bank to see if that would even

be possible. (Id.)

       34.     On April 13, 2018, counsel for the Estate sent a letter in reply to our counsel’s

letter dated April 2, 2018. (Gu Decl. Ex. 5.) The Estate’s counsel specified a bank in Hong

Kong, and demanded to be paid “in Hong Kong dollars or other non-RMB currencies equivalent

to RMB 5,173,105.5 (to be converted at the exchange rate published by the People’s Bank of

China as of 28 February 2018).” (Id. at 3.) The letter stated that the Estate was “entitled to



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designate whatever bank account, be it a PRC or foreign bank account, that it considers

appropriate” to receive payment. (Id.)

          35.   On April 30, 2018, our counsel wrote back to explain that the funds for payment

of Order 9 were held in China, and “again invite[d] [the Estate] to consider providing a bank

account within China,” and stated that payment would be made within five business days

thereafter. (Gu Decl. Ex. 7, at 2 (¶ 4).)

          36.   On May 9, 2018, the Estate’s counsel wrote back. (Gu Decl. Ex. 10.) Regarding

payment of the damages award, the Estate’s counsel stated that “only payment . . . to a foreign

bank account will be accepted” and that the Estate was unwilling to “negotiate further.” (Id.

at 3.)

          37.   On May 14, 2018, our counsel again wrote the Estate regarding the damages

award. (Gu Decl. Ex. 11.) Counsel reiterated that we have “always been willing” to pay, but

that the Estate had refused to provide the necessary bank account information. (Id. at 2–3.) The

letter pointed out that the award referred to payment in RMB, not a foreign currency, and that the

likelihood of Chinese officials authorizing the payment to leave China was low. (Id. at 2.)

          38.   On October 29, 2018, our counsel yet again implored the Estate to cooperate, and

made clear that we were prepared to pay as soon as the Estate provided proper bank account

information. (Gu Decl. Ex. 26, at 10.)

          39.   On November 1, 2018, at my direction, Greencourt Real Estate attempted to wire

the funds to the overseas bank account specified in the April 13, 2018, letter from the Estate’s

counsel. (Ex. B.) The wire was not allowed to go through, however, likely because, among

other reasons, it cannot be approved without proof that the proper taxes had been paid and

authorization from the Chinese currency regulator (referred to as “SAFE”). Moreover, the



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payment of such a large amount would be easily tracked by SAFE and, if found to be improper,

could trigger an investigation and regulatory action by SAFE.

        40.     In fact, my counsel in China, Jun He, contacted an official at the Shanghai

Foreign Currency Administration on a confidential basis, who stated that if SAFE were to be

alerted to the transaction, they would not allow Ke’s Estate to receive the wire in Hong Kong.

        41.     The Estate never did provide the banking information and, instead, in November

2018, filed the initial petition in this case.

        42.     The Estate’s attempts to collect judgment outside of China, and specifically in the

U.S., are extremely frustrating and contrary to the intent of the Award and Chinese law.

Specifically, even though Order 9 states that I be jointly ordered to pay RMB 10,346,211 to the

claimants, the party owing damages is actually Greencourt Real Estate. Greencourt Real Estate, a

limited liability company, owned and controlled the commercial space on which the damages for

lost rent are based. I am only an indirect shareholder, protected under Chinese law from personal

liability. In fact, Order 1 of the Award directs me only to “urge” or “facilitate” Greencourt Real

Estate to transfer the commercial space in exchange for the Villas — drawing the clear

distinction between me and the company. I should not be personally held responsible for

Greencourt Real Estate’s actions or any damages arising out of such actions, and certainly not

chased by claimants seeking to collect assets from me in the United States, at the very least while

Greencourt Real Estate has assets in China that are more than sufficient to satisfy the Award.

        43.     On December 31, 2018, Greencourt Real Estate sent a check for the full amount

sought in this case, RMB 5,173,105.50, to one of the lawyers representing the Estate in the

arbitration, Eva Yao, who works in the Shanghai office of the DLA Piper law firm. (Ex. C.) As

with the payment to Mr. Xu, the payment was made from Greencourt Real Estate, the Oasis



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subsidiary that, according to the final award, was supposed to transfer to the claimants the

commercial real estate that was the subject of the damages award.

       44.     On January 2, 2019, my U.S. counsel, Steptoe & Johnson LLP, then sent a copy

of that transmission, along with a certified translation of the check, to the U.S. counsel that at the

time represented the Estate in this matter, Stephen A. Cash, and requested that the Estate dismiss

this case. (Ex. D.) I understand that the check expired before being deposited. I am of course

willing and able to have a new check issued if the petitioner will accept it.

The Ability of Ke’s Representatives to Receive Payment in RMB

       45.     I understand that the Estate has argued that since “neither of the Estate’s

administrators is a citizen of the PRC or even resides in the PRC,” it would be impossible for

them to receive RMB payments in China. (Am. Pet. [ECF 35], at 7 (¶ 25).) That is not

believable.

       46.     During the arbitration, the Estate’s counsel submitted various documents showing

that the administrators are in fact Chinese citizens, and that they had Chinese addresses at the

time. Those documents include two “notarial certificates,” one of which contains a copy of the

birth certificate for one administrator (Mr. Ke’s daughter Ke Yeying) showing she is a Chinese

citizen (Ex. E), and another certifying the that both Ms. Ke Yeying and the other administrator

(Mr. Ke’s wife, Zhang Yuejin) are related to Mr. Ke and identifying them by their Chinese

citizen ID numbers. (Ex. F.) Separately, the Estate in 2014 sent an email to the Panel attaching

a copy of the ID card and marriage certificate for Ms. Zhang Yuejin, and both those documents

show that she is (or at least was at the time) a PRC citizen. (Ex. G.) Yet another document from

the arbitration, an email attaching a Hong Kong court filing, shows both administrators as having

addresses in China. (Ex. H.)



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       47.     More broadly, the Estate’s administrators effectively control the day-to-day

business of SJHC, a large Chinese real estate business worth at least $100 million USD, and

operating entirely within Mainland China. They clearly must transact business in RMB on a

regular basis, and have presumably received income from its operations in RMB. In fact, Ms. Ke

Yeying is SJHC’s general manager. As such, she is presumably required by Chinese law to be

paid compensation, and to pay taxes, and the like. All of this would be done in RMB.

       48.     Further confirming these points, Mr. Ke’s representatives designated a particular

Chinese company, Shanghai Qingxuan Enterprise Management Consulting Co., Ltd. (上海青玄

企业管理咨询有限公司, in Chinese) to receive the Jiuting Shops, and public records in China

show that that company is owned solely by Ms. Zhang. (Ex. I.) The company is identified as a

domestic Chinese company, indicating again that Ms. Zhang is a Chinese citizen.

       49.     I cannot understand how Mr. Ke’s representatives can undertake extensive

business in China, via Chinese companies, and yet somehow claim that it would be impossible to

receive payment in the official Chinese currency, RMB.

Conclusion

       50.     If legal proceedings are necessary, they should take place in China, which is

where the underlying events took place. A proceeding in China is better suited to ensuring that

any steps to carrying out the Award (including payments) will comply with Chinese law, and that

the steps will actually happen. The relevant people, entities and government agencies are

primarily located in China, as I have summarized on the attached Appendix I. In fact, there is

already ongoing litigation in China relating to one aspect of the 2010 Agreement (the settling of

certain of the pre-existing SJHC debts). I am of course willing to submit to the jurisdiction of a




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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

ESTATE OF KE ZHENGGUANG,

                                       Petitioner,

                  —against—
                                                      8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                      Respondent.


                        REPLY DECLARATION OF STEPHANY YU

       1.      I am the respondent in this case, and submit this reply declaration in further

support of my motion to dismiss the case. Unless indicated otherwise, the statements in this

declaration are based on my personal knowledge, and the exhibits are true copies of the originals.

       2.      As detailed in my initial declaration, I have been trying for over a year now to

carry out the terms of the arbitration award that gives rise to this case (the “Award”), only to be

met with obstacles from the claimants, including their inability to agree on how to proceed. This

has been time consuming and expensive for me personally. I would much prefer to put this case

in the past, and never deal with either of the claimants again.

       3.      I have reviewed the Declaration of Ke Yeying opposing my motion to dismiss,

and it contains several misstatements that must be corrected. Specifically, she claims that my

obligations under the award are “straightforward” and “clear” and then tries to list the steps I

have “refused to perform,” with “manufactur[ed] excuses.” (Ke Decl. ¶¶ 13-14.) She also

claims that the actions of the Estate’s co-claimant, Xu Hongbiao “have no effect or bearing” on

carrying out the Award. (Id. ¶ 21.)
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        4.      These statements ignore entirely the details provided with my moving papers as to

why carrying out the award has been impeded at every turn by the claimants’ infighting and

failure to cooperate. She does not even try to address the extensive correspondence included

with my motion. These statements also ignore the fact that the claimants have had control over

SJHC and the Jiuting Shops for almost 10 years now, while I still have not received the villas

that were supposed to be provided in return. Again, it would be better for me to have this

process completed.

        5.      The current state of the disputes is summarized briefly in a letter that my lawyers

in China sent to counsel for the Estate and for Mr. Xu on May 10, 2019. (Ex. A.) The main

points are recited below.

        6.      Transfer of the Jiuting Shops (Order 1). The claimants have failed to give

uniform direction as to how ownership should be divided and what designated companies should

receive the properties. (Id. at 2.) Ms. Ke indicates in her declaration (for the first time) that the

two claimants have agreed that “50% ownership of each title” for each should be transferred to

the “recipient” each has specified. (Ke Decl. ¶ 22.) The problem is that Mr. Xu has designated

himself (a natural person) and the Estate has designated a company. As I understand it, the local

regulators will not allow for ownership to be divided in this way.

        7.      Transfer of the Villas (Order 2). Ms. Ke speculates that I have not specified a

company to receive the villas because I am trying to create an excuse to not make the final

payment in Order 8. (Ke Decl. ¶ 14 & nn. 4-5.) That is not true. As she well knows, it would

create negative tax consequences for both sides if the villas and the Jiuting Shops are not

exchanged simultaneously. In any case, my counsel’s letter identifies the company that will

receive the villas. (Ex. A, at 5.)



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         8.    Settlement of SJHC Debts (Order 3). The SJHC debt settlement payment

cannot be made for the simple reason that the claimants are fighting over where the money

should go. (Id. at 3.) The Estate wants the funds to go to a bank account with SJHC, but Mr. Xu

will not agree, because he believes he was wrongly pushed out of SJHC. (Gu Decl. Ex. 13.)

         9.    Providing the Audit Report for SJHC Transfer (Order 4). Providing the audit

report is an obligation of the claimants, and, despite repeated demands, they have not complied.

         10.   Transfer of SJHC (Orders 5-7). Because the Estate and Mr. Xu are bitterly

divided over control of SJHC, they cannot agree as to how to carry out the procedures for

obtaining regulatory approval to formally transfer the company, nor have they provided the

necessary documentation. (Ex. A, at 4.) While Ms. Ke now states that the regulatory approval

can be pursued by me or my representatives “accompanied by a SJHC representative” (Ke. Decl.

¶ 14 (Orders 5 and 7)), the Estate’s lawyers have all along insisted that SJHC “lead the equity

transfer” via its hand-picked representative, Zhu Qianqian. (Gu Decl. Ex. 19, at 3.) Mr. Xu has

refused to agree to this approach, and made clear that, as far as he was concerned, Ms. Zhu was

not authorized to act for SJHC. (Id. Ex. 25, at 1.) Our company, Oasis Investment Group

Limited (“Oasis”), has done everything in its power to advance the process, including signing the

relevant share transfer agreement, and issuing the shareholders’ resolution approving the transfer.

(Id. at 3-5.) In fact, an Oasis subsidiary, Greencourt Properties Limited (“Greencourt HK”)

recently filed suit in China to force SJHC to honor the share transfer agreement, so that the SJHC

transaction can finally advance. (Exs. B, C.) I authorized this suit to be filed because I want this

process completed. Ms. Ke’s accusations that I am trying to duck responsibility are simply not

true.




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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

ESTATE OF KEZHENGGUANG,

                                      Petitioner,

                  —against—
                                                      8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                    Respondent.


               DECLARATION OF GU YONG [ENGLISH TRANSLATION]


1.       My name is GU Yong (顾勇) and I am a board director of the Shanghai Greencourt

Real Estate Development Ltd. (上海绿庭房地产开发有限公司, in Chinese) (“Greencourt Real

Estate Development”) and a board director of the Shanghai Greencourt Kechuang Ecological

Technology Co. Ltd (上海绿庭科创生态科技有限公司, in Chinese; formerly “Shanghai Oasis

Kechuang Ecological Technology Co. Ltd.”, 上海绿洲科创生态科技有限公司, in Chinese)

(“Oasis Kechuang”), based in Shanghai, People’s Republic of China (“PRC” or “China”).

Greencourt Real Estate Development and Oasis Kechuang are affiliates of Oasis Investment

Group Limited (“Oasis”) and I make this declaration in support of the motion to dismiss filed by

Ms. Stephany Yu in the pending litigation before the District Court of Maryland. I am over the

age of 18 and if called to testify to the matters set forth in this Declaration, I would be competent

to do so. The statements in this declaration are based on my personal knowledge (except where

indicated otherwise) and the exhibits are true copies of the originals. My native language is
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Mandarin Chinese, and I understand that this Declaration will be translated into English for the

benefit of the Court.


2.       I have personal knowledge of the various Chinese transactions contemplated by the

“Agreement on the Implementation of ‘The Preliminary Share Restructuring Agreement,’” dated

April 28, 2010 (the “2010 Agreement”) and the arbitral award issued on February 28, 2018

(“Award”) and have been involved in pushing forward the implementation of the share transfers

and the property transfer in those transactions in China on behalf of Oasis and its controlling

shareholders. Since the Award was issued, Oasis and its controlling shareholders have been

working hard to urge forward the transactions that are reflected in the 2010 Agreement and the

Award. However, these efforts have been significantly impeded by Mr. KE Zhengguang’s

representatives and also by Mr. XU Hongbiao, the applicants in the Hong Kong arbitration.


3.       One of the primary matters that the Award contemplates must be addressed is having

the ownership in Shanghai Greencourt Four-Season-Flower-City Property Development Co.,

Ltd. (上海绿庭四季花城房地产开发有限公司, in Chinese) (“SJHC”) restructured to align with

the 2010 Agreement. SJHC is a Chinese joint venture company with Hong Kong investment

engaged in real estate development in China, and, as such, under Chinese law and regulatory

practice, changing the ownership in SJHC and effecting the parties’ agreements can be a

complicated process, and involves at the very least, the submission by a representative or an

agent designated by SJHC to the commercial department of the local government of filing

documents, share transfer agreements and a series of supporting documents for PRC regulator

scrutiny and verification.   Oasis and its controlling shareholders have worked to urge those

transactions forward, but they cannot be effected without cooperation from Mr. KE’s



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representatives and Mr. XU, especially as control over SJHC had already been transferred from

Greencourt Properties Limited (绿庭置业有限公司, in Chinese) (“Greencourt HK”) and Oasis

Kechuang to Mssrs. KE and XU as explained in detail below.


4.         In this Declaration, I first summarize those steps that Oasis and its controlling

shareholders have taken to urge forward the ownership changes in SJHC (namely Orders 4, 5,

and 7 of the Award) and then outline those steps Oasis and its controlling shareholders have

taken to urge forward the property exchange transactions contemplated by the 2010 Agreement

and the Award (Orders 1 and 2 of the Award). I also highlight various points of resistance we

have encountered from Mr. KE’s representatives and Mr. XU from the letters and

correspondence that have been exchanged between counsel for the respective parties in this

dispute.


THE CONTROL OF AND CHANGING THE REGISTERED OWNERSHIP IN SJHC

5.         Orders 4-7 of the Award relate to the changes in registered ownership that are to happen

to SJHC, a Chinese joint venture company with Hong Kong investment, to implement the 2010

Agreement. Orders 4-7 reflect a series of steps that are necessary to affect this registered

ownership change in China. These Orders reflect that certain documents need to be collected,

prepared, and executed for submission to the PRC authorities in support of the ownership

changes to SJHC. Many of these steps have already been accomplished, but some of them are

not in the control of Oasis (or its controlling shareholders, Respondent Ms. YU and her sisters,

YU Naiwen and YU Naiyun).


6.         SJHC is a Chinese company organized as a joint venture with Hong Kong investment

under Chinese law. Greencourt HK owns 80% of the registered capital in SJHC and Shanghai


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Oasis Kechuang Ecological Technology Co. Ltd (上海绿洲科创生态科技有限公司, in

Chinese) (“Oasis Kechuang”) owns 20% of the registered capital in SJHC. The 2010 Agreement

and the Award contemplate that 80% of the ownership interest in SJHC will be transferred from

Greencourt HK to another Hong Kong company, a company named Shibang Company Limited (

世邦有限公司, in Chinese) (“Shibang”) and that the 20% ownership interest in SJHC will be

transferred from Oasis Kechuang to a Chinese company jointly designated by Mr. KE (now his

representatives after his passing) and Mr. XU.


7.      Prior to the execution of the 2010 Agreement (as memorialized in Clause 2.3.5 of the

2010 Agreement), Oasis and its controlling shareholders had already transferred day-to-day

control over SJHC to Mssrs. KE and XU. I understand that Oasis and its controlling

shareholders had already delivered its actual control of SJHC (including management documents,

financial documents, bank accounts) to Mssrs. KE and XU in the late 2009/early 2010 timeframe.

Greencourt HK and Oasis Kechuang appointed four people that had been jointly designated by

Mssrs. KE and XU to be the board directors of SJHC in September 2010. I understand that the

four board directors appointed were Mr. XU Hongbiao (徐宏标, in Chinese), who became the

first applicant in the Hong Kong arbitration, Mr. KE Zhengguang (柯铮光, in Chinese), who

became the second applicant in the Hong Kong arbitration, Mr. KE Zhengfu (Mr. KE’s brother)

(柯铮夫, in Chinese), and Mr. XU Liangyan (许良彦, in Chinese). After Mr. KE Zhengguang’s

passing, I understand that Ms. KE Yeying (Mr. KE’s daughter and one of the administrators for

Mr. KE’s assets named by the Petitioner in this litigation), was appointed as the director in SJHC

who would replace Mr. KE Zhengguang and that this change took place in March 2014. Ms. KE

was also appointed by the board of SJHC as the general manager for SJHC and I understand


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remains so to this day. I further understand that Ms. KE maintains the control over the use of

SJHC’s corporate seal and incorporation certificate for SJHC. I understand the current board of

SJHC consists of Mr. XU Hongbiao, Ms. KE Yeying, Mr. KE Zhengfu, and Mr. XU Liangyan. I

understand that Mr. XU Liangyan is the Legal Representative of SJHC.


8.       Since the issuance of the Award, Oasis and its controlling shareholders have been

working diligently on the ground to coordinate with Mr. KE’s representatives and Mr. XU to

urge the ownership share transfers. The share transfer agreement contemplated by Order 5 and

other relevant documents, including the shareholder’s resolution of SJHC approving the 80%

share transfer and the Statement of Waiver of Right of First Refusal by Oasis Kechuang, have

already been signed or issued. The ownership transfer agreement contemplated by Order 7 has

already been prepared. However, those transfers cannot be effected if Mr. KE’s representatives

and Mr. XU refuse to cooperate with providing the documents required to be submitted to the

PRC authorities for the transfer. While Order 6 relates to the transfer of ownership and control

over Shibang, ownership and control over Shibang does not become important until after the

transfer from Greencourt HK to Shibang of 80% of the ownership in SJHC has been effected.


9.       Despite Oasis and its controlling shareholders’ good faith efforts, Oasis and the

controlling shareholders’ attempts to push forward the ownership share transfer process for

SJHC have been impeded by Mr. XU and Mr. KE’s representatives. For example, Mr. XU has

demanded that the board membership in SJHC must first be changed before the ownership

changes can take place. Representatives for Mr. KE have rejected Mr. XU’s demands, leaving

Oasis and its controlling shareholders without clear instructions. I provide some more detail

below from the letters that have been exchanged between counsel for the respective parties.



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a) On May 3, 2018, counsel for Mr. XU wrote to counsel for Oasis and its controlling

   shareholders, with copy to counsel for representatives for Mr. KE, demanding that Oasis

   and its controlling shareholders re-appoint SJHC’s current board directors, legal

   representative and general manager before the ownership interests in SJHC were

   transferred. (Ex. 8.) Mr. XU alleged that he had lost control over SJHC and asserted that

   SJHC had participated in a series of “unthinkable” incidents while it was under “illegal

   control” (presumably, of Mr. KE’s representatives). (Id. at 1)


b) On May 9, 2018, counsel for Mr. KE’s representatives rejected Mr. XU’s demand to

   replace board directors and the legal representative in SJHC indicating that changes to the

   governance structure of SJHC was a matter to be discussed and agreed to by both Mr. XU

   and the representatives for Mr. KE, and that such matters were to be decided after the

   ownership transfer of SJHC was completed. (Ex. 10., ¶ 3)


c) On May 18, 2018, counsel for Mr. XU wrote to counsel for Oasis and its controlling

   shareholders again, with copy to counsel for representatives for Mr. KE, stating that he

   believed Mr. KE’s representatives “had not expressed disagreement” with respect to the

   re-appointment of board directors demanded by Mr. XU and therefore asked Oasis and its

   controlling shareholders to provide comments on the replacement plan proposed by Mr.

   XU. (Ex. 12.)


d) On May 24, 2018, in order to be able to move forward with the ownership share transfer

   process in SJHC, counsel for Oasis and its controlling shareholders wrote to counsel for

   Mr. XU, with copy to counsel for Mr. KE’s representatives, highlighting their conflicting

   positions and calling on them to resolve their disputes among themselves. (Ex. 17.)


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      e) On June 30, 2018, counsel for Mr. XU wrote to counsel for Oasis and its controlling

         shareholders with copy to counsel for KE’s representatives, stating that Mr. XU had

         received documents that suggest “serious legal issues” in SJHC project contracts, and that

         he also learned that Mr. XU Liangyan had become physically unfit to perform the duties

         of legal representative for SJHC. (Ex. 15.) Counsel for Mr. Xu asserted that since Mr.

         KE’s representative became a board director and general manager of SJHC, Mr. XU’s

         control and management rights in SJHC had been “illegally encroached” and that, in spite

         of this, Oasis and its controlling shareholders were still unreasonably rejecting his

         instructions to replace the board and the legal representative in SJHC. He further

         asserted that those who were controlling SJHC (presumably KE’s representatives) had

         seriously damaged normal operations and the commercial rights and interests of SJHC

         which seriously threatened and damaged his legitimate rights and interests in SJHC. (Id.)

         Mr. Xu further disavowed responsibility for any harm caused to Oasis and its controlling

         shareholders and threatened to “pursue [Oasis and its controlling shareholders]” for all

         losses resulting from their failure to act. (Id.)


      f) On July 5, 2018, counsel for Mr. KE’s representatives objected again to the replacement

         of board directors and legal representative for SJHC. (Ex. 16.)


10.       Besides their diverging instructions regarding changing the corporate governance

structure in SJHC, Mr. XU and Mr. KE’s representatives have also given conflicting and

irreconcilable instructions regarding how the ownership share transfer procedures should be

carried out. It was agreed by both Mr. XU and Oasis and the controlling shareholders that it

should be Oasis and the controlling shareholders to lead the work on share transfer procedures

and to collect the documents for submission to the government authorities. However, Mr. KE’s

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representatives have repeatedly demanded that SJHC lead the work on share transfer procedures

and the relevant documents should be submitted to SJHC instead of Oasis and the controlling

shareholders. Mr. XU also rejected individual designated by Mr. KE’s representatives to handle

the share transfer procedures on behalf of SJHC. In addition, Mr. XU and Mr. KE’s

representatives have also refused to provide to Oasis and the controlling shareholders the

relevant documents required for effectuating the share transfer for SJHC, including SJHC’s audit

report, despite Oasis and its controlling shareholders’ tremendous efforts in trying to lead and

coordinate the process. I provide some more detail below from the correspondences between

counsels for the respective parties.


   a) On April 2, 2018, counsel for Oasis and the controlling shareholders wrote to counsel for

       Mr. XU and counsel for Mr. KE’s representatives, requesting copies of the most recently

       issued business license, Articles of Association and audit report of SJHC for use in

       preparation for the share transfer documentation. (Ex. 3, ¶ 7.)


   b) On April 13, 2018, counsel for Mr. KE’s representatives replied to counsel for Oasis and

       the controlling shareholders, advising that they would provide SJHC’s business license

       and Articles of Association thereafter and would also provide SJHC’s audit report when

       it is ready. (Ex. 5, ¶ 8.)


   c) On April 26, 2018, counsel for Mr. KE’s representatives changed their mind and refused

       to provide a copy of SJHC’s audit report to Oasis and the controlling shareholders and

       instead demanded all documents for share transfer that are in the possession of Oasis and

       its controlling shareholders be provided to KE’s representatives for submission to the

       PRC authorities. (Ex. 6.)


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d) On April 30, 2018, counsel for Oasis and its controlling shareholders noted to counsel for

   Mr. KE’s representatives and counsel for Mr. XU that they would provide the share

   transfer agreement and other documents required for the share transfer to Mr. XU and Mr.

   KE’s representatives by May 10, 2018 after confirming the documentation requirements

   with the relevant government authorities. (Ex. 7.) Counsel for Oasis and its controlling

   shareholders asked again to be provided with SJHC’s audit report, business license and

   Articles of Association of SJHC. (Id., ¶ 3)


e) On May 9, 2018, Counsel for Mr. KE’s representatives replied to counsel for Oasis and

   its controlling shareholders, refusing to provide the documents requested and demanded

   again all share transfer documents be provided to Mr. KE’s representatives. (Ex. 10.)


f) On July 19, 2018, counsel for Oasis and the controlling shareholders wrote to counsel for

   Mr. XU and counsel for Mr. KE’s representatives, providing the required document list

   for the share transfer that had been confirmed with an agency company (Shanghai

   Yingtong Enterprise Consulting Co., Ltd) (“Agency Company”) which had been

   previously retained by SJHC to assist with the share transfer process. (Ex. 18.) Most of

   the documents on the list needed to be prepared by Mr. XU and Mr. KE’s representatives

   or SJHC while others needed to be prepared by Oasis and the controlling shareholders.

   Along with the list, counsel for Oasis and the controlling shareholders also provided draft

   agreements and other documents that that had been prepared by Oasis and the controlling

   shareholders for review by Mr. XU and Mr. KE’s representatives. (Id.) Counsel for Oasis

   and the controlling shareholders asked Mr. XU and Mr. KE’s representatives to send the

   documents that they needed to prepare to counsel for Oasis and the controlling



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   shareholders, who would then forward those documents to the Agency Company for

   submission to the PRC authorities. (Id.)


g) On August 6, 2018, counsel for Mr. KE’s representatives wrote to Oasis and the

   controlling shareholders, with copy to counsel to Mr. XU, demanding again that SJHC

   lead the work on the share transfer procedures and designating a Ms. Zhu Qianqian (title

   stated to be Assistant to General Manager) as SJHC’s contact who would be responsible

   for handling the SJHC share transfer. (Ex. 19.) Counsel to Mr. KE’s representatives also

   asked for additional time to verify the documentation requirements and other issues. (Id.)


h) On August 31, 2018, counsel for Oasis and the controlling shareholders wrote to counsel

   for Mr. KE’s representatives, with copy to counsel for Mr. XU, stating that Oasis and the

   controlling shareholders had contacted Ms. Zhu Qianqian on August 7 and 21 of 2018,

   respectively, but had not been provided with the relevant share transfer documents. (Ex.

   20.)


i) On September 7, 2018, Zhu Qianqian wrote to counsel for Oasis and the controlling

   shareholders, demanding that the share transfer documents be sent to her. (Ex. 21.) This

   September 7, 2018 letter bears neither the seal nor the letterhead of SJHC.


j) On September 19, 2018, counsel for Mr. XU wrote to counsel for Oasis and the

   controlling shareholders, with copy to counsel for Mr. KE’s representatives, stating that,

   pursuant to the Award, the procedures for the 80% share transfer to Shibang should be

   handled by Oasis and the controlling shareholders, with SJHC providing the necessary

   assistance and documents required for the transfer, and that, apart from this, SJHC and



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         Mr. KE’s representatives should not interfere with or obstruct the transfer process

         handled by Oasis and the controlling shareholders. (Ex. 23)


      k) On September 29, 2018, counsel for Oasis and the controlling shareholders wrote to

         counsel for Mr. KE’s representatives and counsel for Mr. XU, asking for authorization

         documents issued by SJHC and Mr. XU with regard to whether Zhu Qianqian could

         participate in the share transfer procedures as the authorized representative for SJHC. (Ex.

         24.) Counsel for Oasis and the controlling shareholders also stated that the share transfer

         procedures should be led by Oasis and its controlling shareholders (which they had been

         diligently trying to do) because the award had required Oasis and the controlling

         shareholders to urge the transfer forward and also because SJHC was neither a party to

         the arbitration nor to the share transfer. (Id.)


      l) On October 5, 2018, counsel for Mr. XU wrote to counsel for Oasis and the controlling

         shareholders, with copy to counsel for Mr. KE’s representatives, stating that Ms. Zhu

         Qianqian had not been authorized by SJHC or Mr. XU to handle the shares transfer in

         SJHC and that Mr. XU completely agreed with Oasis and its controlling shareholders that

         the transfer procedures should be coordinated and led by the Oasis and the controlling

         shareholders. (Ex. 25.)


11.       Until now, Mr. KE’s representatives have simply not provided Oasis and its controlling

shareholders with the documents (including the audit report) that are needed to effectuate the

ownership transfer with the relevant PRC authorities, despite repeated requests to do so by Oasis

and its controlling shareholders as set forth above.




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12.        On the other hand, as set forth below, recently Mr. XU has also refused to cooperate

with the preparation of documents for the shares transfer and has indicated to counsel for Oasis

and its controlling shareholders that he would not move forward with the ownership transfer until

the controlling shareholders of Oasis help him to obtain control of SJHC.


      a) On January 23 &25, 2019, counsel for Oasis and the controlling shareholders emailed

         counsel for Mr. XU, requesting him to re-sign a June 2018 board resolution of Shibang

         which he had previously signed as one of the two directors of Shibang, so that Ms.

         Stephany Yu (the other board director of Shibang) would be authorized to have relevant

         documents of Shibang legalized in Hong Kong for the shares transfer in SJHC. (Ex. 29.)


      b) According to counsel for Oasis and its controlling shareholders, on January 30, 2019,

         during a face-to-face meeting with them, Mr. XU refused to re-sign the board resolution

         of Shibang stating that he would look to Ms. Stephany Yu to support him to regain

         control of SJHC and he would not push forward the 80% share transfer in SJHC before

         that.


13.        In addition to the document requests sent by counsel for Oasis and the controlling

shareholders to counsel for Mr. XU and counsel for Mr. KE’s representatives as set out above,

additional specific requests with respect to the transfer of 20% shares in SJHC as contemplated

in Order 7 were also made to Mr. XU and counsel for Mr. KE’s representatives. On September

29, 2018, counsel for Oasis and the controlling shareholders asked Mr. XU and Mr. KE’s

representatives to advise as to their mutually agreed plan regarding the apportionment of tax for

the 20% share transfer pursuant to the Award. (Ex. 24.) So far, we have not yet received such

information from Mr. XU and Mr. KE’s representatives. Moreover, Oasis and the controlling


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shareholders have also been advised by the Agency Company that if the 80% shares transfer and

the 20% shares transfer are handled at the same time, the PRC government authorities may not

agree to effect the changes.


PROPERTY EXCHANGE TRANSACTIONS CONTEMPLATED BY
THE 2010 AGREEMENT AND THE AWARD

14.      The Jiuting properties that are subject to the 2010 Agreement and the Award refer to

commercial properties of a total area of approximately 8,000 square meters in the Greencourt

Sun City Real Estate Project located at Jiuting, Songjiang District, Shanghai City, which

comprises of about 6,000 square meters in buildings of the first-stage of the project and about

2,000 square meters at the Central Plaza of the second-stage of the project (as memorialized in

Clause 3.1 of the 2010 Agreement). The Jiuting properties totaling 8,000 square meters

comprise of 14 properties (title certificates).


15.      In order to execute the 14 sales agreements for the 14 properties and effect the

transactions contemplated by the 2010 Agreement and the Award with regard to the Jiuting

properties, as a first step, Mr. XU and Mr. KE’s representatives must notify Oasis and the

controlling shareholders of their designated transferee(s) to receive the properties. If they each

designate a different transferee, they must also advise Oasis and the controlling shareholders on

their agreement as to how to divide the properties, including the proportion to each, and whether

they would jointly share each of the properties (title certificate) or if they would split the

properties at an agreed proportion in terms of price or space, with Mr. XU and Mr. KE’s

representatives each owning some of the shops. In addition, as applications for title change need

to be submitted to and reviewed by local government authorities that are responsible for

effectuating the change, the mode of division once agreed by Mr. XU and Mr. KE’s


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representatives, must also be acceptable to such government authorities in order for the title

transfer to be successful.


16.        Oasis and the controlling shareholders have made significant efforts, including notifying

Greencourt Real Estate Development to start moving forward with preparing for the property

transfer as soon as they received the award and Greencourt Real Estate Development moving its

sales office for the Jiuting shops in May 2018 after being pressed by Oasis and the controlling

shareholders. In addition, Oasis and the controlling shareholders also worked hard to coordinate

with Mr. XU and Mr. KE’s representatives in trying to push forward the property transactions.

However, Oasis and the controlling shareholders’ efforts have been impeded as Mr. XU and Mr.

KE’s representatives have not clearly instructed Oasis and the controlling shareholders as to their

mutual agreement on the designation of transferees and how to divide the property. I provide

some more detail below from the letters that have been exchanged between counsels for the

respective parties.


      a) On March 23, 2018, counsel for Mr. KE’s representatives notified counsel for Oasis and

         the controlling shareholders that they would advise about the transferees after consulting

         with Mr. XU. (Ex. 1.)


      b) On March 28, 2018, counsel for Mr. XU wrote to counsel for Oasis and its controlling

         shareholders, with copy to counsel for Mr. KE’s representatives, designating a company

         named “Shanghai Jingquan Cultural Development Co., Ltd.” to receive “50% of the

         ownership of Jiuting Store[s].” (Ex. 2, ¶ 1.)


      c) On April 2, 2018, counsel for Oasis and the controlling shareholders wrote to counsel for

         Mr. XU and counsel for Mr. KE’s representatives, asking the latter to confirm whether

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   they accept the company designated by Mr. XU as the transferee for the Jiuting properties

   and to advise on how the properties should be divided. (Ex. 3.) They also asked counsel

   for Mr. XU to clarify what they meant by “50% ownership of Jiuting [Stores]” in the

   March 28, 2018 email. (Id., ¶ 2(b))


d) On April 6, 2018, counsel for Mr. XU wrote to counsel for Oasis and the controlling

   shareholders, with copy to counsel for Mr. KE’s representatives, instructing that 50% of

   ownership in each of the title certificate of the Jiuting properties should be respectively

   transferred to Mr. XU and Mr. KE’s representatives or third party(s) designated by them.

   (Ex. 4, ¶ 1(b).)


e) On April 13, 2018, silent about Mr. XU’s instruction dated April 6, 2018, counsel to Mr.

   KE’s representatives advised counsel for Oasis and the controlling shareholders, with

   copy to counsel for Mr. XU that they would submit a “joint proposal” that contained

   transferee information. (Ex. 5, ¶ 6.)


f) On May 3, 2018, counsel for Mr. XU advised counsel for Oasis and the controlling

   shareholders that he would reply on the transfer of the Jiuting stores shortly thereafter.

   (Ex. 8, at 2.)


g) On August 31, 2018, Oasis and the controlling shareholders again emailed Mr. Xu and

   Mr. Ke’s representatives stating that they had been unable to proceed as they had not

   been given uniform instruction. (Ex. 20.)


h) On September 11, 2018, counsel for Mr. KE’s representatives wrote to counsel for Oasis

   and the controlling shareholders, with copy to counsel for Mr. XU, stating that they had


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       reached agreement with Mr. Xu to have “50% of Jiuting store’s equity” transferred to

       companies respectively designated by them, and designated a company named Shanghai

       Qingxuan Business Management Consulting Co., Ltd. as their transferee. (Ex. 22, at 1.)

       However, counsel for Mr. KE’s representatives did not clarify what they meant about

       transferring “50% of Jiuting store’s equity”, i.e., whether Mr. XU and Mr. KE’s

       representatives had agreed to own each title certificate by 50/50 or they would divide the

       properties by 50/50 in terms of price/space, with each owning some of the shops.


   i) On September 19, 2018, counsel for Mr. XU wrote to counsel for Oasis and its

       controlling shareholders, with copy to counsel for Mr. KE’s representatives, advising that

       Mr. XU changed his transferee from the company he previously designated in the March

       28, 2018 letter to himself because he learned that, in practice, titles to shops cannot be

       processed to be jointly owned by two companies. (Ex. 23, ¶1.)




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.




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 Executed on April 8, 2019.

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                                                    UNITED sTΛ TEs DIsTⅢ CT COURT
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                                                      Respondent.



                                                            顾勇之声 明书


1                                              ”
             我 叫顾 勇 ,是 上海 绿庭房地产开发有 限公司 (“ 绿庭房地产 )的 董 事 ,以 及上

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海绿庭科创生态科技有 限公司 (原 上 海绿洲科创生态科技有 限公司 , 绿洲科创 ” )的 董

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事 ,位 于 中华人 民共和 国 (“ 中国 )上 海市 . 绿庭房地产和绿洲科创是绿洲投资集 团有

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限公司 (“ 绿洲 )的 附属公司 。我 出具本声 明是用来支持 stcpllany Yu女 士在马里兰地

区联邦法院 的未诀诉讼 中所提交 的驳 回起诉动议 。我 已年满 18岁                                                       ,如 获传 召就本声 明书

所述事项作证 ,将 具备如是作证的能力 。本声 明的 内容是根据我个人所知信 息 (除 非另行

说 明 ),且 附件 中的文件都是原件 的真实复 印件 .我 的母语是中文 ,我 了解本 声 明将会被

翻译成英文 以便于法庭理解                                   .




2            我知道 于 ⒛ 10年 4月 28日 签署 的 《关于执行 《股份重组初 步协议》 的协议书》

 (“ 《2010年 协议》 ” )以 及 于                                2018年 2月 28日 做 出的仲裁裁决                   (“ 《    ”
                                                                                                   裁 决》 )中

所预期在 中国进行 的各项交易 ,也 参与 了代表绿洲及其控股股东在 中国推进这些交易中的

股权变更事宜与房产互换事 宜的实施 . 自 《裁决》做 出以来 ,绿 洲及其控股股 东 一 直在
    Case
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努力促使 《⒛ 10年 协议》和 《裁决》中所述 的交 易 . 然而 ,这 些努 力受到 了香港仲裁 中

的 申请人柯铮光先生之代表 以及徐宏标先生 的严重 阻碍 .


3       《裁决》中所载 的 -个 需进行 的主要事项是根据 《
                                  ⒛ IO年 协议 》对上海绿庭 四季

                   ”
花城房地产开发有限公司 (“ 四季花城 )的 股杈进行重组 .四 季花城是 一 家在 中国从事

房地产开发 的含有香港投资的合 资 企业 ,根 据 中国法律和监管规定 ,变 更 四季花城股杈并

落实各方协议是一个复杂 的过程 ,至 少包括 由四季花城指定 的代表或委托 的代理人 向当地

商务主管部 门提交 申报文件 、 以及股权转让协议等 一 系列证 明文件 ,供 监管机构审查和核

准 .绿 洲投资及其股东 -直 在努力促使这些交易 ,但 如果柯先生之代表和徐先生不予 以配

合 ,这 些 交 易就 无 法完 成 ,尤 其 是 考虑 到 四季 花城 的控 制权 早 己从 绿 庭置 业 有 限公 司

(“ 绿庭香港 ” )和 绿洲科创转移给柯先生和徐先生                     下文详述 ).
                                           @口



4     在本声 明书 中 ,我 首先概述绿洲及其控股股东为促使 四季花城股权变更所采取 的

措施 (即 《裁决》的第       4、   5和 7号 命令 ),再 概述绿洲及其控股股 东为促使 《2010年 协

议》和 《裁决》所涉 的房地产互换交 易所采取 的措施 (《 裁决》 的第 l和 第 2号 令 ),

我 还 会重点介绍如本纠纷各方律师 的通信 中所体现 的我们受到 的来 自柯先生之代表和徐先

生 的各种阻力 .


对 四季花城 的控制权 以及股权登记 的变更



5      《裁决 》的第 ⒋7号 命令涉及对含有香港投资的合资企业 四季花城登记股权 的变

更 ,以 履行 《
        ⒛ IO年 协议 》 ,这 些仲裁命 令反映 了为在 中国实现该登记股权变更所 需采

取的一 系列步骤 。 这些仲裁命令意味着 需要收集 、准 备和签署某些文件并提交给 中国政
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府部 门 ,以 支持 四季花城 的股权变更 。 其 中多项步骒 已经 完成 ,但 其 中一 些 步骤并非 由

绿洲 (或 其控股股 东 ,被 告俞女 士及其姐妹俞乃雯和俞乃筠 )所 控制 .


6         四季花城是 一 家根据 中国法律组建 的性质为含香港 投资合资企业 的中国公司 .绿

庭香港持有 四季花城 gO%的 注册 资本 ,而 上海绿洲 利 仓刂
                                 生态 科技有 限公司 (“ 绿洲科

    ”
创       )持 有其 ⒛ %的 注册 资本 .根 据 《2010年 协议》和      《裁决》 ,绿 庭香港应将 四季花

                                  ”
城 80%的 所有权杈益转让给 另一 家名为世邦有限公司 (“ 世邦 )的 香港公司 ,且 绿洲

科创应将 四季花城 ⒛ %的 所有权权益转让给柯先生 (在 其去世后 ,现 为他 的代表 )和 徐

先生共 同指定 的一 家 中国公司。


7         绿洲及其控股股 东在签署 《20IO年 协议》之前 (如 该协 议第             235条 所述 ),对
四季花城 的实 际控 制权 己交给 柯先 生和徐 先生 。据我所知 ,绿 洲及其控股股 东 己在 20a9

年底 /2010年 初这段时 间将其对 四季花城的实 际控制权 (包 括经 营资料 、财务资利 、银行

账户 )交 给 了柯先生和徐先生 。绿庭香港和绿洲科创于 2010年 9月 委派 了四名 由柯先生

和徐先生共 同指定的人员作为 四季花城 的董事 .据 我所知 ,这 四位董事分别是香港仲裁 中

的第 一 申请人徐宏标先生 、香港仲裁 中的第 工 申请人柯铮光先生 、柯铮夫先生 (柯 先 生 的

哥哥 )和 许 良彦先生 .柯 铮光先生去世后 ,据 我所知 ,柯 烨颖女士 (柯 先 生 女儿 ,且 是本

诉原告之名的柯先生财产 的管理人 中的一 位 )在 2014年 3月 被委派为 四季花城 的董事                         ,




作为柯铮光先生 的替任 .柯 女 士还被 四季花城董事会聘任为 四季花城 的总经理 ,且 +F我所

知 ,柯 女 士至 今 一 直担任此职位 。另外 ,据 我 了解 ,柯 女 士还 掌管着 四季花城 的公章和证

照的使用 .据 我所知 ,四 季花城现任董事会成员 由徐宏标先生 、柯烨颖女 士 、柯铮夫先生

和许 良彦先生组成 ,其 中许 良彦先生为 四季花城 的法定代表人 .
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8      自 《裁决》做 出以来 ,绿 洲及其控股股 东 一 直 非常努力 的去与柯先生之代表和徐

先生 协调 ,以 促使股权 的转让 。第 5号 命令所涉及 的股权转让协议及其他相关 文件 ,包 括

批 准 80%股 权转 让 的四季 花城股东会决议 以及绿洲科创放 弃优先购 买杈 的声 明 ,都 己签

署或签发完成 .第 7号 命令所涉及 的所有权转让协议也 已起草完毕 .但 是 ,如 果柯先生之

代表和徐先生拒绝配合提供转让所 需提交给 中国政府部 门的文件 ,则 这些转让无法完成 .

第   6号 命令涉及对 世邦 的所有权和控制权 的转让 ,但 在绿庭香港得 以向世邦转让 8o%四

季花城所有权之前 ,世 邦 的所有权和控制权 问题意义不大 .


9      尽管绿洲及其控股股东做 出了真诚 的努力 ,但 其对于 四季花城股权转 让程 序 的lt

进受到 了徐先生和柯先生之 代表 的阻碍 .例 如 ,徐 先生要求在 四季花城所有权变更之前                            ,




必须先对 四季花城 的董事会成员进行更换 ,而 柯先生之代表拒绝徐先生 的要求 ,由 此导致

绿洲及其控股股 东得不到明确 的指示 。下面我将提供各方律师在通信交流 中的更多细节 。


    ω 2018年 5月 3日    ,徐 先生 的律师致 函绿洲及其控股股东 的律师 ,并 抄送柯先生之

      代表 的律师 ,要 求绿洲及其控股股东在 四季花城所有权权益转移之前重新委派 四季

      花城 的现任董事会成员和法定代表人 . (附 件              8)徐 先 生声 称 ,他 已经 失去 了对 四
                                      “    ”
      季花城 的管控权 ,且 声称 四季花城在被            非法控制 之下 (据 推测 ,是 指 由柯先生

                           “    ”
      代表所控制 )发 生 了-些        不可思议 事件 。 (月上 。见第 1段 )


    ω 2018年 5月 9日   ,柯 先生之代表 的律师拒绝 了徐先生关于替换 四季花城董事会成

      员和法定代表人 的要求 ,并 指 出对 四季花城治理结构 的变更应经徐先生和柯先生代

      表 的讨论和 同意 ,并 在 四季花城所有权转让完成后决定 . (附 件                10。   见第 3段 )
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C)   ⒛ 18年 5月 18日    ,徐 先 生 的律师再次致 函绿洲及其控股股东的律师 ,并 抄送柯先

     生 代 表 的律师 ,称 其认为柯 先生之代表 对徐先生关于重新委派董事 会 成员 的要求

      “       ”
       并没有表示异议 ,并 因此要求绿洲及其控股股 东对徐先生提 出的人员变更方案

     提供 意见 。(附 件 12).


     ⒛ 18年 5月 刎 日,为 了能够继续推进 四季花城股权转让 ,绿 洲及其控股股 东的律

     师致 函徐 先生 的律师 ,并 抄送柯先生之代表 的律师 ,指 出他们两方 的立场相互不一

     致 ,并 希望他们 自己内部协调解决争议 . (附 件 I7)


C)   20I8年 6月 30日 ,徐 先 生 的律师致 函绿洲及其控股股东 的律师 ,并 抄送柯 先生之

                                                    “       ”
     代表 的律师 ,声 称徐先生收到 了表 明四季花城 工程合约存在                严重法律 问题 的文

     件 ,并 称其得知许 良彦先生 的身体条件 己经不具备 履行作为 四季花城法人 代表 的能

     力 . (附 件 I5)徐 先生 的律 师声称 ,自 柯 先生之代表 出任 四季花城 的董事和总经

     理之后 ,徐 先生对 四季花城 的控制权和经营权 己被 “非法侵 占 ” ,并 称 绿洲及其

     控股股东不顾如此情况 ,仍 无理拒绝其替换 四季花城董事和法人代表 的指示 。徐先

     生进一 步声称 ,四 季花城 的控制人 (据 推测 ,指 柯先 生之 代表 )严 重损害 了四季花

     城 的正 常 营运及 商业杈 益 ,严 重威胁 和 损害 了其在 四季 花 城 的合 法权 益 .            (//

     士 。 )另   ,徐 先 生还宣称不会承担 由此 引致绿洲及其控股股 东的任何损失 ,并 威胁
     “               ”
      向[绿 洲及其控股股东]追 讨 一 切 因其不作为所 导致 的损失 ,               (同上 。 )

     2018年 7月 5日 ,柯 先生之代表 的律师再次拒绝对 四季花城董事和法人 代表进行

     替换 . (附 件 16)
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l0      除 了对 四季花城治理结 构变更做 出不 同指示外 ,徐 先生和柯先生之 代 表就股权转

让 手续如何进行所做 的指示也是相互 矛盾且不可调和的 。徐先生与绿洲及其控股股 东均 同

意 ,应 由绿洲及控股股 东主导股权转让手续的工作 ,并 收集 需提交给政府主管部 门的文件 。

然而 ,柯 先生之代表却多次要求 由四季花城来主导股杈转 让 手续 的工 作 ,并 要求将相关文

件交给 四季花城而非绿洲及其控 股股东 。徐先生亦拒绝 同意柯先生之代表指定 的人士作为

四季花城 的代表来 代表 四季花城办理股杈转让手 续 ,此 外 ,尽 管绿洲及其控股股东十分努

力地去主导和协调转让工作 ,但 徐先生及柯先生之代表还是拒绝 向绿洲及其控股股 东提供

实现 四季花城股杈转让所 需的相关文件 ,包 括 四季花城 的审计报 告 。 下面我将提供各方 律

师在通信交流 中的更多细节 .


 al2018年 4月 2日 ,绿 洲及其控股股东的律师致 函徐先生 的律师和柯先生之 代表 的

      律师 ,要 求其提供 四季花城最新 的营业执照 、公司章程 以及审计报告 ,以 供准备股

      权转让文件之用 . (附 件         3.见 第 7段 ).


 ω ⒛ 18年 4月 13日         ,柯 先 生之 代表 的律师 回复绿洲及其控股股东 的律师 ,告 知其随

      后将提供 四季 花城 的营业执 照和公司章程 ,并 将在 完成 审计报 告后 提供 该文件 。

       (附 件   5。   见第 8段 )


 cl⒛ 18年 4月 26日 ,柯 先生之代表 的律师改变主意 ,拒 绝 向绿洲及其控股股东提供

      四季花城审计报 告 的副本 ,而 是要求绿洲及其控股 股东将其持有 的所有文件交给柯

      先生之代表 ,以 提交予中国政府部 门 . (附 件 6)
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  2018年 4月 ⒛ 日,绿 洲及其控股股 东 的律师 向柯 先生之代表 的律师和徐先生 的律

  师告知 ,其 将在和相关机夫确认文件要求后 ,于 2018年 5月 IO日 之前将股权转让

  所 需的股杈转让协议等文件提供给徐先生 以及柯先生之代表 . (附 件                      7)绿 洲及其

  控股股 东 的律师再 次要求对 方提供 四季 花城 的审计报告 、营业 执 照和 公 司章程 .

   (刀 上 。见第 3段 )



Θ 20I8年 5月 9日    ,柯 先生之 代表 的律 师 回复绿 洲及其控 股股 东 的律 师 ,拒 绝提供

  所 要 求 的文 件 ,并 再 次 要 求 将 所 有 股 杈 转 让 文 件 提 供 给 柯 先 生 之 代 表 。 (附 件

  l0) 。



  2018年 7月 19日 ,绿 洲及其控股股 东的律师致 函徐先生的律师和柯先生之代表 的

  律师 ,提 供 了经 四季花城之前聘用 的协助办理股杈转让 的代理公司上海盈通企业 咨

                ”
  询有 限公司 (“ 代理公司 ))确 认 的股份转让所 需文件清单 . (附 件 18)清 单

 上 的大部分文件 需要 由徐先生和柯先生之代表或 四季花城准各 ,其 他文件则需要 由

 绿洲及其控股股东准备 。绿洲及其控股股东的律师还 随清单提供 了由绿洲及其控股

 股 东准备好 的协议草本和其他文件 ,供 徐先生及柯先生之代表 审阅 .                     (同上 。 )绿

 洲及其控股股东 的律师要求徐 先生和柯先生之代表提供他们所需准备 的文件给绿洲

 及其控股股东 的律师 ,并 由其 随后转交给代理公司用 以提交给 中国政府部 门。 (刀

 上 。)


 2018年 8月 6日 ,柯 先生之代表 的律师致 函绿洲及其控股股东 的律师 ,并 抄送徐

 先 生 的律师 ,再 次要求 由四季花城主导股权转让手续 ,并 指定 了朱倩倩女士 (职 位

 为总经理助理 )作 为 四季花城 的联系人 ,负 责办 理 四季花城股杈转让手续 . (附 件
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       19)另 ,柯 先 生 之代 表 的律 师 还 要 求 更 多时 间来 核 实 文 件 要 求和 其 他 问题 , (刀

       士 。)



ω ⒛ 18年 8月 31日        ,绿 洲及 其控股股 东 的律 师致 函柯 先 生之 代 表 的律 师 ,并 抄送 徐

       先生 的律 师 ,指 出绿 泖l及 其控股 股 东 己于 ⒛ I8年 8月 7日 和 21日 联系 了朱倩倩 女

       士 ,但 仍 尚未收 到相 关股权 转 让文 件 .      (附 件 ⒛ )


      2018年 9月 7日 ,朱 倩倩致 函绿洲及其控股股东 的律师 ,要 求将股权转让文件发

      给她 。 (附 件 2D20【 8年 9月 7日 的这封 函件 既没有 四季花城 的印章 ,也 没有 四

      季花城 的函头 .


j)    ⒛ I8年 9月 19日    ,徐 先生 的律师致 函绿洲及其控股股 东的律师 ,并 抄送柯先生之

      代表 的律师 ,表 示根据 《裁决》命令 ,BO%的 股杈转让至 世邦公司的程序应 由绿洲

      及其控股股 东负责办 理 ,四 季花城应提供必要协助和转让所 需的文件 ,除 此之外                          ,




      四季花城及柯先生之代表不应就绿洲及其控股 股东办理有夫转让 的过程作 出任何干

      涉和阻挠 。 (附 件 ⒛ )


k)    o0I8年 9月 29日 ,绿 洲及其控股股东的律师致 函柯先生之代表 的律师和徐先生的

      律师 ,请 徐先生对朱倩倩是否作为 四季花城 的有权代表参与股杈转让事宜 ,要 求 四

      季花城和徐 先生 出具授权 文件 . (附 件 24)。 绿洲及其控股股 东的律 师还指 出 ,

      股权转 让 手续应 由绿洲及其控股股 东主导 (其 一直 努力如此行事 ),因 为 《裁决》

      要求绿洲及其控股股东安排并促 使转 让 ,而 且 四季花城 既非仲裁 的一 方 ,也 非股权

      转让 的一方 (同上 。 )
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     D⒛   18年 10月 5日 ,徐 先生 的律师致 函绿洲及其控股股东 的律师 ,并 抄送柯先生之

       代表 的律师 ,告 知朱倩倩女士未取 得 四季花城或徐 先 生 的授权来处理 四季花城股杈

       转让事宜 ,且 徐先生表示 完全 同意绿洲及其控股股东 的意见 ,即 同意 由绿洲及其控

       股股东统筹和主 导转让程序 。(附 件 邪 )


11      到 目前为止 ,柯 先生之代表还没有 向绿洲及其控股 股东提供为进行股杈转让需 向

中国政府有夫部 门提交 的文件 (包 括审计报告 ),尽 管如 上 文所述 ,绿 洲及其控股股东 曾

多次要求提供该等文件 。


12      另 一 方面 ,如 下文所述 ,徐 先 生 亦于近期拒绝就股杈转让文件 的准备进行配合 ,

并 向绿洲及其控股股东的律师表示 ,除 非绿洲的控股股 东帮助其获得对 四季花城 的控制权                             ,




否则其不会继续推进股权转让 .


     al⒛ 19年 1月 23及    ⒛ 日,绿 洲及其控股股东的律师通过 邮件通知徐先生 的律师 ,

       要求徐先生重新签署其此前 己于 2018年 6月 作为世邦两名董事之一签署 的世邦董

       事会抉议 ,授 权 stcphally Yu女 士 (世 邦的另 一 名董事 )为 四季花城 的股权转让将

       世邦 的相关文件在香港进行公证 . (附 件 ∞ )


     bl据 绿洲及其控股股东的律师反 映 ,⒛ 19年           1月 30日   ,徐 先生在与其 的会面 中 ,表

       示拒绝重新签署世邦董事会决议 ,称 他希望 ⒏cphally Yu女 士 能就其重新获得对 四

       季花城 的控制杈 予 以配合 ,在 此之前他不 会推动 四季花城 sO%股 权转 让 .


13     绿洲及其控股股 东的律师 除了向徐先生 的律师和柯先生之代表 的律师发 出的如上

所述 的文件要求之外 ,还 向徐先生 以及柯先生之代表 的律师就第 7号 命令下所涉及 的四季
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花城 ⒛ %股 权转 让 提 出了其他具体要求 .2018年 9月 ” 日,绿 洲及其控股股东 的律师要

求徐先生和柯 先 生之 代表 告知其根据 《裁 决》就 20%股 权转 让 的税 费承担方案达成 的共

识,   (附 件 24)但 到 目前为止 ,我 们 尚未收到徐先生和柯先生之代表就此 的回应 。                         此夕卜  ,




代 理 公司亦 已告知绿洲及其控股股 东 ,如 果 同时处理 80%股 权转让 以及 20%股 权转让                        ,




中国政府主管部 门可 能不会 同意此等变更 。


《2010年 协议 》 以及 《裁决》所涉之房地产互换交 易

14       伦 010年 协议 》和 《仲裁裁决》中所涉及 的九亭房产是指位于上海松江 区九亭的

绿庭 尚城房产项 目下的商业用房 ,总 面积约 ⑽ 00平 方米 ,包 括位于项 目一 期约 ω OO平 方

米的房产 ,以 及位于项 目二 期 中心广场 的约 2000平 方米 的面积 的房产 (如 《⒛ 10年 协议》

第   31条 所述 ).总 计约 gO00平 方米 的九亭房产包含 I4套 房产             (产 权证 ).



15     为 了就这 14套 房产签署 14个 买卖合 同并完成 《⒛ IO年 协议 》和 《裁决》所述 的

九亭房产交易 ,首 先 ,徐 先生和柯先生之代表必须告知绿洲及其控股股 东其指定接收房产

的受让人 。如果他们各 自指定不 同的受让人 ,他 们还必须 向绿洲及其控股股 东告知他们就

房产如何分割所达成 的共识 ,包 括分割 比例 ,以 及他们将共 同掎有每套房产 (产 权证 ),

还是 将 以价格或面积为基础依照约定 比例分割房产 ,从 而每方拥有若干套商铺 。此外 ,由

于 需要 向负责办理产权登记 的当地政府部 门提交产权变更 申请 以供其审查 ,一 旦徐先生和

柯先生之代表就分割方式达成共识 ,该 分割方式也必须为该等政府部 门所接受 ,才 能成功

实现产权转移 。


16     绿洲及其控股股 东 已做 出极大 的努力 ,包 括 :收 到裁 决后 立 即通知绿庭房地产 开

始推动房产转让准备 ,在 绿洲及其控股股 东督促 下绿庭房地产销售办公室在 2018年 5月

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自商铺 内搬离 .并 且 ,绿 洲及其控股股东积极 与徐先生和柯先生之代表进行协调 ,努 力推

进房产转让 .但 是 ,由 于徐先生和柯 先生之代表未 明确告知绿洲及其控股股东其双方 就受

让 人 的指定 以及房地产 的分割所达成 的共识 ,致 使绿洲及其控股股东 的努力受阻。下面 我

将提供各方律师在通信交流 中的更多细节 。


 al2018年 3月 23日 ,柯 先生之代表 的律师通知绿洲及 其控股股东 的律师 ,表 示他们

   将在与徐先生 的律师商议后 ,告 知有关受让人的信息 . (附 件 l)


 b)⒛ I8年 3月 28日 ,徐 先生 的律师致 函绿洲及其控股股东 的律师 ,并 抄送柯先生之
                     “
   代表 的律师 ,指 定        上海景荃文化 发展有 限公司 ”接 收 “九亭商铺 50%所 有权 ” 。

    (附 件   2.见 第 I段 )


 o20I8年 4月 2日 ,绿 洲及其控股股东的律师致 函徐先生 的律师和柯先生之代表 的
   律师 ,要 求柯先生之代表确认是否接受徐 先 生指定的公 司作为九亭房产 受让人 ,并

   要求柯先生之代表告知房产分割 的方式 。 (附 件                    3)同 时 ,绿 洲及其控股股东的律
                                          “
   师还要求徐先生 的律师澄清其在 ⒛ I8年 3月 ⒛ 日电子邮件 中所提到 的 九亭商铺

              ”
   ~sO%所 有权       的意思 .   (同上 。见第 缈   l段   )




 dl2018年 4月 6日 ,徐 先 生 的律师致 函绿洲及其控股股 东的律师 ,并 抄送柯先生之

   代表 的律师 ,指 示 九亭房产每个房产证 的 50%份 额分别转让给徐先生及柯先生之

   代表 (或 他们指定 的第 三 方 )。        (附 件 4.见 第      I(b)段 )
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C)   ⒛ 18年 4月 13日   ,柯 先生之代表 的律师致 函绿洲及其控股股 东的律 师 ,并 抄送徐

     先生的律师 ,其 未就徐先生 的律师于 ⒛ 18年 4月 6日 所作 的指示做 出回应 ,但 告

     知他们将提交 一 份载 明受 让人 信息的 “共 同提议 ” 。 (附 件          5.见 第 6段 )

     2018年 5月 3日 ,徐 先 生的律师告知绿洲及其控股股 东的律师 ,其 将尽快就九亭

     商铺 的转让事宜作 出答复 . (删 件      8.见 第 2段 )


     2018年 8月 31日 ,绿 洲及其控股股 东再次致函徐先生和柯先生之 代表 的律师 ,指

     出由于没有得到统 一 的指示 ,他 们无法继续进一步行事 。 (附 件 ⒛ .)


h)   ⒛ I8年 9月 11日   ,柯 先 生之 代表 的律师致 函绿洲及其控股股东 的律师 ,并 抄送徐

     先生 的律师 ,声 称其 己与徐 先生达成共识 ,约 定将 “九亭商铺 50%的 权益 ”分别

     转让给他们双方各 自指定 的公司 ,且 其指定 上海青 玄企业管理咨询有 限公司作为其

     受 让人 . (附 件 ” .见 第 1段 )但 是 ,柯 先生之代表 的律师未澄清他们所说 的转

     让 “九亭商铺 50%的 权益 ” 的具体含义 ,例 如 ,徐 先 生和 柯 先生之代表是 同意 以

     5研 50的 比例持有每 一个房产证 ,还 是按         50/50的 比例按价格 /面 积分割房产 ,从 而

     各 自拥有其 中一 部分商铺 ,


     ⒛ 18年 9月 19日   ,徐 先生 的律师致 函绿洲及其控股股东 的律师 ,并 抄送柯先生之

     代表 的律师 ,告 知 由于徐先生 了解到商铺所有权 由两家公司共 同拥有在处理过程 中

     不具备可实现性 ,因 此将其受让人从此 前在 ⒛ 18年 3月 28日 函件 中指定 的公司变

     更为其 自己 , (附 件 ⒛ 。见第 l段 )




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    根据 《美 EEl法 典》第 ⒛ 编第 1746条     ,   我声 明上述情况属实 ,否 则将依美 国法律接

受伪证罪处 罚 .




    签署 日期 ;2019年 4月 8日 。




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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

ESTATE OF KE ZHENGGUANG,

                                     Petitioner,

                 —against—
                                                     8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                   Respondent.


              DECLARATION OF GU YONG [ENGLISH TRANSLATION]


1.      I make this declaration in support of the Reply filed by Ms. Stephany Yu to rebut

various statements in the Declaration of Ke Yeying filed in the pending litigation before the

District Court of Maryland on May 6, 2019.


2.      Ms. Ke’s allegations that implementation of the orders under the Award is

straightforward and that Ms. Stephany Yu has the ability to unilaterally perform the requirements

but refused to do so (Ke Decl. ¶ 13) are completely inaccurate and unfounded. As I explained in

details in paragraphs 3-16 of my first Declaration filed on April 8, 2019, implementation of the

SJHC ownership change and the property transactions contemplated in the Award is a

complicated process that cannot be completed without the cooperation from Mr. XU and Mr.

KE’s representatives, as well as SJHC. However, KE’s representatives and XU refused to

cooperate and disagreed among themselves regarding the implementation of the orders, which I

have explained in details in my first Declaration, supported by exhibits of correspondences
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among the parties. In her declaration, Ms. Ke completely ignores the evidence I presented and

provided no evidence to support any of her allegations.


3.       Regarding Orders 5-7 in connection with the SJHC ownership transfer, Ms. Ke

suggested that the transfer entails simply “submit[ting] [the] transfer application and collate

documents to the relevant government department.” (Ke Decl. ¶ 14 (“Orders 5&7”).) However,

the ownership transfer process is much more complicated. As I explained in my first Declaration,

the SJHC ownership transfer involves many steps and Oasis’s subsidiaries have completed the

steps that they can do unilaterally including the signing of the relevant share transfer agreement

and the issuance of the SJHC shareholders’ resolution approving the share transfer and other

relevant documents. (Gu Decl. ¶¶ 5-13.) For the other steps that require cooperation from Mr.

XU and Mr. KE’s representatives, such as the preparation and collection of other relevant

documents for submission to the government authorities, Oasis was unable to proceed because

Mr. XU and Mr. KE’s representatives refused to cooperate and gave conflicting instructions. For

example, Mr. XU objected to Mr. KE’s representatives’ proposal to have SJHC lead the work on

transfer procedures and also objected to their designation of a SJHC representative to handle the

transfer procedures on behalf of SJHC. (Gu Decl. ¶¶ 9-11.) In addition, contrary to Ms. KE’s

allegation that “the differences of opinion held by Mr. Xu have no effect or bearing on

Respondent Yu’s obligations under the Award” (Ke Decl. ¶ 21), Mr. XU, as a result of his

different opinion regarding SJHC corporate governance, refused to sign a Shibang Company

board resolution which is essential for the SJHC share transfer. (Gu Decl. ¶¶ 12-13.)


4.       Regarding the property transactions contemplated in the Award, Ms. Ke claims for the

first time in her declaration that each of the properties will be jointly owned by a company

designated by Mr. KE’s representatives and Mr. XU himself. (Ke Decl. ¶ 22.) Prior to this, as I

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set forth in details in paragraphs 15-16 of my first Declaration, Mr. KE’s representatives and Mr.

XU never jointly advised Oasis or its controlling shareholders as to how in practice they would

like to divide the Jiuting Shops — i.e., whether they would jointly share each of the properties or

they would split the properties at an agreed proportion in terms of price or space. The

aforementioned information including information about the purchasers and purchase price of

each of the Jiuting stores is essential to the property sales agreements. Without such information,

Oasis has been unable to urge Greencourt Real Estate Development to conclude sales agreement

for the properties with the designees of Mr. XU and Mr. KE’s representatives and as such was

unable to submit the applications for title change to the local government authorities that are

responsible for effectuating the change. In addition, such joint ownership (each property to be

jointly owned by a company designated by Mr. KE’s representatives and Mr. XU himself) is

highly unusual. According to inquiries we recently made with Shanghai Songjiang District Real

Estate Trading Center, the Songjiang District Housing Management Bureau, as well as real estate

agents, this approach may not be accepted by the relevant authorities.


5.       Regarding Order 3 about SJHC debt settlement, Ms. Ke argued that this can be simply

implemented by making payment to the SJHC bank account that “has already been provided to”

Ms. Yu. (Ke Decl. ¶ 14 (“Order 3”)) However, this is untrue and like the other orders, Oasis’

attempts to implement this order has been frustrated by the completely conflicting instructions

given by Mr. XU and Mr. KE’s representatives. On April 13, 2018, counsel for Mr. KE’s

representatives wrote to counsel for Oasis and its controlling shareholders, with copy to counsel

for Mr. XU, providing information of a Bank of China account of SJHC which was said to be an

account mutually agreed by the two claimants for receiving the payment under Order 3. (First Gu

Decl. Ex. 5.) However, on May 25, 2018, counsel for Mr. XU emailed a letter to counsel for


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Oasis and its controlling shareholders, with copy to counsel for Mr. KE’s representatives, saying

that as Mr. XU’s personal seal for SJHC’s finance was “illegally abolished”, rendering him

unable to monitor the financial situation of SJHC. Mr. XU demanded that payment under

Order 3 only be made after the two claimants have jointly designated a SJHC account that is

jointly supervised by the two claimants. (First Gu Decl. Ex. 13.) Mr. XU threatened to hold

Oasis liable for any damages resulted to SJHC or Mr. XU if Oasis makes payment to any other

SJHC account (referring to the Bank of China account provided by counsel for Mr. KE’s

representatives in their April 13, 2018 email). Id. Mr. XU and Mr. KE’s representatives have not

yet designated a jointly supervised bank account as referenced in Mr. XU’s May 25 letter. As

these two letters sufficiently demonstrate, payment under Order 3 was impossible due to Mr. XU

and Mr. KE’s representatives’ bitter disagreements with respect to the bank account to receive

the payment.


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.




       Executed on May 16, 2019.

                                                     ________Yong Gu_________
                                                           Yong GU




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                                     UNITED sTATEs DIsTRICT COURT
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EsTATE OF KE zHENGGUANG,
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YU NAlFEN sTEPHANY                                    8∶



@VW sTEpHANY YU,
钌V铲 sTEPHANY NAIFEN YU
钌lxla sTEPHANY N DOMBROWsKIl,

                                       Respondent.



                                             顾 勇之声 明书


1      我 出具本声 明来驳斥在 马里兰联邦法院的诉讼 中于 ⒛ 19年 5月 6日 提交 的柯烨颖

之声 明中的多项陈述 ,从 而支持 stephally Yu女 士所提交 的回应 .


2      柯 女 士 所声称 的履行仲裁裁决 中的命令非常简单 ,且 stcphany Yu女 士 有能力单

独完成但 却拒绝履行这 -说 法 (见 柯女士声 明第 13段 )是 完全错误且毫无根据 的 。 如我在

⒛ 19年 4月 8日 提交 的第 一 次声 明书 中第 3到 16段 所详细阐述 的 ,仲 裁裁决所涉及 的关

于 四季花城股杈变更 以及房产交 易的实施是 一 个复杂的过程 ,且 必须有徐 先生 、柯先生之

代表 以及 四季花城 的配合才能完成 。但是 ,如 我在 内附了当事人之 间相关信 函的第 一 次声

明书 中所详细 阐述 的 ,柯 先生之代表和徐先生拒绝予 以配合且两方关于裁决 的执行事宜持

矛盾意见 .柯 女 士 在其声 明中完全无视我提交 的证据而未提供任何证据来支持她所做 的任

何指控 。
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3         关于 四季花城股权变更相关 的裁决第 5饣 号命令 ,柯 女士表示变更 只需要简单 的

“
 捉交变更 申请和收集整埋相关文 件给相关政府部 门 ” 即可 (见 柯 女 士 声 明第 14段 (第                          5


和 7号 命令》 ,然 而 ,股 权变更程序远远 比这复 杂 。如我在第 一 次声 明书 中所解释 的,四

季花城股杈变更涉及多 个步骤 ,而 绿洲 的附属公司 已完成 了其能够独立完成 的步骤 ,包 括

80%股 份转让 的协 议和批准股杈转让 的股东会协议及 其他相关文件 的签署和签发 (见 我第

一 次声 明书第      513段 )。   对于剩余 的必须 由徐先生和 柯先生之代表配合完成 的步骤 ,例

如准备和收集其他相关 文件 以供 向政府提交 ,则 由于两人拒绝配合并给 出相互矛盾 的指示

而导致绿洲无法推进 .例 如徐先生反对柯先生之 代表提议 的由四季花 城来主导转 让 程序                             ,




并反对柯先生之代表指定的人士作 为 四季花城 的代表来办理变更 事宜 (见 我第 一 次声 明书

第   9ˉ   ll段 ),另 外 ,与 柯 女士在其声 明中所声称 的 “徐先生所 待的不 同意见对俞女士在

                         ”
裁决下的义务没有影 响或关系            恰恰相反 ,由 于徐先生对于 四季花城 的治理结构持不 同意

见 ,他 拒绝签署 四季花城股权转让所 需的 一份世邦公司的董事会决 议 (见 我笫 一 次声明书

第 12-13段 ).


4         关于仲裁裁决 中涉及 的房产交 易 ,柯 女 士 在其声 明中首次表示将 由柯 先 生之 代表

指定 的一 家公司和徐 先生本人共 同所有每一套房产 (见 柯女 士之 声 明第 ” 段 ),在 此之

前 ,如 我在第 一 次声明书第 1516段 中详细 说明的 ,柯 先生之代表和徐先生从未共 同向绿

洲及其拴股股 东告知其打算如何分割九亭商铺 ,即 他们将共 同持有每套房产还是 将 以价格

或面积为基础依 照约定 比例分割房产 .前 述包括商铺购买方 、各 商铺购 买价格等在 内的这

些 信 息是商铺 买卖合 同的必要因素 ,因 为缺乏这些信 息绿洲 无法促使绿庭房地产与徐先生

和柯先生之 代表指定的受 让人签署商铺 买卖合 同 ,因 此无法 向负牡办理产权登 记的当地政
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府部 门提交后续产权变 更 申请 .另 外 ,这 种产权共有方式 (由 柯先生之代表指定 的一 家公

司和徐先生本人共 同所有每 一 套房产 )非 常罕见 ,根 据我们近期 向上海 市松汪 区房地产 交

易中心 和松江 区房管局 的工 作人员、 以及房产经纪执业人 员 了解 的情况来 看 ,这 种方式可

能不会被相关政府部 门所 汰可 .


5      关于 四季花城债务清 沽相关的第 3号 命令 ,柯 女 士 声称 只耍 向 “己经提 供给俞女

士 的 ” 四季花城银行账户 ll款 即可 (见 柯 女 士之声 明第 14段 (“ 第 3号 命令 ” )).然

而这并不属实 ,月 如 同其他命令 一 样 ,这 个命令也 由于徐先生和柯 先 生之 代表 的完全相矛

盾 的指令而导致绿洲无法 实施 。⒛ 18年 4月 13日              ,柯 先生之代表 的律师给绿洲及其控 股

股东的律师写信 ,抄 送 了徐先生 的律师 ,信 中提供 了一 个据其声称是徐先生和柯 先 生之 代

表共 同同意用来接收第          3号 命令下款项的四季花城 的中国银行账户 (见 我第 一 次声 明书之

附件 5).然 而 ,2018年 5月 25口      ,徐 先生 的律师致 函我方律师 ,抄 送柯 先 生之 代表 的律

师 ,说 由于其 四季花城则务个人 印章被 “非法废 除 ”而无法监察 四季花城财务情况 ,囚 此

要求我方只可在徐先生和柯先生之代表共 nl提 供两方共 同监管的四季花城账户后才可将第

3号 命令下的款项支付至这一账户 (见 我第 一 次声 明之 附件                 13).徐 先生威胁说如果绿洲

支付到 四季花城 的其他账户 (意 指柯先生之代表在其 ⒛ I8年 4月 13日 邮件 中提供 的中国

锒行账户 ),则 会就 四季花城或徐先生 由此遭受 的损失追 究绿洲 的法律 责任 (同 上 )。 徐先

生和 柯先生之代表至今 尚未指定徐先生于 5月 25日 邮件 中提到 的由两方共 同监管 的银行

账户 .如 这两割 邮件所充分体现 的 ,由 于徐先生和柯先生之 代表之 间就接收付款 的银行账

户 的不 同意见 ,导 致无法进行第 3号 命令 下的支付 .
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   根据 《美 国法典》第 28编 第 Ι
                     746条         ,   我声 明上述情况属 实 ,否 则将依美 国法律接

受伪证罪处罚 .




   签 署 日期   :⒛ 19年 5月   {‘   日,
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                                 Agreement dated 28 April 2010 -"The Preliminary Share Restructuring
       File Name(s):
                                 Agreement"
       Source Language(s)        Simplified chinese

       Target Language(s)        English




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Document Evidence 1                                                           Fen Ke Wen Jun
                                       Agreement on the Implementation of

                                "The Preliminary Share Restructuring Agreement"



    This agreement is entered into by the foll owing parties on 28 April 20 I 0:

    (A) Oasis Investment Group L imited, a company limited by shares incorporated in the British Virgin
        Islands, with reg istered address at [ ] (hereafter referred to as "Oasis In vestment");

    (B) Ms Naifen YU, a American citizen ; USA passport number: 7107 141 18 and mailing address at
        Room 419, Oasis B ui lding, 55 5 West Zhongshan Road, Shanghai, postcode: 200051 ;

    (C) Ms Naiwen YU, a Chi nese citi zen; Chinese ID card number: 31010 11963 04040864 and mail ing
        address at Room 419, Oasis Building, 555 West Zhongshan Road, Shanghai, postcode: 20005 1;

    (D) Ms Naijun YU, a Chinese citizen; Chinese ID card number: 310106197207062822 and mail ing
        address at Room 4 19, Oasis Building, 555 West Zhongshan Road, Shanghai, postcode: 20005 1;

    (E) Mr Zhengguang KE, a C hinese citizen; Chinese ID card number: 3 10 109 195601033237 and
        mailing address at Room 419, Oasis Building, 555 West Zhongshan Road, Shanghai, postcode:
        200051 ;

    (F) Mr Hongbiao XU, a Chi nese citizen; Chinese ID card number: 31 01 041 96403 192854 and mail ing
        address at Room 41 9, Oasis Building, 555 West Zhongshan Road, Shanghai, postcode: 20005 1;

    (G) Cheergain Internati onal Group Limited, a company limited by shares incorporated in the British
        Virgin Islands w ith its registered address at [ ];

    (H) Focus Town Lim ited, a company li mited by shares incorporated in the British V irgin Islands w ith
        its registered address at [ ];

    (I) Greencourt Properties Limited, a company limited by shares incorporated in Hong Kong w ith its
        registered address at [ ] (hereafter referred to as "Greencourt Properties");

    (J) Shanghai Oasis Kech uang Shengtai Keji Limited, a company limited by shares incorporated in
        Fengxian Di strict, Shanghai with its registered address is [ ] (hereafter referred to as "Oasis
        Kechuang").




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                                                                                Fen e Wen Jun

Ms Naifen YU, Ms a iwen YU and Ms Naijun YU are collective ly refen-ed to as the "Controlling
Shareholders" of Oasis Investment; Mr Zhengguang KE ( or Cheergain Inter ational Group Limited
owned by him) and Mr Hongbiao XU (or Focus Town Lim ited owned by him) are collectively
referred to as the "1\~on-controlling Shareholders" of Oasis Investment:. Oasis Investment, the
Controlling Share alde rs and the Non-controlling Shareholders, when they are addressed ind ividually
each is referred to as a "Party", and collectively as the "Parties".

Whereas:

1. T he Controlling Shareho lders and the Non -controlling Shareholders had adopted the "Shareholder
      Resolutions" regarding share restructuring on 24 March 2009, a d signed the "Meeting Minutes"
      o 4 September 2009 and the "Preliminary Share Restructuring Agreement" (the "Restructuring
      Agreement") on 9 Novem ber 2009. The above three documents set out the basic principles and
      transaction framework for Oasis Investment's repurchase of shares held by the Non-controlling
      Shareholders.

2. Under clauses 2. 1 and 2.2 of the Restructurin g Agreement, Oasis Investment is to pay repurchase
      consideration that shall consist of an amount in foreign currency 1vhich amount shall be
      equivalent to RMB 250 mi llion, plus I 00% of the equi ty in hanghai [Greencourt] Four-Season-
      Flower-City Property Development Co., Limited (hereafter referred to as "SJHC"). Issues
      relat ing to the repurchase payment schedule and payment method ..ere agreed to be negotiated
      separately by the Parties.

3. In order to address the issues relating specifically to the repurchase, complete all the transactions
      specified in the Restructuring Agreement as soon as possib le, and to redu e the transaction cost as
      we ll as time cost fo r all the Parties involved, the Parties agree to sign th is agreement to specify the
      repurchase price, the payment schedule, the payment method and any ofoer issues involved.

After amicable negotiations, all Parties unanimous ly reached the fo llowing ciecisions:

Artic le I         Equity Transfe r Prior to the Repurchase by Oasis Investment

1.1          Due to commercial needs, Mr Zhengguang KE decided to tra sfer his equity in Oasis
             Investment to Cheergain International Group Limited, and Mr Hongbiao XU to transfer his
             equity in Oas is Investment to Focus Town Limited . Afte r the completion of the
             aforement ioned transfer, Oasis Investment is to repurchase its shares held by Cheergain
             International Group Limited and Focus Town Limited (hereafter, the aforementioned
             arrangeme t is to be referred to as the "Equity Transfor Prior to the Repurchase"). Oasis
             Investment and the Controlling Shareholders agreed to the afo rementioned arrangement and
             are will ing to prov ide the necessary assi stance.

1.2          Non-controll ing Shareholders are responsible for the tax and expenses associated with the
             aforementioned Equity Transfer Prior to th e Repurchase.




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Article 2         Oasis Investment' s Repurchase Consideration

2.1         Cash Consideration and its Payment Arrangement. Under the Restructuring Agreement, the
            cash component of Oasis Investment' s repurchase consideration is an amount of foreign
            currency wh ich is equivalent to RMB 250 million ("Cash Considerat ion" ). All parties agree
            that when the actual payment is made, the amount of Cash Consideration is to be adjusted
            accord ing to the fo ll owing:

2.1.1       An amount of approxi ately RMB 4 1 million resulting from previous transactions for
            which the on-controll ing Shareholders shall be held liable shall be deducted fro m the
            Cash Consideration;

2.1.2       A conditional payment of a one-off additional compensation in the amount of RMB 30
            million ("Add itiona l Compensation") that Oasis Investment and the Controll ing
            Shareho lders are wi ll ing to pay shall be added to the Cash Consideration. The condition for
            this Additional Compensation is that Oasis Investment's share repurchase and payment of
            consideration will be completed pursuant to the provisions of the Restructuring Agreement
            and thi s 5t:l-Wlemental agreement, and there is no major dispute between the Parties.

2.1.3       All parties agreed that, fo llowing the signing of this Agreement, when the payment of the
            relevant equity co nsideration is to be made and when the amou nt of Cash Consideration is
            to adjusted, the parties would then sign a supplementary agreement.

2.1.4       All parties agreed that the cash portion of the repurchase consideration shall be divided into
            two equal po1tions in Hong Kong dollars in Hong Kong and paid in full and on time to the
            bank accou nts of Cheergai n International and Focus Town Limited prov ided by the Non-
            controll ing hareholders at the time as determined in the article below.

2.2         Conditions and Schedu le for the Payment of Cash Consideration

2.2.1       All Parties agree that the cash component of the repurchase is to be paid according to the
            following schedu le:

(I)         Hong Kong dollars equivalent to RMB 80 million ("151 Payment") is to be paid withi n 10
            days once th e fol lowing prerequisites are met:

            (a)   All Parties have signed this Stipplemental agreement;

            (b)   Non-controll ing Shareholders have signed the Resoluti on of Oasis Investment
                  Shareholders' Meeting on the repurchase of the Non-contro ll ing Shareholders' equity.

(2)         Hong Kong d llars equivalent to RMB 20 million ("2"d Payment") shou ld be paid before 30
            June 2011.




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(3 )      The remam mg amount equivalent to RMB 150 mill ion in Ho g Kong dollars ("3rd
          Payment"), bei ng the final payment subject to those adj ustments agreed to or confirmed by
          all Parties under provisions of Article (4) below) is to be paid by 31 December 2012 once
          the foll owi ng prerequisites are met:

          (a)   SJHC ' s equity transfer being approved by the government and the registration of the
                transfe r being completed;

          (b)   Oasis Investment completing the registration of the change of shareholders that is
                necessary for the repurchase of the Non-contro lling Shareholders' equity;

          (c)   Non-controlling Shareholders and Controlli ng Shareholders reach ing an agreement
                on the payment arrangement in respect of the Cash Consideration and various
                adjustments to the amount specified in the aforementioned Art icle 2.1;


          (d)   Non-controlling Shareholders confirming that the payment of equity consideration
                specified in Article 2.3.5 below being completed and there being no dispute among
                all part ies;

          (e)   Both of the Shanghai Real Estate Sale and Purchase Contract mentioned in Article
                3. I and the Shanghai Real Estate Presale Contract mentioned in Article 3.2 being
                signed and the registration of transfer [of ownersh ip] or t e registration of presale
                w ith the Real Estate Registration Authority bei ng completed .

(4)     Adjustments to th e Amount of Cash Consideration

All Parties agree that, before the payment of the 3rd Payment, under prov isions of the following
Art icles, all parties shall calculate and determine the adjustments to the amou t of Cash Consideration,
and take the adj usted amount as the final amount for purposes of the 3'd Payment.

          (a)   Under the provisions of the Restructuring Agreement and this agreement, Oasis
                Invest ent and Controlling Shareholders shall use I 00% of JHC ' s equity as part of
                the share repurchase consideration ("Equity Con sideration"). If under any laws and
                regu lat ions, such equity transfer must indicate a price and that this price must actually
                be paid, the actual amount ( net amount after de · uction of tax and fees) paid by the
                Non-Control li ng Shareho lders to Oasis Investme t and the Controlling Shareholders
                fo rt e equity transfer shall be added to the Cash Considerat ion;

          (b)   T he sharing of the amount stipulated in Articles 2.1 .1 and 2.1 .2 above shall be
                reflected in the final amount of the 3rd Payment;

          (c)   Under provisions of other Articles of this agreement, al l tax and expenses that shall
                be paid by the parties shall be reflected in the fin al amount of the 3rd Payment.




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2.3       Payment Method of Equity Consideration . According to the Restructuring Agreement, the
          equity portion of Oasis Investment's repurchase consideration is calculated as I 00% equity
          of Shanghai Greencourt Four-Season-Flower-City Property De velopment Co., L imited
          ("Equity Consideration") . Such Equity Consideration shall be pai d in the fo llowi ng
          methods :

2.3.1     Oasis Investment has newly incorporated Shibang Company Ltd ("Shibang Company") in
          Hong Kong a nd has arranged for Shi bang Company to acqu ire 80% of the equity interest in
          Shanghai Greencomt Four-Season-Flower-City Property Deve lopment Co., Limited
          (hereafter referred to as "SJHC") held by Greencourt Properties Limited, a subsidiary of
          Oasis In vestment in Hong Kong. After the completion of the said equity acquisition, Oasis
          Investment shall sign the "Equity Purchase Option Agreement" with Cheergain
          International Group [Limited] and Focus Town Limited and agree that upon the expiration
          of the entrustment period mentioned in Article 2.3 .2 below, 100% of the equity of Shibang
          Company shall be transferred to Cheergain International Group [Lim ited] and Focus Town
          Limited at a cons ideration of HKD I.

2.3.2     All Parties Agree That: After Oasis Investment's signing of the Eq uity Purchase Option
          Agreement fo r t e equity transfer of Shibang Company to Cheergain International Gro up
          Limited and Focus Town Li mited, Greencourt Properties is to sign the relevant Entrustment
          Agreement with Cheergain Internati onal Group Limited and Focus Town Limited. This
          agreement sha ll stipulat that: (I) Cheergain International Group Limited and Focus Town
          Limited are entrusted by Greencourt Properties to manage Shibang Company and to
          exercise the shareholders' rights on its behalf for three years (the "entru stment period"); (2)
          during the entrustment eriod, the Non-controlling Shareholders are responsible fo r all the
          debts and claims, risks and liabi lities of Shibang Company and SJHC. If for any reason the
          Controlling Shareholders, Oasis Investment or Greencourt Properties are required to bear
          the debts and claims, risks and liabilities of Shibang Company or SJHC dur ing the
          entrustment term, the Non-controlling Shareholders are requi red to fu lly compensate the
          Controll ing hareholders, Oas is Investment and Greencourt Properties.

2.3.3     The remaini ng 20% of the equity of SJHC currently hel d by Oasis Kechuang Shengtai
          Limited, a subsidiary of Oasis Investment, is to be transferred to a domestic com pany in
          China appointed by the No n-controlling Shareholders ("Onshore Payment of Equity
          Consideration"). If under the laws of the People's Republic of China, an act al payment of
          consideratio is required to be made for such equity transfer, the provisions of the
          abovementioned A1tic le 2.2 .1 (4)(a) shall apply.

2.3.4     All Parties Agree That: The Non-controlling Shareholders shall be responsible for all the
          tax and expenses incurred due to the Onshore Payment of Equ ity Consideration, as well as
          the tax and expenses incurred offshore due to the entrustment arrangement made by
          Shibang Com pany and the eq uity transfer of Shibang Company to Cheergain International
          Group Limited and Focus Town Limited . Apart from th is, the sharing of the tax and
          expenses relating to the payment of Equity Consideration is to be negotiated by all the
          Parties in due course. All procedures relating to the onshore and offshore payment of Equity
          Consideration, such as applications, registrations and government procedures, etc. are to be



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         undertake by the Non-controlling Shareholders whi le t e Controlling Shareholders and
         Oasis Investmen t are to provide the necessary assistance.




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2.3.5     As a resu lt of Oasis Investment and the Controlling Shareholders havi ng already transferred
          the management ri ghts of SJHC to the Non-controlling Shareholders before this agreement
          is signed, all Parties agree that, upon Oasis Investment and the Controlling Shareholders
          having signed the Equity Purchase Option Agreement specified in the aforementioned
          Article 2 .3.1 and the Entrustment Agreement specified in Article 2.3.2, the payment of
          Equity Consideration is to be deemed as complete.

Article 3 Other    Agreements      Relating    to   Oasis   Investment' s   Repurchase   and   Repurchase
          Considerati n

3.1       Within 30 days of the signing of th is agreement, Oasis Investment and the Contro ll ing
          Shareho lders shall procure a subsidiary, namely, Shanghai Greencourt Real Estate
          Development Lim ited to sign the "Shanghai Real Estate Sale and Purchase Contract" with
          the Non-controlling Shareholders or their nominated third party, and undertake to transfer
          approximate 8000 m2 of commercial space which shall meet the appropriate de livery
          standards (specifically, the property includes approximately 6000 m 2 of commercial space
          on the th ird level along the streetside of Phase I of Greencourt Sun City Com mercial
          Building, and all the commercial space of approximately 2000 m 2 of the west side of the
          Central P laza of Phase 2 of G reencourt Sun City) at the Ji uting Greencourt Sun City Real
          Estate Project in Songjiang D istrict, to the Non-controlling Shareholders or their nomi nated
          third party. For the avoidance of doubt, (1) when the Shangha i Real Estate Sale and
          Purchase Contract is signed, Oasis Investment and the Controlli ng Shareholders shall
          transfer the right to use such commercial space to the Non-contro ll ing Shareholders or the ir
          nominated th ird party, and the Non-controlling Shareholders or thei r nominated thi rd party
          are to receive rental income and other earnings after the transfer; and (2) by 30 Ju ne 20 11,
          Oasis Investment and the Controlling Shareholders shall transfer the ownership of such
          commercial space to the Non-controlling Shareholders or the ir nom inated third party.

3.2       At the ti me of signing the aforementioned "Shanghai Real Estate Sale and Purchase
          Contract", JHC shall sign the "Villa Order Contract" with Oasis Investment and the
          Controll ing hareholders, to tran sfer the SJHC-developed two A2-type villas (buildi ng area
          of approximately 1200 m 2 each as set out on a building plan, which building plan Oasis
          Investment and the Controll ing Shareholders have received and have been notified of the
          delivery standards, and both confirmed the actual price as stated below) located on the
          Central Island, Peninsula Vi lla Project, Fengpu Industrial Area, Fengxian District, Shanghai
          City, to Oasis Investment or their nominated third party once the villas meet the del ivery
          standards. f or the avoi dance of doubt, the Non-controlling Shareholders shall procure
          SJHC to sign the "Sha ghai Real Estate Presale Contract" with Oasis Investment or the
          third party nominated by the Controlling Shareholders on 30 June 2011 and to comp lete the
          presale registration of such villas.

3.3       All Parties Confirm: the properties involved in the aforementioned "Shanghai Real Estate
          Sale and Purchase Contract" and the "Villa Order Contract" (or the Shanghai Real Estate
          Presale Contract) are all priced at RMB 72 million . Because the prices of the properties
          involved are eq ual, fo r the purposes of this agreement, the considerations under the
          contracts are to be set off against each other (whether or not such offset is plausible from an
          accounting perspective, and that the Parties agree that no actual payment is to be made).




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3.4         Brand Name: From the date when this agreement is signed, all the brand names and other
            intellectual property of Oasis Investment and its subsidiaries are to be owned by the
            Controll ing Shareholders, except with respect to SJHC and its property naming rights, logo,
            trade mark which have been obtained by the Non-controll ing Shareholders under this
            agreement (and only to be used within the current business scope of SJHC, and not to be
            used for any ew business). Without the approval of the Controlling Shareholders, the Non-
            controll ing Shareho lders shall not continue to use such brand n~mes and other intellectual
            property.

3.5         Appointments: The Parties agree that from the date when the I st Pay ment is paid, the Non-
            controll ing Shareholders shall be considered to have res igned from all the positions they
            ho ld in Oasis In vestment and its subsidiaries ( except the positio s they hold in SJHC), and
            the Controll ing Shareholders shall be considered to ave resigned from all the positions
            they hold in SJHC. Under provisions of this Article, Oasis Investment and its subsidiaries
            may complete procedures relating to the change of directors, supervisors and other posts.

3.6         Related party transactions: With effect fro m the sign ing of this agreement, the related party
            transact ions between SJHC and Oasis Investment and thei r subs idiaries shall be terminated;
            all pre-ex ist ing debts and claims shall be settled with in one month. This excludes situations
            that are otherwise stipulated in this agreement.

3.7         Promise: The Non-controlling Shareholders promise not to make any claims against Oasis
            Investment, the Controll ing Shareholders and the ir subsidiaries w orldwide on the condition
            that this agreement is fully and timely fu lfil led .

3.8         SJHC's business documents, license and company seal shall be transferred to the Non-
            controll ing Shareholders once the 1st Payment is paid.

Article 4         M isce llaneous

4.1         For matters not addressed in this Agreement, the st ipul ation s of the Restructuring
            Agreement shall prevail. For matters not addressed in the Restructuring Agreement and this
            Agreement, the parties concerned shall enter into upplementary agreements through
            friendly negotiations, and those supplementary agreements and t his Agreement shall have
            the same effect.

4.2         Any conflicts, disputes and claims resulting from this ag:re m nt or related to this
            agreement, breach of contract, termination of contract and void of contract (hereafter
            referred to as "disputes") shall be dealt with through am icable negotiati ons by all Parties. If
            the negotiat ion fails , any Party is entitled to submit the dispute to the Hong Kong
            International Arbitration Centre for arbitration . The arbitratio is to be conducted in
            Chinese. The arbitration tribunal is to consist of three arbitrators. Oasis Investment and the
            Controlli ng Shareholders are entitled to nomi nate one arbitrator, the Non-controlling
            Shareholders are entitled to nominate another arbitrator, and the th ird arbitrator, who will be
            the chief arbitrator, is to be nominated by the Chairperson of the Hong Kong International
            Arbitration Centre. The outcome of arbitration is final and bind ing on all Parties.

4.3         This agreement is to take effect on the date when it is signed.




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[Original handwritten text is indicated in italics]                            Fen Ke Wen Jun


4.4      This agreement is written in Chinese and has ten copies; each Party ho lds one copy.



Signed by:

Oasis Investment Gro p Limited

[signature]                                               [signature]

Naifen YU                                                 Zhengguang KE




[signature]                                               [signature]

Naiwen YU                                                 Cheergain International Gro up Limited



[signature]                                               [signature]

Naijun YU                                                 Hongbiao XU



[signature]                                               [signature]

Greencourt Properties L imited                            Focus Town Limited




Shanghai Oasis Kechuang Shengtai Keji Limited (seal)

[illegible seal]




                                           For and on behalf of Oasis Investment Group Limited

                                           [signature]

                                           Authorised Signature(s)




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     Name:
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                 Sylvia Lau

     Title:      Project Assistant

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   Arbitration Case at the Hong Kong International Arbitration Centre (“HKIAC”)

    in accordance with the rules of the Hong Kong International Arbitration Centre
                          (effective from September 1, 2008)

                                  (“HKIAC Rules”)

                                   HKIAC/A13028

                                    Xu Hongbiao


                                                                        First Applicant

                              Estate of Ke Zhengguang

                                                                     Second Applicant

                                         and

                          Oasis Investment Group Limited

                                                                      First Respondent

                                 Yu Naifen Stephany

                                                                    Second Respondent

                                     Yu Naiwen

                                                                     Third Respondent

                                     Yu Naiyun

                                                                    Fourth Respondent




                         Final Arbitration Award (excluding
                            interest and arbitration fees)



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                                 Final Arbitration Award
                          (excluding interest and arbitration fees)

I.     Parties Concerned

       1.     The Applicants in this case are:

              First Applicant: Mr. Xu Hongbiao, Chinese citizen, Chinese identification
              card number 310104196403192854. His correspondence address is Room 419,
              Oasis Tower, No. 555 Zhongshan West Road, Shanghai City, China. Postal code:
              200051.



              Second Applicant: Estate of Ke Zhengguang, was Mr. Ke Zhengguang prior
              to December 15, 2013 (hereinafter referred to as “Mr. Ke” or “Second
              Applicant”). Prior to his death, Mr. Ke was a Chinese citizen with Chinese
              identification card number 310109195601033237. Mr. Ke passed away on
              December 15, 2013. Thereafter, the Second Applicant in this case was amended
              as Estate of Mr. Ke. The Administrators of the Estate of Mr. Ke are: (1) Mdm.
              Zhang Yuejin (widow of Mr. Ke, hereinafter referred to as “Mdm. Zhang”); and
              (2) Mdm. Ke Yeying (daughter of Mr. Ke, hereinafter referred to as “Mdm. Ke).
              Their correspondence address is Room 419, Oasis Tower, No. 555 Zhongshan
              West Road, Shanghai City, China. Postal code: 200051.

              They are hereinafter collectively referred to as the “Applicants”.

       2.     In this case, C.L. Chow & Macksion Chan Solicitors (CLCMC Solicitors) was
              originally appointed as the representative of the Applicants. Address: 3/F,
              Alliance Building, No. 130-136 Connaught Road Central, Hong Kong. Mr. Ke
              passed away on December 15, 2013. On December 28, 2015, the High Court of
              Hong Kong issued the Letters of Administration and appointed Mdm. Zhang and
              Mdm. Ke as the Administrators of the Estate of Mr. Ke. On January 12, 2016,
              Baker & McKenzie Shanghai Office (after that, its Hong Kong Office also
              participated in this case; the Hong Kong and the Shanghai Office shall be
              collectively referred to as “Baker”) (Address: Room 1601, Jinmao Tower, No.
              88 Century Avenue, Pudong New Area, Shanghai, China/14/F Hutchison House,
              No. 10 Harcourt Road, Central, Hong Kong) sent a letter to the arbitration
              tribunal as Mdm. Zhang and Mdm. Ke’s representative, and officially



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              represented the Second Applicant in participating in this case. CLCMC
              Solicitors remained the representative of the First Applicant.

        3.    The Respondents in this case are:

              First Respondent: Oasis Investment Group Limited (hereinafter referred to as
              “Oasis Investment”), is a company limitd by shares registered in the British
              Virgin Islands, with its correspondence address as 12/F, Oasis Tower, No. 555
              Zhongshan West Road, Shanghai City, China. Postal code: 200051

              Second Respondent: Mdm. Yu Naifen Stephany, American citizen, U.S.
              Passport no. 710714118. Her correspondence address is 12/F, Oasis Tower, No.
              555 Zhongshan West Road, Shanghai City, China. Postal code: 200051

              Third Respondent: Mdm. Yu Naiwen, Chinese citizen, Chinese identification
              card number 310101196304040864. Her correspondence address is 12/F, Oasis
              Tower, No. 555 Zhongshan West Road, Shanghai City, China. Postal code:
              200051

              Fourth Respondent: Mdm. Yu Naiyun, Chinese citizen, Chinese identification
              card number 310106197207062822. Her correspondence address is 12/F, Oasis
              Tower, No. 555 Zhongshan West Road, Shanghai City, China. Postal code:
              200051

              They are hereinafter collectively referred to as the “Respondents”.

        4.    O’Melveny & Myers LLP was originally appointed as the representative of the
              Respondents. Address: 31/F, AIA Central, No. 1 Connaught Road Central, Hong
              Kong. After October 12, 2016, the team members of the representative of the
              Respondents were joined by Sidley Austin LLP (address: 39/F, Two
              International Finance Centre, Central, Hong Kong). Sidley Austin LLP was then
              appointed by the Respondents to continue representing the Respondents in this
              case.

        5.    The Applicants and Respondents are hereinafter each referred to as the “party
              concerned”, and both parties are referred to as “all parties”.

II.     Arbitration Agreement and Applicable Laws

        6.    This arbitration involves the “Agreement on the Implementation of the
              ‘Preliminary Share Restructuring Agreement’” (hereinafter referred to as the


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               “4.28 Agreement”) concluded by all parties on April 28, 2010 for the breaking
               up of the First Respondent and its subsidiaries. The basis of filing in this
               arbitration is Article 4.2 of the “4.28 Agreement”. It is said in this Article :

               “4.2 Any conflicts, disputes and claims resulting from this agreement or
               related to this agreement, breach of contract, termination of contract and void
               of contract (hereafter referred to as “disputes”) shall be dealt with through
               amicable negotiations by all Parties. If the negotiation fails, any Party is
               entitled to submit the dispute to the Hong Kong International Arbitration
               Centre for arbitration. The arbitration is to be conducted in Chinese. The
               arbitration tribunal is to consist of three arbitrators. Oasis Investment and the
               Controlling Shareholders are entitled to nominate one arbitrator, the
               Non-controlling Shareholders are entitled to nominate another arbitrator, and
               the third arbitrator, who will be the chief arbitrator, is to be nominated by the
               Chairperson of the Hong Kong International Arbitration Centre. The outcome
               of arbitration is final and binding on all Parties.”

         7.    “Non-controlling Shareholders” in the abovementioned arbitration clause refers
               to the Applicants in this case. Oasis Investment and the “Controlling
               Shareholders” (that is, the Second, Third, and Fourth Respondents) refer to the
               Respondents in this case.

         8.    Based on Article 4.2 in the “4.28 Agreement” as cited above, this Arbitration
               Proceeding shall be managed by the HKIAC and conducted in accordance with
               the “HKIAC Rules”. The arbitration location shall be Hong Kong and the
               arbitration language shall be Chinese.

         9.    The Article 4.1(sic) of the “4.28 Agreement” stipulates that the Agreement shall
               be governed by the laws of Hong Kong.

III.     Arbitral Tribunal

         10.   The arbitral tribunal in this case shall comprise the following arbitrators:

               (1)       Horace Wong Yuk-Lun, Senior Counsel, address: 10/F, New Henry
                         House, No. 10 Ice House Street, Central, Hong Kong, nominated by the
                         Applicants;




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              (2)        Teresa Cheng Yeuk-Wah, Senior Counsel, address: 38/F, Gloucester
                         Tower, The Landmark, Central, Hong Kong, nominated by the
                         Respondents; and

              (3)        Mr. Yang Ing Loong (hereinafter referred to as “Chief Arbitrator”),
                         address: 18/F, One Exchange Square, No. 8 Connaught Place, Central,
                         Hong Kong, was appointed as the third arbitrator, who shall also act as
                         the Chief Arbitrator, by the HKIAC Council in accordance with the
                         agreement reached by all parties on arbitration.

       11.    The arbitral tribunal was officially constituted on June 4, 2013 and all parties
              were informed of the constitution of the arbitral tribunal on the same day.

              Arbitration Proceedings

       12.    The arbitral tribunal held that it was not necessary to list all the corresponding
              letters between the representatives of the parties written during the process of
              this case. All procedural orders made by the arbitral tribunal have been issued in
              writing and they will not be repeated [in full] herein. It shall be emphasized that
              the arbitral tribunal has fully considered all the claims made by all the parties in
              writing, the testimonies given by the witnesses, and claims made during the
              hearings before the orders were issued. All instructions, orders, and decisions
              were made after negotiations by the three arbitrators. In this regard, this part of
              the arbitration award presents a summary on the milestones of this case.

       13.    On February 22, 2013, the Applicants served a “Notice of Arbitration” (Case No.
              HKIAC/A13028) on the Respondents and submitted it to the HKIAC in Hong
              Kong to resolve the disputes arose under the “4.28 Agreement”.

       14.    On April 12, 2013, the Respondents submitted a “Response to the Notice of
              Arbitration”.

       15.    On April 8, 2013, HKIAC sent a letter to confirm the appointment of Horace
              Wong Yuk-Lun, Senior Counsel, as an arbitrator in this case as nominated by the
              Applicants. On April 22, 2013, the Respondents notified the HKIAC that Teresa
              Cheng Yeuk-Wah, Senior Counsel, shall be nominated as an arbitrator in this
              case. The next day, that is, April 23, 2013, HKIAC notified Mdm. Teresa Cheng
              Yeuk-wah that she had been nominated. On the same day, Mdm. Teresa Cheng
              Yeuk-wah notified HKIAC that she shall accept the nomination. On April 30,


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              2013, HKIAC sent a letter to confirm the appointment of Mdm. Teresa Cheng
              Yeuk-wah as an arbitrator in this case.

       16.    On June 4, 2013, HKIAC sent a letter to confirm the appointment of Mr. Yang
              Ing Loong as the Chief Arbitrator in this case. On June 4, 2013, the arbitral
              tribunal was officially constituted.

       17.    On June 4, 2013, HKIAC sent a letter to notify all parties that the arbitral tribunal
              had been constituted in accordance with the “HKIAC Rules”.

       18.    On June 7, 2013, the Chief Arbitrator sent a letter on behalf of the arbitral
              tribunal to notify all parties that the arbitral tribunal had been constituted. He
              requested all parties to confirm that they do not have any objections regarding
              the constitution of the arbitral tribunal and matters related to the arbitration rules,
              the arbitration language, and the applicable governing laws. At the same time,
              the arbitral tribunal provided an interim schedule it had drafted (it was converted
              to procedural orders subsequently) and requested that all parties conduct
              negotiation, reach a consensus (where possible) regarding the submission dates
              of the relevant documents, and submit a reply to the arbitral tribunal before 6
              p.m. on June 14, 2013.

       19.    On June 14, 2013, the Applicants sent a letter to the Chief Arbitrator to confirm
              the relevant matters as mentioned in paragraph 18 above and submitted the draft
              procedural order proposed by the Applicants. On the same day, the Respondents
              submitted a schedule proposed by the Respondents and supplemented a
              complete arbitral tribunal draft procedural order based on the said schedule, and
              confirmed the relevant matters as mentioned in paragraph 18 above.

       20.    After considering the written opinions by all parties, the Chief Arbitrator issued
              the Procedural Order (I) (hereinafter referred to as “Order (I)”) on behalf of the
              arbitration tribunal on June 25, 2013. One copy of the amended procedural
              schedule is annexed thereto.

       21.    On August 30, 2013, the Respondents submitted their “Statement of Defence
              and Counterclaim” and list of appendices to the HKIAC via email and special
              courier. The arbitral tribunal confirmed and acknowledged the receipt of the
              electronic version via email on the same day.

       22.    On October 8, 2013, the Applicants submitted their “Reply and Defence to
              Counterclaim” to the arbitral tribunal via email.

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       23.    On November 12, 2013, the Respondents sent a letter to the arbitral tribunal and
              submitted their “Further Reply to the Applicants’ Reply and Defence to
              Counterclaim” to the arbitral tribunal. The arbitral tribunal confirmed and
              acknowledged the receipt via email on the same day.

       24.    On November 22, 2013, the Applicants sent a letter to the arbitral tribunal and
              alleged that the Respondents had committed a serious breach of Order (I) by
              submitting the “Further Reply to the Applicants’ Reply and Defence to
              Counterclaim” to the arbitral tribunal on November 12, 2013. The reason was
              that Order (I) did not permit the Respondents to provide a further reply to the
              Applicants’ reply. The Applicants requested that the arbitral tribunal issue an
              order to revoke Paragraphs 1 to 32 (that is, the content of the further reply to the
              Applicants’ reply) of the Respondent’s further reply, and requested that the
              Respondents pay the Applicants for the attorney fees incurred due to their
              submission of the further reply.

       25.    On the same day, that is, November 22, 2013, the Respondents sent a letter to the
              arbitral tribunal and denied that their submission of the “Further Reply to the
              Applicants’ Reply and Defence to Counterclaim” to the arbitral tribunal has
              breached Order (I). The reason was that the content of the further reply was only
              a reply to the Applicants’ defence to counterclaims. However, in view that the
              Applicants’ “Defence to Counterclaims” and the content of other portions were
              closely interconnected and overlapping, the reply to the Applicants’ “Defence to
              Counterclaims” involved the content of other portions. Furthermore, as the reply
              was formatted and separately answered based on the sequence of the paragraphs
              of the Applicants’ “Reply and Defence to Counterclaim”, the Respondents
              requested that the arbitral tribunal reject the Applicants’ request.




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       26.    On November 25, 2013, the arbitral tribunal issued a reply to all parties via email
              and stated that after consideration, the arbitral tribunal will not order the
              Respondents to revoke Paragraph 1 to Paragraph 32 of their “Further Reply to
              the Applicants’ Reply and Defence to Counterclaim”. However, the arbitral
              tribunal permitted the Applicants to make further statement in writing with
              regard to the said paragraphs within one week (that is, on or before November
              30). At the same time, the arbitral tribunal asked all parties whether an extension
              of the deadline of the Request for Production of Documents that each party was
              to present as stipulated in Order (I) was required (that is, November 26).

       27.    On the same day, that is, November 25, 2013, the Applicants submitted a reply
              to the arbitral tribunal via email; in view that the Respondents confirmed that the
              contents in their further reply were only limited to the Applicants’ defence to
              counterclaims, the Applicants shall not make further statement in writing. Hence,
              the extension of the deadline on November 26 was not required.

       28.    On November 26, 2013, the Respondents submitted the “Respondents’ Request
              for Production of Documents” to the arbitral tribunal.

       29.    On the same day, that is, November 26, 2013, the Applicants submitted the
              “Applicants’ Document List” to the arbitral tribunal.

       30.    On December 5, 2013, the arbitral tribunal confirmed via email the receipt of the
              “Respondents’ Request for Production of Documents” and the “Applicants’
              Document List” submitted on November 26, 2013 by the Respondents and the
              Applicants, respectively. At the same time, the arbitral tribunal reminded the
              Applicants that they did not submit a Request for Production of Documents
              stated in Paragraph 7 of Order (I) and requested the Applicants to clarify whether
              any requests for production of documents to the Respondents would be made
              before 6 p.m. on December 6, 2013.

       31.    On December 6, 2013, the Applicants sent an email to the arbitral tribunal to
              confirm that they did not have any requests for the production of documents at
              this stage.

       32.    On December 17, 2013, the Applicants submitted the Applicants’ Reasonable
              Objections to the Respondents’ Request for Production of Documents to the
              arbitral tribunal via email, and notified all parties that Mr. Ke had suddenly
              passed away the day before. The Applicants stated that they would discuss the

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              relevant legal procedures matters regarding the Second Applicant’s continuation
              in this case with Mr. Ke’s family members as soon as possible, and they would
              make recommendations to the arbitral tribunal as soon as possible after receiving
              the relevant instructions from Mr. Ke’s family members.

       33.    On December 20, 2013, the arbitral tribunal requested the Respondents via email
              to respond to the Applicants’ Reasonable Objections to the Respondents’
              Request for Production of Documents on December 27, 2013, and permitted the
              Applicants to make a final response on January 7, 2014 with regard to the
              Respondents’ response. At the same time, the arbitral tribunal pointed out that,
              even though these steps were not explicitly stated in Order (I), it was added so as
              to facilitate better decision making by the arbitral tribunal. In addition, the
              arbitral tribunal stated that it shall wait for the Applicants’ recommendations
              regarding the relevant matters on the legal procedures regarding the Second
              Applicant’s continuation in this case.

       34.    On December 27, 2013, the Respondents submitted the “Respondents’ Reasons
              for Rebuttal/Renewed Position to the Objections to the Request for Production
              of Documents” (hereinafter referred to as “Reasons for Rebuttal/Renewed
              Position”) to the arbitral tribunal.

       35.    On January 9, 2014, the arbitral tribunal confirmed via email the receipt of the
              “‘Respondents’ Request for Production of Documents’ including the Applicants’
              Objection Opinions and the Respondents’ Reasons for Rebuttal/Renewed
              Position to the Objections to the Request for Production of Documents”
              submitted by the Respondents. In view that the deadline for the Applicants’ final
              response to this document (January 7, 2014) had passed, the arbitral tribunal
              requested the Applicants to confirm whether a response would be made to the
              said document before 6 p.m. on that day. At the same time, the arbitral tribunal
              also requested the Applicants to provide statements or recommendations
              regarding the matters on the relevant legal procedures regarding the Second
              Applicant’s continuation in this case.

       36.    On the same day, that is, January 9, 2014, the Applicants submitted a request via
              email to the arbitral tribunal to suspend the arbitration proceedings until January
              15, 2014, and to extend the final deadline of the Applicant’s response to the
              Respondents’ “Reasons for Rebuttal/Renewed Position” to January 15, 2014.
              The Applicants stated that they shall submit the Applicant’s response to the

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              Respondents’ “Reasons for Rebuttal/Renewed Position” to the arbitral tribunal
              and provide further statements or recommendations regarding the impact of Mr.
              Ke’s passing on this case on that day.

       37.    On January 10, 2014, the arbitral tribunal approved the Applicants’
              abovementioned request for extension, that is, the arbitration proceeding shall be
              suspended until January 15, 2014 and the final deadline for the Applicant’s
              response to the Respondents’ “Reasons for Rebuttal/Renewed Position” shall be
              extended to January 15, 2014, and agreed to the representative of the Applicants
              providing further statements or recommendations regarding the impact of Mr.
              Ke’s passing on this case on that day. The arbitral tribunal also reserved the
              rights allowing the Respondents to provide a reply to the statements or
              recommendations.

       38.    On January 15, 2014, the Applicants sent a letter to the arbitral tribunal, with the
              Applicants’ response to the Respondents’ “Reasons for Rebuttal/Renewed
              Position” enclosed. The Applicants also requested for the extension of the
              statements or recommendations regarding the impact of Mr. Ke’s passing on this
              case to January 30, 2014 based on the actual difficulties faced by Mr. Ke’s wife,
              daughter, and their family members.

       39.    On January 16, 2014, the arbitral tribunal agreed to suspend the arbitration
              proceeding until January 30, 2014 via email.

       40.    On January 24, 2014, the representative of the Applicants (CLCMC Solicitors)
              sent an email to the arbitral tribunal to explain the situation of Mr. Ke’s family in
              detail and claimed that the arbitration could proceed. The representative of the
              Applicants stated that it had already accepted the joint appointment by Mdm.
              Zhang, the wife of Mr. Ke, and Mdm. Ke, the daughter of Mr. Ke, to begin the
              legal procedures for the application at the High Court of Hong Kong to permit
              Mdm. Zhang or her authorized person, Ke Yele, to continue this case as the
              Administrator of the Estate of Mr. Ke, on behalf of the Estate of Mr. Ke. It shall
              also represent the First Applicant and Mdm. Zhang, the wife of Mr. Ke, and
              Mdm. Ke, the daughter of Mr. Ke, in the application to permit Mdm. Zhang or
              her authorized person, Ke Yele, to carry out all the procedures in this case as the
              Administrators of the Estate of Mr. Ke, without terminating the procedures of
              this case before the granting of permission by the High Court of Hong Kong. At



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              the same time, it shall notify the arbitral tribunal immediately after the official
              granting of permission by the High Court of Hong Kong.

       41.    On the same day, that is, January 24, 2014, the arbitral tribunal sent an email to
              request the Respondents to provide a reply to the abovementioned request made
              by the Applicants on or before January 29, 2014.

       42.    On January 29, 2014, the Respondents sent a letter to the arbitral tribunal and
              stated that they did not object to the request of the Applicant’s representative in
              principle, that is, Mr. Ke’s legal successor shall continue in this case and the
              termination of the procedures in this case was not required. However, the
              Applicants must provide the relevant information/clarification of the issues
              concerning the matter, including the identity of Ke Yele, Mdm. Zhang, and
              Mdm. Ke, and the relevant documents. The Respondents also requested that the
              arbitral tribunal allow them the opportunity to publish their final opinion within
              a certain period after they receive the information they requested.

       43.    On January 30, 2014, the arbitral tribunal notified all parties via email that there
              were legal concerns regarding the viewpoints claimed by the representative of
              the Applicants in an email dated January 24, 2014, that is, to push forward the
              case procedures before the Administrators of the Estate of Mr. Ke are approved
              by the High Court of Hong Kong. At the same time, the arbitral tribunal invited
              the representative of the Applicants to reply to the letter dated January 29, 2014
              sent by the Respondents’ lawyer on or before February 14, 2014.

       44.    On February 11, 2014, the Respondents sent a letter to the arbitral tribunal
              requesting for confirmation that the case procedure (including Item 10 of “Order
              (I)” and all procedures thereafter) was still suspended until further instructions
              from the arbitral tribunal. The arbitral tribunal sent a letter to all parties on
              February 12, 2014 confirming that the case procedure was temporarily
              suspended. It stated that further instructions would be given after further reply
              from the Second Applicant was received (the deadline shall be on February 14,
              2014).

       45.    On February 14, 2014, the Applicants sent a letter to the arbitral tribunal in
              response to the letter dated January 29, 2014 sent by the Respondents and the
              opinions in the email dated January 30, 2014 sent by the arbitral tribunal. They
              claimed that in view of Rule 15 of Order 15 of the Rules of the High Court in
              Chapter 4A of the Hong Kong Subsidiary Legislation and the precedent of the

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                 High Court of Hong Kong (Lily Cheung v. The Official Solicitor and Another,
                 [2008] 5 HKLRD 743), the arbitral tribunal could appoint Mdm. Zhang as the
                 representative of the Estate of Mr. Ke in the case procedure for the continuation
                 of case procedures. The identification documents of Mdm. Zhang, marriage
                 certificate of Mdm. Zhang and the Second Applicant, death certificate 1 and
                 identification documents of the Second Applicant, and the court verdict of the
                 cited case were enclosed therewith.

       46.       On February 25, 2014, the Respondents sent a letter to the arbitral tribunal
                 requesting that the Applicants clarify whether they were no longer requesting to
                 appoint Ke Yele as the Administrator of the Estate. The Respondents also
                 objected to the Applicants’ request to the arbitral tribunal to appoint Mdm.
                 Zhang as a representative of the Second Applicant’s estate in the case procedure
                 for the continuation of case procedures, and claimed that the arbitral tribunal
                 should wait until the final approval of the Administrators of the Estate of the
                 Second Applicant had been officially issued by the High Court of Hong Kong
                 before continuing case procedures.

       47.       On February 26, 2014, the Applicants sent an email to the arbitral tribunal
                 requesting that their response to the Respondents’ letter dated February 25, 2014
                 to be sent on or before February 28, 2014. On the same day, the arbitral tribunal
                 approved the Applicants’ said request via email.

       48.       On February 27, 2014, the arbitral tribunal notified all parties via email that the
                 arbitral tribunal intended to hold a half-day hearing in the afternoon of April 2,
                 2014 at HKIAC. The primary objective was: To allow all parties to fully express
                 their legal opinions and feasible solutions on impact of the passing of Mr. Ke on
                 the arbitration proceedings, so as to facilitate the moving forward of arbitration
                 proceedings.

       49.       On February 27, 2014, the Applicants responded to the Respondents’ letter dated
                 February 25, 2014 and clarified that Mdm. Zhang and Mdm. Ke were willing
                 and hoped that the arbitral tribunal would appoint Mdm. Zhang as the
                 Administrator of the Estate of Mr. Ke.



1   The death certificate indicated that the Second Applicant passed away in Shanghai on December 15, 2013 at 10:20 p.m.



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       50.    On March 11, 2014, after considering the correspondences between all parties
              regarding the question of hearing, the arbitral tribunal formulated a schedule for
              both parties to submit their legal opinions on the issue of the impact of the
              passing of Mr. Ke on the arbitration proceedings.

       51.    On March 25, 2014, all parties submitted their opinions in writing to the arbitral
              tribunal respectively with regard to the abovementioned issue. With regard to
              the date of the hearing, all parties stated that they had not reached a consensus.
              They requested that the arbitral tribunal consider reviewing the written materials
              submitted by all parties in this round before deciding whether a hearing was
              required.

       52.    On April 1, 2014, all parties submitted a rebuttal legal opinion to the other
              party’s written opinions to the arbitral tribunal respectively.

       53.    On April 9, 2014, the Respondents sent a letter to the arbitral tribunal via email
              to propose that the arbitral tribunal give all parties two weeks to negotiate the
              matter regarding the recommendation made by the Respondents on seeking
              indemnification due to the legal risks that might be incurred by appointing Mdm.
              Zhang as the representative of the Second Applicant to participate in this case.
              On the same day, the Applicants sent a letter to the arbitral tribunal via email
              stating that the Respondents’ interpretation of the Applicants’ proposal was
              incorrect. At the same time, the Applicants suggested to the arbitral tribunal (and
              at the same time, confirmed that they were willing to unconditionally accept)
              that in the event the arbitral tribunal agreed with the potential risks raised by the
              Respondents after considering the statements and relevant documents provided
              by all parties, they requested that the arbitral tribunal directly issue the following
              binding order under the circumstances:

              “The First Applicant shall solely bear all liabilities of guarantee and indemnity
              and pay for the reasonable indemnification of the Respondents for the rights and
              interests of the Respondents affected due to Mdm. Zhang’s actions in this
              arbitration proceedings and all losses incurred by the Respondents due to the
              rejection of her request as an Administrator of the Estate of the Second
              Applicant by the High Court.”

       54.    On the same day, that is, April 9, 2014, the Respondents expressed regret over
              the Applicants’ response, and requested the arbitral tribunal to make a decision
              regarding the relevant request made by the Applicants.

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       55.    On April 29, 2014, the arbitral tribunal instructed all parties via email that in
              view that the legal opinions and written materials submitted by all parties were
              sufficient, the arbitral tribunal held that a hearing was not necessary.

       56.    On May 30, 2014, the arbitral tribunal made a “Decision on the Impact of the
              Passing of the Second Applicant on the Arbitration Proceedings” (“Decision
              (I)”). The decision of the arbitral tribunal was as follows: (1) The arbitral
              tribunal does not possess jurisdiction over the appointment of the Administrator
              of the Estate of the Second Applicant; (2) As the arbitral tribunal does not
              possess the abovementioned jurisdiction, the case of the Second Applicant may
              only proceed after the Administrator of the Estate of the Second Applicant had
              been appointed by the High Court of Hong Kong; (3) In view of this, the only
              reasonable resolution to this matter by the arbitral tribunal is to suspend the
              arbitration at the current time until after the High Court of Hong Kong appoints
              the Administrator of the Estate of the Second Applicant; (4) The arbitral tribunal
              decided to reserve the decision for the allocation of the attorney fees for this
              request.

       57.    On June 4, 2014, HKIAC sent the original copy of “Decision (I)” to all parties.
              There were no new developments in this case thereafter until April 2, 2015.

       58.    On April 2, 2015, the representative of the Applicants sent an email to the
              arbitral tribunal on behalf of the First Applicant and made the following request
              (hereinafter referred to as “Withdrawal/Addition Request”): (1) To request for
              the arbitral tribunal to issue an order to withdraw the Second Applicant from this
              arbitration proceeding and add the Estate of the Second Applicant as the Fifth
              Respondent in this arbitration proceeding; (2) To permit the Applicant to amend
              the arbitration petition to reflect the withdrawal of the Second Applicant and the
              addition of the Estate of the Second Applicant as the Fifth Respondent; (3) To
              resume this arbitration proceedings. Enclosed with the Applicant’s email were:
              A brief statement of the First Applicant, an affirmation of the First Applicant,
              and a draft of the amended arbitration petition. On the same day, the arbitral
              tribunal requested that the Respondents to submit their legal opinions regarding
              the Applicant’ request before 6 p.m. on April 10, 2015.

       59.    On April 9, 2015, the Respondents sent an email to the arbitral tribunal
              requesting for an extension of the deadline for their submission of the legal
              opinions to April 30, 2015. On the same day, the Applicants recommended to the

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              arbitral tribunal via email that, in view that this case procedure had been
              suspended for over 15 months since the passing of the Second Applicant, the
              grace period should be extended to April 17, 2015.

       60.    On April 10, 2015, after careful consideration, the arbitral tribunal decided to
              extend the date of the Respondents’ response to April 23, 2015 (before 6 p.m.).

       61.    On April 20, 2015, Baker, as a representative of Mdm. Zhang and Mdm. Ke, sent
              a letter to the arbitral tribunal and claimed that the act of submitting a request to
              the arbitral tribunal to change (the Estate of) the Second Applicant to the Fifth
              Respondent without the knowledge of Mdm. Zhang and Mdm. Ke by the First
              Applicant had seriously damaged the legal rights and interest of the Second
              Applicant and/or its legal successors. Baker claimed that the arbitral tribunal
              should not make any decisions regarding the abovementioned request before
              fully taking its opinion into consideration. At the same time, Baker stated that
              Mdm. Zhang and Mdm. Ke were handling the relevant procedures to obtain the
              appointment by the High Court of Hong Kong as the Administrators of the
              Estate of the Second Applicant and it requested the arbitral tribunal to provide it
              with a duplicate copy of the abovementioned request made by the First
              Applicant and the relevant documents.

       62.    On April 23, 2015, the Respondents sent a letter to the arbitral tribunal and stated
              that the Administrator of the Estate of the Second Applicant should have the
              right to express its opinion regarding the request “to remove the Second
              Applicant from these arbitration proceedings and add the Estate of the Second
              Applicant as the Fifth Respondent in these arbitration proceedings”, and that the
              arbitral tribunal should not make any decisions regarding the abovementioned
              matter before the Administrator of the Estate of the Second Applicant has been
              appointed or confirmed. At the same time, the Respondents also claimed that the
              request made by the First Applicant lacked necessary basis. In view of the
              changes in the relationship of all parties, the arbitral tribunal should adopt a
              more cautious approach in handling the procedure and should not make a
              decision to support this request at this point. With regard to whether or not the
              Respondents could request for the First Applicant to jointly bear and perform all
              obligations and liabilities of the Applicants under the “4.28 Agreement”, the
              Respondents raised specific questions concerning the matter and requested that
              the Applicants respond to them. On the same day, the Applicants sent an email to
              the arbitral tribunal to request for a written response with regard to the
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              abovementioned letter sent by the Respondents to be submitted to the arbitral
              tribunal within 14 days (that is, on or before May 7, 2015). The arbitral tribunal
              approved the Applicants’ request of the said deadline via email on the same day.

       63.    On the same day, that is, April 23, 2015, the arbitral tribunal sent a reply to
              Baker via email stating that, in view of Mdm. Zhang and Mdm. Ke not being
              appointed by the court as the Administrators of the Estate of the Second
              Applicant, both of them shall not be the parties involved in this case and they
              shall not possess the requirements to make any requests to the arbitral tribunal. If
              Mdm. Ke and Mdm. Zhang officially became the legal Administrators of the
              Estate of the Second Applicant as appointed by the court in the future, they could
              make a separate request to the arbitral tribunal again.

       64.    On May 6, 2015, the Applicants requested to extend the deadline for the
              submission of the written response mentioned in Paragraph 62 above to on or
              before May 21, 2015. The arbitral tribunal approved the said request for
              extension on May 7, 2015.

       65.    On May 21, 2015, the Applicants submitted the “Written Response of the First
              Applicant” to the arbitral tribunal. The Applicants claimed that, in view that
              Mdm. Zhang and Mdm. Ke no longer wished to continue authorizing the
              representative of the Applicants to handle the procedures of the Estate, the
              representative of the Applicants would not be allowed to continue representing
              the Second Applicant based on legal principles. Also, as the outcome of Mdm.
              Zhang and Mdm. Ke’s application to the High Court of Hong Kong to be
              appointed as the Administrators of the Estate of the Second Applicant was still
              unknown after over one year, the First Applicant believed that Mdm. Zhang and
              Mdm. Ke were affected by the Respondents and intentionally refused to handle
              the Estate or delay the handling of the Estate. Hence, the arbitral tribunal and all
              parties should not wait indefinitely for the succession of the Estate of the Second
              Applicant. Hence, the First Applicant recommended that the arbitral tribunal
              remove the Second Applicant and add the Second Applicant as the Fifth
              Respondent. Otherwise, in the event the arbitral tribunal held that the Second
              Applicant cannot or should not be added as the Fifth Respondent, the arbitral
              tribunal would be requested to consider the continuation of the individual
              arbitration of the First Applicant.



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       66.    On June 16, 2015, Baker sent a letter to the arbitral tribunal stating that it had
              already submitted the application regarding the Administrator of the Estate of
              the Second Applicant to the High Court of Hong Kong on behalf of Mdm. Ke
              and Mdm. Zhang on June 12, 2015. On June 19, 2015, the arbitral tribunal
              forwarded this letter to all parties and instructed them to submit a written opinion
              on or before June 25, 2015 with regard to the submitted application of the
              appointment of the Administrator of the Estate of the Second Applicant,
              especially on whether it was necessary for the arbitral tribunal to consider the
              request made by the First Applicant.

       67.    On June 25, 2015, all parties submitted a written opinion to the arbitral tribunal
              in accordance with the instructions given by the arbitral tribunal on June 16,
              2015.

       68.    On June 26, 2015, the arbitral tribunal instructed all parties via email that after
              reviewing the written statements/opinions made by all parties with regard to the
              Withdrawal/Addition Request made by the First Applicant, the arbitral tribunal
              held that, as the said request was relatively complex, a hearing on the said
              request was necessary to clarify and obtain the viewpoints and positions of all
              parties for consideration.

       69.    On June 29, 2015, the First Applicant sent a reply to the arbitral tribunal via
              email, stating that it had already discussed with the Respondents regarding the
              appropriate date and location of the hearing.

       70.    On July 13, 2015, the arbitral tribunal conducted a public hearing with regard to
              the Withdrawal/Addition Request made by the First Applicant. On the same day
              and after the hearing, the arbitral tribunal asked all parties via email whether
              they would agree to add the three appendices (that is, the letter dated July 10,
              2015 sent by Baker to the arbitral tribunal, the “Preliminary Agreement on Share
              Restructuring for Oasis Investment Group Limited” dated November 9, 2009,
              and case materials related to Warwick Film Productions Ltd and Another v.
              Eisinger and Others) into the hearing folder submitted by the Applicants (and
              they shall be listed as document number 24, 25, and 26, from pages 207 to 218).
              On the same day, the First Applicant and the Respondents confirmed and agreed
              via email respectively.

       71.    On August 6, 2015, the arbitral tribunal notified all parties via email that it had
              made a decision (the electronic version of the decision was enclosed in the said

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              email) regarding the request made by the First Applicant on April 2, 2015.
              HKIAC would mail the original copy to all parties. At the same time, the arbitral
              tribunal requested that the lawyers for all parties discuss and formulate a copy of
              the arbitration procedural schedule as soon as possible for the arbitral tribunal’s
              reference.

       72.    On August 26, 2015, the First Applicant made a suggestion to the arbitral
              tribunal via email that the arbitration proceeding should proceed in accordance
              with the Procedural Order (I) dated June 25, 2013. The relevant arbitration
              procedural schedule should be an extension of this order and the corresponding
              timings should be adjusted (the specific adjustments were listed in the email).
              The First Applicant requested the arbitral tribunal to adopt the abovementioned
              schedule and issue a corresponding order.

       73.    On August 27, 2015, the Respondents sent an email to the arbitral tribunal
              stating that the procedural schedule proposed by the First Applicant the day
              before was not a recommendation after discussion with the Respondents. The
              Respondents recommended that the arbitral tribunal give all parties seven days
              to conduct negotiations regarding the First Applicant’s proposal and to reach a
              consensus as far as possible. Hence, the Respondents requested that the arbitral
              tribunal temporarily suspend giving instructions regarding the arbitration
              procedural schedule.

       74.    On August 29, 2015, the arbitral tribunal ordered all parties to submit a
              procedural schedule upon reaching a consensus after negotiation by all parties
              on or before September 3, 2015. If all parties could not reach a consensus, the
              arbitral tribunal requested that each party raise their own opinions for the arbitral
              tribunal’s reference.

       75.    On September 1, 2015, the First Applicant sent an email to the arbitral tribunal
              stating that it agreed to the procedural schedule recommended by the
              Respondents on August 27, 2015 and requested the arbitral tribunal to adopt the
              abovementioned schedule where a consensus had been reached by all parties,
              and to issue the corresponding order.

       76.    On September 14, 2015, the arbitral tribunal sent an email stating that it agreed
              to the procedural schedule recommended by the Respondents. In view that the
              widow of the Second Applicant, Mdm. Zhang, and daughter of the Second
              Applicant, Mdm. Ke, were represented by Baker, the arbitral tribunal requested
              that the lawyer of the First Applicant and the lawyer of the Respondents confirm

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              that they had already notified Baker of the decision made by the arbitral tribunal
              on August 6, 2015 via registered mail. On the same day, the First Applicant sent
              an email to the arbitral tribunal confirming that it had already sent a registered
              mail to Baker on that day (that is, September 14, 2015) regarding the decision
              made by the arbitral tribunal on August 6, 2015. On October 8, 2015, the
              Respondents stated to the arbitral tribunal that in view that the First Applicant
              had already sent the decision to Baker, the Respondents did not send the said
              decision to Baker again. However, the Respondents confirmed that the
              procedural schedule sent by the First Applicant on September 1, 2015 reflected
              the consensus of all parties, and requested the arbitral tribunal to issue a new
              procedural order.

       77.    On December 21, 2015, the arbitral tribunal instructed all parties via email that
              in view that the Applicant had already sent a registered mail to Baker on
              September 14, 2015 regarding the decision made by the arbitral tribunal on
              August 6, 2015, the Respondents did not need to send the said decision to Baker.
              At the same time, the arbitral tribunal issued Procedural Order (II) (hereinafter
              referred to as “Order (II)”), and a copy of the amended procedural schedule was
              enclosed therewith.

       78.    On December 24, 2015, Baker sent a letter to the arbitral tribunal stating that the
              High Court of Hong Kong had made a preliminary decision to authorize Mdm.
              Ke and Mdm. Zhang as the appointed Administrators of the Estate of the Second
              Applicant on November 6, 2015, and they hoped to receive the official decision
              from the High Court of Hong Kong soon.

       79.    On January 12, 2016, Baker sent a letter to the arbitral tribunal stating that the
              High Court of Hong Kong had issued the Letters of Administration on
              December 28, 2015 and appointed Mdm. Zhang and Mdm. Ke as the
              Administrators of the Estate of the Second Applicant. The duplicate copy of the
              said Letters of Administration was also enclosed in the letter. In the letter, Baker
              also requested that the arbitral tribunal provide it with the dossier of this case
              that the arbitral tribunal had sent to all parties after the passing of the Second
              Applicant. On the same day, the arbitral tribunal forwarded this letter to the First
              Applicant and the Respondents, and instructed them to provide opinions for or
              against Baker at or before 6 p.m. on January 15, 2016.




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       80.    On January 14, 2016, the First Applicant sent an email to the arbitral tribunal
              stating that the duplicate copy of the Letters of Administration provided by
              Baker was not complete. However, if Baker was able to provide the complete
              duplicate copy stating that the relevant Administrators of the Estate has legal
              rights to represent the Second Applicant in the administration or handling of its
              choses in action and liabilities under the 4.28 Agreement and/or in this case
              based on the Letters of Administration, the First Applicant shall not object to
              Baker’s request in the letter dated January 12, 2016.

       81.    On January 15, 2016, the arbitral tribunal issued the “Decision of the Arbitral
              Tribunal  on    the    ‘Respondents’        Request     for      Production     of
              Documents’“ (“Decision (II)”) to all parties via email.

       82.    On January 15, 2016, the Respondents sent an email to the arbitral tribunal
              confirming that they did not object to Baker’s request in the letter dated January
              12, 2016.

       83.    On January 18, 2016, Baker sent a letter to the arbitral tribunal requesting that
              the arbitral tribunal notify it on the newest developments of this case, the next
              step in the procedure and the time schedule, and provide it with the documents it
              had requested for in the letter dated January 12, 2016.

       84.    On January 19, 2016, the arbitral tribunal replied to Baker via email and
              requested for it to provide the complete duplicate copy of the Letters of
              Administration so as to facilitate the arbitral tribunal’s overall consideration of
              Baker’s request. On the same day, the First Applicant sent a letter to the arbitral
              tribunal to submit a further supplementary written opinion with regard to the
              matters in Baker’s letter dated January 12, 2016.

       85.    On January 27, 2016, the First Applicant sent an email to the arbitral tribunal
              confirming that the relevant documents in the Request for Production of
              Documents in the arbitral tribunal’s Decision (II) were non-existent.

       86.    On January 29, 2016, Baker sent a letter to the arbitral tribunal stating that Mdm.
              Ke and Mdm. Zhang had reservations about providing the complete duplicate
              copy, as the complete duplicate copy of the Letters of Administration involved
              the private information of the Second Applicant. Baker also asked for the arbitral
              tribunal’s understanding, or for it to provide clear reasons for disclosure.



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       87.    On February 2, 2016, the arbitral tribunal sent a letter to Baker stating that the
              documents it had previously provided were unable to clearly state whether the
              relevant Administrators of the Estate had the legal rights to represent the Second
              Applicant in the administration or handling of its choses in action and liabilities
              in the 4.28 Agreement and/or in this case based on the Letters of Administration,
              and requested that it provide the Schedule of Assets and Liabilities dated May 25,
              2015 enclosed in the said Letters of Appointment to confirm the
              abovementioned issue.

       88.    On February 17, 2016, Baker sent a letter to the arbitral tribunal stating that with
              regard to the list of appendices in the Letters of Administration presented by the
              High Court of Hong Kong, it would not provide explanations regarding the
              reasons for the disclosure of such choses in action made in a foreign country.

       89.    On February 17, 2016, the arbitral tribunal announced to all parties via email that
              in accordance with the Order (II) stipulated by the arbitral tribunal on December
              21, 2015, the segment for the production of documents had ended. However, the
              arbitral tribunal reserves its rights under Article 22.3 in the 2013 Administered
              Arbitration Rules.

       90.    On February 19, 2016, the First Applicant submitted the electronic versions of
              the First Applicant’s request to summon expert witnesses, the First Applicant’s
              list of expert witnesses, and the First Applicant’s list of factual witnesses to the
              arbitral tribunal via email. On the same day, the Respondents asked the arbitral
              tribunal for an extension of the deadline to March 4, 2016 for the submission of
              the witness request and name list. Thereafter, also on the same day, the First
              Applicant proposed an opinion in response regarding the said request for
              extension to the arbitral tribunal, stating that it objected to the extension of the
              deadline to March 4, 2016, but agreed to extend the deadline to February 26,
              2016. On February 20, 2016, the arbitral tribunal approved the extension of the
              Respondents’ submission deadline to February 26, 2016 at 6 p.m. via email.

       91.    On February 25, 2016, the arbitral tribunal sent an email to the First Applicant
              and the Respondents with all the email/letter correspondences between the
              arbitral tribunal and Baker enclosed, and invited the First Applicant and the
              Respondents to submit, by March 11, 2016 latest, the final written opinion with
              regard to whether or not Mdm. Ke and Mdm. Zhang could represent the Second
              Applicant in this case.

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       92.    On February 26, 2016, the Respondents sent a letter to the arbitral tribunal to
              submit the list of factual witnesses the Respondents intended to summon and the
              list of expert witnesses the Respondents intended to summon, as well as the
              relevant applications.

       93.    On March 4, 2016, the Respondents sent a letter to the arbitral tribunal stating
              that, in view that the First Applicant did not submit the relevant information
              regarding the expert witnesses that the Respondents had asked for, they shall
              reserve the rights to raise opinions regarding the witnesses the First Applicant
              intended to summon, and the rights to nominate a Chinese architectural surveyor
              as an expert witness. At the same time, the Respondents stated that all parties
              should abide by the arrangements of the relevant items in Order (II) with regard
              to the matter of expert witnesses.

       94.    On the same day, that is, March 4, 2016, the First Applicant submitted a written
              opinion with regard to the necessity of the list of witnesses submitted by the
              Respondents in the letter dated February 26, 2016.

       95.    On March 9, 2016, Baker sent a letter to the arbitral tribunal requesting that the
              arbitral tribunal give a reply with regard to the information of the relevant choses
              in action and legal liabilities in the list of appendices in the Letters of
              Administration of the Second Applicant, and the requests it had made in the
              letters dated January 12, 2016 and January 18, 2016.

       96.    On March 10, 2016, the First Applicant submitted the “First Applicant’s
              Supplementary Written Opinion and the Written Opinion of Relevant Cases”
              with regard to whether Mdm. Ke and Mdm. Zhang could represent the Second
              Applicant in this case. The First Applicant believed that, in view that the Letters
              of Administration confirmed by Baker did not include the choses in action and
              legal liabilities in the 4.28 Agreement, Mdm. Ke and Mdm. Zhang lacked the
              legal powers to represent the Second Applicant in this case.

       97.    On March 11, 2016, the Respondents sent an email to the arbitral tribunal to
              reaffirm their opinion made in the letter dated January 15, 2016, that is, they did
              not object to the arbitral tribunal providing the dossier of this case for Mdm.
              Ke’s and Mdm. Zhang’s viewing, and they did not object to Mdm. Ke and Mdm.
              Zhang representing the Second Applicant in this case. On the same day, that is,
              March 11, 2016, the Respondents submitted a reply to the arbitral tribunal in


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              another email regarding the First Applicant’s objection to the necessity of the list
              of witnesses submitted on March 4, 2016.

       98.    On March 24, 2016, Baker sent a letter to the arbitral tribunal to reaffirm its
              position, that is, on Mdm. Ke and Mdm. Zhang having the right to represent the
              Second Applicant in the participation of this case, and having the opinion that
              the arbitral tribunal should immediately suspend the case before the official
              decision of the issue regarding the appointment of the Administrator of the
              Estate of the Second Application has been made.

       99.    On March 29, 2016, the Respondents sent an email to the arbitral tribunal stating
              that they had reached a consensus with the First Applicant and requested for the
              arbitral tribunal to approve the extension of the deadline for the exchange of the
              witness testimonies by all parties (that is, Item 15 of Order (II)) to April 15, 2016.
              On the same day, that is March 29, 2016, the arbitral tribunal approved the said
              request via email.

       100.   On April 6, 2016, HKIAC sent an email with an attachment to all parties on the
              “Decision Regarding the Participation of Mdm. Ke Yeying, the Daughter, and
              Mdm. Zhang Yuejin, the Widow of the Second Applicant, Mr. Ke Zhengguang
              in the Hearing of the Arbitration Case Representing the Estate of the Second
              Applicant as Administrators of the Estate of Mr. Ke Zhengguang” (“Decision
              (III)”) made by the arbitral tribunal dated April 6, 2016. The arbitral tribunal
              ruled that: (1) As the Administrators of the Estate of the Second Applicant, Mdm.
              Ke and Mdm. Zhang have the right to represent the Estate of the Second
              Applicant in the participation of the hearing of this case; (2) HKIAC shall
              immediately provide the dossier related to this case that was sent to all parties
              after the passing of the Second Applicant to Baker, the representative of the two
              administrators; (3) This case shall proceed. On the next day, that is, April 7,
              2016, the arbitral tribunal sent the said Decision (III) to all parties via email.

       101.   On April 14, 2016, Baker sent a letter to the arbitral tribunal, in view that it had
              yet to receive the related dossier of this case, to request for the suspension of the
              current arbitration proceeding, so that it could have the opportunity to fully read
              and analyze the dossier of the case.

       102.   On April 15, 2016, the First Applicant sent an email to the arbitral tribunal with
              the electronic version of the statement made by the First Applicant’s two
              witnesses enclosed. On the same day, the Respondents also sent an email to the

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              arbitral tribunal with the testimonies of the Respondents’ four witnesses
              enclosed.

       103.   On April 19, 2016, HKIAC provided Baker with the dossier of this case
              provided by the arbitral tribunal as instructed in Decision (III) via express
              courier.

       104.   On April 28, 2016, the arbitral tribunal sent an email to all parties requesting that
              Baker, as the representative of the Second Applicant, notify the arbitral tribunal
              on the amount of additional time required for its client to prepare for its
              participation in the hearing of this case. In view of the accession of Baker, (1) the
              recommendation was that all parties convene a case management conference and
              all parties were requested to confirm the time for negotiation; (2) to suspend the
              procedural schedule dated December 21 , 2015 so as to provide the Second
              Applicant with the opportunity to submit its witness testimonies (if any).

       105.   On May 3, 2016, the arbitral tribunal sent a letter to all parties and instructed
              Baker to clearly state its position on whether or not its client was requesting to
              participate in the hearing of this case.

       106.   On May 4, 2016, the First Applicant sent an email to the arbitral tribunal to
              confirm the commencement time of the case management conference. On the
              same day, the Second Applicant sent an email to the arbitral tribunal confirming
              that Mdm. Ke and Mdm. Zhang would participate in the hearing of this case as
              the Administrators of the Estate of the Second Applicant.

       107.   On May 6, 2016, the arbitral tribunal sent an email to all parties and instructed
              that the case management conference would be conducted face-to-face, and
              requested that all parties book the venue for the conference in advance.

       108.   On May 10, 2016, the First Applicant sent an email to the arbitral tribunal
              requesting that the arbitral tribunal issue an order for the Estate of the Second
              Applicant to confirm their position, with regard to the following questions, with
              the arbitral tribunal and all parties concerned in this case on or before June 2,
              2016 (1) Whether or not the Estate of the Second Applicant would request for
              claims from the First Applicant and/or the Respondents in this case; (2) Whether
              or not the Estate of the Second Applicant would adopt the existing arbitration
              petition submitted jointly by the First Applicant and the Second Applicant as its
              position for claims in this case; (3) Whether or not the Estate of the Second

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              Applicant would submit its new arbitration petition/Statement of
              Defence/response letter; (4) Whether or not the Estate of the Second Applicant
              would only participate in this case as observers. On the same day, that is, May 10,
              2016, the arbitral tribunal sent an email to all parties and instructed the Second
              Applicant to provide its opinion with regard to the First Applicant’s request no
              later than 6 p.m. on May 12, 2016.

       109.   On May 11, 2016, the Second Applicant sent an email to the arbitral tribunal to
              request for an extension of the deadline of its reply to the First Applicant’s
              abovementioned request to May 20, 2016.

       110.   On May 12, 2016, the Respondents sent an email to the arbitral tribunal, stating
              that with regard to the First Applicant’s request in the email dated May 10, 2016,
              the First Applicant should first clearly state whether or not it would still continue
              to request for the Administrators of the Estate of the Second Applicant to be
              converted to a Respondent, or to request for claims from the Administrators of
              the Estate of the Second Applicant.




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       111.   On May 13, 2016, the arbitral tribunal sent an email to all parties and approved
              the extension of the deadline requested by the Second Applicant in the email
              dated May 11, 2016.

       112.   On May 17, 2016, the arbitral tribunal sent an email to all parties and instructed
              that the arbitral tribunal would take the First Applicant’s opinion into
              consideration after the Second Applicant has replied to the First Applicant’s
              questions before the deadline on May 20, 2016.

       113.   On May 20, 2016, the Second Applicant sent an email to the arbitral tribunal in
              response to the First Applicant’s questions in the email dated May 10, 2016 (1)
              The Estate of the Second Applicant would participate in this case as the Second
              Applicant, and the Second Applicant would not request for any claims from the
              First Applicant within the scope of the arbitration agreement; (2) The Second
              Applicant would adopt the arbitration petition submitted in accordance with the
              Second Applicant’s instructions, but the Second Applicant objected to the
              amended arbitration petition submitted by the First Applicant (that is, the
              withdrawal of the Second Applicant and the adding as the Fifth Respondent); (3)
              The Second Applicant would not submit a new Statement of Defence; (4) The
              Second Applicant would attend the hearing as observers, but would be restricted
              by the conditions listed in the email.

       114.   On May 22, 2016, the arbitral tribunal sent an email to all parties and permitted
              the First Applicant to respond to the Second Applicant’s email dated May 20,
              2016 no later than 6 p.m. on May 27, 2016.

       115.   On June 3, 2016, the arbitral tribunal sent an email to all parties to remind the
              First Applicant that the deadline for its response to the Second Applicant’s email
              dated May 20, 2016 had passed and instructed it to clearly state its position. On
              June 6, 2016, the First Applicant sent an email to the arbitral tribunal stating that
              it would submit a Written Statement of the First Applicant’s Position no later
              than five days prior to the case management conference. On June 8, 2016, the
              Second Applicant sent an email to the arbitral tribunal to object to the
              abovementioned extension of deadline requested by the First Applicant and
              requested that the arbitral tribunal orders the First Applicant to submit its
              response no later than June 13, 2016.

       116.   On June 14, 2016, the First Applicant sent an email to the arbitral tribunal with
              the enclosed “First Applicant’s Written Response” that it had submitted in

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              response to the email dated May 20, 2016 sent by the Estate of the Second
              Applicant. In the said response, the First Applicant stated that, based on the
              position of the Estate of the Second Applicant in the email dated May 20, 2016,
              the First Applicant did not, at that moment, need to bring up the converting of
              the Estate of the Second Applicant to Fifth Respondent or request for the
              corresponding amendments to the arbitration petition. However, in view that the
              Estate of the Second Applicant reserving the rights to propose opinions or
              provide supplementations in the future, if the Estate of the Second Applicant
              were to proposes a position that would be different from or was unfavorable to
              the First Applicant, the First Applicant shall reserve the rights to once again
              request the arbitral tribunal to convert the Estate of the Second Applicant to a
              Respondent. The First Applicant also proposed that the arbitral tribunal order the
              Estate of the Second Applicant to submit an official written statement (including
              the confirmation that it did not have any opinions or additions to the pleadings
              and/or witness testimonies already submitted in the case at this point) on its
              position at that time and the attitude with regard to the case as mentioned above
              in the form of a pleading and/or witness statement as a “newly-added” party in
              the case. At the same time, the First Applicant requested for the guidelines of the
              current schedule to be postponed accordingly on the basis of the accession of the
              Estate of the Second Applicant.

       117.   On June 21, 2016, the arbitral tribunal sent an email to all parties and instructed
              the Second Applicant to provide its opinion on the First Applicant’s written
              response before 6 p.m. on June 23, 2016, especially regarding the two questions
              below: (1) Will the Second Applicant adopt a different position from the First
              Applicant during the arbitration process? (2) Will the Second Applicant summon
              any factual witnesses or expert witnesses?

       118.   On June 23, 2016, the arbitral tribunal sent an email to all parties and instructed
              the Respondents to confirm as soon as possible on whether or not they would
              nominate a Chinese architectural surveyor as an expert witness.

       119.   On the same day, that is June 23, 2016, Baker sent an email to the arbitral
              tribunal with the “Outline of the Second Applicant’s Written Statement” and its
              “Table of Content of Appendices” enclosed.

       120.   On June 24, 2016, the arbitral tribunal and all parties commenced the case
              management conference.

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       121.   On June 28, 2016, the arbitral tribunal sent an email to all parties with the
              enclosed procedural order and Schedule of the Hearing (“Order (III)”) dated
              June 28, 2016. In Order (III), the arbitral tribunal had approved the list of expert
              witnesses summoned by the First Applicant and the Respondents respectively,
              and formulated a Schedule of the Hearing.

       122.   On June 29, 2016, the Respondents sent a letter to the arbitral tribunal to submit
              the testimonies of the three witnesses of the Respondents. On the same day, the
              First Applicant sent an email to the arbitral tribunal to confirm that it had already
              delivered the hardcopy of the Statement of the First Applicant’s Factual
              Witnesses along with appendices to the representative of the Second Applicant
              on the same day.

       123.   On July 21, 2016, Baker sent an email to HKIAC to confirm that it had received
              all documents dated up to December 5, 2013 that were submitted to the arbitral
              tribunal before the passing of the Second Applicant (“dossiers”) provided to it in
              accordance with the requirements in Order (III). On the next day, that is July 22,
              2016, Baker sent an email to the arbitral tribunal to request for an extension of
              the deadline for the relevant procedures and actions stated in the Schedule of the
              Hearing of Order (III) in view that the abovementioned dossiers were actually
              received later than the deadline stipulated in Order (III).

       124.   On July 26, 2016, Baker sent an email to the arbitral tribunal stating that it had
              noticed that a part of the appendix of the Respondents’ “Statement of Defence
              and Counterclaim” was missing from the dossiers provided to it by HKIAC, and
              thereby requested for the arbitral tribunal to approve the extension of deadline
              that it had requested on July 22, 2016.

       125.   On July 28, 2016, the arbitral tribunal sent an email to all parties and instructed
              the First Applicant and the Respondents to provide opinions with regard to the
              request for the extension of deadline made by the Second Applicant.

       126.   On July 29, 2016, the First Applicant sent an email to the arbitral tribunal stating
              that the Second Applicant’s delay in the receipt of the dossier was due to reasons
              attributable to itself. However, under the condition that the Second Applicant
              gave the promise to the arbitral tribunal that it would not request for a further
              extension of the deadline, the First Applicant would not object to the Second
              Applicant’s request for the extension of deadline. On the same day, the
              Respondents sent an email to the arbitral tribunal stating that it would not object

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              to the Second Applicant’s request for the extension of the deadline, and
              recommended that the deadlines stated in Item 9 to 11 of the Schedule of the
              Hearing should be extended accordingly as a result of the National Day holidays.

       127.   On July 30, 2016, the Second Applicant sent an email to the arbitral tribunal to
              refute the position proposed by the First Applicant that the Second Applicant’s
              delay in the receipt of the dossiers was due to reasons attributable to itself, and
              requested that the arbitral tribunal issue the following orders: (1) Approve the
              Second Applicant’s request for extension of deadline; (2) For the Respondents to
              provide the appendices of the “Statement of Defence and Counterclaim” (that is,
              Appendix B46, C1 - C30, and D1 - D30) yet to be received by the Second
              Applicant to the Second Applicant within seven days; (3) For the Second
              Applicant to pay the reasonable expenses for the printing of the abovementioned
              appendices of the “Statement of Defence and Counterclaim” to the Respondents;
              (4) For the Second Applicant to reserve the rights to claim the abovementioned
              expenses from the First Applicant; (5) For all parties to have the freedom to
              make other requests.

       128.   On August 1, 2016, the arbitral tribunal sent an email to all parties stating that
              the arbitral tribunal agreed to amend Order (III) on the basis that the time of the
              hearing remained the same, and it promulgated a new procedural order and
              Schedule of the Hearing (“Order (IV)”).

       129.   On the same day, that is, August 1, 2016, the Second Applicant sent an email to
              the arbitral tribunal requesting the arbitral tribunal to issue orders with regard to
              the other requests made by it in the email dated July 30, 2016.

       130.   On August 2, 2016, the Respondent sent an email to the arbitral tribunal and
              agreed to conditionally provide the relevant appendices of the “Statement of
              Defence and Counterclaim” requested by the Second Applicant.

       131.   On August 5, 2016, the arbitral tribunal sent an email to all parties and instructed
              the Second Applicant and the Respondents to notify the arbitral tribunal of the
              outcome from their communications with regard to the provision of the relevant
              appendices of the “Statement of Defence and Counterclaim”. On the same day,
              the Second Applicant sent an email to the arbitral tribunal to confirm that it had
              received the relevant appendices, and that it had reserved the rights to claim the
              expenses incurred from the First Applicant for obtaining the arbitration
              documents from HKIAC and the Respondents. On the same day, the First
              Applicant sent an email to the arbitral tribunal denying the allegation of “the


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                  First Applicant illegally removed the documents from the Second Applicant’s
                  premises” made by the Second Applicant, and the relevant lawyer’s letter was
                  enclosed.

        132.      On August 15, 2016, the Second Applicant submitted the factual witness
                  statement of Mdm. Ke to the arbitral tribunal via email. On the same day, the
                  arbitral tribunal sent an email to all parties and approved the request made by the
                  Second Applicant to summon Mr. Ye Yongqing as an expert witness.

        133.      On September 3, 2016, the First Applicant sent an email to the arbitral tribunal to
                  request for the amendment of its “Reply and Defence to Counterclaim” in
                  accordance with Article 18.1 of the “2013 Administered Arbitration Rules of the
                  Hong Kong International Arbitration Centre”2 (“Request for Amendment”)
                  and the draft of its “Amended Reply and Defence to Counterclaim” was
                  enclosed. At the same time, the First Applicant requested the arbitral tribunal to
                  instruct the Respondents to submit its “Amended Further Reply to the
                  Applicants’ Reply and Defence to Counterclaim” within seven days upon the
                  submission of the “Amended Reply and Defence to Counterclaim” by the First
                  Applicant, under the condition that the arbitral tribunal, the Second Applicant,
                  and the Respondents did not object to the “Amended Reply and Defence to
                  Counterclaim” submitted by the First Applicant.

        134.      On September 8, 2016, the Respondents sent an email to the arbitral tribunal and
                  objected to the First Applicant’s submission of the “Amended Reply and
                  Defence to Counterclaim”. On the next day, that is, September 9, 2016, the First
                  Applicant sent an email to the arbitral tribunal and responded to the Respondents’
                  reasons for objection.

        135.      On September 12, 2016, the Second Applicant sent an email to the arbitral
                  tribunal stating that it agreed to the First Applicant’s request for amendment, and
                  sincerely requested the arbitral tribunal to approve the said request.



2   The arbitral tribunal noticed that the First Applicant cited the “2013 Administered Arbitration Rules of the Hong Kong
    International Arbitration Centre”. However, the “2008 Administered Arbitration Rules of the Hong Kong International
    Arbitration Centre” should be applied to this case instead. In view that, with regard to one party’s amendment or
    supplementation of its request or defence, the difference in the relevant stipulations in the two sets of rules had no
    substantial impact on the arbitral tribunal’s approval of the First Applicant’s request for amendment, the arbitral tribunal
    shall deem the abovementioned citation of the “2013 Administered Arbitration Rules of the Hong Kong International
    Arbitration Centre” by the First Applicant as a typographical error.



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       136.   On the same day, that is, September 12, 2016, the Respondents sent an email to
              the arbitral tribunal stating that all parties had reached a consensus with regard to
              the extension of the deadline in Items 8 and 9 in Order (IV) by one week, and
              requested for the arbitral tribunal’s approval. On the same day, the arbitral
              tribunal sent an email to all parties and approved the said request for the
              extension of deadline.

       137.   On September 13, 2016, the arbitral tribunal sent an email to all parties and
              instructed that the arbitral tribunal had unanimously agreed to approve the First
              Applicant’s request for amendment, but the First Applicant must pay all parties
              for all relevant expenses incurred with regard to the request for amendment. At
              the same time, the arbitral tribunal requested the First Applicant to officially
              submit the amended “Reply and Defence to Counterclaim” by September 15,
              2016, and approved the submission of the amended “Further Reply to the
              Applicants’ Reply and Defence to Counterclaim” by the Respondents to be no
              later than September 29, 2016.

       138.   On the same day, that is, September 13, 2016, the Second Applicant sent an
              email to the arbitral tribunal requesting the arbitral tribunal to provide it with an
              opportunity to submit a response letter to the arbitral tribunal with regard to the
              amendments to the “Reply and Defence to Counterclaim” made by the First
              Applicant. On September 21, 2016, the arbitral tribunal sent an email to all
              parties and stated that it did not support the Second Applicant’s request to submit
              a response letter to the arbitral tribunal with regard to the amendments to the
              “Reply and Defence to Counterclaim” made by the First Applicant.

       139.   On September 14, 2016, the First Applicant sent an email to the arbitral tribunal
              and officially submitted the appendix “Amended Reply and Defence to
              Counterclaim”.

       140.   On September 21, 2016, the First Applicant sent an email to the arbitral tribunal
              with two copies of the First Applicant’s Statement on the Refutation of Factual
              Witnesses enclosed. On the same day, the Second Applicant sent an email to the
              arbitral tribunal with Mdm. Ke’s Refutation of the Witness Statement and the
              appended evidence enclosed. On the same day, the Respondents also sent a letter
              to the arbitral tribunal, enclosing three copies of the supplementary witness
              statement of the Respondents’ three witnesses, that is, the Second Applicant, Gu
              Yong, and Liu Yuping.

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       141.   On September 29, 2016, the Respondents sent a letter to the arbitral tribunal with
              the Respondents’ “Amended Further Reply to the Applicants’ Reply and
              Defence to Counterclaim” enclosed.

       142.   On October 12, 2016, the representative of the Respondents sent an email to the
              arbitral tribunal stating that its team members had been joined by Sidley Austin
              LLP and was instructed by the Respondents to continue representing the
              Respondents in this case.

       143.   On October 14, 2016, the Respondents sent an email to the arbitral tribunal
              stating that they requested to extend the deadline for the exchange of the Expert
              Witnesses Report by all parties in Item 9 of the arbitral tribunal’s Order (IV) for
              seven days, from October 17, 2016 to October 24, 2016, upon reaching a
              consensus with all parties. However, this would not affect the deadlines for the
              subsequent items after Item 10 of Order (IV). On the same day, the arbitral
              tribunal sent an email to all parties and approved the abovementioned request
              under the condition that a consensus was reached by all parties.

       144.   On October 24, 2016, the Second Applicant sent an email to the arbitral tribunal
              requesting the extension of the deadline for the exchange of the Expert
              Witnesses Report by all parties to October 28, 2016 under the condition that the
              next deadline (that is, the commencement of the experts’ meeting on November
              28, 2016) in the arbitration schedule would not be affected. The Second
              Applicant stated that it had already solicited the opinion of the First Applicant
              and the representative of the Respondents with regard to the said request, and the
              representative of the Respondents had agreed to it. However, the representative
              of the First Applicant had not provided any replies yet. On the same day, that is,
              October 24, 2016, the First Applicant sent an email to the arbitral tribunal stating
              that it did not object to the Second Applicant’s abovementioned request, but it
              hoped that the arbitral tribunal issue an “unless” order with regard to this request
              for extension of deadline. On the same day, the arbitral tribunal sent an email to
              all parties and approved the abovementioned request for extension of deadline
              made by the Second Applicant. The arbitral tribunal also stated that it would not
              allow any requests for the extension of deadlines to be made unless there were
              unusual or special reasons, in order to prevent the commencement date of the
              hearing from being affected.



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       145.   On October 28, 2016, the Second Applicant sent an email to the arbitral tribunal
              requesting to provide the first round of the unsigned expert report on the basis
              that the rights of all parties would not be affected on that day. On the same day,
              the First Applicant sent an email to the arbitral tribunal and objected to the
              Second Applicant’s submission of the first round of the unsigned expert report.
              Thereafter, the arbitral tribunal sent an email to all parties on the same day and
              requested the Second Applicant to clarify the reasons for its unsigned expert
              report and when they could be signed; and whether or not the content in the
              signed expert report was fully consistent with the content in the unsigned expert
              report. Subsequently, the Second Applicant sent an email to the arbitral tribunal
              to explain the reasons for its request, and requested the arbitral tribunal to issue
              an order on whether or not the first round of the Expert Witnesses Report could
              be exchanged under the condition that the rights of all parties would not be
              affected.

       146.   On the same day, that is, October 28, 2016, the First Applicant sent an email to
              the arbitral tribunal with two copies of the First Applicant’s Expert Witnesses
              Report enclosed. On the same day, the Second Applicant and the Respondents
              also sent emails to the arbitral tribunal separately, stating that they had delivered
              their signed Expert Witnesses Report to all the other parties without prejudice.

       147.   On November 15, 2016, the Second Applicant sent an email to the arbitral
              tribunal stating that, based on all the reasons listed in this email, the Second
              Applicant and Respondents unanimously deemed that the experts’ meeting
              should commence on a “without prejudice” basis, and the representatives of all
              parties were not required to participate. The Second Applicant requested the
              arbitral tribunal to give instructions with regard to this matter.

       148.   On November 21, 2016, the arbitral tribunal sent an email to all parties and
              approved that the experts’ meeting should commence on a “without prejudice”
              basis.

       149.   On December 13, 2016, the Respondents sent a letter to the arbitral tribunal
              stating that, in view that they had received different and even conflicting
              instructions and/or requests made by the First Applicant and the Second
              Applicant, respectively, they requested the arbitral tribunal to issue the
              following orders: (1) Instruct the Second Applicant (through its Administrators
              of the Estate) to express its opinions with regard to the two requests made by the

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              First Applicant in the letter dated December 9, 2016; (2) Instruct the First
              Applicant to express its opinions with regard to the recent request made by Mdm.
              Zhang; and (3) Unless the Applicants reach a consensus and provide a joint
              request to the Respondents, the Respondents shall not accept the unilateral
              instructions given by either the First Applicant or the Second Applicant.

       150.   On December 21, 2016, the Respondents sent an email to the arbitral tribunal
              stating that upon reaching a consensus by all parties, they requested to extend the
              deadline of the submission of the joint report on the statement of the viewpoints
              that were unanimously agreed upon by the expert witnesses and the statement of
              their differing viewpoints to January 4, 2017.

       151.   On December 30, 2016, the Second Applicant sent an email to the arbitral
              tribunal and enclosed its reply to the Respondents’ letter dated December 13,
              2016.

       152.   On December 31, 2016, the First Applicant sent an email to the arbitral tribunal
              and provided a reply to the Respondents’ letter dated December 13, 2016 and the
              Second Applicant’s letter dated December 30, 2016.

       153.   On January 11, 2017, the arbitral tribunal sent an email to all parties. The arbitral
              tribunal stated that it held that the mutual recriminations and allegations made by
              all parties were not related to this case. Hence, the arbitral tribunal would not
              take this matter into consideration or make judgements with regard to this matter.
              With regard to the “without prejudice” letter dated December 9 submitted by the
              Respondents to the First Applicant, the arbitral tribunal requested all parties to
              confirm that the arbitral tribunal would be able to continue hearing this case,
              regardless of whether a copy of the said letter was sent to the arbitral tribunal.
              The arbitral tribunal also reminded all parties to submit the joint expert reports.

       154.   Between January 12 - 13, 2017, all parties sent emails to the arbitral tribunal to
              confirm that the arbitral tribunal would be able to continue hearing this case.

       155.   On January 13, 2017, the Respondents sent an email to the arbitral tribunal
              stating that upon reaching a consensus by all parties, they requested to extend the
              deadline of the submission of the joint expert report to January 25, 2017. The
              arbitral tribunal sent an email to all parties on January 19, 2017 and approved the
              said request for extension of deadline under the condition that the overall
              Schedule of the Hearing would not be affected.

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       156.   On February 16, 2017, the First Applicant sent an email to the arbitral tribunal
              and recommended that instructions be given by the arbitral tribunal with regard
              to the time of the pretrial conference.

       157.   On February 21, 2017, the Respondents sent a letter to the arbitral tribunal,
              enclosing (1) “Joint Expert Opinion Regarding the Issue on Equity Transfer and
              Issue on Taxes” jointly submitted on behalf of the Applicants and Respondents;
              and (2) “Joint Expert Opinion Regarding the Issue on Property” jointly
              submitted on behalf of the First Applicant and Respondents.

       158.   On February 27, 2017, the arbitral tribunal sent an email to all parties and
              notified them of the specific commencement time of the pretrial conference,
              which would be held on April 3, 2017. The arbitral tribunal also notified all
              parties that, as there was a conflict of time for one of the arbitrators, the arbitral
              tribunal agreed to allow the Chief Arbitrator to preside the pretrial conference on
              his own, and requested all parties’ confirmation on this. All parties sent emails to
              the arbitral tribunal separately between February 27 - 28, 2017 to confirm that
              they agreed with the abovementioned arrangement.

       159.   On March 1, 2017, the Respondents sent an email to the arbitral tribunal,
              enclosing (1) Mdm. Yu Jian’s Advisory Report of the Evaluation of the Byland
              Villa Project; (2) Mdm. Yu Jian’s Advisory Report of the Evaluation of the
              Greencourt Sun City Project; and (3) Mr. Ji Nuo’s Expert Opinion Letter and
              Summary of the Cited Laws and Regulations.

       160.   On March 6, 2017, the First Applicant sent a recommendation to the arbitral
              tribunal and made a complaint against the Respondents, stating that there were
              major additions or changes to the content of “Mr. Ji Nuo’s Expert Opinion Letter
              and Summary of the Cited Laws and Regulations” submitted by the Respondents
              on March 1, 2017, as compared to the Mr. Ji Nuo’s Expert Opinion Letter
              exchanged and submitted on October 28, 2016. The First Applicant requested
              the arbitral tribunal to issue an instruction on the refusal to accept all expert
              reports submitted by the Respondents in the email dated March 1, 2017, and to
              forbid either party to submit any new or amended expert reports.

       161.   On the same day, that is, March 6, 2017, the Second Applicant also sent an email
              to the arbitral tribunal and also objected to the Respondents’ submission of the
              new expert report with content that was different from the version of the expert
              report submitted by them on February 21, 2017. It also requested the arbitral

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              tribunal to reject the expert report submitted by the Respondents on March 1,
              2017.

       162.   On March 7, 2017, the arbitral tribunal sent an email to all parties and instructed
              the Respondents to reply to the abovementioned viewpoint and
              recommendations made by the First Applicant and the Second Applicant before
              6 p.m. on March 9, 2017.

       163.   On March 9, 2017, the arbitral tribunal sent an email to all parties and
              recommended the adjustment of the commencement date of the hearing to May
              16, 2017, instead of the original dates from May 15 to 26, 2017 (ten working
              days), due to the last-minute and urgent arrangement of one of the arbitrators,
              and where necessary, extend the time of the daily hearings. The arbitral tribunal
              requested all parties to confirm the above arrangement recommended by the
              arbitral tribunal before the pretrial conference on April 3, 2017. All parties sent
              emails to the arbitral tribunal separately between March 9 - 10, 2017 to confirm
              that they agreed with the abovementioned arrangement.

       164.   On March 9, 2017, the Respondents sent an email to the arbitral tribunal to reply
              to the Applicants’ request for rejection in the email dated March 6, 2017, and
              requested the arbitral tribunal to reject the Applicants’ request for rejection. On
              March 10, 2017, the arbitral tribunal sent an email to all parties and instructed
              the First Applicant and the Second Applicant that, if they intended to reply to the
              Respondents’ email, they would have to provide a reply before March 14, 2017.

       165.   On March 13 and 14, 2017, the First Applicant and the Second Applicant sent
              letters to the arbitral tribunal separately and provided their replies to the
              Respondents’ email dated March 9, 2017.

       166.   On March 29, 2017, the First Applicant sent an email to the arbitral tribunal
              enclosing a copy of the agenda of the pretrial conference jointly drafted by all
              parties.

       167.   On March 30, 2017, the Respondents sent an email to the arbitral tribunal and
              stated that they were willing to provide a copy of the Comparison Version of Mr.
              Ji Nuo’s Final Expert Opinion Letter and the version dated October 28, 2016
              (“comparison version”) de bene esse (conditionally) to prove that the final
              version did not have “major additions or changes to the content” as described by
              the First Applicant. On such basis, the arbitral tribunal sent an email on the same

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              day and instructed the Respondents to provide the comparison version for
              review by the arbitral tribunal, as well as by the First and Second Applicant.

       168.   On March 31, 2017, the Second Applicant sent an email to the arbitral tribunal
              stating that it objected to the Respondents’ provision of the comparison version
              de bene esse, and also objected to the official submission of the comparison
              version by the Respondents. It also requested the arbitral tribunal to reject the
              Respondents’ request to submit the comparison version or to not take the said
              comparison version into consideration. On the same day, on March 31, 2017, the
              Respondents sent an email to the arbitral tribunal and provided the comparison
              version to all parties. The First Applicant also provided a reply to the email on
              the Respondents’ submission of the comparison version on the same day.

       169.   On April 2, 2017, the arbitral tribunal sent an email to all parties to summarize
              the email correspondences with regard to the comparison version and the main
              position of all parties, and stated that it would further communicate with all
              parties during the pretrial conference.

       170.   On April 3, 2017, the arbitral tribunal and all parties commenced the pretrial
              conference at HKIAC.

       171.   On April 4, 2017, the arbitral tribunal sent an email to all parties and instructed
              that it: (1) Permitted Mr. Ji Nuo’s Expert Opinion Letter submitted by the
              Respondents on October 28, 2016; (2) Rejected the amendments to Paragraph 8,
              Paragraph 9, and Paragraph 32 in Mr. Ji Nuo’s Expert Opinion Letter and
              Summary of the Cited Laws and Regulations submitted by the Respondents on
              March 1, 2017; (3) Rejected Note 3, Note 7, Note 22, Note 23, Note 24, and the
              deleted Note 5 (at the same time, refer to point 4 below) in Appendix II of Mr. Ji
              Nuo’s Expert Opinion Letter submitted by the Respondents on March 1, 2017;
              (4) Permitted all sentences of “Refer to Page [x] of the Summary of the Laws and
              Regulations” and the “Summary of the Cited Laws and Regulations” (except for
              Note 3, Note 7, Note 22, Note 23, Note 24, and the deleted Note 5) in Appendix
              II of Mr. Ji Nuo’s Expert Opinion Letter submitted by the Respondents on
              March 1, 2017; (5) Permitted the “Summary of the Cited Laws and Regulations”
              submitted by the Respondents on March 1, 2017; (6) Did not support the
              issuance of any orders as to costs.

       172.   On April 5, 2017, the arbitral tribunal issued a procedural order (“Order (V)”) to
              all parties with regard to the details of the hearing arrangement via email.

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       173.   On April 11 and 19, 2017, the arbitral tribunal sent an email to all parties and
              provided supplementary instructions with regard to the issues related to the
              dossiers of the hearing.

       174.   On May 5, 2017, the First Applicant and the Second Applicant sent emails to the
              arbitral tribunal separately, enclosing the electronic version of the Written
              Statement Prior to the Hearing (including “Authorities”) submitted by each of
              them.

       175.   Between May 5 - 6, 2017, all parties sent an email to the arbitral tribunal
              separately and stated that they were unable to submit the relevant Chronology
              and Introduction of the People Involved in the Case before the deadline
              stipulated in Order (V) because all parties were unable to reach a consensus with
              regard to the Chronology and content of the Introduction of the People Involved
              in the Case. At the same time, the Respondents recommended that the deadline
              for the submission of the said documents be extended to 6 p.m. on May 9, 2017.
              On May 7, 2017, the arbitral tribunal approved the extension of the said deadline
              to 2 p.m. on May 8, 2017.




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       176.      On May 8, 2017, the Respondents sent an email to the arbitral tribunal stating
                 that upon reaching a consensus with both Applicants, they requested to extend
                 the deadline of the submission of the Respondents’ Written Statement Prior to
                 the Hearing to 6 p.m. on May 9, 2017. The arbitral tribunal approved the said
                 request on the same day, that is, May 8, 2017. On May 9, 2017, the Respondents
                 sent an email to the arbitral tribunal, enclosing the electronic version of the
                 Written Statement Prior to the Hearing and “Authorities” submitted by them. On
                 the next day, that is, May 9, 2017, the Respondents resubmitted the electronic
                 version of the “Authorities” to the arbitral tribunal via email as there were
                 missing pages in the electronic version of the “Authorities”.

       177.      On May 9, 2017, the Second Applicant sent an email to the arbitral tribunal,
                 enclosing the: (1) Chronology; and (2) Introduction and Relationship Chart of
                 the People Involved in the Case of all parties. The Second Applicant stated that
                 the above documents covered the position of all parties, but as all parties were
                 unable to reach a full consensus with regard to the content of the said documents
                 within the stipulated deadline, the Applicants had added markings and
                 comments in the portions of the documents where the opinions of the parties
                 were different for the arbitral tribunal’s reference.

       178.      On May 14, 2017, the arbitral tribunal sent an email to all parties and instructed
                 all parties to inform the witnesses of the arbitration of the time and order of their
                 appearance before 3 p.m. on May 15, 2017. The arbitral tribunal also instructed
                 that the arbitral tribunal wished to receive a copy of the schedule that had been
                 formulated upon the consensus of all parties.

       179.      On May 15, 2017, the First Applicant sent an email to the arbitral tribunal with
                 the electronic version of the List of the First Applicant’s Supplementary Laws
                 and Regulations in the Applicants’ Written Statement Prior to the Hearing
                 enclosed. On the same day, on May 15, 2017, the Respondents sent an email to
                 the arbitral tribunal with the (1) Amended “Authorities” of the Respondents’
                 Written Statement Prior to the Hearing3; and (2) Relevant Schematic Diagram of
                 the Structure of Equity Transfer and Checklist of the Steps enclosed.




3   “Legal Judgements” was original document used in the Respondents’ emails and its appendices.



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        180.   On May 16, 2017, the First Applicant sent an email to the arbitral tribunal with
               the time and order of the appearance of the witnesses that was jointly discussed
               by all parties enclosed.

        181.   On May 16, 2017, the arbitral tribunal and all parties commenced the hearing.
               The hearing was conducted consecutively from May 16, 2017 to May 25, 2017
               and ended on May 25, 2017. On August 8, 2017, the arbitral tribunal held a
               hearing to take all parties’ closing argument into consideration.

        182.   On the first day of the trial on May 16, 2017, all parties agreed to delete the
               following paragraph for the purpose of the trial: That is, (a) Paragraphs 56-65 of
               the statement of Xu Hongbiao’s statement (Pages 24-27 in Dossier B); (b)
               Paragraphs 23-24 of the statement of Xu Hongbiao’s rebuttal to the factual
               witness (Page 104 in Dossier B); (c) Paragraphs 5-6 (Page 134 in Dossier B),
               Paragraphs 19-31 (Pages 135-137 in Dossier B, and Paragraphs 39-59 (Pages
               138-142 in Dossier B) of Ke Yeying’s rebuttal to the witness’ statement.

IV.     Factual Background




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       183.   Oasis Investment (First Respondent) is a company registered and established in
              the British Virgin Islands on July 26, 2001. It is also the parent company of the
              following three companies: Shanghai Greencourt Property Development Co.,
              Ltd (“Greencourt Property Development”), Greencourt Properties Limited
              (“Greencourt Properties”), and Shanghai Oasis Kechuang Ecological
              Technology Co., Ltd. (“Oasis Kechuang”). Other than Greencourt Properties,
              which was established in Hong Kong, both Greencourt Property Development
              and Oasis Kechuang were established within China.

       184.   The total number of shares issued by Oasis Investment was 48,000 shares. The
              original equity distribution was as follows: Xu Hongbiao (First Applicant) held
              8,000 shares (16.6%), Ke Zhengguang (deceased, his Estate is the Second
              Applicant of this case) held 8,000 shares (16.6%), Yu Naifen Stephany (Second
              Respondent) held 23,520 shares (49%), Yu Naiwen (Third Respondent) held
              8,000 shares (16.6%), and Yu Naiyun (Fourth Respondent) held 480 shares (1%).
              As the total shares held by Yu Naifen Stephany, Yu Naiwen, and Yu Naiyun
              accounted for 66.6% of the shares, they were referred to as the “Controlling
              Shareholders” in the 4.28 Agreement. Xu Hongbiao and Ke Zhengguang were
              referred to as the “Non-controlling Shareholders” in the 4.28 Agreement.

       185.   Since early 2009, the Controlling Shareholders and the Non-controlling
              Shareholders started discussions with regard to issues on share restructuring for
              Oasis Investment. The discussion process and content can be seen in the
              following documents: “Minutes of the Greencourt Meetings of Shareholders and
              Board of Directors Regarding the Splitting of Assets and Other Related Matters”
              [D2/61/607] dated March 24, 2009, “Minutes for the Greencourt Shareholders’
              Meeting Convened on August 20, 2009” (also referred to as “8.20 Minutes”
              [D2/63/615] dated September 4, 2009, “Preliminary Agreement on Share
              Restructuring for Oasis Investment Group Limited” (“Restructuring
              Agreement”) [D2/68/622] dated November 9, 2009, and “Meeting Minutes”
              [D2/96/718] dated February 3, 2010.




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       186.      In the end, both parties and the related companies concluded the “4.28
                 Agreement”4 on April 28, 2010, and its main content was as follows:

                 (1)         Ke Zhengguang and Xu Hongbiao would transfer the equity they each
                             held in Oasis Investment to Cheergain International Group Limited
                             (“Cheergain International”) and Focus Town Limited (“Focus
                             Town”) respectively. After the said transfers had been completed,
                             Oasis Investment then repurchase the equity of Oasis Investment held
                             by Cheergain International and Focus Town respectively (“Equity
                             Transfer before Repurchase”). The Respondents agreed to the above
                             arrangement and were willing to provide the necessary cooperation:
                             See Article 1.1 [D2/100/751].

                 (2)         Oasis Investment must pay consideration to the Non-controlling
                             Shareholders in three parts, including cash consideration, equity
                             consideration, and consideration of property exchange with regard to
                             the Equity Transfer before Repurchase:

                 (3)         For cash consideration, a total of RMB 250 million was to be paid in
                             three installments, and they were: [RMB] 80 million, 20 million, and
                             150 million, respectively; for the payment made in each period, the
                             necessary prerequisites must be met: See Article 2.1 and Article 2.2
                             [D2/100/752].

                 (4)       The equity consideration was to be calculated and paid based on 100%
                            of the equity of Shanghai Greencourt Four-Season-Flower-City
                            Property Development Co., Ltd. (“SJHC”): See Article 2.3
                            [D2/100/754]. The aim of the arrangement made under the 4.28
                            agreement was to allow the Non-controlling Shareholders to fully own
                            and control SJHC.

                 (5)         For the consideration of property exchange, Oasis Investment and
                             the Controlling Shareholders must appoint Greencourt Property
                             Development and the Non-controlling Shareholders (or its appointed


4   There were ten signatories of the 4.28 Agreement. They were (i) Oasis Investment; (ii) Yu Naifen Stephany; (iii) Yu
    Naiwen; (iv) Yu Naijun; (v) Ke Zhengguang; (vi) Xu Hongbiao; (vii) Cheergain International Group Limited; (viii)
    Focus Town Limited; (ix) Greencourt Properties; and (x) Oasis Kechuang.



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                         third party) to conclude the “Shanghai Real Estate Sale and Purchase
                         Contract” and transfer the property for commercial use of
                         approximately 8,000 square meters, located at Jiuting, Songjiang
                         District, Shanghai City (“Jiuting Stores”) Greencourt Sun City Real
                         Estate Project held by Greencourt Property Development to the
                         Non-controlling Shareholders (or its appointed third party). At the
                         same time, SJHC and Oasis Investment or a third party appointed by the
                         Controlling Shareholders shall conclude the “Villa Order Contract” and
                         transfer the two buildings of A2-type villas on Central Island
                         (“A2-Type villas”) of the Peninsula Villa Project located at Fengpu
                         Industrial Area, Fengxian District, Shanghai City that it had developed
                         to Oasis Investment or a third party appointed by the Controlling
                         Shareholders. All parties confirmed that the value of the property
                         involved in the abovementioned “Shanghai Real Estate Sale and
                         Purchase Contract” and “Villa Order Contract” were all priced at RMB
                         72 million. As the prices of the two properties were equivalent, the
                         consideration for this item was deemed as a mutual offset: See Article
                         3.1 to Article 3.3 [D2/100/755].

              (6)        Starting from the date of conclusion of the Agreement, the related party
                         transactions between SJHC and Oasis Investment and its subsidiary
                         companies should be terminated; all the pre-existing [intragroup] debts
                         and claims should be settled within one month: See Article 3.6
                         [D2/100/756].

       187.   After the conclusion of the 4.28 Agreement, the Equity Transfer before
              Repurchase by Cheergain International and Focus town was completed on May
              4, 2010 [D2/110 - 114/791 - 799]. That is, the Non-controlling Shareholders had
              promptly fulfilled a part of its obligations under the 4.28 Agreement. However,
              the Non-controlling Shareholders and Controlling Shareholders had a dispute
              with regard to the cash consideration, equity consideration, and consideration of
              property exchange of the share repurchase, as well as issues on the settlement of
              the debts and claims, which eventually led to this arbitration.

V.     Disputed Matters and Position of Both Parties

       A.     Cash Consideration



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       188.   With regard to cash consideration, Oasis Investment had paid the amount for the
              first and second installments (a total of RMB 100 million) to the Non-controlling
              Shareholders in accordance with the stipulations in the 4.28 Agreement.

       189.   However, Oasis Investment had not yet paid the amount for the third installment
              (estimated to be RMB 150 million. The final amount should be adjusted in
              accordance with the stipulations in Article 2.2.1 (4) of the 4.28 Agreement).
              According the Article 2.2.1 (3), the amount for the third installment must be paid
              before December 31, 2012, under the condition that the following prerequisites
              were met:

              (1)        The government approvals and registration procedures for the equity
                         transfer of SJHC must be already completed;

              (2)        Oasis Investment must have completed the registration procedures for
                         the change in shareholders required for the repurchase of the equity of
                         the Non-controlling Shareholders;

              (3)        The Non-controlling Shareholders and Controlling Shareholders must
                         have reached an agreement with regard to the arrangements for the
                         payment of cash consideration and the adjusted amount of each item as
                         stipulated in Article 2.1;

              (4)        The Non-controlling Shareholders must have confirmed that the
                         payment of equity consideration stipulated in Article 2.3.5 of the 4.28
                         Agreement had been completed and all parties have no objections to the
                         above;

              (5)        The “Shanghai Real Estate Sale and Purchase Contract” of Jiuting
                         Stores as described in Article 3.1 of the 4.28 Agreement and the
                         “Shanghai Real Estate Presale Contract” of A2-type villas as described
                         in Article 3.2 of the 4.28 Agreement must be concluded and the
                         registration procedures for the transfer of ownership or presale must be
                         completed at the Real Estate Registration Authority.

       190.   The Non-controlling Shareholders and the Controlling Shareholders both
              alleged that items (1), (3), (4) and (5) of the abovementioned prerequisites had
              not been fully met due to the breach of contract by the other parties. It was
              undisputed by both parties that item (2) of the prerequisites had been completed.


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       B.     Equity Consideration

       Equity Transfer Structure

       191.   Article 2.3.1 of the 4.28 Agreement stipulates that:

              “Oasis Investment has newly incorporated Shibang Company Ltd (“Shibang
              Company”) in Hong Kong and has arranged for Shibang Company to acquire
              80% of the equity interest in [SJHC] held by [Greencourt Properties], a
              subsidiary of Oasis Investment in Hong Kong. After the completion of the said
              equity acquisition, Oasis Investment shall sign the “Equity Purchase Option
              Agreement” with [Cheergain International] and [Focus Town] and agree that
              upon the expiration of the entrustment period mentioned in Article 2.3.2 below,
              100% of the equity of Shibang Company shall be transferred to [Cheergain
              International] and [Focus Town] at a consideration of HKD 1”

       192.   Article 2.3.2 of the 4.28 Agreement further stipulates that:

              “All Parties Agree That: After Oasis Investment’s signing of the Equity
              Purchase Option Agreement for the equity transfer of Shibang Company to
              [Cheergain International] and [Focus Town], Greencourt Properties is to sign
              the relevant Entrustment Agreement with [Cheergain International] and [Focus
              Town]. This agreement shall stipulate that: (1) [Cheergain International] and
              [Focus Town] are entrusted by Greencourt Properties to manage Shibang
              Company and to exercise the shareholders’ rights on its behalf for three years
              (the “entrustment period”); (2) during the entrustment period, the
              Non-controlling Shareholders are responsible for all the debts and claims, risks
              and liabilities of Shibang Company and SJHC. If for any reason the Controlling
              Shareholders, Oasis Investment or Greencourt Properties are required to bear
              the debts and claims, risks and liabilities of Shibang Company or SJHC during
              the entrustment term, the Non-controlling Shareholders are required to fully
              compensate the Controlling Shareholders, Oasis Investment and Greencourt
              Properties.”

       193.   While Article 2.3.3 of the 4.28 Agreement stipulates that:

              “The remaining 20% of the equity of [SJHC] currently held by [Oasis
              Kechuang], a subsidiary of Oasis Investment, is to be transferred to a domestic
              company in China appointed by the Non-controlling Shareholders (“Onshore
              Payment of Equity Consideration”). If under the laws of the People’s Republic

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              of China, an actual payment of consideration is required to be made for such
              equity transfer, the provisions of the abovementioned Article 2.2.1(4)(a) shall
              apply.”

       194.   Article 2.3.4 of the 4.28 Agreement stipulates that:

              “All Parties Agree That: The Non-controlling Shareholders shall be
              responsible for all the tax and expenses incurred due to the Onshore Payment of
              Equity Consideration, as well as the tax and expenses incurred offshore due to
              the entrustment arrangement made by Shibang Company and the equity transfer
              of Shibang Company to [Cheergain International] and [Focus Town]. Apart
              from this, the sharing of the tax and expenses relating to the payment of Equity
              Consideration is to be negotiated by all the Parties in due course. All procedures
              relating to the onshore and offshore payment of Equity Consideration, such as
              applications, registrations and government procedures, etc. are to be
              undertaken by the Non-controlling Shareholders while the Controlling
              Shareholders and Oasis Investment are to provide the necessary assistance.
              (underlines added later)

       C.     Consideration of Property Exchange

       195.   The 4.28 Agreement stipulates a property exchange by both parties, that is: The
              exchange of the Jiuting Stores and A2-type villas and they shall both be deemed
              as considerations. The position of the Applicants was: The 4.28 Agreement
              confirmed that both parties shall not make actual payment for the value of the
              property as the value of the Jiuting Stores and A2-type villas were both priced at
              RMB 72 million and were mutually offset. Hence, there were no issues with
              regard to whether or not the Jiuting Stores and A2-type villas were actually
              equivalent. Furthermore, it was also clearly stated in Article 3.2 of the
              Agreement that the two buildings of the A2-type villas had a “drawing area of
              1,200 square meters each”, but it was never mentioned or suggested in the
              Agreement that the price of RMB 72 million was calculated based on the
              saleable gross floor area.

       196.   Whereas, the Respondent declared that the price of RMB 72 million of the
              A2-type villas was calculated based on (1) the saleable gross floor area of the
              two buildings of the villa, which was 2,400 square meters in total, and (2) the
              average price of every square meter of the gross floor area not being lower than


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                 RMB 31,500. The Respondents declared that this was the basis of both parties’
                 agreement on Article 3.3 of the 4.28 Agreement.

       197.      Below, the arbitral tribunal provided an overview of all the claims of all parties
                 that were not fulfilled as agreed with regard to cash consideration, equity
                 consideration, and consideration of property exchange. If the arbitral tribunal did
                 not specially point out the statement or viewpoint of a certain party in this
                 arbitral award, this does not mean that the arbitral tribunal failed to consider the
                 portion of the statement. In view of the wide range of statements made by all
                 parties in this case, the arbitral tribunal held that it was not necessary to list every
                 statement made by the parties concerned. It was also not practical to list every
                 statement made by the parties concerned in this arbitral award. The arbitral
                 tribunal had read and carefully considered the statements made by all parties.
                 The members of the arbitral tribunal had also conducted discussions with regard
                 to the statements made by all parties.

       Payment of Cash Consideration

       198.      The Applicants held that in accordance with Article 2.2.1 (3)(d) in the 4.28
                 Agreement, one of the prerequisites in the clause regarding the payment of cash
                 consideration by the Controlling Shareholders was that the Non-controlling
                 Shareholders confirmed that the payment for equity consideration as stipulated
                 in Paragraph 2.3.5 of the 4.28 Agreement had been completed, and all parties
                 had no objections to this. However, “both parties of the arbitration had disputes
                 with regard to each of the following steps of equity transfer: (1) Shibang
                 Company’s acquisition of 80% of the equity of SJHC held by Greencourt
                 Properties; (2) The transfer of the equity of Shibang Company to Focus Town
                 Limited and Cheergain International owned by the Non-controlling
                 Shareholders made by Oasis Investment; (3) The transfer of “20%” 5 of the
                 equity of SJHC held by Oasis Kechuang to a domestic company within China
                 established by the Non-controlling Shareholders (that is, Shanghai Luhao
                 Trading Co., Ltd. (hereinafter referred to as “Luhao Trading”). The reason for
                 the incomplete equity transfer of these three items should be attributable to the
                 Respondents.


5   There was a typographical error wrongly written as 80% in the concluding statement of the Applicants.



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       199.   The Respondents agreed to the claim that the prerequisites were not met, but
              held that the Applicants should be responsible for the prerequisites stipulated in
              Paragraph B to Paragraph D of Article 2.2.1 (3) that were not being met.

       200.   As described in Paragraphs 189-190 above, Oasis Investment had not yet paid
              the said amount to the Non-controlling Shareholders as certain prerequisites for
              the payment of the said amount were not met. The reasons for prerequisites not
              being met were related to the incomplete payment of the equity consideration.
              Hence, the arbitral tribunal shall provide an overview of the position of all
              parties in the portion involving equity consideration below.

       Payment of Equity Consideration

       201.   With regard to the payment of equity consideration, Article 2.3.5 of the 4.28
              Agreement stipulates that the equity consideration shall be deemed as completed
              after the conclusion of the two sets of agreements below: (1) The “Equity
              Purchase Option Agreement” as described in Article 2.3.1, and (2) the
              “Entrustment Agreement” as described in Article 2.3.2. In accordance with the
              stipulations in the 4.28 Agreement, Oasis Investment and the Controlling
              Shareholders should conclude an “Equity Purchase Option Agreement” with
              Cheergain International and Focus Town. Under this Agreement, Oasis
              Investment shall transfer 100% of its equity in Shibang Company to Cheergain
              International and Focus Town established by the Non-controlling Shareholders
              at a consideration of HKD 1. Upon the conclusion of the abovementioned
              “Equity Purchase Option Agreement” of Shibang Company, Greencourt
              Properties shall conclude an “Entrustment Agreement” with Cheergain
              International and Focus Town. Under this Agreement, all parties agree that (a)
              Cheergain International and Focus Town shall be authorized by Greencourt
              Properties to manage Shibang Company, and they may exercise shareholders
              rights on behalf of it for three years; (b) During three-year entrustment period,
              all debts and claims, liabilities, and risks of Shibang Company and SJHC shall
              be borne by the Non-controlling Shareholders. The Non-controlling
              Shareholders shall also be liable for compensation to the Controlling
              Shareholders with regard to the actual debts and claims, liabilities, and risks
              borne by the Controlling Shareholders.

       202.   The Applicants claimed that the transfer of SJHC involved the three following
              steps: (1) Oasis Investment should assist Shibang Company with the completion

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                 of the acquisition of 80% of equity of SJHC held by Greencourt Properties
                 (“acquisition by Shibang”, i.e. the first step of the transfer of 80% equity of
                 SJHC); (2) After the expiration of the three-year entrustment period, Oasis
                 Investment should transfer the equity of Shibang Company to Focus Town and
                 Cheergain International established by the Non-controlling Shareholders (i.e.
                 the second step of the transfer of 80% equity of SJHC); (3) Oasis Kechuang
                 should transfer its [20%]6 equity in SJCH to a domestic company (i.e. Luhao
                 Trading) in China designated by the Non-controlling Shareholders. The
                 Applicants claimed that both [Applicants and Respondents] of the arbitration
                 have disputes concerning each of the above equity transfer steps. However, the
                 fundamental reason for the incomplete transfer of the equity of SJHC was
                 caused by the Controlling Shareholders’ violation of their contractual
                 obligations under 4.28 Agreement and serious delays.




6   There was a typographical error wrongly written as 80% in the concluding statement of the Applicants.



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       203.   The Respondents claimed that there were three reasons why Shibang Company
              failed to complete the purchase: (1) Upon signing the 4.28 Agreement, the
              equity of Greencourt Properties in SJHC was only 69% and it did not enjoy the
              preferential tax treatment under the “Notice on Several Issues Concerning
              Corporate Income Tax Treatment of Enterprise Restructurings promulgated by
              the Ministry of Finance and the State Administration of Taxation” promulgated
              by the Ministry of Finance and State Administration of Taxation on April 30,
              2009 (hereinafter referred to as “Document No. 59”) (at least 75% required),
              thus it had to increase its capital to at least 75%, and this capital increase was
              only completed in July 2011 (increased to 80%); (2) The Controlling
              Shareholders only “arranged” for Shibang Company’s acquisition obligations
              under Article 2.3.1, and this obligation was fulfilled when they established
              Shibang Company; (3) The Non-controlling Shareholders had actual control
              over SJHC at that time, but they did not provide the audit report and/or
              evaluation report of SJHC, which made it impossible for the Controlling
              Shareholders to submit a “reasonable equity transfer price” to the relevant
              government agency, thereby causing Shibang Company to fail in the completion
              of the acquisition.

       204.   The Applicants claimed that:

              Firstly, the fundamental reason for the unsuccessful acquisition by Shibang
              Company was that the Controlling Shareholders had violated the provision of
              Article 2.3.1 of the 4.28 Agreement and did not provide the most basic equity
              transfer agreement between Greencourt Properties and Shibang Company
              regarding the transfer of 80% equity of SJHC (“80% equity transfer
              agreement”), resulting in the inability to proceed with the transfer (not to
              mention completion).

              Secondly, according to the expressed provisions of Article 2.3.1 of the 4.28
              Agreement, the acquisition by Shibang Company had been carried out when the
              4.28 Agreement was signed. Based on the principle of contractual estoppel and
              the principle of estoppel by convention, the Controlling Shareholders could not
              go back on their promise and say that they had only needed to “arrange” for
              Shibang’s acquisition, ignoring the importance of the obligation of “acquisition”
              itself. In addition, they also could not go back on their promise and say that
              Shibang Company had not completed the acquisition. Therefore, even if the
              acquisition by Shibang Company had not taken place as the capital increase of
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              SJHC had not been completed upon the signing of the 4.28 Agreement, it should
              not affect the reliance of the Non-controlling Shareholders on the clear meaning
              and validity of Article 2.3.1, that is, the Controlling Shareholders have the
              responsibility to complete the acquisition by Shibang Company to enable
              themselves to fulfill the obligation to ultimately transfer the 80% equity of SJHC
              to the Non-controlling Shareholders under that Article (which has not been
              disputed by the parties concerned).

              Thirdly, the Respondents presented the following claims, i.e. the
              Non-controlling Shareholders knew, as a matter of fact that, the capital increase
              of SJHC had not been completed upon the signing of the 4.28 Agreement, thus
              they also knew that Shibang Company had not completed the acquisition at that
              time. The Applicants believed that even if the Non-controlling Shareholders
              knew that the overview stated in the Article was not factual, it should not affect
              the application of the principle of contractual estoppel or the principle of
              estoppel by convention, and the evidence in this case showed that the
              Non-controlling Shareholders did not actually know that the capital increase of
              SJHC had not been completed upon the signing of the 4.28 Agreement.

              Fourthly, the Respondents claimed that the completion of the acquisition by
              Shibang Company was a responsibility of the Applicants based on Article 2.3.4
              of the 4.28 Agreement. The Applicants believed that Article 2.3.4 of the 4.28
              Agreement limited the scope of the relevant taxes and fees that should be
              managed and borne by the Non-controlling Shareholders to (a) equity transfer
              procedures related to the payment of onshore equity consideration (i.e. the
              transfer of 20% equity of SJHC by Oasis Kechuang to Luhao Trading) and
              resulting taxes and (b) the entrustment arrangement with Shibang Company
              outside of Mainland China and the equity transfer procedures for the transfer of
              equity by Shibang to Cheergain International and Focus Town, as well as the
              resulting taxes, but excluding the equity transfer procedures or taxes related to
              the acquisition by Shibang Company.

              Fifthly, according to expert opinions, the 80% equity transfer agreement was a
              fundamental application document for the completion of the acquisition by
              Shibang Company, and the Respondents had never provided this document to
              the Applicants. Regarding the Respondents’ claim that Shibang Company failed
              to complete the acquisition because the Controlling Shareholders could not
              submit a “reasonable equity transfer price” to the relevant government agency
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              due to the failure of the Non-controlling Shareholders to provide the audit report
              and/or evaluation report of SJHC that were under the control of the
              Non-controlling Shareholders at that time, the Applicants believed that, based on
              expert opinions, the audit report and/or evaluation report would only affect the
              assessment and adjustment of the appropriateness of the transfer price by the tax
              authorities after the equity transfer procedures were completed (i.e. after review
              and approval by the Commission of Commerce and the completion of the
              industrial and commercial registration), and would not affect the effect of the
              transfer itself. Regarding the tax liability to be borne by the Non-controlling
              Shareholders with respect to the acquisition by Shibang Company put forward
              by the Respondents, the Applicants believed that such taxes should be borne by
              the Controlling Shareholders as intended in the 4.28 Agreement; Otherwise, the
              parties concerned would have specified differently in the agreement.

       205.   Regarding the failure to complete the transfer of 20% equity of SJHC, the
              Respondents claimed that it was because the Applicants only designated Luhao
              Trading as the onshore company under Article 2.3.3 of the 4.28 Agreement in
              March 2011. The Applicants claimed that even if the Applicants had already
              designated an onshore company before Oasis Kechuang’s shareholding ratio in
              SJHC was reduced to 20%, the transfer of 20% equity of SJHC remained
              impossible to complete.

       206.   The Respondents claimed that the transfer of 80% and 20% equities of SJHC
              could be carried out separately. Therefore, it requested the arbitral tribunal to
              consider the responsibilities of the 80% and 20% equity transfer separately. The
              Respondents also pointed out that the controlling rights of SJHC had been fully
              handed over to the Applicants on November 15, 2009.

       207.   The Respondents believed that, based on the opinions of Chinese legal experts,
              the transfer of 80% and 20% equities of SJHC would need to undergo three
              stages of administrative procedures, i.e. review and approval by the competent
              commerce department, industrial and commercial registration of changes,
              taxation of foreign currency transaction and other registration of changes,
              among which Ji Nuo believed that the stage of review and approval by
              competent commercial authority would already reflect the requirements of the
              audit agency on audit report and evaluation report, and the competent commerce
              department would use the audit report or evaluation report as an important
              reference; at the same time, both Ji Nuo and Ye Yongqing agree that “the
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              enterprise’s audit report for the previous year issued by an accounting firm”
              required in the “Review and Approval Procedures for Equity Transfer of
              Foreign-Invested Enterprises” published by Fengxian District Economic
              Committee should be provided by the parties concerned, and the equity transfer
              agreement should usually include the amount of equity purchased and its price
              or calculation method.

       208.   Regarding the transfer of the 20% equity, the Respondents believed that, since
              the Applicants had actually controlled SJHC from November 15, 2009 onwards,
              only the Applicants could enable the auditor/evaluator to perform the latest
              audit/evaluation on the assets of SJHC before the equity transfer, but the
              Applicants did not provide the latest audit/evaluation, thus a reasonable equity
              transfer price could not be obtained and the “Equity Transfer Agreement” could
              not be prepared in the absence of this price. Therefore, the responsibility of the
              incomplete transfer of the 20% equity lies with the Applicants’ failure to
              perform its obligations under Article 2.3.4 of the 4.28 Agreement, which drove
              SJHC to prepare the latest audit report or evaluation report, and to promptly
              designate an onshore company to be the transferee of the 20% equity. In addition,
              the Applicants had yet to push forward this part of the equity transfer after
              SJHC’s capital increase was completed in July 2011 (i.e. after Oasis Kechuang’s
              equity of SJHC was reduced to 20%).

       209.   Regarding the transfer of the 80% equity, the Respondents believed that the key
              to this incomplete transfer was that Greencourt Properties transferred its 80%
              equity in SJHC to Shibang Company and the responsibility of the incomplete
              transfer lies with the Applicants. The Respondents believed that, according to
              the provision of Article 2.3.4 of the 4.28 Agreement, the transfer of the 80%
              equity of SJHC from Greencourt Properties to Shibang Company was “one of
              the steps in the payment of foreign equity consideration”, thus the Respondents
              only had the obligation to assist the transfer and had no management
              responsibility. The Applicants should be responsible for this transfer, including
              the preparation of the “Equity Transfer Agreement”, and the said agreement had
              to also refer to the latest audit report or evaluation report of SJHC to arrive at a
              fair price acceptable to the competent authority. Similarly, the responsibility for
              providing the audit report or evaluation report lies with the Applicants.

       210.   Regarding whether the Applicants knew that the 80% equity of SJHC had not
              been transferred to Shibang upon the signing of the 4.28 Agreement, the
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              Respondents believed that the evidence showed that the Applicants clearly knew
              about it. The sentence “Oasis Investment ... has arranged for Shibang Company
              to acquire 80% of the equity in [SJHC] … held by Oasis Investment” under
              Article 2.3.1 in the 4.28 Agreement was a typographical error. If it had actually
              completed such acquisition at that time, the sentence should appear in the
              foreword of the 4.28 Agreement rather than in Article 2.3.1, and the second
              sentence of the said Article “After the completion of the said equity acquisition...”
              would also be unnecessary. For this, the real intention of the parties concerned
              was that Oasis Investment had already arranged for Shibang Company to
              purchase the 80% equity.

       211.   Regarding the assumption of tax arising from the 80% equity transfer, the
              Respondents claimed that the tax should be borne by the Applicants for the
              following reasons: Firstly, the 80% equity of SJHC was transferred in a devious
              way to Cheergain International and Focus Town, which were established by the
              Applicants to save tax for the Applicants; secondly, the Applicants had no
              evidence to prove that the parties concerned agreed that the Respondents should
              bear the taxes for the transfer of this 80% equity; thirdly, upon concluding the
              agreement, the intention of the parties concerned was that in the event Document
              No. 59 could not be used to help the Applicants save tax, the Respondents would
              be willing to consider separately negotiating on paying a certain proportion of
              the taxes that should be borne by the Applicants at the appointed time; fourthly,
              Article 2.3.4 of the 4.28 Agreement also clearly stipulated that “Apart from this,
              the sharing of the tax and expenses relating to the payment of Equity
              Consideration is to be negotiated by all the Parties in due course”; fifthly, the
              Applicants claimed that, based on the principle of contractual estoppel, the
              relevant taxes should be borne by Greencourt/Shibang since the 80% equity of
              SJHC was transferred by Greencourt Properties to Shibang Company upon the
              signing of the 4.28 Agreement, and this had nothing to do with the Applicants.
              The Respondents believed that the principle of contractual estoppel did not
              apply here; sixthly, if the arbitral tribunal held that the tax liability of this 80%
              equity transfer is not covered under the second sentence of Article 2.3.4 of the
              4.28 Agreement, then it should be covered under the first sentence of the said
              article.

       Completion of Property Exchange



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       212.   The Applicants claimed that, according to stipulations of Articles 3.1 to 3.3 of
              the 4.28 Agreement, SJHC is only obliged to transfer the two A2-type villas that
              it developed at the designated location in Fengxian District, Shanghai to the
              Oasis Investment or a third party designated by the Controlling Shareholders
              after achieving the property handover criteria. The gross floor area on drawings
              of each of the two A2-type villas was about 1,200 square meters, and the parties
              concerned confirmed that the total price was RMB 72 million.

       213.   Firstly, the Applicants claimed that “gross floor area on drawings” meant the
              gross floor area shown on the drawings approved by the Shanghai Fengxian
              District Planning, Land and Resources Administration, and the said drawing was
              enclosed in the Construction Project Planning Permit issued by the Fengxian
              District Planning, Land and Resources Administration on January 7, 2009 (i.e.
              when SJHC was still controlled by the Controlling Shareholders). The said
              permit was handed over by the Controlling Shareholders to the Non-controlling
              Shareholders, and subsequently the construction of the relevant A2-type villas
              was carried out according to the said drawing. In addition, the drawing had not
              been modified. Based on the above reasons, the Applicants claimed that the
              Controlling Shareholders’ reference of the “gross floor area on drawings” as the
              saleable area or super built-up area should not be adopted.

       214.   Secondly, Article 3.3 of the 4.28 Agreement stipulates that the A2-type villas
              and Jiuting Stores should be used for property exchange or equivalent-value
              exchange. The Applicants claimed that the parties concerned agreed to carry out
              property exchange, i.e. the parties concerned agreed that (i) Jiuting Stores and (ii)
              the two A2-type villas were priced at RMB 72 million. Since the two prices were
              equal, the considerations were offset by each other. Therefore, the market prices
              of Jiuting Stores and the two A2-type villas have nothing to do with the property
              exchange.

       215.   The Applicants believed that the Controlling Shareholders’ refusal to accept the
              A2-type villas without justifiable reasons and its refusal to transfer the Jiuting
              Stores caused the Non-controlling Shareholders to suffer serious losses
              (including the rental losses resulting from the Non-controlling Shareholders’
              inability to have control over the 2,000 square meters of the Phase-II Jiuting
              Stores and to lease out this part of the stores).



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       216.      The Respondents believed that the above-ground floor area of the A2-type villas
                 provided by the Applicants was only 600 square meters each, which was
                 completely inconsistent with the requirements of Article 3.2 of the 4.28
                 Agreement, wherein the above-ground floor area of each villa should be
                 approximately 1,200 square meters. The Respondents emphasized that the 4.28
                 Agreement itself was not accompanied by any drawings, and the Controlling
                 Shareholders had not received any drawings showing the total gross floor area of
                 each villa (including gross floor area above and below ground) was
                 approximately 1,200 square meters before signing the 4.28 Agreement.

       217.      The Respondents believed that Articles 3.2 and 3.3 of the 4.28 Agreement
                 should be interpreted as that the value of the A2-type villas and Jiuting Stores
                 should start from RMB 72 million, i.e., the two should be used for exchange at
                 equivalent value and not for property exchange. In order for the valuation of the
                 two A2-type villas to reach up to a total of RMB 72 million and calculated at a
                 unit price of RMB 31,500 per square meter, the floor area of each villa must be
                 approximately 1,200 square meters. The Respondents claimed that the term
                 “gross floor area on drawings” had no specific interpretation under Chinese law
                 and that it must be understood in light of the specific circumstances of the parties
                 concerned in agreement when the 4.28 Agreement was discussed and signed.

       218.      The Respondents believed that, in view of the fact that the A2-type villas
                 provided by the Applicants were inconsistent with the requirements of the 4.28
                 Agreement, unless the Applicants7 compensate for the price difference between
                 the defective A2-type villas and the villas the Respondents should receive
                 (according to the calculation of the Respondents, was RMB 41,820,000), the
                 Respondents were not obliged to accept the A2-type villas [provided by the
                 Applicants]. Prior to this, the Respondents had no obligation to hand over the
                 control rights of the remaining 2,000 square meters of the [Jiuting] property to
                 the Applicants.

       Debt Settlement




7   The Respondents was mistakenly written as “the Respondents” here.



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          219.      Regarding debt settlement, the Applicants and the Respondents have listed the
                    debt settlement items disputed by the parties concerned in their written statement
                    and indicated their respective positions.

VI.       Petitions of the Applicants and Respondents

          Petitions of the Applicants

          220.      Both the First Applicant and the Second Applicant adopt the same arbitration
                    petition. In Paragraph 40 of the said application, the Applicants listed the
                    following petitions:

                    (1)         Order that the First Respondent or the Respondents to cause Greencourt
                                Property Development to sign the “Shanghai Real Estate Sale and
                                Purchase Contract” regarding the Jiuting Stores with the Applicants or
                                their designated third party, and to transfer the ownership of the Jiuting
                                Stores to the Non-controlling Shareholders or their designated third
                                party; (Article 3.1 of the 4.28 Agreement)

                    (2)         Order that the First Respondent or the Respondents to cause its
                                designated third party to sign the A2-type villas’ “Shanghai
                                Commercial Real Estate Presale Contract” with SJHC and complete the
                                relevant presale registration procedures; (Article 3.2 of the 4.28
                                Agreement)

                    (3)         Order that the Respondents to settle and pay the debts of SJHC and the
                                First Respondent to the Applicants based on the current account
                                checklist of the Applicants (i.e. Appendix 1 of the arbitration petition)
                                (within 4 weeks from the date of the arbitration award); (Article 3.6 of
                                the 4.28 Agreement)

                    (4)         Order that the First Respondent to arrange for and cause Shibang
                                Company to acquire the 80% equity of SJHC held by Greencourt
                                Properties, a subsidiary of the First Respondent; (Article 2.3.1 of the
                                4.28 Agreement)8


8     The board of directors of Shibang Company has four directors, and the parties concerned have the right to appoint two
      directors. The Articles of Association of Shibang Company stipulates that a resolution is effective as long as it is signed
      by two directors.



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                  (5)         Order that the First Respondent and the Controlling Shareholders to
                              sign and cause their subsidiary, Greencourt Properties, to co-sign the
                              Equity Purchase Option Agreement and the entrustment agreement
                              concerning Shibang Company; (Articles 2.3.1 and 2.3.2 of the 4.28
                              Agreement)9

                  (6)         Order that the Respondents or the First Respondent to cause Oasis
                              Kechuang to transfer its 20% equity of SJHC to Luhao Trading;10

                  (7)         Order that the Respondents or the First Respondent to cause Greencourt
                              Property Development to repay all mortgage, loans or guarantees
                              (including interests) of the Jiuting Stores and to remove all existing
                              mortgage, guarantees on the Jiuting Stores;

                  (8)         As an alternative to Item (7), order that the Respondents to compensate
                              the Applicants for the total amount required for the repayment of all
                              existing mortgage guarantees on Jiuting Stores by the Applicants;11

                  (9)         Order that the Respondents to pay the balance of the cash consideration
                              for the repurchase of equity, i.e. Hong Kong dollars equivalent to RMB
                              150 million and the final amount shall be adjusted in accordance with
                              Article 2.2.1(4) of the 4.28 Agreement.

        Counter-claims of the Respondents

        221.      The Respondents put forward four counterclaims in Paragraphs 79 - 83 of their
                  Statement of Defence and Counterclaim:

        (A)       Counterclaim on equity consideration




9    According to the provisions of the 4.28 Agreement, after Shibang Company has acquired the 80% equity of SJHC,
     Greencourt Properties should entrust Cheergain International and Focus Town to manage the 80% equity on behalf of
     Shibang Company. Therefore, the entrustment agreement should be signed by Greencourt Properties, Cheergain
     International and Focus Town. After the 3 years of entrustment management, the 80% equity will be transferred from
     Shibang Company to Cheergain International and Focus Town at a consideration of HKD 1.The relevant Equity Purchase
     Option Agreement should be signed by Oasis Investment, Cheergain International and Focus Town.
10   There is no need for the word “third party” because the Applicant has already designated Luhao Trading.
11   When the hearing was held on August 8, 2017, the Applicants stated that because the mortgage was canceled, two items,
     namely Item (g) and Item (h), were no longer needed: fair copy (Day 9), Lines 22 - 27 on Page 26.



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              Due to the behavior of the Applicants, the equity consideration was not paid, and
              the rights and interests of the Respondents were damaged. The Respondents
              requested the arbitral tribunal to rule and/or declare that:

              (1)         The Applicants violated Article 2.3.4 of the 4.28 Agreement;

              (2)        The Applicants should immediately take care of the procedures (and/or
                         cause the handling of the relevant procedures) related to the offshore
                         transfer of equity to Shibang Company and the onshore transfer of
                         equity to Luhao Trading, including but not limited to: (i) to conduct
                         audit/evaluation on SJHC to obtain the reasonable equity transfer price;
                         (ii) to prepare the equity transfer agreement and other relevant
                         transaction documents for the Respondents to read and use as a basis to
                         conduct negotiation with the parties concerned; (iii) to contact the
                         relevant government review and approval authority to obtain the
                         materials to be submitted for review and approval, communicate with
                         the Respondents and prepare materials for submission (seek assistance
                         from the Respondents whenever necessary); (iv) to submit the
                         necessary review and approval materials to the relevant government
                         review and approval authority and to supplement the materials
                         according to its needs (if any); and (v) to pay close attention to the
                         review and approval process, and to notify the Respondents of the
                         updated review and approval status in a timely manner;

              (3)        The Applicants should jointly and/or individually bear any taxes and
                         expenses (including but not limited to the possible Chinese taxes and
                         fees arising from the offshore transfer of equity to Shibang Company)
                         that may arise from the offshore transfer of equity to Shibang Company
                         (i.e. the transfer of SJHC’s 80% equity from Greencourt Properties to
                         Shibang Company). Or, alternatively, the Applicants should negotiate
                         with the Respondents about the assumption of taxes and expenses
                         (including but not limited to the possible Chinese taxes and expenses
                         arising from the offshore transfer of equity to Shibang Company) that
                         may arise from the offshore transfer of equity to Shibang Company.

       (B)    Counterclaim on exchange between Jiuting Stores and A2-type villas




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              The two A2-type villas that the Applicants intended to deliver to the
              Respondents were defective, resulting in damage to the Respondents’ rights and
              interests. The Respondents requested the arbitral tribunal to rule and/or declare:

              (1)        The Applicants violated Article 3.2 of the 4.28 Agreement;

              (2)        The Respondents suffered losses (including but not limited to loss of
                         value) due to the breach of contract by the Applicants and are entitled to
                         compensation. The Applicants should jointly and/or individually pay
                         the losses suffered by the Respondents. The amount of compensation
                         for such losses to be evaluated.

       (C)    Counterclaim on debt settlement for other contractual obligations

              As the Applicants made an unreasonable request and failed to carry out the
              settlement of the relevant debts and claims with the Respondents in good faith,
              the debt settlement cannot be completed. The rights and interests of the
              Respondents are damaged. The Respondents requested the arbitral tribunal to
              rule and/or declare:

              (1)        The Applicants violated Article 3.6 of the 4.28 Agreement;

              (2)        The Applicants should complete the settlement of debts and claims
                         based on (i) the Fourth Draft of the Checklist of the Current Account of
                         Flower-City Property prepared by the Respondents; or (ii) on such basis
                         that the arbitral tribunal should consider otherwise appropriate.

       (D)    Counterclaim on cash consideration

              The Applicants’ actions resulted in the failure to meet certain prerequisites for
              the third payment, causing the rights and interests of the Respondents to be
              damaged. The Respondents requested the arbitral tribunal to rule and/or declare:

              (1)        The Applicants violated Articles 2.3.4, 2.1.3, 2.2.1(4) and/or 3.2 of the
                         4.28 Agreement;

              (2)        Under the premise that all the prerequisites for the third payment are
                         met (including the realization of the abovementioned claims in A(2)
                         and A(3), and the completion of the exchange between Jiuting Stores
                         and the A2-type villas as specified in Article 2.2.1(3)(e) of the 4.28
                         Agreement), the Respondents should pay the adjusted third payment.


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              (3)        As an adjustment to the third payment, the Respondents can deduct or
                         offset (i) any taxes and expenses that may arise from the offshore
                         transfer of equity to Shibang Company (including the possible Chinese
                         taxes and expenses arising from the offshore transfer of equity to
                         Shibang Company) from the third payment; and/or (ii) the amount of
                         compensation for the loss claimed in B(2);

              (4)        Alternatively, the Respondents can deduct or offset (i) any taxes and
                         expenses that may arise from offshore transfer of equity to Shibang
                         Company (including the possible Chinese taxes and expenses arising
                         from the offshore transfer of equity to Shibang Company) from the
                         amount awarded to the Applicants; and/or (ii) the amount of
                         compensation for the loss claimed in B(2);

       222.   The Respondents’ counterclaim is based on the fact that the Applicants were the
              breaching parties. In view of the arbitral tribunal’s analysis and ruling of the
              disputed issues in this case, the arbitral tribunal held that the parties that had
              violated the 4.28 Agreement were the Respondents. Therefore, the Respondents’
              counterclaims were all rejected.

VII.   Analysis and Reasons of Arbitral Tribunal

       223.   The arbitral tribunal made the following analysis after carefully reviewing and
              evaluating the evidence, witness statements, written statements and other
              documents provided by the parties concerned.

              Equity consideration (transfer of SJHC’s equity)

       224.   The 4.28 agreement is a continuation of the matters related to the repurchase of
              equity negotiated between the Controlling Shareholders and the Non-controlling
              Shareholders from 2009 onwards - see Point 1 of the Introduction to the 4.28
              Agreement:

              “Whereas: 1. The Controlling Shareholders and the Non-controlling
              Shareholders had adopted the “Shareholder Resolutions” regarding share
              restructuring on 24 March 2009, and signed the “Meeting Minutes” on 4
              September 2009 and the “Preliminary Share Restructuring Agreement” (the
              “Restructuring Agreement”) on 9 November 2009. The above three documents
              set out the basic principles and transaction framework for Oasis Investment’s
              repurchase of shares held by the Non-controlling Shareholders.”

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       225.   Point 3 of the Introduction to the 4.28 Agreement clarifies the purpose of the
              agreement:

       226.   “Whereas: 3. In order to address the issues relating specifically to the
              repurchase, complete all the transactions specified in the Restructuring
              Agreement as soon as possible, and to reduce the transaction cost as well as
              time cost for all the Parties involved, the Parties agree to sign this agreement to
              specify the repurchase price, the payment schedule, the payment method and
              any other issues involved.”

       227.   In view of this, the arbitral tribunal held that the main purpose of the signing the
              4.28 Agreement by the parties concerned was to complete all the transactions as
              stipulated in the Restructuring Agreement as soon as possible.

       228.   The arbitral tribunal held that if there are omissions or ambiguity in the content
              of the 4.28 Agreement, it may refer to the contents of the above three documents.
              In fact, Article 4.1 of the 4.28 Agreement also expressly states:

              “For matters not addressed in this Agreement, the stipulations of the
              Restructuring Agreement shall prevail. For matters not addressed in the
              Restructuring Agreement and this Agreement, the parties concerned shall enter
              into supplementary agreements through friendly negotiations, and those
              supplementary agreements and this Agreement shall have the same effect.”

       229.   The first article of the 4.28 Agreement specifies the “equity transfer before
              repurchase”. Article 1.1 defines two steps: (1) Mr. Ke Zhengguang was to
              transferr his equity interest in Oasis Investment to Cheergain International and
              Mr. Xu Hongbiao was to transfer his equity interest in Oasis Investment to Focus
              Town; (2) Oasis Investment was to repurchase the equity of Oasis Investment
              from Cheergain International and Focus Town, respectively. Article 1.2 also
              clarifies that the abovementioned taxes resulting from the equity transfer before
              the repurchase and its fees shall be borne by the Non-controlling Shareholders.

       230.   The parties concerned did not dispute that the first equity transfer before the
              repurchase had been completed.

       231.   Article 2 of the 4.28 Agreement specifies the “Oasis Investment’s repurchase
              consideration”, which is also the cash consideration. The parties concerned did
              not dispute that the cash payment portion of Oasis Investment’s repurchase
              consideration was foreign currency equivalent to RMB 250 million (“cash

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                  consideration”):(Article 2.1). The parties concerned also agree that, during the
                  actual payment, the amount of cash consideration should be adjusted as follows:

                  “2.1.1 An amount of approximately RMB 41 million resulting from previous
                  transactions for which the Non-controlling Shareholders shall be held liable
                  shall be deducted from the Cash Consideration;12

                  2.1.2 A conditional payment of a one-off additional compensation in the
                  amount of RMB 30 million (“Additional Compensation”) that Oasis
                  Investment and the Controlling Shareholders are willing to pay shall be added
                  to the Cash Consideration. The condition for this Additional Compensation is
                  that Oasis Investment’s share repurchase and payment of consideration will be
                  completed pursuant to the provisions of the Restructuring Agreement and this
                  supplemental agreement, and there is no major dispute between the Parties.

                  2.1.3 All parties agreed that, following the signing of this Agreement, when the
                  payment of the relevant equity consideration is to be made and when the
                  amount of Cash Consideration is to adjusted, the parties would then sign a
                  supplementary agreement.

                  2.1.4 All parties agreed that the cash portion of the repurchase consideration
                  shall be divided into two equal portions in Hong Kong dollars in Hong Kong
                  and paid in full and on time to the bank accounts of Cheergain International
                  and Focus Town Limited provided by the Non-controlling Shareholders at the
                  time as determined in the article below (Article 2.2).”

        232.      Article 2.2 specifies the payment conditions and payment period of the cash
                  consideration (Article 2.2.1). The parties concerned agreed that the payment
                  time of the cash consideration for the repurchase is as follows:

                  “(1)       Hong Kong dollars equivalent to RMB 80 million (“1st Payment”)...

                  (2)        Hong Kong dollars equivalent to RMB 20 million (“2nd Payment”)
                             should be paid before 30 June 2011.13




12   this amount of more than RMB 41 million was mentioned in the minutes of the meeting on February 3, 2010 (D2/723).
13   The first and second payments had been paid.



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              (3)        The remaining amount equivalent to RMB 150 million in Hong Kong
                         dollars (“3rd payment “), being the final payment subject to those
                         adjustments agreed to or confirmed by all Parties under provisions of
                         Article (4) below) is to be paid by 31 December 2012 once the
                         following prerequisites are met:

                         (a)     SJHC’s equity transfer being approved by the government and
                                 the registration of the transfer being completed;

                         (b)     Oasis Investment completing the registration for the change of
                                 shareholders that is necessary for the repurchase of the
                                 Non-controlling Shareholders’ equity;

                         (c)     Non-controlling Shareholders and Controlling Shareholders
                                 reaching an agreement on the payment arrangement in respect
                                 of the Cash Consideration and various adjustments to the
                                 amount specified in the aforementioned Article 2.1；

                         (d)     Non-controlling Shareholders confirm that the payment of
                                 equity consideration specified in Article 2.3.5 below being
                                 completed and there being no dispute among all parties;

                         (e)     Both of the Shanghai Real Estate Sale and Purchase Contract
                                 mentioned in Article 3.1 and the Shanghai Real Estate Presale
                                 Contract mentioned in Article 3.2 being signed and the
                                 registration of transfer [of ownership] or the registration of
                                 presale with the Real Estate Registration Authority being
                                 completed.

              (4)        Adjustments to the Amount of Cash Consideration. All Parties agree
                         that, before the payment of the 3rd Payment, under provisions of the
                         following Articles, all parties shall calculate and determine the
                         adjustments to the amount of Cash Consideration, and take the adjusted
                         amount as the final amount for purposes of the 3rd Payment:

                         (a)     Under the provisions of the Restructuring Agreement and this
                                 agreement, Oasis Investment and Controlling Shareholders
                                 shall use 100% of SJHC’s equity as part of share repurchase
                                 consideration (“Equity Consideration”). If under any laws and
                                 regulations, such equity transfer must indicate a price of


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                                        equity and that this price must actually be paid, the actual
                                        amount (net amount after deduction of tax and fees) paid by
                                        the Non-Controlling Shareholders to Oasis Investment and
                                        the Controlling Shareholders for the equity transfer shall be
                                        added to the Cash Consideration;

                                        1.   The arbitral tribunal held that Item (a) above should be
                                             interpreted as if the Respondents are required by the
                                             laws and regulations to provide a fixed price for the
                                             transfer of SJHC’s 100% equity, and the said
                                             requirement causes the Applicants to have to pay the
                                             actual amount for the above transfer of equity to the
                                             Respondents, the actual amount of such payment (after
                                             deducting the tax incurred) should be added into the cash
                                             consideration to be paid by the Respondents to the
                                             Applicants. The implication is that, if the parties
                                             concerned must set a price for the transfer of SJHC’s
                                             equity, the Applicants should bear the tax.

                            (b)         The sharing of the amount stipulated in Articles 2.1.1 and
                                        2.1.2 above shall be reflected in the final amount of the 3rd
                                        Payment;

                                        2.   The arbitral tribunal held that, according to Article 2.1.1,
                                             the Applicants should bear the total amount of RMB
                                             41,224,613.21 14 , and according to Article 2.1.2, the
                                             Applicants should receive RMB 30 million from the
                                             Respondents. After the two are offset, the Applicants
                                             will only need to pay approximately RMB
                                             11,224,613.21, and the amount will be deducted from
                                             the third payment (i.e. RMB 150 million).

                            (c)         Under provisions of other Articles of this agreement, all tax
                                        and expenses that shall be paid by the parties shall be
                                        reflected in the final amount of the 3rd Payment.




14   LYP-l [Dl/253]: LYP-2 [D3/1199].



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                                3.    The arbitral tribunal held that this means that the third
                                      payment must be adjusted with reference to the tax
                                      burden that the parties concerned are required to bear
                                      under the other terms in the 4.28 Agreement. These
                                      other terms include, for example, Article 2.3.4. This
                                      article specifies that the taxes and expenses arising from
                                      the payment of onshore equity consideration, and the
                                      taxes and fees arising from offshore entrustment
                                      arrangement with Shibang Company and the transfer of
                                      equity to Cheergain International and Focus Town, shall
                                      be borne by the Non-controlling Shareholders. Apart
                                      from this, the sharing of the taxes and expenses related
                                      to the payment of equity consideration shall be
                                      separately negotiated by all parties at the appointed time.
                                      Matters that arise due to the equity transfer procedures
                                      related to the payment of onshore and offshore equity
                                      considerations, i.e. application, registration, government
                                      procedures etc., shall be handled by the Non-controlling
                                      Shareholders, and the Controlling Shareholders and
                                      Oasis Investment shall provide the necessary assistance.
                                      Based on the above reasons, the arbitral tribunal held
                                      that Article 2.3.4 does not apply to this case.

       233.   A comprehensive analysis of the above indicated that the final amount of the
              third payment should be adjusted based on Article 2.2.1(4), with RMB 150
              million as the base amount.

       234.   As for the payment deadline of the third payment, Article 2.2.1(3) specifies it to
              be December 31, 2012, but prerequisites (a) to (e) must also be met.

       235.   There is no dispute between the two parties that the prerequisite (b) has been
              met.

       236.   As for prerequisite (a), the parties have been alleging that the other party is the
              reason for the unmet prerequisites. Therefore, the arbitral tribunal must make a
              ruling on this issue.

       237.   As for prerequisite (c), both parties have reached an agreement on the payment
              arrangements for the cash consideration specified in Article 2.1, but no


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              agreement has been reached on various adjustments. Therefore, the arbitral
              tribunal must make a ruling on this issue.

       238.   As for prerequisite (d), the payment of equity consideration by both parties as
              specified in Article 2.3.5 has been completed, and the parties concerned have no
              disputes over this and have not reached an agreement. Therefore, the arbitral
              tribunal must make a ruling on this issue.

       239.   As for prerequisite (e), both parties have different opinions on the reasons why
              the contracts mentioned in Articles 3.1 and 3.2 have not been signed. Therefore,
              the arbitral tribunal must make a ruling on this issue.

       240.   As for prerequisite (a) (i.e. the government review and approval and registration
              procedures for the transfer of SJHC’s equity had been completed), the arbitral
              tribunal first analyzed the content of Article 2.3 of the 4.28 Agreement. Article
              2.3 specifies the payment method of equity consideration:




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              “According to the Restructuring Agreement, the equity portion of Oasis
              Investment’s repurchase consideration is calculated as 100% equity of [SJHC]
              (“Equity Consideration”).”

       241.   The payment method of the equity consideration includes both offshore and
              onshore components. The offshore component is specified in Articles 2.3.1 and
              2.3.2, and the onshore component is specified in Article 2.3.3.

       242.   Article 2.3.1 specifies that:

              “Oasis Investment has newly incorporated Shibang Company Ltd (“Shibang
              Company”) in Hong Kong and has arranged for Shibang Company to acquire
              80% of the equity interest in SJHC held by Greencourt Properties Limited, a
              subsidiary of Oasis Investment in Hong Kong. After the completion of the said
              equity acquisition, Oasis Investment shall sign the “Equity Purchase Option
              Agreement” with Cheergain International and Focus Town Limited and agree
              that upon the expiration of the entrustment period mentioned in Article 2.3.2
              below, 100% of the equity of Shibang Company shall be transferred to
              Cheergain International and Focus Town Limited at a consideration of HKD 1.”
              (underlines added later)

       243.   Article 2.3.2 specifies that:

              “All Parties Agree That: After Oasis Investment’s signing of the Equity
              Purchase Option Agreement for the equity transfer of Shibang Company to
              Cheergain International and Focus Town Limited, Greencourt Properties is to
              sign the relevant Entrustment Agreement with Cheergain International and
              Focus Town Limited. This agreement shall stipulate that: (1) Cheergain
              International Group Limited and Focus Town Limited are entrusted by
              Greencourt Properties to manage Shibang Company and to exercise the
              shareholders’ rights on its behalf for three years (the “entrustment period”);
              (2) during the entrustment period, the Non-controlling Shareholders are
              responsible for all the debts and claims, risks and liabilities of Shibang
              Company and SJHC. If for any reason the Controlling Shareholders, Oasis
              Investment or Greencourt Properties are required to bear the debts and claims,
              risks and liabilities of Shibang Company or SJHC during the entrustment term,
              the Non-controlling Shareholders are required to fully compensate the
              Controlling Shareholders, Oasis Investment and Greencourt Properties.”


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       244.   Article 2.3.3 specifies that:

              “The remaining 20% of the equity of SJHC currently held by Oasis Kechuang
              Shengtai Limited, a subsidiary of Oasis Investment, is to be transferred to a
              domestic company in China appointed by the Non-controlling Shareholders
              (“Onshore Payment of Equity Consideration”). If under the laws of the
              People’s Republic of China, an actual payment of consideration is required to be
              made for such equity transfer, the provisions of the abovementioned Article
              2.2.1(4)(a) shall apply.”

       245.   Regarding Articles 2.3.1 to 2.3.3, the arbitral tribunal held that the transfer of
              SJHC included the following three steps that must be performed:

              (1)         First, Shibang Company, established by Oasis Investment, should
                         acquire 80% equity interest of SJHC held by Greencourt Properties
                         (hereinafter referred to as the “first step of the 80% equity transfer”).
                         Article 2.3.1 expressly states that Oasis Investment has established
                         Shibang Company in Hong Kong and has arranged for Shibang
                         Company to acquire 80% of equity of SJHC held by Greencourt
                         Properties, a subsidiary invested by Oasis Investment in Hong Kong. In
                         other words, the first step in the 80% equity transfer ought to have been
                         completed when the 4.28 Agreement was signed. However, in fact, this
                         first step has not been completed yet.

              (2)        Second, Oasis Investment should transfer the equity of Shibang
                         Company to Cheergain International and Focus Town owned by the
                         First Applicant and Second Applicant respectively (referred to as “step
                         2 of the 80% equity transfer”).

              (3)        After the first step of the 80% equity transfer and before the second step
                         of the 80% equity transfer, the 4.28 Agreement also stipulates that the
                         Non-controlling Shareholders and the Controlling Shareholders must
                         sign two agreements: One would be the “Equity Purchase Option
                         Agreement” signed by Oasis Investment and Cheergain International
                         and Focus Town; the other would be the relevant entrustment
                         agreement signed by Greencourt Properties and Cheergain
                         International and Focus Town.




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              (4)        The other 20% equity of SJHC would be transferred from Oasis
                         Kechuang to an onshore company in China designated by the
                         Non-controlling Shareholders (referred to as the “20% equity
                         transfer”). According to Article 2.3.3, the Chinese onshore company
                         designated by the Non-controlling Shareholders is Luhao Trading.
                         According to Article 2.3.3, the Non-controlling Shareholders
                         designated Luhao Trading as the transferee of the 20% equity of SJHC
                         in the letter issued on March 15, 2011 [D3/901-903].

       246.   It can be clearly seen from the content of Article 2.3.4 that this Article deals with
              the procedures and tax liability of the second step of the 80% equity transfer (i.e.
              the offshore entrustment arrangement with Shibang Company and the transfer of
              equity to Cheergain International and Focus Town) and the 20% equity transfer
              (i.e. payment of onshore equity consideration). This article does not cover the
              first step of the 80% equity transfer (i.e. Shibang Company’s acquisition of 80%
              equity of SJHC held by Greencourt Properties). This is because, according to
              Article 2.3.1, the Respondents clearly confirmed that Oasis Investment had
              completed the first step of the 80% equity transfer upon the signing of the 4.28
              Agreement. In other words, the responsibility of Oasis Investment in fulfilling
              the first step of the 80% equity transfer is not within the scope of Article 2.3.4.

       247.   There was still a small episode about the transfer of SJHC’s equity. Oasis
              Investment held 100% equity of SJHC through its two subsidiaries: Greencourt
              Properties held 69% and Oasis Kechuang held 31%. In order to comply with the
              4.28 Agreement, SJHC must increase its capital, so that Greencourt Properties
              could increase its shareholding ratio to 80%, and Oasis Kechuang could lower its
              shareholding ratio to 20%.

       248.   On November 12, 2009, Greencourt Properties and Oasis Kechuang signed an
              agreement [D2/628-629] to reach an agreement on the increase of registered
              capital in SJHC. Under this Agreement, both parties agreed to adjust the
              shareholding ratio of the two parties to 80%:20% through the giving up of the
              limited subscription rights of newly added registered capital by Oasis Kechuang
              and the unilateral capital increase by Greencourt Properties. On the same day,
              SJHC also passed the board resolution [D2/631-632], reflecting the above equity
              adjustment.



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       249.   The Shanghai Municipal Commission of Commerce consented and approved the
              capital increase of SJHC on December 21, 2009 [D2/705-706]. However, the
              Shanghai Branch of the State Administration of Foreign Exchange issued a
              decision to not grant an administrative license [D2/728] on March 23, 2010.

       250.   The application for capital increase was finally approved on July 27, 2011
              [D3/980], and both parties had no dispute over this.

       251.   Both parties had different interpretations and positions on whether the two audit
              reports in the evidence were the documents that had to be submitted during the
              first phase of review and approval for the transfer of SJHC’s equity. The first
              audit report [D2/729] was issued by Shanghai Xuri Certified Public Accountant
              Firm on April 14, 2010. Another audit report [D2/766-781] was issued by Crowe
              Howarth on April 28, 2010.

       252.   The First Applicant’s claim was: The evidence shows that the Applicants
              provided the two audit reports to the Respondents to use for capital increase or
              settlement [D1/255,257 Point 5 - Li Shuping’s witness statement attached to
              LYP-3 “Issues Regarding the Settlement of Claims and Debts between SJHC
              and Oasis Investment and Its Subsidiaries”].

       253.   The Respondents claimed that the two audit reports supported the Respondents’
              view, i.e.: The applicant must hire an appraiser to evaluate the value of 100%
              equity of SJHC and provide the 2016 annual audit report of SJHC to the
              Respondents for review.

       254.   In summary, the arbitral tribunal held that the First Applicant’s explanation of
              the two audit reports was more persuasive, and the dates coincided with the final
              approval date of the capital increase application (i.e. July 27, 2011). Therefore,
              the arbitral tribunal endorsed the claim of the First Applicant.

       Expert opinion of various expert witnesses (Ma Beiyi, Ye Yongqing, Ji Nuo) -
       review and approval procedures must be carried out for the transfer of SJHC’s
       equity

       255.   With regard to the issue of equity consideration, the parties concerned have
              summoned Chinese legal expert witnesses to make expert reports on the review
              and approval procedures, documents required for the review and approval, and
              taxes. The First Applicant’s expert witness was Ma Beiyi; the Second


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              Applicant’s expert witness was Ye Yongqing; the Respondents’ expert witness
              was Ji Nuo.

       256.   The joint opinion of the three expert witnesses on the issue of equity transfer
              (“Joint Opinion”) is in C/438. In Paragraph 6 of the Joint Opinion, three experts
              pointed out that SJHC was a sino-foreign equity joint venture established under
              the “Law of the People’s Republic of China on Sino-Foreign Equity Joint
              Ventures”, and it had two shareholders: Greencourt Properties (Hong Kong
              company, 80% equity) and Oasis Kechuang (Chinese company, 20% equity).

       257.   Three experts pointed out in Paragraph 8 of the Joint Opinion that the
              Regulations for the Implementation of “Regulations for the Implementation of
              the Law on Sino-Foreign Equity Joint Ventures” was applicable to the transfer
              of SJHC’s equity. Article 20, Paragraph 1 of the Regulations specifies that:
              “When a joint venture party transfers all or part of its equity to a third party, it
              must be approved by the other joint venture party and shall be submitted to the
              review and approval agency for approval, and shall complete the procedures for
              change registration with the registration management agency.”Article 3 of the
              “Several Provisions on Changes in Equity Interest of Investors in
              Foreign-invested Enterprises” also specifies that: “Changes in the equity interest
              of corporate investors shall comply with relevant Chinese laws and regulations,
              and shall be approved by the review and approval authority and registered by the
              registration authority in accordance with this provision. Changes in equity are
              invalid without the approval of the review and approval authority.”Therefore, as
              a sino-foreign equity joint venture, the two equity transfers of SJHC should be
              approved by the review and approval authority, and the corresponding
              procedures for change registration shall be subsequently carried out with the
              registration authority.

       258.   The three experts pointed out in Paragraph 9 of the “Joint Opinion” that the
              transfer of SJHC’s equity would require three stages of administrative
              procedures: (1) After collecting and preparing the documents required by law,
              the joint venture should submit the application documents to the review and
              approval authority for the approval of the equity transfer. Taking into account
              the total investment amount of SJHC and its type of industry, the specific review
              and approval of its equity transfer should be the responsibility of the local
              competent commerce department of Shanghai; (2) after obtaining the approval,
              the joint venture should apply for the change with the registration management
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              agency, i.e. complete the change registration with the local industry and
              commerce department of Shanghai; and (3) the joint venture should, in
              accordance with the requirements of relevant laws and regulations, further
              complete the registration of changes in terms of taxation, foreign exchange and
              other aspects.

       259.   Regarding the first phase (SJHC should submit application documents to the
              commerce department for review and approval), the three experts listed in
              Paragraph 10 of the “Joint Opinion” that SJHC, as an applicant for the review
              and approval of equity transfer, must submit the application documents to the
              review and approval authority, and there was no need to repeat it here. In
              addition, Paragraph 12 of the “Joint Opinion” mentioned the division of labor
              between the parties concerned in the preparation of the documents.

       260.   Regarding the second phase (SJHC should apply for change registration with the
              administration for industry and commerce), the three experts set out the
              documents to be submitted in Paragraph 15 of the “Joint Opinion”, and there was
              also no need to repeat them here. The three experts agreed that the change
              documents received by the administration for industry and commerce were
              similar to the application documents submitted to the commerce department in
              the first phase. The experts also added their opinions in Paragraphs 36-38 of the
              Joint Opinion.

       261.   Regarding the third phase (SJHC further completes the registration of changes in
              terms of taxation, foreign exchange and other aspects), the three experts
              unanimously agreed that after the completion of the industrial and commercial
              registration of changes, the joint venture could specifically complete the
              procedures for registration of changes in terms of tax, foreign exchange and
              other aspects of the enterprise based on the review and approval, as well as on
              the change registration results of the equity transfer.

       262.   In Paragraphs 19 and 20 of the “Joint Opinion”, the three experts unanimously
              agreed that, regarding the review and approval of the transfer of SJHC’s equity
              (i.e. the first phase mentioned above), the materials (listed below) that the
              transferor and the transferee had prepared were not enough to complete the
              review and approval and registration of SJHC:

              (1)         The shareholders of Greencourt Properties had issued the
                         “Shareholder Resolution of Greencourt Properties Limited, Hong Kong”

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                         dated November 21, 2011, agreeing to transfer its 80% equity in SJHC
                         to Shibang Company and to give up its pre-emptive rights when Oasis
                         Kechuang transferred its 20% equity in SJHC to Luhao Trading.

              (2)         The shareholders of Oasis Kechuang had issued the “Shareholder
                         Resolution of Oasis Kechuang Ecological Technology Co., Ltd., Hong
                         Kong” dated November 21, 2011, agreeing to transfer its 20% equity in
                         SJHC to Luhao Trading and to give up its pre-emptive rights when
                         Greencourt Properties transferred its 80% equity in SJHC to Shibang
                         Company

              (3)         The shareholders of Greencourt Properties had issued the
                         “Shareholder Resolution of Greencourt Properties Limited, Hong Kong”
                         agreeing to transfer its 50% equity to Cheergain International at the
                         price of USD 1 (sic) and transfer its another 50% equity to Focus Town
                         at the price of USD 1 (sic).

       263.   The three experts did not reach a consensus on the following two issues:

              (1)        Should the right to review and approve the transfer of SJHC’s equity
                         belong to the municipal commission of commerce or Fengxian District
                         Economic Committee?

              (2)        Is the audit report or evaluation report of SJHC required for the review
                         and approval of the equity transfer?

       264.   Regarding Question (1), Ma Beiyi believed that SJHC was a foreign-invested
              real estate development and management company, and its approval authority
              for equity transfer should be the municipal commission of commerce. However,
              Ji Nuo believed that the authority to review and approve the transfer of SJHC’s
              equity belonged to the local competent commerce department of Shanghai
              Municipality prior to the implementation date (April 10, 2015) of the “Catalogue
              for the Guidance of Foreign Investment Industries” (Amended in 2015), but the
              authority to review and approve belonged to the local competent commerce
              department at the district level (Fengxian) after April 10, 2015. Ye Yongqing
              believed that since this equity transfer transaction should have occurred before
              April 10, 2015, i.e. before the review and approval agency was changed, the
              competent commerce department of Fengxian District is not the competent
              authority for this equity transfer.



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       265.   Regarding Question (2), Ma Beiyi believed that there was no information to
              indicate that the evaluation report was related to the review and approval
              application and the completion of change registration and other administrative
              procedures for the equity transfer. Therefore, the evaluation report was not
              considered an application document that the joint venture had to prepare. As for
              the audit report, it was because the website of the Fengxian District Economic
              Committee showed that the previous year’s audit report of the joint venture
              issued by an accounting firm has to be provided to apply for review and approval
              for equity transfer with the committee. But Ma Beiyi believed that this
              requirement would not constitute an obstacle for the joint venture to apply for
              the review and approval of the equity transfer, nor did it belong to the application
              documents that had to be prepared by the joint venture. Ye Yongqing believed
              that, regarding the issues on whether the audit report of SJHC had to be provided
              and who should be responsible to prepare it, on one hand, the “Provisions on
              Changes in Equity Interest of Investors in Foreign-invested Enterprises” did not
              expressly require that an audit report had to be submitted, and taking into
              account the total investment amount of SJHC and the type of industry that it was
              involved in, the local competent commerce department of Shanghai should be
              responsible for the specific review and approval of its equity transfer.
              Furthermore, the list of documents in the service guide published by the
              commerce department of Shanghai Municipality did not include the audit report.
              On the other hand, since this equity transfer transaction should have occurred on
              April 10, 2015, i.e. before the review and approval agency was changed, the
              competent commerce department of Fengxian District was not the competent
              authority for this equity transfer, thus its document requirements would not
              constitute a substantial obstacle to the approval of the commerce commission. In
              addition, Ye Yongqing believed that, in practice, the commerce department of
              Shanghai Municipality did not have the practice of requesting for audit report or
              evaluation report, and enterprises could just submit their financial statements for
              the previous year or the most recent month. Therefore, even if an audit report
              had to be submitted in accordance with the requirements of the competent
              commerce department of Fengxian District, in practice, enterprises could often
              submit their financial statements for the previous year or the most recent month
              instead. In addition, regarding whether it was necessary to perform evaluation on
              SJHC, Ye Yongqing believed that the evaluation had no effect on the obtaining
              of commerce review and approval for this equity transfer, as well as the
              registration of changes in industry and commerce, and taxation. It may be
              necessary only if the taxation authority questioned the price of this equity

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              transfer when Greencourt Properties filed tax returns. In particular, the transfer
              of SJHC’s equity had already been realized after the completion of review and
              approval by the commerce commission and the changes in industrial and
              commercial, and SJHC’s equity would be under Shibang Company’s name after
              the completion of changes in industrial and commercial. Although, the
              subsequent tax procedures had to be completed by Shibang Company for the
              acquisition, it would not affect the realization of the equity transfer. Although a
              valuation may be one of the methods that the subsequent taxation authority may
              use to determine the equity transfer price, the taxation authority may also use the
              agreed price in the equity transfer agreement, the net asset price of SJHC, the
              long-term equity investment amount in the account book of Greencourt
              Properties, or the registered capital amount of SJHC to determine the equity
              transfer price, and the above prices or amounts were information that could be
              obtained. Hence, Ye Yongqing believed that the valuation of SJHC was not a
              necessary process for the completion of equity transfer under the premise that it
              was not expressly prescribed by the Chinese tax laws and regulations and local
              regulations.

       266.   Ji Nuo believed that the competent commerce department of Fengxian District
              was the review and approval agency of the transfer of SJHC’s equity in this case.
              The list of documents published on the Internet clearly required an audit report,
              and SJHC should meet this requirement. (The question of when this equity
              transfer transaction should take place, and which party should bear the
              consequences of the failure to complete the transaction on time should be
              decided by the arbitral tribunal, thus Ji Nuo did not discuss this in the expert
              opinion.) In practice, the review and approval authority would often require the
              joint venture to provide audit report or evaluation report as an important
              reference for reviewing the reasonableness of the equity transfer price (for
              example, when the agreed price deviates significantly from the circumstances
              reflected in the audit report and other materials, it may constitute as an obstacle
              to approval). Ji Nuo believed that, according to the above analysis, in this case,
              the audit report should be prepared for the review and approval process, and the
              preparation of the audit report should be based on financial information provided
              by the joint venture (i.e. SJHC). Therefore, SJHC should usually be responsible
              for the preparation. If SJHC failed to provide an audit report, it would constitute
              an obstacle to obtaining approval. As for the review and approval authority’s
              specific requirements for the form and content of the audit report, whether it
              could be replaced by other similar documents (such as evaluation report,

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              unaudited financial statement, etc.) and other issues, it would depend on the
              discretion of the review and approval authority according to case-specific
              circumstances.

       267.   The arbitral tribunal held that: (1) The question of which competent authority
              would have the right to review and approve the transfer of SJHC’s equity should
              be considered from the time point at which the review and approval application
              was submitted. All three experts agreed that, after April 10, 2015, the right of
              approval would belong to the competent commerce department of Fengxian
              District, Shanghai. However, the 4.28 Agreement was signed at the end of April
              2010, and the consensus of the parties concerned in Article 2.2.1(3) was that the
              balance should be paid before December 31, 2012 (on condition that the
              prerequisites were satisfied). In other words, the parties concerned believed that
              the prerequisites of the 4.28 Agreement should be fully satisfied within two
              years and eight months. Therefore, the arbitral tribunal held that the key time
              point was before April 10, 2015, and the review and approval authority at that
              time was the municipal commission of commerce instead of the competent
              commerce department of Fengxian District.

       268.   As for the audit report or evaluation report, the arbitral tribunal accepted the
              opinions of the Applicants’ expert witnesses Ma Beiyi and Ye Yongqing, i.e.:
              The audit report or evaluation report would not be needed for the application for
              the review and approval of equity transfer. Moreover, this issue was in fact
              irrelevant to determine which party was breaching the contract. As the first step
              of the equity transfer, that is, Shibang Company’s acquisition of 80% of SJHC
              held by Greencourt Properties was not yet completed, the documents required
              for approval was not available.

       269.   At the time of the commencement of the arbitration proceeding (i.e. February 22,
              2013), both parties had not yet begun the first phase (SJHC submitted the
              application documents to the commerce department for review and approval).
              What were the reasons? The Controlling Shareholders and the Non-controlling
              Shareholders blamed each other, alleging that each other did not bear its share of
              responsibility. However, it is an indisputable fact that the Controlling
              Shareholders had not fulfilled the contractual obligations under Article 2.3.1 of
              the 4.28 Agreement and arranged for Shibang Company to acquire 80% of
              equity in SJHC held by Greencourt Properties. This resulted in the failure to
              complete the transfer of SJHC’s equity, let alone the review and approval and
              registration procedures for the transfer of SJHC’s equity, which was one of the
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              prerequisites (i.e. the prerequisites set out in Article 2.2.1(3)(a) of the 4.28
              Agreement).

       270.   Evidence shows that the Controlling Shareholders’ lawyer (attorney Tao
              Xudong of JunHe LLP) sent an e-mail to the lawyer of the Non-controlling
              Shareholders (attorney Jeremy Wong of King & Wood Mallesons) on May 13,
              2010, mentioning some legal issues regarding the transfer of SJHC’s equity and
              requested discussion by telephone conference [D2/826]. On the same day, King
              & Wood Mallesons responded to the email to JunHe, mentioning that it had
              received the Chinese manuscripts of Equity Purchase Option Agreement and
              Entrustment Agreement from Xu Hongbiao’s office, and it had some ideas and
              agreed to discuss the matter via telephone [D2/825]. On May 24, 2010, King &
              Wood Mallesons sent an email to JunHe with its amendment recommendations
              regarding to the “Equity Purchase Option Agreement” and Entrustment
              Agreement, and also reminded the Controlling Shareholders to ensure that the
              20% equity in SJHC held by Oasis Kechuang should also be transferred at the
              same time according to Article 2.3.3 of the 4.28 Agreement. The e-mail also
              mentioned that King & Wood Mallesons was drafting the “Equity Pledge
              Agreement of Shibang Company” and “Shareholder Voting Rights Proxy
              Agreement of Shibang Company” to cooperate with the performance of the
              above two agreements; after the agreements were drafted, they would be sent to
              JunHe for review [D2/824]. On June 1, 2010, JunHe sent an email to King &
              Wood Mallesons to ask when it could provide a copy of the equity pledge
              agreement and voting rights proxy agreement, and said that it hoped to see all the
              documents and send feedback to King & Wood Mallesons [D2/ 830]. On June 9,
              2010, King & Wood Mallesons sent an email to JunHe with the drafts of
              “Shareholder Voting Rights Proxy Agreement” and “Equity Pledge Agreement”
              for JunHe to review and give feedback [D2/829]. On August 31, 2010, King &
              Wood Mallesons sent an email to JunHe, pointing out that they did not receive
              JunHe’s feedback after sending the drafts of “Shareholder Voting Rights Proxy
              Agreement” and “Equity Pledge Agreement” on June 9, 2010, and requesting for
              a response [D2/829]. However, according to Paragraph 23 [B/14] of Xu
              Hongbiao’s witness statement, a violation of the 4.28 Agreement was that Oasis
              Investment and its Controlling Shareholders had not yet returned their signed
              “Equity Purchase Option Agreement” and/or “Escrow Agreement”, or provide a
              response regarding its content to the Non-controlling Shareholders or put
              forward any suggestions.


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       271.   In summary, the arbitral tribunal held that the Controlling Shareholders were in
              breach.

       272.   All three expert witnesses agreed that, in the first phase, SJHC, as an applicant
              for review and approval of equity transfer, must submit several documents to the
              review and approval authority (see Paragraphs 10 - 13 of the “Joint Opinion”).
              One of the key documents is the 80% and 20% equity transfer agreement of
              SJHC. Regarding Paragraphs 29 - 35 of the “Joint Opinion”, three expert
              witnesses expressed their different opinions. Among them, Ji Nuo believed that
              the equity transfer agreement was one of the indispensable application
              documents, just like other documents required for review and approval and
              registration. Any equity transfer must be based on the premise that the relevant
              parties had reached an agreement. However, as compared to general equity
              transfer, this case was special. If the actual control rights, various licenses and
              official seals of SJHC had been transferred to the Applicants by the Respondents
              before the equity transfer occurred, the review and approval and registration of
              the equity transfer would not only depend on the direct parties to the transfer, i.e.
              Greencourt Properties, Oasis Kechuang, Shibang Company and Luhao
              Company, but also depend on the Applicants’ approval of such equity transfer,
              especially the key terms such as the price, because the Applicants had actual
              control over SJHC, and it was not that they had no control over Shibang
              Company. If the actual controllers of SJHC did not recognize the terms and
              conditions of the equity transfer (especially the price terms), even if the parties
              concerned had signed the equity transfer agreement, SJHC would still be able to
              refuse or passively push forward the review and approval and registration
              applications. On the other hand, the review and approval authority may consider
              the reasonableness of the equity transfer consideration and usually require the
              company to provide an audit report. Therefore, for the sake of caution, the
              conclusion of the equity transfer agreement required that the joint venture (i.e.
              SJHC) cooperate with the provision of audit report and other materials to the
              parties concerned as references to determine the specific content of the
              agreement.

       273.   After considering the opinions of the Respondents’ expert, the arbitral tribunal
              believes that the opinions of the Respondents’ expert are highly speculative. As
              HKD 150 million (the third installment) can only be paid to the Applicants after
              the various prerequisites are met, and one of the prerequisites would be the
              completion of procedures for government approval and registration of the

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              transfer of SJHC’s equity, obviously, the Applicants would have no reason to
              refuse or to passively go about the approval and registration application.
              Therefore, the arbitral tribunal does not endorse the opinions of the Respondents’
              expert. The arbitral tribunal believes that the Respondents can fully prepare the
              equity transfer agreement, in the name of Greencourt Properties and Oasis
              Kechuang, for Shibang Company’s and Luhao Trading’s perusal. However, the
              Respondents did not kick start this process at all; rather, they delayed the process
              using various excuses.

       274.   In summary, the arbitral tribunal believes that the Respondents have clearly
              violated the contractual obligations in Articles 2.3.1, 2.3.2 and 2.3.3 of the 4.28
              Agreement.

       275.   With regard to the audit report, all parties unanimously agreed in the hearing
              (especially on August 8, 2017 when the closing oral statement was given) that, at
              this current stage (and not when the arbitration started), there is a need to submit
              the latest audit report of SJHC to the approval unit, and this report is one of the
              documents to be reviewed during the approval process; Transcription (Day 9),
              Lines 28-29 on Page 32.

       Expert opinions of the expert witnesses of all parties - opinions on taxation issues
       [C/451-454]

       276.   The three experts reached the following consensus on the tax obligations that
              might have arisen from the equity transfer under the law of China:

              (1)        According to the tax law of China, as the equity transferor in the
                         acquisition of Shibang Company, Greencourt Properties would be
                         subjected to corporate income tax, but the law of China does not
                         prohibit the parties involved in the transaction to agree on the actual
                         bearing of the financial tax burden;

              (2)        There are two ways to handle the tax basis for corporate income tax
                         payable by Greencourt Properties;

              (3)        In practice, the tax authorities are stricter with the review of various
                         conditions in Document No. 59 (that is, the “Notice on Several Issues
                         Concerning Corporate Income Tax Treatment of Enterprise
                         Restructurings promulgated by the Ministry of Finance and the State


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                         Administration of Taxation”), and there is a relatively low possibility of
                         special tax treatment in this case;

              (4)        The equity transferor and transferee have the obligation to pay stamp
                         duty.

       277.   With regard to the agreement in Article 2.3.4 of the 4.28 Agreement: “Apart
              from this, the sharing of the tax and expenses relating to the payment of Equity
              Consideration is to be negotiated by all the Parties in due course”, the arbitral
              tribunal believes that, the meaning of this sentence should be interpreted by the
              arbitral tribunal based on the law of Hong Kong (the substantive law of the
              contract), and the opinions of experts have no bearing on this issue.

       278.   The first half of the first sentence of Article 2.3.4 in the 4.28 Agreement
              stipulates that “The Non-controlling Shareholders shall be responsible for all the
              tax and expenses incurred due to the Onshore Payment of Equity
              Consideration …”. This refers to the taxes and expenses arising from Oasis
              Kechuang’s transfer of 20% equity of SJHC to Luhao Trading. Both parties had
              no dispute concerning this matter.

       279.   The second half of the first sentence of Article 2.3.4 in 4.28 Agreement is: “The
              Non-controlling Shareholders shall be responsible for … the tax and expenses
              incurred offshore due to the entrustment arrangement made by Shibang
              Company and the equity transfer of Shibang Company to Cheergain
              International Group Limited and Focus Town Limited”. The meaning of this
              sentence is also clear.

       280.   The second sentence of Article 2.3.4 in 4.28 Agreement is: “Apart from this, the
              sharing of the tax and expenses relating to the payment of Equity Consideration
              is to be negotiated by all the Parties in due course.”[Underlines added after]

       281.   Both parties had a dispute on the taxes related to Greencourt Properties’ transfer
              of 80% equity interest of SJHC to Shibang Company. The Respondents’
              position was that, the first sentence only covered Oasis Kechuang’s transfer of
              20% equity of SJHC to Luhao Trading and Shibang Company’s entrustment
              agreement with Cheergain International and Focus Town, but it did not cover the
              agreement of Greencourt Properties’ transfer of 80% equity of SJHC to Shibang
              Company. The Applicant’s position was that: As it was clearly expressed in
              Article 2.3.1 of 4.28 Agreement that Oasis Investment had established Shibang

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              Company in Hong Kong and had arranged for Shibang Company to acquire 80%
              equity of SJHC held by Greencourt Properties, which was the Hong Kong
              subsidiary of Oasis Investment, this transaction should not be considered a
              situation that was “apart from these items” or a situation to be separately
              discussed by both parties. The arbitral tribunal agrees with the Applicant’s
              standpoint.

       282.   With regard to item (2) of the consensus of the three expert witnesses (that is,
              “the tax basis for corporate income tax payable by Greencourt Properties”), the
              arbitral tribunal believes that, the application and interpretation of “Document
              No. 59” are of no direct relationship to the interpretation of the 4.28 Agreement.
              As mentioned in the 29th paragraph of the witness statement of Yu Naifen
              Stephany, all parties did not discuss about who should bear the taxes arising
              from the transaction under “Document No. 59” in the event Shibang Company’s
              offshore equity transfer would be entitled to “special tax treatment” based on
              “Document No. 59”[B/46]. The first Applicant’s evidence denied that the
              Applicants had discussed with the Controlling Shareholder about the “special
              treatment” of “Document No. 59” when signing the 4.28 Agreement (see Xu
              [B/100, §§12-15]. The position of both the Applicants and the Respondents was
              that, all parties did not discuss about who should bear the taxes arising from the
              transaction under “Document No. 59” when signing the 4.28 Agreement.
              Therefore, the arbitral tribunal believes that no ruling is required for this issue.
              Moreover, the arbitral tribunal has interpretated Article 2.3.1 of 4.28 Agreement,
              hence it would not be necessary to discuss if “Document No. 59” is applicable.

       Property exchange (exchange of Jiuting Stores and A2-type villas)

       283.   The clause related to property exchange is Article 3 “Other agreements relating
              to Oasis Investment’s repurchase and repurchase consideration” of 4.28
              Agreement:

              “3.1 Within 30 days of the signing of this agreement, Oasis Investment and the
              Controlling Shareholders shall procure a subsidiary, namely, Shanghai
              Greencourt Real Estate Development Limited to sign the “Shanghai Real
              Estate Sale and Purchase Contract” with the Non-controlling Shareholders or
              their nominated third party, and undertake to transfer approximate 8000 m2 of
              commercial space which shall meet the appropriate delivery standards
              (specifically, the property includes approximately 6000 m2 of commercial space

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              on the third level along the streetside of Phase 1 of Greencourt Sun City
              Commercial Building, and all the commercial space of approximately 2000 m2
              of the west side of the Central Plaza of Phase 2 of Greencourt Sun City) at the
              Jiuting Greencourt Sun City Real Estate Project in Songjiang District, to the
              Non-controlling Shareholders or their nominated third party. For the avoidance
              of doubt, (1) when the Shanghai Real Estate Sale and Purchase Contract is
              signed, Oasis Investment and the Controlling Shareholders shall transfer the
              right to use such commercial space to the Non-controlling Shareholders or
              their nominated third party, and the Non-controlling Shareholders or their
              nominated third party are to receive rental income and other earnings after the
              transfer; and (2) by 30 June 2011, Oasis Investment and the Controlling
              Shareholders shall transfer the ownership of such commercial space to the
              Non-controlling Shareholders or their nominated third party.

              3.2 At the time of signing the aforementioned “Shanghai Real Estate Sale and
              Purchase Contract”, SJHC shall sign the “Villa Order Contract” with Oasis
              Investment and the Controlling Shareholders, to transfer the SJHC-developed
              two A2-type villas (building area of approximately 1200 m2 each as set out on a
              building plan, which building plan Oasis Investment and the Controlling
              Shareholders have received and have been notified of the delivery standards,
              and both confirmed the actual price as stated below) located on the Central
              Island, Peninsula Villa Project, Fengpu Industrial Area, Fengxian District,
              Shanghai City, to Oasis Investment or their nominated third party once the
              villas meet the delivery standards. For the avoidance of doubt, the
              Non-controlling Shareholders shall procure SJHC to sign the “Shanghai Real
              Estate Presale Contract” with Oasis Investment or the third party nominated
              by the Controlling Shareholders on 30 June 2011 and to complete the presale
              registration of such villas..

              3.3 All Parties Confirm: the properties involved in the aforementioned
              “Shanghai Real Estate Sale and Purchase Contract” and the “Villa Order
              Contract” (or the Shanghai Real Estate Presale Contract) are all priced at
              RMB 72 million. Because the prices of the properties involved are equal, for the
              purposes of this agreement, the considerations under the contracts are to be set
              off against each other (whether or not such offset is plausible from an
              accounting perspective, and that the Parties agree that no actual payment is to
              be made).”

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       284.   According to Article 3.2 of the 4.28 Agreement, the A2-type villas have
              “building area of approximately 1200 m2 each as set out on a building plan,
              which building plan Oasis Investment and the Controlling Shareholders have
              received and have been notified of the delivery standards, and both confirmed
              the actual price as stated below”. “The actual price as stated below” refers to
              RMB 72 million in Article 3.3.

       285.   The Applicants pointed out that, the aforementioned construction drawings were
              prepared and approved by the government when SJHC was still controlled by
              the Controlling Shareholder, and they were implemented and completed with the
              knowledge and authorization of the Controlling Shareholder. Moreover, the
              drawings were always kept and controlled by the Controlling Shareholder, and
              they were only handed over to the Non-controlling Shareholders together with
              other documents on November 18, 2009. According to the “Acceptance
              Certificate for Completed Construction Project and Planning” for A2-type villas
              issued by the Planning, Land and Resources Administration of Fengxian District,
              Shanghai City on January 15, 2012, the gross floor area stated on the certificate
              was bigger than the gross floor area in the original drawings.

       286.   Moreover, even if the gross floor area on the construction drawings was
              inconsistent with the drawings specified in the 4.28 Agreement, the Respondents
              were clearly aware of that and had not raised any objection within the relevant
              period of time. With regard to the clause on construction drawings in Article 3.2
              and its effect, the Second Applicant cited the principle of “contractual estoppel”
              and the principle of “estoppel by convention”.

       287.   The Respondents denied that the Controlling Shareholder knew about
              circumstances regarding the villa project and gave the drawings to the
              Non-controlling Shareholders. The Respondents pointed out that the
              Non-controlling Shareholders only submitted a copy of the villa design drawing
              to the Controlling Shareholder on June 2, 2010, and the Respondents informed
              verbally that the drawing was inconsistent with the agreement and returned it.
              Although the Applicants had adequate time thereafter, it did not alter the
              drawing. The Respondents only received the “Shanghai Commercial Housing
              Presale Contract” for the first time through the Applicants’ lawyer letter on
              February 4, 2013, and knew about the area of the villas to be provided by the
              Applicants.


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       288.   The Respondents claimed that the villas provided by the Applicants had the
              following defects and did not meet the requirements of “customized” villas as
              agreed by them: (1) the saleable area of the villas was much lower than 1,200
              square meters; (2) even if basement area, which should not be included in the
              saleable area, were to be added to the total area, the villas still did not meet the
              required area stated in the 4.28 Agreement. As mentioned above, the
              requirements of “customized” villa stated by the Respondents are clearly
              inconsistent with the clauses of the agreement.

       Related written correspondence

       289.   The written correspondence between the Non-controlling Shareholders and the
              Controlling Shareholder reveals that the Controlling Shareholder sent a letter to
              the Non-controlling Shareholders on March 25, 2011 requesting the
              Non-controlling Shareholders to provide the “design drawings of the involved
              villas, which should show the villas’ location, area and construction quality
              meeting the provisions in the 4.28 Agreement and the usual requirements of a
              villa”.

       290.   The Non-controlling Shareholders replied in a letter on April 25, 2011 and
              pointed out that:

              “You have repeatedly delayed signing the Villa Order Contract for the two
              A2-type Villas located on Central Island with us on many occasions by claiming
              that we have not provided the drawings of the Central Island A2-type Villas to
              you; but in reality, Article 3.2 of the 4.28 Agreement has specified that the gross
              floor area on the drawings of the Central Island A2-type Villas is about 1,200
              square meters each, and Oasis Investment and the Controlling Shareholder have
              received the drawings and are aware of the delivery criteria, and they have
              confirmed the actual price as stated”. Moreover, our side had re-submitted the
              relevant drawings of Central Island A2-type Villas to you on June 2, 2010 in
              response to your request after the 4.28 Agreement took effect. You received and
              signed for the receipt of the drawings. Therefore, there is no factual basis for
              your refusal to sign the Villa Order Contract by stating that we have not
              furnished the drawings of the Central Island A2-type Villas.”

       291.   In the reply letter of the Controlling Shareholder dated April 28, 2011, they
              claimed that “we have not received the drawings of Central Island A2-type
              Villas with the ‘gross floor area of about 1,200 square meters each’ as mentioned

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              by you, have they been sent wrongly? For the sake of caution, please resend
              them again for our verification”. The Controlling Shareholders’ position then
              was not that there was a problem with the drawings provided by the
              Non-controlling Shareholders, but that they did not receive the drawings at all.

       292.   The Non-controlling Shareholders replied in a letter on May 3, 2011 and
              reiterated that “we have responded to your request on June 2, 2010 and sent the
              relevant drawings of Central Island A2-type Villas to you, and we have your
              signed acknowledgment to prove this. If you have any doubt about the
              construction drawings, you can check with us”.

       293.   The Controlling Shareholder only gave a reply concerning the construction
              drawings on July 15, 2011. In this reply, they finally acknowledged that the
              Non-controlling Shareholders had given the drawings to them, but they then said
              that the drawings were not in compliance with the requirements: “you have
              indeed given the drawings to us, but the drawings showed a huge discrepancy
              between the gross floor area of the Villas and that agreed in the 4.28 Agreement,
              and we had also raised this issue to you when we received the drawings”.

       Jiuting Stores

       294.   The Applicants said that the Respondents had so far been unable or refused to
              appoint and cause Greencourt Property Development and the Non-controlling
              Shareholders or a third party appointed by them to sign the “Shanghai Real
              Estate Sale and Purchase Contract” for the transfer of the Jiuting Stores, and this
              caused them to suffer losses. However, the Respondents said that the
              Applicants failed to meet the requirements for the Villas, hence the Respondents
              did not have the obligation to sign the “Shanghai Commercial Housing Presale
              Contract” for the Jiuting Stores and transfer the ownership of the stores to the
              Applicants or the party appointed by them. This shows that the main issue of
              dispute between the parties is whether the Villas provided by the Applicants met
              the requirements in the 4.28 Agreement.

       295.   The Respondents also pointed out that, regardless, the Controlling Shareholder
              had allowed the Applicants to use and rent the store through an authorization
              letter, and the Applicants were actually entitled to the revenue from the stores.
              Both parties had a dispute over the scope and deadline of the authorization. The
              Second Applicant pointed out that, the Respondents were still occupying 2,000


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                square meters of commercial property at the west wing of the Phase 2 Central
                Square up to the current day.

        296.    The arbitral tribunal believes that, under Article 3 of the 4.28 Agreement, the
                agreement of the parties is for the property exchange, and the value of RMB 72
                million of the involved property is only an estimation (this is the meaning of the
                word “pricing”); it is not an actual price calculated accurately by multiplying the
                price per square meter with the area of 1,200 square meters. In addition, the
                phrase “gross floor area on drawings of the about 1,200 square meters each”,
                which was used to describe the A2-type villas, should also be understood in this
                contect. The Respondents also claimed that the pricing of RMB 72 million for
                the A2-type villas was calculated based on (1) the saleable gross floor area of
                two villas, which was 2,400 square meters in total, and (2) an average price of no
                less than RMB 31,500 per square meter of gross floor area. The Respondents
                claimed that this was the basis for Article 3.3 of the 4.28 Agreement between the
                parties, but the arbitral tribunal believes that this claim is obviously inconsistent
                with the stipulations that have been expressly stated in the 4.28 Agreement.
                Therefore, the arbitral tribunal has accepted the claims of the Applicants and
                ruled that the Respondents violated the obligations under Article 3.1.

        The Second Applicant’s claim for losses of Jiuting Stores

        297.    The Second Applicant listed the following calculation of losses in appendix 1 of
                its written concluding statement (the original appendix 1 of the written
                concluding statement was replaced by the new appendix 1 on August 8, 2017,
                and the parties did not have any objection to that):
Calculation of rent losses of Jiuting Stores (revised version dated August 8, 2017)
      Total rent losses (includes the office area and        10,346,211
      store) (RMB)
      Office area with balcony (over 2,000 square meters)


      Total area (square meters)                                2,140.30
      Area occupied by SJHC (square meters)                       424.35
      Leasable area (square meters)                             1,715.95
                                                                           Witness statement of Ke
                                                                           Yeying: B/7/94, Paragraph
                                                                           46: The supermarket is the
                                                                           third party mentioned in the

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                                                                           paragraph.
     Area of supermarket (square meters)                         860.85    Supplementary      witness
                                                                           statement of Gu Yong:
                                                                           B/12/129, Paragraph 4.3
     Area occupied by the Controlling Shareholder (square        855.10    Witness statement of Ke
     meters)                                                               Yeying: B/7/94, Paragraph
                                                                           45
     Market rent price (RMB/square meters/day)                      2.50   Gu Yong’s statement: Day 5
                                                                           [44(22-27)]




     Date on which the Non-controlling Shareholders            5/28/2010   Revision of the Further
     should be entitled to the right of use and rent of the                Reply to the Applicants’
     stores under Article 3.1(1) of the 4.28 Agreement                     Reply and Defence to
                                                                           Counterclaim:   A/6/97,
     Date of lease to supermarket:                              6/1/2016   Paragraph 10.4
     Reference date for calculation of losses                   8/8/2017
     Number of days whereby the supermarket area                   2,196
     was vacant due to the Controlling Shareholder’s
     refusal to provide authorization
     Losses arising from vacant supermarket area (RMB)         4,726,067


     Number of days whereby the Controlling Shareholder            2,629
     occupied the store in breach of Article 3.1(1)
     Losses arising from occupation by the Controlling         5,620,145
     Shareholder (RMB)


     Total rent losses of the office area with balcony        10,346,211
     (RMB)


       298.    Claims of the Second Applicant: Although the A2-type villas were completed in
               2011, the Controlling Shareholder unduly refused to accept the A2-type villas
               and refused to execute the transfer of the Jiuting Stores, and these caused the
               Non-controlling Shareholders to suffer heavy losses. The reasons are as follows:

               (1)       According to Article 3.1 of the 4.28 Agreement, the commercial
                         property of the Jiuting Stores project is about 8,000 square meters, and
                         this specifically included (i) about 6,000 square meters of the level
                         three commercial space of the Greencourt Sun City Phase 1 along the


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                         streetside; and (ii) about 2,000 square meters of all commercial space at
                         the west wing of the Phase 2 Central Plaza.

              (2)        The rent of the 2,000 square meters [of commercial property] in Phase 2
                         was most probably higher than RMB 2.5 per day per square meter. Mr.
                         Gu Yong, who is the Controlling Shareholder’s witness, also agreed
                         with this point.

              (3)        As the Controlling Shareholder prevented the transfer of Jiuting Stores
                         and did not grant the controlling rights of the 2,000 square meters [of
                         commercial property] to the Non-controlling Shareholders, the
                         Non-controlling Shareholders could not rent out this portion [of
                         commercial property].

              (4)        Although the Non-controlling Shareholders rented a portion of the
                         office with balcony in the 2,000 square meters [of commercial property]
                         to a third party who is related to Mdm. Ke in July 2016, that was a
                         special arrangement (based on the third party’s trust in Mdm. Ke).

              (5)        The Controlling Shareholder granted the controlling rights of the 6,000
                         square meters [of commercial property] in Phase 1 to the
                         Non-controlling Shareholders through the authorization letter, but the
                         controlling rights of the 2,000 square meters [of commercial property]
                         in Phase 2 have not been granted so far. Mr. Gu Yong, who was the
                         Controlling Shareholder’s witness, also agreed with this point.

       299.   According to Article 3.1 of the 4.28 Agreement: “Within 30 days of the signing
              of this agreement, Oasis Investment and the Controlling Shareholders shall
              procure a subsidiary, namely, Shanghai Greencourt Real Estate Development
              Limited to sign the “Shanghai Real Estate Sale and Purchase Contract” with the
              Non-controlling Shareholders or their nominated third party, and undertake to
              transfer approximate 8000 m2 of commercial space which shall meet the
              appropriate delivery standards (specifically, the property includes
              approximately 6000 m2 of commercial space on the third level along the
              streetside of Phase 1 of Greencourt Sun City Commercial Building, and all the
              commercial space of approximately 2000 m2 of the west side of the Central
              Plaza of Phase 2 of Greencourt Sun City) at the Jiuting Greencourt Sun City
              Real Estate Project in Songjiang District, to the Non-controlling Shareholders or
              their nominated third party. For the avoidance of doubt, (1) when the Shanghai

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              Real Estate Sale and Purchase Contract is signed, Oasis Investment and the
              Controlling Shareholders shall transfer the right to use such commercial space
              to the Non-controlling Shareholders or their nominated third party, and the
              Non-controlling Shareholders or their nominated third party are to receive rental
              income and other earnings after the transfer; and (2) by 30 June 2011, Oasis
              Investment and the Controlling Shareholders shall transfer the ownership of
              such commercial space to the Non-controlling Shareholders or their nominated
              third party.”

       300.   Article 3.1(1) shows that the Respondents were required to fulfill their
              obligations (that is, to deliver the right of use) within 30 days after signing the
              4.28 Agreement, and this was to be no later than May 28, 2010. Article 3.1(2)
              shows that the Respondents were required to fulfill their obligations (that is,
              transfer the ownership) before June 30, 2011.

       301.   Article 3.1 is linked to Articles 3.2 and 3.3, which means that the commercial
              property of Jiuting Green Court Sun City Real Estate Project at Songjiang
              District, which covers an area of about 8,000 square meters, had the same
              pricing as the 2 Central Island A2-type villas of the Peninsula Villa Project at
              Fengpu Industrial Area, Fengxian District (that is, RMB 72 million). This point
              has been stated in Paragraph 296 above.

       302.   In Appendix 1 submitted by the Second Applicant, the claims are divided into
              two portions: (1) areas occupied by the Controlling Shareholder; (2) number of
              days that the supermarket area was being controlled due to the Controlling
              Shareholder’s refusal to grant authorization. If August 8, 2017 is used as the
              reference date for calculation of losses, the total losses would be RMB
              10,346,211 (RMB 5,620,145 plus RMB 4,726,067).

       303.   As the arbitral tribunal has ruled, in Paragraph 271, the Respondents breached of
              its obligations under Article 3.1 of the 4.28 Agreement, the arbitral tribunal
              therefore accepts the Second Applicant’s claims and rules that the Controlling
              Shareholder should compensate the Applicants for their losses of RMB
              10,346,211 (using August 8, 2017 as the reference date for calculation of losses).

       Settlement of pre-existing debts and claims between SJHC and Oasis Investment
       and their subsidiaries




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       304.   According to Article 3.6 of the 4.28 Agreement: “Related party transactions:
              With effect from the signing of this agreement, the related party transactions
              between SJHC and Oasis Investment and their subsidiaries shall be terminated;
              all pre-existing debts and claims shall be settled within one month. This excludes
              situations that are otherwise stipulated in this agreement..”

       305.   All parties had made effort to negotiate and agreed to reduce the original scope
              of dispute to the few items listed in Bundle E, Tab 5.

       306.   Article 3.6 of the 4.28 Agreement is an independent clause, and it is not related
              to the above clauses on pricing of the equity transfer. The arbitral tribunal
              believes that the parties cannot hold any other party responsible for the failure to
              settle the pre-existing debts and claims within the time frame prescribed by the
              agreement, and the main reason is that the parties have different views
              concerning the issues involved. Therefore, with regard to this issue, the arbitral
              tribunal role is to pass a ruling on this issue, and it will not hold any party liable
              for the breach of agreement.

       307.   Under Article 3.6, all the pre-existing debts and claims between SJHC and Oasis
              Investment and their subsidiaries are to be settled. This is unrelated to the equity
              transfer or the repurchase. Therefore, the outcome of the settlement shall not
              contribute to the adjustment of the 3rd Payment. See Article 2.2.1(4) of 4.28
              Agreement.

       308.   All parties have reached an agreement on most of the disputed settlement items,
              and the remaining disputed items that require ruling by the arbitral tribunal can
              be found in the list in E/5/15-19, which are: Items 1, 1a, 7, 8, 22, 23 and 28.

       1, 1a. Balance of reserves during transfer in November 2009

       309.   According to Paragraph 4a of the witness statement of Mr. Qi Chiyang, who was
              the Applicants’ factual witness: “Both parties have no objection to the debit
              balance of RMB 41,224,613.21 stated in prepayments - prepaid reserves - item
              1.” According to Paragraph 11 of the witness statement of Madam Li Shuping,
              who was the Respondents’ factual witness: “Based on the financial information
              submitted to SJHC, my calculations show that, as of November 2009, the
              balance of the category 1 current account is RMB 41,224,613.21, which is the
              balance of current account between SJHC and [Oasis] Kechuang as of
              November 2009.” Therefore, the parties had no dispute on this value.



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       310.   However, both parties had a dispute on whether the RMB 15 million paid by the
              Controlling Shareholder to Shengyuan on January 29, 2016 (item 1a) could
              offset the current account debit amount.

       311.   The evidence shows that Oasis Investment, Greencourt Kechuang and SJHC
              signed a copy of the “Current Account Prepayment Agreement” on January 29,
              2016 [D3/1207]. On the same day, SJHC, Shanghai Shengyuan Construction
              Engineering Co., Ltd. and Greencourt Kechuang also signed a copy of the
              “Tripartite Agreement” [D3/1213]. These two agreements were signed for the
              “Agreement Letter” signed by SJHC and Shengyuan on January 10, 2015 (for
              the arrears of two project amounts of the “Lekang Park Phase 2”, which added
              up to RMB 26,198,239). As SJHC did not have sufficient funds to pay the
              project amount, it requested for Greencourt Kechuang, which is a subsidiary of
              Oasis Investment, to pay the amount on its behalf. [Oasis] Kechuang paid RMB
              15 million directly to Shengyuan as the first installment of the project amount on
              behalf of SJHC.

       312.   The Second Applicant and the Respondents agreed that, the amount of RMB 15
              million paid by the Respondents to Shengyuan on January 29, 2016 should be
              considered as prepayment of the current account of RMB 15 million by the First
              Respondent on behalf of SJHC based on the agreement in the “Current Account
              Prepayment Agreement”. However, the First Applicant did not agree with the
              aforementioned position.

       313.   The arbitral tribunal also noticed that the First Applicant was not involved in the
              negotiation and the signing of the two agreements. [Paragraph 12 of Xu
              Hongbiao’s non-religious affidavit]

       314.   The arbitral tribunal believes that the meaning of Article 3.6 in the 4.28
              Agreement is very clear, which is: all the pre-existing debts and claims between
              SJHC and Oasis Investment and their subsidiaries must be settled within one
              month of the 4.28 Agreement (May 28, 2010). Although [Oasis] Kechuang paid
              RMB 15 million directly to Shengyuan on behalf of SJHC, the said amount was
              paid only in 2016, which was far beyond the deadline stated in the 4.28
              Agreement. Therefore, the arbitral tribunal believes that this amount of RMB 15
              million does not fall under the scope of pre-existing debts and claims stated in
              Article 3.6 of the 4.28 Agreement. The issue of whether this amount of RMB 15
              million can offset the current account debit of RMB 41,224,613.21 is not related


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              to the terms of the 4.28 Agreement. This issue is not within the jurisdiction of the
              arbitral tribunal, hence it shall not be ruled upon by the arbitral tribunal.

       7, 8. Renumerations and expenses of Ke Zhengguang and Xu Hongbiao from
       January - November 2009

       315.   The First Applicant and the Second Applicant received renumerations, expenses
              and social security contribution amounting to RMB 3,127,591.77 from Oasis
              Investment in 2009. This amount was confirmed by both parties (see Paragraph
              9a of Qi Chiyang’s witness statement; Paragraph 12.3.1 of Li Shuping’s witness
              statement). The dispute was whether this sum should be borne by Oasis
              Investment or SJHC. The Respondents’ position was that, the Non-controllilng
              Shareholders agreed in the “First Draft Checklist of the Non-controlling
              Shareholders” that SJHC should bear this amount, but in the subsequent
              reconciliation process and the correspondences between the parties, [the
              Non-controlling Shareholders] did not agree for SJHC to bear the amount. The
              Controlling Shareholder asserted that, based on the principles in respect of the
              share repurchase, as the Non-controlling Shareholders only rendered services to
              SJHC since the start of 2009, the amount should be borne solely by SJHC. The
              Applicants claimed that their renumerations, expenses and social security
              contributions received from Oasis Investment in 2009 were based on the
              employment relationship between Oasis Investment and Ke [Zhengguang] and
              Xu [Hongbiao], and that relationship was not related to the pre-existing debts
              and claims between SJHC and Oasis Investment and their subsidiaries, hence
              these amounts were not under the scope of settlement of pre-existing debts and
              claims as stated in Article 3.6 of the 4.28 Agreement, and they were not related
              to the 4.28 Agreement.

       316.   In Paragraph 12.2 of Li Shuping’s witness statement, she introduced the
              background in which expenses were adjusted or apportioned due to staff
              remuneration and social security contribution. She explained: This adjustment or
              apportionment was based mainly on these factors: (a) some employees of the
              Chinese subsidiaries of Oasis Investment had a labor relationship with a certain
              subsidiary, and they received remuneration and social security contribution from
              that subsidiary while primarily serving another subsidiary. Therefore, when
              SJHC executed a staff takeover in November 2009, the Controlling Shareholder
              should have arranged for Oasis Investment’s subsidiaries (excluding SJHC) to
              return to SJHC the remuneration and social security contribution paid to
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              employees who did not serve SJHC in 2009; (b) as the Non-controlling
              Shareholders refused to pay the remuneration for all employees of SJHC in the
              second half of November 2009 after signing the restructuring agreement, and the
              subsidiaries of Oasis Investment then had to pay them in cash first, therefore, the
              corresponding expenses for employees who served SJHC should be returned to
              the subsidiaries of Oasis Investment by SJHC.

       317.   The arbitral tribunal believes that, from November 2009 onward, Ke
              [Zhengguang] and Xu [Hongbiao] only served SJHC (and not Oasis Investment
              or subsidiaries other than SJHC), and based on this logic, even though their
              remunerations and expenses were still paid by Oasis Investment, this amount
              should also be borne by SJHC. Moreover, the First Applicant and the Second
              Applicant had agreed in the “First Draft Checklist of the Non-controlling
              Shareholders” that SJHC should bear this amount, and they only disagreed with
              this later.

       318.   In summary, the arbitral tribunal endorses the Respondents’ claim and ordered
              SJHC to bear and return RMB 3,127,591.77 to the First Respondent.

       22. Outstanding amount of Lekang Greening Engineering (RMB 1,136,313.42)

       319.   According to the statement of Li Shuping, who was the Respondents’ factual
              witness, SJHC should pay RMB 1,136,313.42 as the greening project amount for
              Xiaotang Lekang Park Phase 2 to Oasis Investment’ subsidiary Yijing Company
              (this amount was the project amount of RMB 1,136,313.42 paid by Yijing for
              the greening of Xiaotang Lekang Park Phase 2, and this amount was not claimed
              from SJHC) [Paragraph 28.4 of Li Shuping’s witness statement [B/72]]. Li
              Shuping also explained that this sum was only added to the “Checklist of Current
              Account as of December 31, 2015” file prepared by her in January 2016 after she
              knew about the communication between the Controlling Shareholder and the
              Non-controlling Shareholders about the project amount of Shengyuan Company.
              Qi Chiyang, who was the Applicants’ factual witness, said that there was no
              record of this sum of project amount during delivery, and the engineering
              department said that Yijing Company and SJHC had settled the project amount
              for Lekang Park Phase 2. The construction price was RMB 3.5 million in the
              construction contract that was concluded at that time, and the amount actually
              paid for the project was RMB 4.22 million. An excess of RMB 1.22 million was
              already paid, and this was 35% more than the construction price under the

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              contract [see Paragraph 9d of Qi Chiyang’s witness statement [B/37]]. In
              Paragraph 15 of her supplementary witness statement, Li Shuping replied:
              “After the repurchase reference date, a project cost of RMB 1,136,313.42 for
              SJHC’s Lekang Park Phase 2 was eventually formulated in Yijing Company’s
              books. At that time, I thought that all the parties had carried out the split based on
              their assets during the repurchase reference date, hence this cost became Yijing
              Company’s deficit and I added it into the account checklist.” [B/125]

       320.   The arbitral tribunal believes that, there is insufficient evidence to show that
              Yijing Company took over the payment of the project amount in response to
              SJHC’s request, and the Respondents’ witness also said that this amount was
              only formed after the repurchase reference date. Therefore, the arbitral tribunal
              has no evidence-based reason to ask SJHC to pay this sum to Yijing Company.
              In summary, the arbitral tribunal does not endorse the Respondents’ request.

       23. Apportioned investment cost for the 10 kV switch station (RMB 47(sic)
       million)

       321.   In Paragraph 28.3 of her witness statement, Li Shuping said that she only added
              this sum (SJHC should share the investment cost of RMB 4.7 million for the
              switch station of Shanghai Four Seasons Ecological Technology Co., Ltd.) to the
              “Checklist of Current Account as of December 31, 2015” prepared by her in
              January 2016 after she knew about the communication between the Controlling
              Shareholder and the Non-controlling Shareholders about the project amount of
              Shengyuan Company [B/72]. Qi Chiyang said that this apportioned amount
              came from an agreement on apportionment of investment cost of the relevant
              distribution development station concluded with Four Seasons Ecological
              Technology Co., Ltd. when SJHC built the villas and developed neighboring
              projects in 2012. The payment responsibilities or disputes on the payments were
              controlled by the 2012 apportionment agreement, and they were neither related
              to the 4.28 Agreement nor were they under the scope of settlement of the debts
              and claims stated in Article 3.6 of the 4.28 Agreement because Article 3.6 of the
              4.28 Agreement says that the debts and claims between SJHC and Oasis
              Investment and their subsidiaries were to be settled on the signing date of the
              Agreement (April 28, 2010) [B/37]. In Paragraph 16 of her supplementary
              witness statement, Li Shuping said that, after reviewing the 4.28 Agreement and
              the 11.9 Agreement comprehensively, [she considered that] no restriction was
              imposed on the time whereby the debts and claims were to be settled. Based on
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              common sense, the debts and claims that further arised during the equity
              repurchase process should also be settled accordingly [B/125].

       322.   The arbitral tribunal believes that, Article 3.6 has a deadline for the settlement of
              the debts and claims, that is, within one month after the signing of the 4.28
              Agreement (May 28, 2010). Therefore, this shared amount of RMB 4.7 million
              is not covered by Article 3.6 of the 4.28 Agreement. This matter is not to be
              decided upon by the arbitral tribunal.

       28. For the interest arising from Oasis Investment and its subsidiaries’ retaining
       of the funds of SJHC, the Controlling Shareholder has yet paid the interest [back
       to SJHC/Non-controlling Shareholders]

       323.   The Applicants’ position was that interest clearing should form part of Article
              3.6. Prior to the split [by way of share restructuring], the Group had centralized
              use of funds to bear the costs of the corresponding units and projects financial
              costs as needed, so as to maximize the Group’s overall profits. Such a model is
              understandable. However, following SJHC’s split on December 31, 2008 as the
              reference date, Oasis Investment’s controlling party continued to adopt this
              model on SJHC and freely transferred funds [out of SJHC] without
              consideration. By adopting a management accounting model of apportioning
              financial costs, this went against the spirit of the relevant agreement: See
              Paragraph 7e of Qi Chiyang’s witness statement. Li Shuping explained about the
              group funds allocation in Paragraph 10 of his witness statement.

       324.   The arbitral tribunal believes that, regardless of whether SJHC was split on
              December 31, 2008 as the reference date, the 4.28 Agreement was only signed in
              about one and a half years later, hence there existed a “custodian” relationship
              between the Group and SJHC during this period of time. Therefore, it is
              practically very challenging to identify clearly which party was utilizing or
              occupying which party’s funds. In summary, the arbitral tribunal does not
              support the Applicants’ request.

VIII. Ruling and Order of the Arbitral Tribunal

              Based on the aforementioned reasons, the arbitral tribunal ordered as follows:

       1.     (Within 4 weeks from the day this ruling is passed) The Respondents are to to
              cause Greencourt Real Estate to sign a “Shanghai Real Estate Sale and Purchase
              Contract” for the Jiuting Stores with the Applicants or a third party appointed by

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              the Applicants, and transfer the ownership of the Jiuting Stores to the
              Non-controlling Shareholders or a third party appointed by them. (Article 3.1 of
              4.28 Agreement)

       2.     (Within 4 weeks from the day this ruling is passed) The Respondents are to
              cause the First Respondent to appoint a third party to sign the “Shanghai
              Commercial Housing Presale Contract” for A2-type villas with SJHC, and
              complete the relevant presale registration procedures. (Article 3.2 of 4.28
              Agreement)

       3.     All parties are ordered to settle and pay the debts of SJHC and the First
              Respondent within 4 weeks from the day the ruling is passed based on
              Paragraphs 304 to 324 of this ruling. (Article 3.6 of 4.28 Agreement)

       4.     The Applicants are ordered to submit an audit report to the relevant approval
              authorities within 2 months from the day the ruling is passed.

       5.     (Within 2 months from the day this ruling is passed) The First Respondent is
              ordered to arrange for and cause Shibang Company to acquire the 80% equity
              interest of SJHC held by the First Respondent’s subsidiary Greencourt
              Properties. (Article 2.3.1 of 4.28 Agreement)

       6.     (Within 2 weeks from the day this ruling is passed) The First Respondent and
              Non-controlling Shareholders are to sign, and the First Respondent is to cause
              their subsidiary, Greencourt Properties, to jointly sign, the Equity Purchase
              Option Agreement and Entrustment Agreement concerning Shibang Company.
              (Articles 2.3.1 and 2.3.2 of 4.28 Agreement)

       7.     (Within 2 months from the day this ruling is passed) The First Respondent is
              ordered to cause Oasis Kechuang to transfer its 20% equity in SJHC to Luhao
              Trading.

       8.     (Within 4 weeks after the execution of the orders numbered 1-6 above) The
              Respondents are to pay the final amount after making the adjustments set out in
              Article 2.2.1(4) of the 4.28 Agreement and in Paragraphs 232(4)(a)(b)(c) and
              233 of this ruling.

       9.     The second respondent, third respondent and fourth respondent are jointly and
              severally ordered to pay RMB10,346,211 to the applicants as compensation for
              their losses (using August 8, 2017 as reference date for calculation of losses).


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IX.     Arbitration Fee

        325.   With regard to the arbitration fee, all parties agreed during the closing that it
               would not need to be decided by the arbitral tribunal at this stage, hence the
               arbitral tribunal will pass the ruling on arbitration fee after all the parties have
               submitted the relevant supporting documents.




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Date: February 28, 2018

Arbitration venue: Hong Kong




         [signature]                                                   [signature]
 Teresa Cheng Yeuk-Wah,                                          Horace Wong Yuk-Lun,
       Senior Counsel                                                Senior Counsel
          Arbitrator                                                    Arbitrator


                                       [signature]                      [stamp]
                                    Yang Ing Loong               Hong Kong International
                                                                   Arbitration Centre
                                    Chief Arbitrator                 HONG KONG
                               on behalf of arbitral tribunal     INTERNATIONAL
                                                                ARBITRATION CENTRE




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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MARYLAND

ESTATE OF KEZHENGGUANG,

                            Petitioner,

            -against-
                                          8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                           Respondent.




                 DECLARATION OF RICHARD K. WAGNER
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        I, Richard K. Wagner, declare as follows:

        1.     I am a partner with the law firm of Steptoe & Johnson LLP, based in Beijing,

People's Republic of China ("PRC" or "China"), with an office in Chicago.                I make this

declaration, further to Rule 44.1 of the Federal Rules of Civil Procedure, in support of the

underlying litigation before the U.S. District Court for the District of Maryland. If called to

testify to the matters set forth in this declaration, I would be competent to do so.

        2.     I have been asked to opine on certain issues relating to the law of the PRC. The

opinions set forth in this Declaration are my own and are based on my review of certain Chinese

legal and policy documents, my experience handling matters related to Chinese law and practice,

and the results of inquiries conducted with various PRC regulators. Exhibits provided are true

copies of the originals. English translations are provided for reference; the original language of

these documents is Chinese.



I.      SUMMARY OF QUALIFICATIONS

        3.     I have had a China-facing law practice since the beginning of my legal career in

2002 in Hong Kong as an associate attorney with the China Practice Group of Baker &

McKenzie. I practiced in a China-related law practice with Baker & McKenzie until August

2015 (Hong Kong, Chicago, Beijing), after which, I took up a partner position with Steptoe &

Johnson LLP in Beijing and Chicago in September of 2015. Before law school, I worked as a

Mandarin Chinese linguist with the U.S. Army. I have had extensive experience with Chinese

regulatory law, particularly as it relates to issues in a cross-border dispute resolution context.

        4.     I received my Juris Doctor (JD) degree from the George Washington University

School of Law in 2002 and received an LLM in Chinese law from the School of Oriental &

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African Studies, University of London in 2008. I am licensed in Illinois and Wisconsin and am

registered as a foreign lawyer with China's Ministry of Justice.

         5.      I have published articles on topics related to Chinese law and frequently present

on Chinese law and Chinese regulatory issues. I am reasonably fluent with Chinese-language

documents. My CV is attached at Ex. 1.



II.      CHINA'S LEGAL SYSTEM AND ITS SOURCES OF LAW

         6.      In terms of legal taxonomy, the PRC legal system is a civil law jurisdiction,

predominantly code based. The PRC Legislation Law identifies laws (Y!W), promulgated by the

National People's Congress, regulations           (ff IEJO'!fJ\!),   promulgated by China's State Council,

local regulations   (:l:-t1rntt¥!fJ\!) issued by provincial governments and ministry rules ($ !'l fJ\!¥),
issued by government ministries, as the primary sources of law in China. 1 In my experience,

there are also internal rules and regulations binding on ministry officials which assist and guide

Chinese officials in their regulatory work, but these internal(~ -tm, neibu, in Chinese) rules and

regulations are by definition restricted, and not publicly disseminated. 2

         7.      While judicial interpretations (i§rJf!tltI~) issued by China's Supreme People's

Court are binding on the courts, 3 case decisions do not, with very limited exception, provide




1
 See Legislation Law of the People's Republic of China, promulgated by the National People's Congress on Mar. 15,
2000, last amended on Mar. 15, 2015. (Ex. 2.)
2
  Cf 2016 White Paper, Am Cham China. p.54 ("Although the risk of falling foul of' internal' unpublished
regulations has diminished considerably in recent years, some foreign companies still encounter policies
disseminated and enforced on the strength of unpublished internal measures."). (Ex. 3 .)
3
 See, e.g., Provisions of the Supreme People's Court on the Work Concerning Judicial Interpretation, promulgated
by the Supreme People's Court on Mar. 9, 2007, effective as from Apr. 1, 2007, Fa Fa [2007] No. 12. Art. 5. (Ex.
4.)

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primary law source authority in China. 4 China is not a "case law" jurisdiction. Moreover, case

collections and compendiums in China are not comprehensive. There is no unified, authoritative

case collection database in China. China's Supreme Court maintains a case database that may be

searched online, but the database is limited to those cases which have been selected for

inclusion. 5 One popular commercial case database in China is Chinalawinfo, but this too is a

limited case database, a developing commercial product. 6 Not being able to locate a specific

case in a Chinese case database or compendium with a fact pattern matching your particular

situation does not mean a Chinese court has not addressed the issue before. Put another way, the

absence in case collections of cases with specific fact patterns does not allow one to draw any

conclusions as to how a Chinese administrative agency or a court may view an actual situation-

it just means no cases with that fact pattern have been included in that particular case collection.



III.    CHINA'S FOREIGN EXCHANGE CONTROL REGIME

        8.       The Renminbi (RMB) is China's official currency. It is not a fully convertible

currency and China has had in place a strict foreign exchange control regime for decades. China

has a complex foreign exchange control regime in place, comprising of a labyrinth of rules and

regulations 7 with some rules being "internal rules" not publicly available.                 The cornerstone

administrative legal document in this area is the Regulations of the People's Republic of China

4
  One example is so-called Guiding Cases (t§'~'~i~~U, in Chinese). There are presently only 106 Guiding Cases
in China. See generally Stanford Law School China Guiding Cases Project, available at
https://cgc.law.stanford.edu/ (last visited on Jan. 24, 2019).
5
  See generally, Provisions of the Supreme People's Court on the Publication of Judgment Documents by the
People's Courts on the Internet, promulgated by the Supreme People's Court on Aug. 29, 2016, effective as from
Oct. 1, 2016, Fa Shi [2016] No. 19. (Ex. 5.)
6
  Product Introduction: Judicial Cases Database, available at http://www.pkulaw.cn/help/index.html?item=BLAJ
(last visited on Jan. 24, 2019).
7
  See, e.g., Thomas Hall, Controlling for risk: An Analysis of China's System of Foreign Exchange and Exchange
Rate Management, 17 Colum. J. Asian L. 433, 456-57 (2004) (describing China's "foreign exchange regime" as a
veritable labyrinth of rules and regulations" that is "inconveniently complex and opaque").

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on Foreign Exchange Control issued by the State Council of China.                      (Ex. 8.) In addition,

China's Criminal Code criminalizes schemes that seek to circumvent or evade the foreign

exchange control regime. 8

        9.       In recent years, since around the 2016 time frame, China has taken additional

measures and issued new policies enhancing restrictions on outbound currency remittances and

investments. By way of some examples, on December 28, 2016, the People's Bank of China

issued the Administrative Measures for the Reporting of Large-sum Transactions and Suspicious

Transactions by Financial Institutions, lowering the overseas transfer threshold for reporting by

banks to the State Administration of Foreign Exchange ("SAFE"), which together with the

People's Bank of China are China's main regulators of foreign exchange. (Ex. 6.)                           Since

February 2017, SAFE has published a series of reports on administrative enforcement actions on

forex violations. In December 2017, China issued a new rule setting an annual cap on overseas

withdrawals by a single individual using Chinese bank cards. (Ex. 7.)

         10.     The purchase and remittance of foreign exchange by PRC nationals (including

both domestic entities and individuals) is highly regulated and closely controlled under the PRC

foreign exchange control regime, requiring strict review and approval procedures by PRC

regulators. Persons seeking to remit foreign exchange must provide supporting documents to

prove the purpose of the transfer and the bank will review applications to verify the authenticity

and consistency of the transaction documents. 9 If a PRC national wants to remit foreign

exchange that exceeds his/her annual quota (currently set at USD 50,000), he or she needs to

apply for special approval from the banks. In such circumstances, the documentary requirements

8
  Criminal Code of the People's Republic of China, promulgated by the National People's Congress on Jul. I, 1979,
last amended on Nov. 4, 2017 ("PRC Criminal Code").
9
 Regulations of the People's Republic of China on Foreign Exchange Control, promulgated by the State Council on
Aug. 5, 2008, effective as from Aug. 5, 2008. Art. 12. (Ex. 8.)

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are more onerous and SAFE scrutiny may be involved in addition to bank scrutiny. If approval is

not granted, the individual is not allowed to remit the funds.

         11.     Foreign nationals in China are also subject to burdensome requirements on RMB

conversion and foreign exchange remittance. There are rules governing such transactions that

are internal and the process can be opaque. 10 While there do not appear to be published rules

expressly setting quota restrictions for foreign nationals, banks and financial institutions are

required to approve forex transactions and report prospective remittance transactions of more

than RMB 50,000 (approximately USD 7,250) to the People's Bank of China ("PBOC"), and

possibly also to the SAFE. 11 While the review procedures of PBOC and SAFE have not been

made publicly available, generally I understand there to be internal rules utilized by these

regulators that set restrictions on such remittances. Despite the lack of an express publicly

notified quota, remittance of foreign exchange by non-PRC nationals is highly regulated. Under

current law and policy, Chinese banks scrutinize foreign exchange purchases and remittance

applications very closely to ensure that currency outflows strictly comply with state

requirements.



Administrative Fines and Penalties

         12.     Chinese law expressly prohibits paymg or rece1vmg foreign exchange for

obligations that are to be paid or collected in RMB.




IO See, e.g., Administrative Measures for the Reporting of Large-sum Transactions and Suspicious Transactions by
Financial Institutions, Art. 19. (Ex. 6.)
11
  See Administrative Measures for the Reporting of Large-sum Transactions and Suspicious Transactions by
Financial Institutions, Art. 5. (Ex. 6.)

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        13.        Article 40 of the State Council's Regulations of the People's Republic of China

on Foreign Exchange Control, the highest published administrative document on foreign

exchange control, provides in English translation from the original Chinese:

                   "If anyone commits any act of acquiring foreign exchange
                   illegally, such as receiving or paying funds in foreign exchange
                   in violation of prescriptions where such funds should be collected
                   or paid in Renminbi .. . , the relevant foreign exchange control
                   authority shall order the conversion of the foreign exchange
                   illegally acquired into RMB and shall impose a fine of no more
                   than 30% of the amount of the illegally acquired foreign exchange.
                   In serious cases, the relevant foreign exchange control authority
                   shall impose a fine of more than 30% of the amount of the illegally
                   acquired foreign exchange, but not more than the equivalent
                   amount of the illegally acquired foreign exchange. If the act
                   constitutes a criminal offense, it shall be subject to criminal
                   liability." [Emphasis added.]


(Cf West Law Translation, Ex. 8, at Art. 40 (pg. 10).)


        14.        The phrase used in the section of Article 40 bolded above (in original Chinese -

"ff :i:ft &   *l 5E ~ j~ ¥[ 45( 1i $. 3 ~ A ~ ffi 45( 1i 8<J "/fix :r_m ") is unambiguous.        Using foreign

exchange ( ~ )7~¥[) to pay (1i) or receive/collect          (45() an amount that is supposed to be paid or
received/collected in RMB ( $. 3 ~ A ~             ffi 45( 1i 8<J "/fix :r_m)   is illegal under Chinese law and

subjects both the payor and the recipient to administrative fines and penalties, and possibly to

criminal liability.

        15.        China's SAFE is the primary administrative enforcer of its currency regulations

and can impose severe fines on anyone who violates the PRC's foreign exchange control regime.

Using these broad powers, SAFE has repeatedly fined Chinese firms who have attempted, via a

wide range of creative means, to evade the currency restrictions.                       For example, SAFE has

sanctioned companies and individuals that have evaded the cap on overseas remittances by


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routing the money in smaller bundles through others, or that have used doctored invoices or bills

of lading to conceal the true nature of the payments. See, e.g., SAFE's Notice on Foreign

Exchange Violation Cases dated December 1, 2017 (Ex. 9.); SAFE's Notice on Foreign

Exchange Violation Cases dated August 16, 2018. (Ex. 10.)



Criminal Liability

       16.     Evasion of the foreign exchange control regime is subject to criminal liability

under Chinese law. Such activity is criminalized in China as being disruptive of the PRC market

order. Chapter 3 of Part II of the PRC Criminal Code lists the evasion of the PRC foreign

exchange control regime among other market order crimes, such as the crimes of counterfeiting

financial bills (Article 177), loan fraud (Article 175), insider trading (Article 180), and money

laundering (Article 191), among others. (Ex. 11.)

       17.     Article 190 of the PRC Criminal Code is broadly drafted and sets out the basic

contours for the crime of evading the PRC foreign exchange control regime as such relates to

companies and entities: As translated to English, it provides:

               Companies, enterprises, and other entities, which in violation of
               national regulations, and without authorization take and deposit
               foreign exchange out of China or who take foreign exchange in
               China and illegally transfer it out of China, if the amount is
               relatively large, shall be imposed with a fine whose amount shall
               range from 5% to 30% of the amount of evaded foreign exchange,
               and the directly responsible personnel and other directly
               responsible individuals shall be sentenced to a fixed term
               imprisonment or detention of no more than five years. If the
               amount is large or there are other serious circumstances, the entity
               shall be fined by an amount ranging from 5% to 30% of the
               amount of evaded foreign exchange, and the directly responsible
               persons and/or other directly responsible individuals sentenced to a
               term of fixed imprisonment of more than 5 years.
(Cf PKU Law Translation, Ex. 11, at Art. 190 (pg. 25).)


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        18.      As to individuals·, the crime of evading the foreign exchange control regime is

further supplemented by the National People's Congress Standing Committee's Decision

Concerning Punishment of Crimes Involving Fraudulent Purchase, Evasion and Illegal Sales of

Foreign Exchange, which states that "[w]hoever fraudulently purchases foreign exchange" by

various specified means or (in the catch-all provision) "by any other means" has committed a

crime. (Ex. 12 (emphasis added).)

        19.      In addition to possible criminal sanction and administrative fines, violators of the

foreign exchange control regime can be placed on the SAFE's "special watch list," and given a

negative record in People's Bank of China's credit system.                 See, e.g., Notice of the State

Administration of Foreign Exchange on Issues Concerning Further Improving the Personal

Foreign Exchange Administration. 12 ; SAFE 's Notice on Foreign Exchange Violation Cases,

dated December 6, 2018.



IV.     DECEDENT KE'S CHINESE ASSETS

        20.      I understand and am instructed that Mr. Ke Zhengguang died intestate in China

during the course of the arbitration and at the time of his death was a PRC citizen (see id. at 1 (~

1)) (identifying Mr. Ke as a PRC citizen)) domiciled in the PRC. The arbitral award at issue in

this case (Order 9) states that "[t]he second respondent [Stephany Yu], third respondent and

fourth respondent are jointly ordered to pay RMBl0,346,211 to the applicants [one of whom was

the decedent Mr. Ke] as compensation for their losses .... " (Petition Ex. D at 96 (~ 9).) This




12
  Notice of the State Administration of Foreign Exchange on Issues Concerning Further Improving the Personal
Foreign Exchange Administration, promulgated by the State Administration of Foreign Exchange Administration on
Dec. 25, 2015, effective as from Jan. 1, 2016, Hui Fa [2015] No. 49. (Ex. 13.)

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payment is fundamentally centered on events and transactions in China and would be considered

a Chinese asset governed by Chinese law.

        21.      The amount awarded represents compensation for lost rent associated with certain

Shanghai real estate. (Id. at 81-89.) I understand and am instructed that the real estate was

owned by a Chinese company, Shanghai Greencourt Real Estate Development Co. Ltd. (-1.~fj

~mri11F3f ~ff ~i0i§J), and that the arbitral tribunal found the compensation for lost rent was

incurred by two individuals (Messrs. Ke Zhengguang and Xu Hongbiao ), both of whom are

identified in the award as Chinese citizens. (Id. at 1 (~ 1); 81 (~ 283).) The arbitration panel

recognized that this payment was to be made in China and in RMB and the award is

denominated in RMB. (Id. at 96 (~ 9).) Rental payments for Shanghai properties in RMB would

ordinarily have to be made onshore. As discussed above, to convert RMB into foreign exchange

for payment offshore would require SAFE approval. Moreover, value added taxes (VAT) are

also levied on rental payments in China under Chinese law. 13 It appears that the petitioner in this

case is trying to circumvent SAFE, and possibly also trying to avoid having to pay VAT.



V.      IMPLICATIONS OF THE CHINESE FOREIGN EXCHANGE CONTROL
        REGIME FOR THIS CASE

        22.      As mentioned, the award expressly calls for compensation tied to rental payments

in RMB. (Id. at 96 (~ 9).) As discussed above, I believe this scenario is expressly envisioned and

covered by Article 40 of the Regulations of the People's Republic of China on Foreign Exchange

Control, which strictly prohibits making or collecting payment in foreign exchange when

payment is due in RMB.            Thus, a PRC national, such as Mr. Ke Zhengguang, would be


13
   Provisional Regulations of the People's Republic of China on Value-added Tax, promulgated by the State Council
of PRC on Dec. 13, 1993, last amended on Nov. 19, 2017. Art. 2. (Ex. 14.)

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prohibited under China's foreign exchange control regime to be paid in USD for rent connected

to real estate in Shanghai without special approvals by Chinese regulators, and Ms. Yu would be

prohibited from making such an illegal payment.

       23.    In my opinion, the attempt that has been made here to pave the RMB

compensation called for by Order 9 paid outside of China in USD directly implicates Chinese

law and interests. A scheme to demand payment in USD for rental payments tied to Shanghai

real estate that is to be paid in RMB would be illegal under Chinese law. Further, I am of the

view that in addition to the individuals orchestrating the scheme, there is a not inconsequential

risk that others (such as Ms. Yu here) could also be implicated in administrative and possible

criminal investigations conducted by the PRC authorities. If tax evasion is also part of the

motivation for avoiding receipt of payment in China, the risk increases in my view. Pulling a

RMB revenue stream out of China without authorization by having it deposited in USD outside

of China in violation of Article 40 of the Regulations of the People's Republic of China on

Foreign Exchange Control would likely be viewed as circumvention, if not an evasion, of the

Chinese foreign exchange control currency regime, risking administrative and criminal sanction

under the authorities cited above. The intent by the petitioner to evade Chinese law would be

further evidenced if the petitioner did not accept payment in RMB for the amounts called for in

Order 9. In other words, the petitioner's insistence on payment in a non-RMB currency, while

refusing to accept RMB, would reinforce the conclusion that the petitioner's actions in this

proceeding are motivated specifically by a desire to gain the benefit of evading the PRC's

currency control laws.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



       Executed on February 15, 2019.




                                                           Richard K. Wagner




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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND

ESTATE OF KE ZHENGGUANG,

                               Petitioner,

              —against—
                                             8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                             Respondent.




                REPLY DECLARATION OF RICHARD K. WAGNER
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I, Richard K. Wagner, declare as follows:

         1.       I have reviewed the Yuan Gao Declaration of May 6, 2019 (“Gao Decl.”) and the

Ke Yeying Declaration of May 6, 2019 (“Ke Decl.”) and submit this declaration in reply to

several points that have been raised and further to Rule 44.1 of the Federal Rules of Civil

Procedure in support of the underlying litigation before the U.S. District Court for the District of

Maryland. If called forth to testify to the matters set forth in this declaration, I would be

competent to do so.

         2.       In the first part of ¶13 of the Gao Decl., Mr. Zhang’s English translation provides:

“because [Stephany Yu] is an American citizen, Chinese law has no personal jurisdiction over

her.” However, the original Chinese of the Gao Decl. is somewhat different. It provides, in

relevant part: “因第二被申请人是美国公民，除非她进入中国内地，中国法律对她个人没有

任何管辖权” (“Since [Ms. Yu] is an American Citizen, unless she enters China, Chinese law

would not have any jurisdictional power over her as an individual.”). Nonetheless and regardless

of which version of the Gao Decl. is considered (the original Chinese or the English translation by

Mr. Zhang), I see no jurisdictional issue with an arbitral enforcement action against Ms. Yu in

China.1 Foreign individuals and companies are subject to lawsuits in China all the time. I’ve been

involved in numerous cases involving American defendants in Chinese courts.                                  Foreign

defendants also do not have to be physically present in China for a Chinese court to adjudicate a




1
  In Chinese civil procedure, there are two types of jurisdiction articulated in the PRC Civil Procedure Law,
“hierarchy/grade” jurisdiction (级别管辖, in Chinese) and “place” jurisdiction (地域管辖, in Chinese).
Hierarchy/grade jurisdiction refers to the level or rank of court that may hear a particular dispute, often tied to the
amount in controversy or the subject matter of the dispute—i.e., the Supreme Court versus a High Court or an
Intermediate or District Court. Place jurisdiction generally refers to the location of the particular court, and, in
some respects, is similar to venue in the U.S. The basic rules on jurisdiction applicable to civil actions are set out
in the PRC Civil Procedure Law. These are supplemented by judicial interpretations issued by China’s Supreme
People’s Court. “Personal jurisdiction” as that term is understood in U.S. civil practice is not a developed
concept in China.


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case in which they have been named. 2 Moreover, arbitral enforcement matters with foreign

defendants are very common in China. Chinese courts have the authority to recognize and enforce

foreign arbitral awards, such as the HKIAC award that has been issued here, pursuant to Article

283 of the PRC Civil Procedure Law. I see no basis for a Chinese court refusing to exercise

jurisdiction over this case.

        3.       I disagree with Ms. Gao’s characterization in ¶5 regarding the state of arbitration

enforcement law in China. Contrary to what is suggested by the Gao Decl., there is in fact a

robust arbitration practice in China. Foreign arbitral awards are routinely enforced by Chinese

courts.3 A recent survey of foreign arbitral awards found that, from 2011 to 2015, 86.4% of

foreign arbitral awards were enforced, while the unsuccessful cases were generally denied based

on grounds allowed by the Convention.4 China became a member of the New York Convention in

1987 and entered an agreement with Hong Kong in 2000 on the mutual enforcement of arbitral

awards.5 Ms. Gao speculates that Ms. Yu may “refuse[] to enter mainland China” (Gao Decl. ¶13)

to frustrate carrying out the award.        And yet Ms. Gao offers no specifics to support these

accusations.    Quite to the contrary, Ms. Yu has already confirmed that she will submit to

proceedings in China (Yu Decl. ¶50), and as discussed above, Chinese courts would have

jurisdiction over Ms. Yu and an arbitral enforcement action.



2
 Civil Procedure Law of the People’s Republic of China, promulgated on Apr. 9, 1991, last amended on Jun. 27,
2017. Art. 265. (Ex. 1.)
3
  See, .e.g., Comments on Judicial Practice of China’s Recognition and Enforcement of Foreign Arbitral Award,
Beijing Arbitration (No. 79), Liu Guixiang, Shen Hongyu, Sept. 23, 2013, available at
https://www.ixueshu.com/document/cdacbce210912eeb318947a18e7f9386.html (PRC Supreme People’s Court
survey concluding that the recognition rate among seventeen Chinese provinces from 2002 to 2006 was
approximately 93%).
4
 Meg Utterback, et al., Enforcing Foreign Arbitral Awards in China – A Review of the Past Twenty Years, King
& Wood Mallesons - Insights (Sept. 15, 2016) (Ex. 2.)
5
 See Arrangement Concerning Mutual Enforcement of Arbitral Awards Between the Mainland and Hong Kong,
available at https://www.doj.gov.hk/eng/topical/pdf/mainlandmutual2e.pdf.


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        4.      Moreover, I understand that Ms. Yu is already taking affirmative steps in the

Chinese courts to carry out the award. Specifically, I understand that Greencourt HK filed a civil

action in the Fengxian District Court in Shanghai on April 22 seeking to effectuate one of the key

implementation problems so far; namely, transferring 80% of the ownership of the Chinese joint

venture subsidiary, SJHC, from Greencourt HK to Shibang and having this change officially

approved and registered with the PRC authorities (Yu Reply Decl. ¶ 10 & Exs. B, C.)                          I

understand this case was accepted by the Fengxian district court on May 5. (Id. Ex. B.)

        5.      In China, the PRC regulatory authorities must effect changes in the ownership of

joint venture companies of the nature of SJHC for those changes to be official.6 This requires the

submission of various forms and papers, some of which must be sealed by the local Chinese

company, here that would be SJHC. I understand that Mdms. Ke and Zhang, who control SJHC,

are not cooperating in having the majority owner in SJHC changed from Greencourt HK to

Shibang (as provided in the 2010 Agreement and which is required by the award), with the PRC

authorities (Gu Decl. ¶¶9-13). Consequently, Ms. Yu has initiated a lawsuit in China to help to

implement that aspect of the award. (Yu Reply Decl. ¶10.) Such actions are well suited for the

Chinese courts. Chinese courts have the power to issue orders that the local authorities will

respect and implement, changing the registered ownership in Chinese companies at the direction

of the court.7 On the other hand, while there are now two U.S. court commercial judgments that

have been recognized and enforced in China (one by a Chinese court in Wuhan and one by a

Chinese court in Shanghai), I am not aware of their having been a U.S. court judgment enforced in




6
 See Company Law of the People’s Republic of China, promulgated on Dec. 29, 1993, last amended on Oct. 26,
2018. Art. 32. (Ex. 3.)
7
 See Guidance on the Handling of Enforcement Cases by the People’s Courts, issued by the Supreme People’s
Court in Apr. 2017, Art. 593. (Ex. 10.)


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China in which the relief granted was injunctive.8 In any event, I do not believe a PRC company

registry authority would give much, if any, credence to a U.S. court judgment that ordered the

Chinese authorities to change and register the change in ownership of a Chinese joint venture

company like SJHC.

        6.      Ms. Gao states in ¶9 of her Decl. that the PRC foreign exchange control regime is

not implicated in this case. I disagree. The arbitration award expressly calls for payment in RMB

and expressly ties this payment to lost rent in China for commercial properties in Shanghai.

(Award, at 86-89 (¶¶ 296-303).) The arbitrators determined that Messrs. Ke and Xu were entitled

to RMB for the loss rent they would have collected had the property transactions been

implemented under the 2010 Agreement. Among the Chinese law provisions implicated here

(discussed in more detail in my prior declaration at ¶¶8-19, 22, 23), Article 40 of the Foreign

Exchange Control Regulations prohibits paying funds in foreign exchange where such funds

should be collected or paid in RMB.

        7.      Ms. Ke has suggested that the estate of decedent Ke Zhengguang is a legal entity

(Ke Decl., ¶¶4, 16-18). However, by reviewing the Letters of Administration that were issued by

the Hong Kong High Court (Yu Decl., Ex. H), the Hong Kong probate code, and the arbitration

submissions and other documents that have been submitted in this dispute, I don’t believe the so-

named “Estate of Ke Zhengguang” is properly considered a legal entity. It would appear to me

that the use of “estate” was simply an artifice for the arbitration so that the dispute could be

adjudicated by the arbitrators in the HKIAC proceedings. The Hong Kong probate law, the basis

for the issuance of the Letters of Administration, unambiguously defines an estate as “the movable

8
 Liu Li v. Tao Li and Tong Wu, (2015) Yue Wuhan Zhong Min Shang Wai Chu Zi No. 00026, the Intermediate
People’s Court of Wuhan City, Hubei Province, Jun. 30, 2017; Nalco Company v. David Chen, (2017) Hu 01 Xie
Wai Ren No. 16, the 1st Intermediate People’s Court of Shanghai, Sep. 17, 2018.




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and immovable property passing on the death of [a deceased person].”9 The “estate” here is not

properly viewed as a separate and distinct legal entity with standing to engage in or transact

business, or, for that matter, initiate litigation, in my opinion.

           8.       The position under Chinese law is very similar. Under Chinese law, an estate is

not a legal entity. Ms. Gao apparently concedes this point. (Gao Decl. ¶8.) Under Chinese law, if

a decedent dies intestate (as I understand Mr. Ke Zhengguang did here), heirs take the

assets/property of the deceased in accordance with a hierarchy of familial relations. 10 Under

Chinese law, there is no concept of an “estate” as having independent legal existence or

personality. The Chinese characters “遗产” that can be translated into English as “estate” mean

simply the assets/property of someone who has died.

           9.       In her declaration, Ms. Ke represents that the petitioner is a Hong Kong entity that

has a bank account at the Standard Chartered Bank Hong Kong (“Standard Chartered”). (Ke Decl.

¶¶16-17.) Given these representations, my colleague, Lin Yang, a native speaker of Cantonese, at

my direction, made inquiries with Standard Chartered on May 9, 2019. In response to her queries,

the Standard Chartered representative indicated that administrators for someone who has died

cannot open a bank account at Standard Chartered in the name of an estate. Moreover, according

to the representative from Standard Chartered, if someone who has a bank account at Standard

Chartered has died and the bank becomes aware of it, the bank account is frozen — meaning that

it cannot accept deposits or payments from outside. Based on the information provided by the

Standard Chartered representative, Ms. Ke and her mother, Ms. Zhang, could not have opened an

account in the name of the estate of the late Mr. Ke in Hong Kong.



9
    Hong Kong Probate and Administration Ordinance, Sec. 2. (Cap. 10), (Ex. 4, at 1-2.)
10
  Article 10, Law of Succession of the People’s Republic of China, Nat’l. People’s Cong., promulgated on Apr.
10, 1985 and effective from Oct. 1, 1985. (Ex. 5.)


                                                        6
     Case
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         10.      As to the citizenship of Ms. Ke and her mother, in paragraph 4 of her declaration,

Ms. Ke states “[w]e are not Chinese citizens, Chinese nationals, nor Chinese residents. While my

mother and I were both born in China, we both became Australian Citizens in September 2007.

China does not allow dual citizenship, so when we obtained Australian Citizenship, we gave up

our Chinese citizenship at the same time.” (Ke Decl. ¶4.) These unqualified statements are

questionable and raise questions of fact warranting further review in my opinion.

         11.      Ms. Ke describes the relinquishment of PRC citizenship as automatic upon

obtaining a foreign citizenship. 11 However, in practice, it’s a more complicated process, as

outlined below.

         12.      I understand that renouncing Chinese citizenship involves a process of citizenship

withdrawal and residence relinquishment, in which an application is made to a local public

security bureau or to the Chinese embassy or consulate if the applicant resides abroad, and a

renunciation certificate, is obtained. 12          The Ministry of Public Security is responsible for

reviewing and approving these sorts of applications, as well as issuing renunciation certificates.13

This certificate is an official document proving renunciation of Chinese citizenship. I am not

aware of Ms. Ke or Ms. Zhang having provided these certificates.

         13.      Ms. Ke’s statement about relinquishing her Chinese citizenship would also appear

to be contradicted by her use of her PRC citizen ID card in various arbitration submissions after

2007, and in connection with her businesses in the PRC. In order to participate in the arbitration



11
  The issue of dual citizenship is also referenced by the U.S. Department of State, which provides certain travel
guidance for individuals who are dual nationals of the U.S. and China. China International Travel Information,
the U.S. Dept. of State, available at https://travel.state.gov/content/travel/en/international-travel/International-
Travel-Country-Information-Pages/China.html
12
  Articles 10, 11 and 16 of the Nationality Law of the People’s Republic of China provide the basis for such
process. The Nationality Law of the People’s Republic of China, promulgated on Sept. 10, 1980. (Ex. 6.)
13
  The PRC government publishes certain guidance for the renunciation process, available at
http://www.gov.cn/fuwu/2015-11/17/content_5013454.htm.


                                                          7
     Case
      Case8:18-cv-03546-PWG
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proceedings, it appears as if Ms. Ke used her PRC citizen ID card to obtain several notarial

certificates in China in 2014 and subsequently submitted these documents to the arbitration panel.

(Yu Decl., Exs. E and F.)        These documents, with Ms. Ke’s PRC citizen ID information listed,

show Ms. Ke used her Chinese citizen identification document in 2014. Renunciation of PRC

citizenship leads to cancellation of Chinese residence (户口, in Chinese), which at the same time

revokes two identification documents: household registration record (户口本, in Chinese) and

PRC citizen ID card (中国人民共和国居民身份证, in Chinese). If Ms. Ke had given up her PRC

citizenship documents in 2007, she would not have been able to use her PRC citizen ID card, or

any Chinese identification documents, in 2014. 14

         14.     In China, the notarization process is much different than in the U.S. In the U.S., it

is a very simple process. But in China, it is much more involved, as I know from my own

personal experience.       Anyone who wants to notarize a specific document must submit an

application form, along with copies of their identification documents to obtain a notarial

certificate. In my experience, when the submission of application documents is made, the public

notary office must see the applicant’s original identification document to make sure that they are

identical with the submitted copies. The public notary office, after reviewing and confirming the

authenticity of submitted documents, issues notarial certificates within a specified period of time.

For PRC nationals, PRC citizens must present their PRC citizen ID card to the public notary office

for verification. Foreign nationals use their passports for identification verification.15 From the


14
  For example, the U.K. Government, in its official guidance about “Nationality of China”, warns its citizens
that “If you have formally renounced Chinese citizenship, we advise you to carry clear evidence that you have
done so. If you still hold 'Hukou' (household registration) in China, you may be regarded as a Chinese citizen.”
Nationality of China, U.K. Foreign and Commonwealth Office, available at
https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/553225/CSG_
Nationality_advice_in_China_201609.pdf.
15
  See, e.g., The Exit-Entry Administration Law of the People's Republic of China, promulgated on Jun. 30, 2012,
effective on Jul. 1, 2013. Art. 14. (Ex. 7.).


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     Case
      Case8:18-cv-03546-PWG
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PRC notarial certificates that Ms. Ke obtained (Yu Decl. Exs. E and F.), her PRC Citizen ID card

numbers appears on the notarial certificate, highly suggestive that Ms. Ke provided the notary

official her PRC Citizen ID card for verification.            In other words, during the notarization

application process in 2014, Ms. Ke looks to have represented herself as a PRC citizen to the

public notary office.

           15.      Publicly available corporation records in China (“AIC records”) also suggest that

Ms. Ke continues to hold herself out as a PRC citizen. The AIC records indicate that two

companies co-owned by Ms. Ke and Mr. Xu Hongbiao are registered and operated as domestic

companies.16 Under Chinese corporate law, a domestic company must be owned by either PRC

citizens and/or by other domestic Chinese companies.17 With Ms. Ke’s 50% ownership in both

companies, respectively, I do not believe these companies could be operated as domestic

companies if Ms. Ke had identified herself as an Australian citizen. 18 Since both of these

domestic companies continue to be registered and operated as domestic companies, this suggests

to me that Ms. Ke is still using her PRC identification documents in corporate filings to the

relevant PRC government authorities.          The same applies to Ms. Zhang, who solely owns and

operates a domestic company in China. (Yu Decl. ¶48 & Ex. I.)

           16.      In conclusion, I suspect that both Ms. Ke and Ms. Zhang retain their PRC citizen

documents and continue to hold themselves out as PRC citizens when there are in Mainland China.

I also strongly suspect that they have the ability to receive payments in RMB.


16
  Ms. Ke’s ownership in two Chinese companies, Shanghai Bolei Industries Co., Ltd. (上海博磊实业有限公司)
and Shanghai Lvhao Trading Co., Ltd (上海绿豪贸易有限公司), were originally held by Mr. Ke Zhengguang.
The ownership was transferred to Ms. Ke in 2015. Both companies filed annual reports with the relevant
government authorities. (Ex. 8.)
17
     See, supra note 7.
18
  See., e.g., Article 1, Law of the People's Republic of China on Chinese-Foreign Equity Joint Ventures,
Standing Comm. Of Nat’l. People’s Cong., promulgated and effective on Jul. 1, 1979, last amended on Oct 1,
2016. (Ex. 9.)


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                  EXHIBIT 11
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                                                    由 扫描全能王 扫描创建
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                  EXHIBIT 12
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Charles Michael
212 378 7604
cmichael@steptoe.com

1114 Avenue of the Americas
New York, NY 10036
212 506 3900 main
www.steptoe.com




December 31, 2018

Eva Yao
DLA Piper
36/F, Shanghai World Financial Center 100 Century Avenue, Pudong
Shanghai 200120
China

Re:      HKIAC / A13028
         Your Reference: EMY/EY/KNC/402610/1 / ASIAM/23775730.2)


Dear Ms. Yao:

         Our firm represents respondent Stephany Yu in the above arbitration.

       On behalf of Ms. Yu, I enclose a check for RMB5,173,105.5 in full satisfaction of the
remaining unpaid amount under Order No. 9 of the award dated February 28, 2018. The code to
deposit the check is



         Please do not hesitate to call or email me with any questions.

                                                      Sincerely,

                                                      /s/ Charles Michael

                                                      Charles Michael

cc:      Ernest Yang (ernest.yang@dlapiper.com)
         Andrew Chin (andrew.chin@dlapiper.com)
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                  EXHIBIT 13
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                                                                                                     Attachment (8)
                                                Civil Complaint

Plaintiff:                       Greencourt Properties Limited
Registered Address:              FLAT/RM 12,10/F, WING ON PLAZA, 62 MODY ROAD, TSIM
                                 SHA TSUI, KOWLOON, HONG KONG

Defendant 1:                     Shanghai Luting Real Estate Development Co., Ltd
Registered Address:              No. 12, Lane 218, Baziqiao Road, Fengxian District, Shanghai City
Legal Representative:            Xu Liangyan

Defendant 2:                     Xu Liangyan, male, born on November 17, 1938, ethnic Han
ID Card Number:                  31011019381117507X
Domicile:                        Room 1605, No. 2, Lane 92, Yude Road, Xuhui District, Shanghai
                                 City

Third Party:                     Shibang Company Ltd.
Place of Registration:           FlAT/RM 05-08 12F HING YIP COMMERCIAL CENTRE 272-284
                                 DES VOEUX ROAD CENTRAL HK

Claims:

1. To confirm that 80% equity of the Defendant 1 under the name of the Plaintiff belongs to the Third
    Party; Delete this claim. [signature] 04/22/2019

21. To request that the Defendant 1 to handle the filing of and registration procedures related to equity
    changes in the Administration Committee of Shanghai Fengxian District Industrial Park, Shanghai
    Fengxian District Commission of Commerce and Shanghai Fengxian District Market Supervision
    & Administration Bureau, and to change the 80% equity belonging to Defendant 1 originally
    recorded in the name of the Plaintiff to the name of the Third Party;

32. To request that the Defendant 2 carries out the relevant assistance and cooperation obligations on
    Defendant 1's handling of filing and registration procedures regarding the equity changes;

43. To request that Defendant 1 and Defendant 2 jointly bear any and all the litigation costs such as the
    case acceptance fee.

Facts and Reasons:

     Defendant 1 was a subsidiary jointly established by the Plaintiff and the outsider Shanghai Oasis
Kechuang Ecological Technology Co., Ltd.. (hereinafter referred to as “Oasis Kechuang Ecological
Technology”). The Plaintiff holds 80% equity belonging to Defendant 1 and Oasis Kechuang
Ecological Technology holds 20% equity belonging to Defendant 1. Defendant 2 is the chairman and
legal representative of Defendant 1. (see Exhibit I)
                             I hereby certify that the document attached (8) appears on the aforementioned certificate.
                             The copy of the document is consistent with the original document/affirmed copy and
                             the original document/affirmed copy are confirmed to be authentic upon my verification.

                             China-appointed attesting officer: [signature]
                             Date: April 10, 2019
                             A4

                                                             1
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[handwritten text indicated in italic]


     On July 18, 2018, the Plaintiff signed and entered into an Equity Transfer Agreement with the
Third Party, stipulating that the Plaintiff would transfer all 80% equity belonging to the Defendant 1
held by the Plaintiff to the Third Party. In order to sign and perform the aforementioned Equity
Transfer Agreement, from the shareholder's meeting with Defendant 1 a resolution was issued, and
Oasis Kechuang Ecological Technology agreed that the Plaintiff would transfer the 80% equity
belonging to Defendant 1 to the Third Party and waive their preemption rights. (see Exhibit II-V)

     In accordance with the relevant laws and regulations, Defendant 1 is obliged to handle the
corresponding filing and registration procedures for the equity transfer between the Plaintiff and the
Third Party. However, despite the fact that the Plaintiff has repeatedly communicated with Defendant
1 with regard to the filing and registration of the equity transfer, Defendant 1 has never fulfilled the
corresponding filing and registration obligations. (see Exhibit VI)

      Defendant 2, acting as the chairman and legal representative of Defendant 1, holds an
unavoidable responsibility for Defendant 1's negligence in fulfilling its statutory obligations. In
addition, Defendant 2 holds the official seal and licenses of Defendant 1, who is unable to perform the
relevant filing and registration obligations without the cooperation of Defendant 2. Therefore,
Defendant 2 shall perform the corresponding coordination and assistance obligations with regard to
the filing and registration of the equity transfer.

     For these reasons, in accordance with Articles 119 as set forth in the Civil Procedure Law of the
People's Republic of China and other applicable laws and regulations, the Plaintiff hereby files this
case to the Court for your adjudication.

      To: Fengxian People’s Court of Shanghai

                                             Plaintiff: Greencourt Properties Limited (seal)
                                                      Authorized representative: [signature]
                                                             Date: April 3, 2019
                                                                 [seal:] Greencourt Properties Limited




                                                   2
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                  EXHIBIT 14
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       List of Evidence Provided by Greencourt Properties Limited

                                       MM/DD/2019

S.N.          Name of Evidence          Page No.              Content of Evidence
 1     Articles of Association and        1-20     Greencourt Properties Limited and Shanghai
       Amendments       to    Shanghai             Oasis Kechuang Ecological Technology Co.,
       Luting Real Estate Development              Ltd. (hereafter referred to as “Oasis
       Co., Ltd. (hereafter referred to            Kechuang Ecological Technology”) are
       as “Luting”)                                shareholders of Luting, holding 80% and
                                                   20% equity of Luting respectively.


 2     Shibang Company Ltd                  21     1. Greencourt Properties and Shibang reached
       Registration Certificate                      an agreement on 80% equity transfer from
 3     On July 18, 2018, Greencourt        22-24     Greencourt Properties to Shibang.
       Properties Limited (hereafter
       referred to as “Greencourt                  2. The aforementioned equity transfer has
       Properties”) signed and entered               been approved by the Shareholders’
       into    an   Equity    Transfer               Meeting of Luting, and Oasis Kechuang
       Agreement      with    Shibang                Ecological Technology has already waived
       Company Ltd (hereafter referred               its pre-emption right;
       to as “Shibang”).
                                                   3. The Equity Transfer Contract reached and
                                                    concluded between Greencourt Properties
                                                    and Shibang shall be legal and valid, and
 4     Resolutions of the Shareholders’    25-26    Luting shall cooperate in the handling of the
       Meeting passed by Luting on                  corresponding      registration     changing
       July 18, 2018                                procedures from administrative authorities
                                                    for industry and commerce.
 5     Statement on Waiver of the          27-28
       Pre-emption Right by Oasis
       Kechuang            Ecological
       Technology on July 18, 2018


 6     E-mails, correspondences and        29-69   1. On July 19, 2018, Greencourt Properties
       attachments     sent    by    the             submitted an application to Luting,
       Plaintiff’s mandatory lawyer to               requesting them to cooperate in the relevant
       Luting and the actual controllers             equity transfer registration changing
       of Luting on July 19, 2018.                   procedures;

                                                   2. Luting has not cooperated in the handling
                                                     of the corresponding registration changing
                                                     procedures, and there is a dangerous delay
                                                     in the handling of the aforementioned
                                                     procedures.
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                                      Greencourt Properties Limited

                                      Entrusted agent:

                                                                April 1, 2019
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               绿庭置业有限公司提交之证据清单

                         2019 年[    ]月[ ]日


序号          证据名称            页码                  证明内容

  1   上海绿庭四季花城房              1-20    绿庭置业与上海绿庭科创生态科技有
      地产开发有限公司（下                     限公司（下称“绿庭科创”）为四季花城
      称“四季花城”）章程及                    的股东，分别持有四季花城 80%股权、
      历次修正案                          20%股权。



  2   世邦公司《公司注册证             21      1、 绿庭置业与世邦公司达成协议，
      书》                                由绿庭置业将其持有的四季花城
                                        80%股权转让至世邦有限公司；

  3   2018 年 7 月 18 日，绿     22-24
                                     2、 上述股权转让已经得到四季花城
      庭置业有限公司（下称
                                        股东会通过，且绿庭科创已经放
      “绿庭置业”）与世邦有
                                        弃优先购买权；
      限公司（下称“世邦公
      司”）签署的《股权转让
                                     3、 绿庭置业与世邦公司之间的《股
      合同》
                                        权转让合同》合法有效，四季花城
  4   2018 年 7 月 18 日，四     25-26
                                        应当配合完成相应的工商变更登
      季花城公司《股东会决
                                        记手续。
      定》


  5   2018 年 7 月 18 日，绿     27-28
      庭科创《放弃优先受让
      权声明》


  6   2018 年 7 月 19 日，原     29-69    1、 绿庭置业于 2018 年 7 月 19 日向
      告委托律师向四季花                         四季花城提出申请，要求其配合
      城及四季花城实际控                         办理相应的股权转让登记变更手
      制人发送的电子邮件、                        续；
      函件及附件
                                     2、 四季花城至今未能配合完成相应
                                        的变更登记手续，存在拖延办理
                                        上述手续的恶意。
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                                       绿庭置业有限公司



                                       代理人：____________________


                                                    2019 年 4 月 1 日
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                  EXHIBIT 15
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No.     1388207
No.




                                                            [signature]
                                                     Ms. Fanny Wing-chi LAM
                                                    for Registrar of Companies
                                                            Hong Kong
                                                  Director of Hong Kong Company
                                                      Registration Department
                                                (Lin Yongzhi,       Acting Director)
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                                  Letter of Resignation


To     Greencourt Properties Co., Ltd.:


The undersigned, Xu Hongbiao, hereby resigns from the office of director and all other
positions which I have held with the above company. As of the date of this letter, I shall
no longer bear and shall not be entitled to perform any of the duties and/or exercise powers
corresponding to the above positions in your company.


This letter of resignation shall become effective and irrevocable upon my signature.




                                                     Resigning person: [signature]
                                                                      Xu Hongbiao


                                                     Date: April 29, 2010
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                                  Letter of Resignation


To     Greencourt Properties Co., Ltd. :


The undersigned, Ke Zhengguang, hereby resigns from the office of director and all other
positions which I have held with the company. As of the date of this letter, I shall no
longer bear and shall not be entitled to perform any of the duties and/ or exercise powers
corresponding to the above positions in your company.


This letter of resignation shall become effective and irrevocable upon my signature.




                                            Resigning person: April 29, 2010
                                                            Ke Zhengguang
                                                                   [signature]

                                                  Date: ______________________
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              ￠


             i                  辞职 函
         扌




致    绿庭置业有 限公司       :




             骨皙

                                       。 本
       ` ,现 特 向贵 司辞去本人于贵司所担任 的董事及其他一切职务 自
本人 ,徐 宏标
                                上述职务相应的职责及/
函签署 之 日起 ,本 人将不再亦无权 再履行本人在贵 司的
或职权 。


本辞职函 自本人签署时起立即生效 ,并 不可撤
                        销。




                                                       ″
                                        辞职人:      /↑ \疗 扩弘
                                                     徐宏标



                                         日 期 :2010年 4月 ” 日
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                             辞职函


致 绿庭置业有限公司        :




本人 ,柯 铮光 ,现 特 向贵司辞去本人于贵司所担任的董事及其他一切职务 。自本
函签署之 日起 ,本 人将不再亦无权再履行本人在贵司的上述职务相应的职责及/
或职权 。


本辞职函自本人签署时起立 即生效 ,并 不可撤销 。




                                    辞职人 :⒛ 10年 4月 ⒛ 日
                                                 柯铮光
                                                           ∷
                                                            尜 亏乃钉乡庞彡

                                     日 期   :
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                  EXHIBIT 17
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                                                                                                                               Jun He Law Offices




                                                                                                                No. 288，First Shimen Road, Shanghai, China
                                                                                              26/F, Building 1, Hong Kong Xingye Center, Xingye Taikoo Hui
                                                                                                                                        Postal code: 200041
                                                                                                                                     Tel: (86-21) 5298 5488
                                                                                                                                    Fax: (86-21) 5298 5492
                                                                                                                                        junhesh@junhe.com

                 The Plaintiff -- Greencourt Properties Co., Ltd. vs. Defendant 1 -- Shanghai Luting Sijihuacheng
                                             Real Estate Development Co., Ltd.,
                                  Defendant 2 -- Xu Liangyan, and Third Person Shibang Co., Ltd.
                                             Dispute Case over Company Registration
                                         Written Agent Opinion Submitted by the Plaintiff

                                                                                                        (2019) Hu 0120 Min Chu No. 10021
        Dear Judicial Panel,

             The Shanghai Branch of Junhe Law Firm has accepted the entrustment of Greencourt Properties Co.,
        Ltd. (hereinafter referred to as “Plaintiff” or “Greencourt Properties “), and appointed lawyers Gu Yi
        and Liu Jiadi to act as the plaintiff’s agents in the case accepted by your court of dispute over the company
        registration between the Plaintiff and the Defendant 1-Shanghai Luting Sijihuacheng Real Estate
        Development Co., Ltd. (hereinafter referred to as “Defendant 1 “ or “Sijihuacheng “), the Defendant 2-
        Xu Liangyan (hereinafter referred to as “Defendant 2 “), and the Third Party Shibang Co., Ltd.
        (hereinafter referred to as “the Third Party” or “Shibang Company” [Case No.: (2019) Hu 0120 Min
        Chu No. 8611, hereinafter referred to as “this case”. On the basis of the relevant opinion expressed in the
        evidence exchange and trial organized by your court, we hereby submit the following written agent
        opinion to your court for reference when the Judicial Panel deliberates.

             The plaintiff believes that the Equity Transfer Agreement signed between the Plaintiff and the Third
        Party on July 18, 2018 (hereinafter referred to as the “Equity Transfer Agreement”) has been established
        and come into effect, and there is no case of statutory invalidity. Sijihuacheng should go through the
        corresponding registration and information reporting procedures for equity transfer changes according to
        the requirements of laws and regulations. The specific reasons are as follows:

             I.                The Equity Transfer Agreement involved in the case has been legally established and
        effective.

                1、 Other shareholders of Sijihuacheng have given up their preemptive rights.

             Sijihuacheng is a foreign-invested enterprise with a total investment of USD 12.5 million and a
        registered capital of 7.75 million yuan (unit: RMB, the same below). Before signing the Equity Transfer
        Agreement between Greencourt Properties and Shibang Company, Greencourt Properties had invested
        USD 6.2 million and held 80% equity of Sijihuacheng, while Shanghai Oasis Ecological Technology Co.,
        Ltd. (hereinafter referred to as “Oasis Technology”) invested USD 1.55 million and held a 20% equity.




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     Before the signing of the Equity Transfer Agreement involved in the case, Greencourt Properties had
obtained the consent of another shareholder of Sijihuacheng, Oasis Technology. On the same day, Oasis
Technology and Greencourt Properties jointly issued the “Resolution of the Shareholders’ Meeting”,
which clearly stated that they would give up the preemptive right of 80% equity. Therefore, all
shareholders of Sijihuacheng have clearly agreed to the equity transfer transaction involved in the case.

      2、 The Equity Transfer Agreement involved in the case did not need to be approved and
         became effective immediately.

     Before 2016, China’s laws applied the license examination and approval system to the supervision
of foreign-invested enterprises. Therefore, before 2016, equity transfer contracts involving foreign-
invested enterprises needed to be approved by the examination and approval authorities before they take
effect. As of September 3, 2016, the NPC Standing Committee passed the Decision on Amending the
Foreign-funded Enterprises Law and other four laws, which canceled the examination and approval
requirements for the establishment and change of foreign-funded enterprises that did not involve the
implementation of access management measures as stipulated by the state. Subsequently, the Ministry of
Commerce promulgated the Measures for the Administration of Filing the Establishment and Change of
Foreign-funded Enterprises, and changed the examination and approval system to the filing system.
Therefore, since September 2016, industries outside the negative list of foreign investment have
implemented the filing system, and the equity transfer agreements involving such foreign-invested
enterprises have become effective without examination and approval, and filing is only a procedural
requirement, which does not affect the validity of the equity transfer agreements.

     China implements a negative list system for the management of foreign-invested enterprises. The
industry where Sijihuacheng belongs to is the real estate industry. According to the Special Management
Measures for Foreign Investment Access (Negative List) (2018 Edition) and Special Management
Measures for Foreign Investment Access (Negative List) (2019 Edition) issued by the National
Development and Reform Commission and the Ministry of Commerce, real estate enterprises are not
included in the negative list. Therefore, the Equity Transfer Agreement involved in the case does not
belong to the scope of special access management measures and does not need to be approved by any
department.

     According to Article 32 of the Contract Law of the People’s Republic of China (hereinafter referred
to as “Contract Law”): “If the parties conclude a contract in the form of a contract, the contract shall be
established when both parties sign it or affix their seals on it.” In view of the fact that the Equity Transfer
Agreement involved in the case did not involve approval-based validation as stipulated by laws and
administrative regulations, the Equity Transfer Agreement involved in the case came into legal effect when
both parties signed it on July 18, 2018.

      3、 Whether there is a resolution of the board of directors does not affect the validity of the
         Equity Transfer Agreement involved in the case.

      （1）      The board of directors is no longer the highest authority of the Sijihuacheng

     Although according to the Articles of Association of Sijihuacheng, equity transfer matters are within
the decision authority of the board of directors. However, the above stipulations in the Articles of
Association of the Sijihuacheng have a special background. The Articles of Association of the
Sijihuacheng were formulated in accordance with the Law of the People’s Republic of China on Sino-
foreign Joint Ventures (hereinafter referred to as “Joint Venture Law”). According to the Joint Venture
Law, the board of directors is the highest authority of foreign-invested enterprises. However, since the
Foreign Investment Law of the People’s Republic of China (hereinafter referred to as “Foreign
Investment Law”) came into effect, the board of directors has been no longer the highest authority of
foreign-invested enterprises:




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     As of January 1, 2020, the Foreign Investment Law came into effect. According to the provisions of
Article 42, the Joint Venture Law has been abolished according to law; according to Article 31, “The
organization form, organization structure and activity standards of foreign-invested enterprises shall be
governed by the Company Law of the People’s Republic of China and the Partnership Enterprise Law of
the People’s Republic of China”; meanwhile, according to Article 36 of the Company Law of the People’s
Republic of China (hereinafter referred to as “Company Law”), the shareholders’ meeting is the highest
authority of a company. Therefore, at present, the highest authority in Sijihuacheng is no longer the board
of directors, but the shareholders’ meeting.

      （2）      The resolution of the board of directors is only a procedural requirement and does not affect
               the validity of the equity transfer agreement.

      Even according to the original Joint Venture Law, the power and function scope of the board of
directors does not cover the approval of the equity transfer agreement. Article 6 of the Joint Venture Law
stipulates that “The functions and powers of the board of directors are to discuss and decide all major
issues of the joint venture according to the Articles of Association of the joint venture: Enterprise
development planning, production and business activities plan, revenue and expenditure budget, profit
distribution, labor wage plan, business suspension, and appointment or employment of general manager,
deputy general manager, chief engineer, chief accountant and auditor, as well as their powers and treatment,
etc.” The above statutory power scope does not cover equity transfer matters. Moreover, the disposition
of shareholders’ equity in the joint venture belongs to the disposition scope of shareholders’ own property,
which does not belong to the major issues of the joint venture, and obviously does not belong to the
category of “all major issues of the joint venture”.

     Moreover, according to Article 6 (1) of the Joint Venture Law, “A joint venture shall have a board of
directors, the composition of which shall be negotiated by the parties to the joint venture, determined in
the contract and Articles of Association, and appointed and replaced by the parties to the joint venture”. It
can be seen from the above that the directors of Sino-foreign joint ventures are appointed by the “parties
to the joint venture”, that is, the shareholders. Therefore, the directors essentially execute the will of the
shareholders. Although it is clearly stated in the Articles of Association of Sijihuacheng that the board of
directors decides the transfer of the company’s equity, these provisions are only procedural elements,
aiming at improving the procedures for industrial and commercial change registration. Actually, according
to Article 3 of the Joint Venture Law, the Articles of Association of Sino-foreign joint ventures should be
signed by all parties (shareholders). Therefore, the Articles of Association were originally the expression
of shareholders’ intention, and all shareholders of Sijihuacheng had expressed their clear intention on the
equity transfer involved in the case. The agreement among shareholders has proved that the power of the
board of directors on equity transfer in the Articles of Association are only procedural requirements, which
cannot affect the true expression of shareholders.

     In judicial practice, in cases related to disputes over equity transfer agreements, the court also agrees:
The resolution of the board of directors in the Articles of Association of Sino-foreign joint ventures is only
a procedural requirement, and the resolution of the board of directors cannot determine the validity of the
equity transfer agreement. For example, the Shanghai No. 2 Intermediate People’s Court heard the appeal
case of equity transfer dispute between Rand Wales United Co., Ltd. and RAW Environmental Technology
(Shanghai) Co., Ltd. [Case No.: (2016) Hu 02 Min Zhong No. 10017, hereinafter referred to as “Rand
Wales case” (see Annex 1). The court held that:




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     “Although the joint venture contract and Articles of Association of RAW Company stipulate that the
transfer of the registered capital of the company must be unanimously approved by the resolution of the
board of directors. However, according to the Share Transfer Agreement and Commitment and Guarantee
provided by Chengbang Company, it shows that all three shareholders of RAW Company had no objection
to the equity transfer in this case, and all three shareholders were aware of the joint venture contract and
the Articles of Association. According to the normal process of RAW Company, after the former legal
representative Jiang Zhipeng left office, his new legal representative should convene the board of directors
to make a resolution on this matter. Therefore, it was not due to Chengbang Company that the equity
transfer involved in this case did not have the resolution of the board of directors. Although the highest
authority of RAW Company was the board of directors, the board of directors was composed of
members appointed by shareholders of all parties. Therefore, regarding the major issues of changes
in equity within the company, shareholders are the ultimate deciders, and the resolutions of the
board of directors are only procedural provisions, which do not hinder the effectiveness of the Share
Transfer Agreement involved in this case.”

     Therefore, no matter based on the source of the authority of the board of directors, the original
intention agreed in the Articles of Association of Sijihuacheng, the existing legal provisions or the existing
judicial practice, whether the board of directors of Sijihuacheng issued a resolution on the equity transfer
matters involved in the case would not affect the validity of the Equity Transfer Agreement involved in
the case.

      （3）      The board of directors of Sijihuacheng has always been lazy to perform its duties, and the
               resolutions of the board of directors are impossible to be formed.

      The board of directors of Sijihuacheng is composed of four members, but the board of directors of
Sijihuacheng does not actually have the possibility of issuing a unanimous board resolution on the Equity
Transfer Agreement involved in the case. Existing directors of Sijihuacheng include Chairman Xu
Liangyan, Director Ke Yeying, Director Ke Zhengfu and Director Xu Hongbiao. Among them, Ke
Zhengfu is Ke Yeying’s uncle; Ke Yeying became a director of Sijihuacheng on March 31, 2014 after the
death of his father Ke Zhengguang. According to Article 24 of the Articles of Association of Sijihuacheng,
“The increase and transfer of registered capital” shall be unanimously approved by the board of directors.
As far as this case is concerned, what Greencourt Properties transferred to Shibang Company is the entire
equity of Sijihuacheng held by it, which corresponds to the total registered capital of USD 6.2 million
contributed by it. According to the Articles of Association, it needs unanimous approval by the board of
directors. However, as far as the objective situation of this case is concerned, it is completely impossible
for the board of directors of Sijihuacheng to issue a unanimous resolution:

      First of all, the four directors have different opinions on the equity transfer. According to the trial
statement of Shibang Company, Xu Hongbiao does not actually hold the official seal and license of
Sijihuacheng, and he has a long-term contradiction and conflict with Ke Yeying; at the same time, Xu
Hongbiao is the legal representative of Shibang Company in this case. Shibang Company agrees with the
plaintiff’s claim in this case, and thinks that the Equity Transfer Agreement involved in the case is legal
and valid, and Sijihuacheng should go through the corresponding registration change procedures.
Therefore, Xu Hongbiao is in favor of the equity transfer involved in the case, which is obviously
inconsistent with the attitudes of the three directors Ke Yeying, Xu Liangyan and Ke Zhengfu on the
equity transfer involved in the case: Combined with the relevant opinions expressed by the two defendants
in this case, the three directors Xu Liangyan, Ke Yeying and Ke Zhengfu did not agree with the transfer,
while Xu Hongbiao agreed with the transfer. Therefore, it is impossible for the four directors to form a
unanimous resolution.




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      Secondly, the actions of the chairman of Sijihuacheng show that he will not call the board of directors
to vote on the equity transfer involved in the case. According to Article 19 of the Articles of Association
of Sijihuacheng, the board meeting is convened and presided over by the chairman. In this case, Xu
Liangyan, the chairman of the board, is the defendant in this case, and his agent has clearly stated that he
does not recognize the validity of the Equity Transfer Agreement involved in this case. Therefore, it is
impossible for him to convene the board of directors to vote on the Equity Transfer Agreement involved
in this case. In fact, regarding the equity transfer involved in the case, Greencourt Properties and relevant
actual controllers sent letters to Sijihuacheng and its directors/actual controllers on July 19, 2018, August
25, 2018 and November 8, 2019, urging relevant directors to perform their duties. However, in the past
two years, the board of directors of Sijihuacheng has not voted on the equity transfer.

      The above is sufficient to show that Sijihuacheng and its three directors Xu Liangyan, Ke Yeying and
Ke Zhengfu are actually preventing the performance of the equity transfer involved in the case in various
ways. It is impossible for the board of directors of Sijihuacheng to vote in any form on the equity transfer
involved in the case; to take a step back, even if a vote is held, the voting mechanism of the board of
directors of Sijihuacheng determines that the Equity Transfer Agreement involved in the case will not be
recognized by the board of directors under any circumstances. Therefore, under such circumstance, the
shareholders’ rights to equity transfer have been substantially deprived. If the procedural requirement of
the Articles of Association of Sijihuacheng (i.e., the resolution of the board of directors) is taken as one
of the important elements to determine the validity of the Equity Transfer Agreement involved in the case,
the interests of shareholders will be substantially damaged, and the existing shareholders of Sijihuacheng
will in fact be unable to dispose of the equity they hold at all, thus damaging the interests of shareholders.

     Based on the above, the Equity Transfer Agreement involved in the case became legally effective on
the day of signing, and whether the board of directors of Sijihuacheng expresses its intention on the equity
transfer matters involved in the case will not affect the validity of the Equity Transfer Agreement involved
in the case. The defendants in this case argued that the defense that the Equity Transfer Agreement
involved in the case was not legally effective without the approval of the board of directors should not be
adopted.

       II.      There is no statutory invalidity in the Equity Transfer Agreement involved in the
case

    1. The Equity Transfer Agreement involved in the case does not violate the mandatory legal
provisions of effectiveness.

        （1）    The defendant did not explain what mandatory provisions are violated by the Equity
               Transfer Agreement involved in the case.

     The defendant argued that according to Article 153 of General Principles of Civil Law of the People’s
Republic of China (hereinafter referred to as “General Principles of Civil Law”), “A civil legal act that
violates the mandatory provisions of laws and administrative regulations is invalid, except that the
mandatory provisions do not cause the civil legal act to be invalid”, and accordingly claimed that the
Equity Transfer Agreement involved in the case was invalid. However, the premise of Article 153 of the
General Principles of Civil Law is “violation of mandatory provisions of laws and administrative
regulations”, and the defendant has never been able to explain to the court which mandatory provisions
of laws and administrative regulations are violated by the Equity Transfer Agreement involved in the case.




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      According to Article 52 (5) of the Contract Law, a contract that violates the mandatory provisions of
laws and administrative regulations is invalid; at the same time, according to Article 14 of the
Interpretation of the Supreme People’s Court on Several Issues Concerning the Application of the Contract
Law of the People’s Republic of China (II): “Article 52 (5) of the Contract Law stipulates that ‘mandatory
provisions’ refer to effective mandatory provisions.” Combined with Article 30 of the Notice of the
Supreme People’s Court on Printing and Distributing the Minutes of the Civil and Commercial Trial Work
Conference of National Courts (hereinafter referred to as “Ninth Minutes of Civil Meeting”): “When
people’s courts try contract disputes, they should carefully judge the nature of “mandatory provisions”
according to Article 153 (1) of the General Principles of Civil Law and Article 14 of Judicial Interpretation
(II) of Contract Law, especially considering the types of legal interests protected by mandatory provisions,
legal consequences of illegal acts and transaction security protection.”

      It can be seen that whether it is based on the General Principles of Civil Law, Contract Law or Ninth
Minutes of Civil Meeting, the premise that a contract is invalid due to violation of laws and regulations is
to have corresponding “mandatory provisions” first, and the legal interests protected by these mandatory
provisions belong to the scope that the state should protect compulsorily, such as involving public order
and good customs, e.g., national security, market order, national macro policies, etc. However, as far as
this case is concerned, the defendant has never been able to explain to the court what mandatory provisions
the equity transfer transaction involved in this case violates.

      As for the so-called special tax treatment claimed by the defendant, the corresponding specification
is the Notice of the Ministry of Finance and the State Administration of Taxation on Several Issues
Concerning the Treatment of Enterprise Income Tax in Enterprise Restructuring Business (hereinafter
referred to as “No. 59 Document”). No. 59 Document does not prohibit special tax treatment transactions,
but provides corresponding guidelines for applying special tax treatment arrangements to enterprise
restructuring transactions. That is, the relevant tax treatment arrangements may apply to any transactions
that comply with the special tax treatment arrangements specified in “No. 59 Document”. Therefore, “No.
59 Document” does not deal with the validity of transactions related to enterprise restructuring, but is a
guiding document for applying special tax treatment to enterprise restructuring transactions. Transactions
that meet the corresponding requirements of “No. 59 Document” will not be deemed invalid, but will
enjoy corresponding special tax treatment policies because they meet the conditions of “No. 59
Document”. Therefore, there is no correlation between “No. 59 Document” and the effectiveness of the
Equity Transfer Agreement involved in the case.

      In addition, it is particularly important to note that although Greencourt Properties and Oasis
Technology are nominal shareholders of Sijihuacheng, the control of Sijihuacheng has already been
handed over to Ke Zhengguang and Xu Hongbiao, two participating shareholders before the signing of
the April 28 Agreement, which has been confirmed by all parties in Article 2.3.5 of the April 28 Agreement;
at the same time, the parties also made an agreement on equity transfer and custody arrangements, and
agreed on a three-year transition period of equity transfer. The considerations of all parties at that time
were: Participating shareholders would take over the Sijihuacheng in an all-round way first, and obtain
revenue through good operation of the Sijihuacheng Company, thus distributing dividends to participating
shareholders. Even if special tax restructuring applied to the equity transfer transaction involved in the
case, the tax burden incurred by participating shareholders when they dispose of the equity of Sijihuacheng
after the expiration of the three-year custody period would be sufficiently covered by the dividends
collected in the previous period, and the interests of participating shareholders would not be impaired in
any way. However, in fact, after Ke Zhengguang’s death, Sijihuacheng fell into a dispute over control
rights. Ke Yeying and his mother who inherited Ke Zhengguang’s legacy took over Sijihuacheng
completely. As the original shareholder, Xu Hongbiao could not control Sijihuacheng. There were long-
term contradictions and conflicts between the two parties, and they could not jointly operate Sijihuacheng,
which led to the failure of the original vision agreed by all parties under the April 28 Agreement. This was
entirely caused by Ke Yeying’s refusal to recognize and implement the April 28 Agreement and refuse to
implement the Hong Kong arbitration award. Even if special tax treatment is applied to the equity transfer
transaction involved in the case in the future, the resulting tax increase is the result of Ke Yeying’s own
fault, which is not related to the transaction arrangement under the Equity Transfer Agreement involved
in the case.




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      （2）      The issue of tax payment arose only after the Equity Transfer Agreement came into effect,
               and whether the tax payment is paid has nothing to do with the validity of the agreement.

     The defendant claimed that the Equity Transfer Agreement involved in the case failed to take legal
effect due to the failure of tax declaration, and such defense was putting the cart before the horse and
could not be established at all:

     First of all, the tax verification occurred after the Equity Transfer Agreement came into effect and
when the registration change was handled. According to Article 3 of the Notice of the State Administration
of Taxation on Several Tax Issues Concerning the Implementation of the Enterprise Income Tax Law (Guo
Shui Han [2010] No. 79): “With respect to the confirmation and calculation of equity transfer income,
when an enterprise transfers its equity, the realization of income from equity transfer shall be
confirmed when the transfer agreement comes into effect and the formalities of equity change are
completed. The income from the transfer of equity is the income from the transfer of equity after
deducting the cost incurred for obtaining the equity. When calculating the income from equity transfer, an
enterprise shall not deduct the amount that may be distributed according to the equity in the retained
earnings of shareholders such as undistributed profits of the invested enterprise.” Therefore, according to
tax practice, the entry into force of the equity transfer agreement comes first, and the income from equity
transfer is confirmed (i.e., tax verification) comes later. Moreover, only when the equity transfer
agreement is registered for transfer will the tax amount be confirmed. Therefore, whether the equity
transfer transaction is tax-paid or not has nothing to do with the effectiveness of the equity transfer
agreement. On the contrary, only when the equity transfer agreement becomes effective according to law
and changes are registered, the tax verification issue will arise.

     Secondly, the amount of tax verification depends on the tax authorities’ determination of the actual
value of the target company’s equity, and does not depend on the agreement on equity transfer price in the
parties’ transfer agreement. The equity transfer transaction involved in the case is an internal
reorganization of the enterprise. During the trial, the defendant also acknowledged that the equity transfer
transaction involved in the case was part of the reorganization of the whole Oasis Investment enterprise.
Such equity transfer transaction is special. Whether the special tax treatment in Document No. 59 can be
applied, and how and how much the tax incurred should be borne do not depend on the provisions of the
Equity Transfer Agreement involved in the case. The verification of tax amount by Chinese tax authorities
is not affected by the transaction price agreed in the contract between the parties, and the tax authorities
usually verify the tax income from the transaction according to the fair value.

     To give a simple example, there are a large number of “one yuan” consideration transactions in
practice, but when the tax authorities actually verify the tax, they will never recognize “one yuan” as the
taxable income, but will determine it according to the fair value. The “one yuan” transfer transaction
between the parties does not violate any tax laws and regulations, nor will it of course be recognized as
invalid. Similarly, as far as the equity transfer transaction involved in the case is concerned, the value of
the equity transfer transaction determined by the parties is USD 6.2 million, and the consideration for the
equity transfer is only the agreement reached between the parties on the equity value of Sijihuacheng, and
is not equivalent to the actual value of the equity of Sijihuacheng.

     Furthermore, at this stage, only Sijihuacheng has mastered the actual value of its equity, and neither
Greencourt Properties nor Shibang Company has mastered it, so it is impossible to confirm the equity
transfer price according to its actual equity value. In fact, according to Paragraph 4 of the Hong Kong
Arbitration Award, the arbitral tribunal ordered the applicants (i.e. the heir to Ke Zhengguang’s legacy
and Xu Hongbiao) to provide an audit report (i.e. the audit report of Sijihuacheng) to the relevant
examination and approval authority within 2 months from the date of the award. The purpose of the award
order is to determine the equity value of Sijihuacheng for the examination and approval authority to
approve the tax accordingly. However, up to now the actual controller of Sijihuacheng still has failed to
provide the corresponding audit report according to the ruling content, leading to the failure to complete
the tax verification for the equity transfer transaction involved in the case, the responsibility of which
should be borne by Sijihuacheng and its actual controller.




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      Finally, it should be emphasized that: In any case, the tax verification of the equity transfer
transaction by the tax authorities has never been an effective element of the equity transfer contract, and
the fact that the tax for the equity transfer transaction involved in the case has not been paid does not affect
the legal validity of the equity transfer transaction involved in the case. The defendant’s claim that the
equity transfer transaction is invalid is based on the fact that the tax verification has not been completed,
which not only has no legal basis, but also does not conform to the basic business logic.

     2. The equity transfer transaction involved in the case does not harm the legitimate interests
of any party

     The defendant claimed that the equity transfer transaction involved in the case harmed the legitimate
interests of Sijihuacheng and its actual controller, which led to invalidity, and his claim could not be
established at all:

      （1）       Participating shareholders never proposed that the establishment of Shibang Company was
                inconsistent with the agreement at the arbitration stage.

     Shibang Company was established on November 5, 2009, earlier than April 28, 2010, the signing
date of the April 28 Agreement. Moreover, when Shibang Company was founded, Xu Hongbiao and Ke
Zhengguang were both directors of Shibang Company. When the April 28 Agreement was signed, both
Ke Zhengguang and Xu Hongbiao knew clearly that subject establishing Shibang Company was
Greencourt Properties, not Oasis Investment.

     The defendant stated in the trial that Ke Zhengguang was only a director, not a shareholder, and could
not prove that Ke Zhengguang knew the subject of the establishment of Shibang Company. However, the
defendant’s defense could not be established at all, and violated the basic business logic—Shibang
Company is an important part of 80% equity transfer, so Ke Zhengguang could not confirm the
corresponding transaction structure in the April 28 Agreement without even knowing the shareholders of
Shibang Company. Moreover, neither Sijihuacheng nor Ke Yeying are the signatories of the April 28
Agreement, so obviously there is no reasonable basis to infer that Ke Zhengguang was not clear about the
true shareholders of Shibang Company.

      In fact, Order No. 6 of the Hong Kong Arbitration Award requires the controlling shareholder to urge
Greencourt Properties to transfer 80% equity of Sijihuacheng to Shibang Company, which is in line with
the arbitration request put forward by the participating shareholders and consistent with the April 28
Agreement. If the participating shareholders think that the establishment of Shibang Company does not
conform to the April 28 Agreement and that such equity transfer matters do not conform to the interests
of participating shareholders, they should have raised them in the process of arbitration. Moreover, judging
from the opinions expressed by Shibang Company in the trial, Xu Hongbiao, its legal representative in
this case, never thought that Shibang Company’s establishment did not conform to the April 28 Agreement,
and Ke Yeying was not a party to the April 28 Agreement, so his opinions are inconsistent with both logic
and facts, and obviously should not be accepted.




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      Moreover, the arbitration case in Hong Kong lasted for more than five years, with the case filed in
2013 and an award made in 2018. During the five-year arbitration process, Ke Yeying never put forward
that the establishment of Shibang Company did not comply with the April 28 Agreement, and it was not
until the controlling shareholder executed the arbitration award order that he put forward this opinion,
trying to create obstacles to the implementation of the Equity Transfer Agreement involved in the case.
On the one hand, Ke Yeying argued in this case that the establishment of Shibang Company did not
conform to the agreement, on the other hand, he tried to apply for enforcement of Hong Kong arbitration
award in the United States, and his behaviors are obviously contradictory.

     In view of the fact that the Hong Kong arbitration award has made a binding award on the equity
transfer involved in the case, all parties should implement it. The transfer of 80% equity of Sijihuacheng
by Greencourt Properties to Shibang Company complies with the April 28 Agreement and the
requirements of the Hong Kong arbitration award, and will not cause damage to the interests of any party.

      （2）      Sijihuacheng does not have the subject qualification to claim that the Equity Transfer
               Agreement involved in the case is invalid.

      As the defendants confirmed in the trial, the equity transfer transaction involved in the case is one of
the transaction arrangements by the controlling shareholders (Yu Naifen, Yu Naijun and Yu Naiwen) and
the participating shareholders (Ke Zhengguang and Xu Hongbiao) of Oasis Investment Group (hereinafter
referred to as “Oasis Investment”) to carry out enterprise restructuring. The equity transfer transaction in
this case belongs to the Agreement on Implementing the Preliminary Agreement on Share Restructuring
(hereinafter referred to as April 28 Agreement) signed by the parties on 28 April 2010. In fact, the
establishment of Shibang Company, Xiying International Group Co., Ltd. and Focus Town Limited are
all part of the whole debt restructuring transaction, and they are inseparable.

      It is worth noting that Sijihuacheng is not a party under the April 28 Agreement. Therefore, in this
case, Sijihuacheng’ claim that the equity transfer transaction involved in the case harms the interests of
Sijihuacheng and violates the April 28 Agreement cannot be established. Since it is not a party to the April
28 Agreement, it obviously should not have the right to explain the meaning of the terms of the April 28
Agreement, nor should it have the qualification to review and put forward an opinion on the performance
of all parties. Sijihuacheng is only the subject of transactions between the shareholders of all parties, and
the content of the disposition of the shareholders’ own assets. As a target company, there is no interest
relationship between Sijihuacheng and its shareholders’ equity transfer agreement. Sijihuacheng will not
suffer any interest damage due to equity transfer between the shareholders, and it has no right to claim
that the Equity Transfer Agreement involved in the case is invalid or violates the April 28 Agreement.

      （3）      Xu Hongbiao is also a participating shareholder, but he does not thinks that the Equity
               Transfer Agreement involved in the case harms his interests.

     Xu Hongbiao is also a participating shareholder, but he does not thinks that the Equity Transfer
Agreement involved in the case harms his interests. During the trial of this case, the Plaintiff asked the
agent of Shibang Company whether Xu Hongbiao, the legal representative of Shibang Company in this
case, thought that the equity transfer involved in the case harmed his interests. The agent of Shibang
Company replied that Xu Hongbiao did not think that the Equity Transfer Agreement involved in the case
harmed his interests. Moreover, even without considering the reply from the agent of Shibang Company,
from an objective point of view, if Xu Hongbiao thinks that the Equity Transfer Agreement involved in
the case harms his interests, Shibang Company will not bring a lawsuit or sign the Equity Transfer
Agreement involved in the case at all.




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      In the Hong Kong arbitration case, Xu Hongbiao and Ke Zhengguang were both applicants in the
arbitration case, which is sufficient to show that Ke Zhengguang and Hong Xu’s position and interests are
generally consistent. However, Xu Hongbiao, as the legal representative of Shibang Company, obviously
holds the same position as Shibang Company, that is, he recognizes the legal validity of the equity transfer
transaction, and does not think that the equity transfer transaction damages any of his interests. As a
participating shareholder, Xu Hongbiao’s position expressed by Shibang Company in this case is
sufficient to prove: Ke Yeying’s so-called defense that the Equity Transfer Agreement damages the
interests of participating shareholders can’t represent the positions and interests of all participating
shareholders.

      （4）       Ke Yeying does not have the qualification to put forward relevant claims in this case.

     Sijihuacheng claims that the equity transfer transaction involved in the case is invalid because it
damages Ke Yeying’s interests and causes Ke Yeying’s future tax increase. However, Ke Yeying is not a
party to this case at all, and Sijihuacheng does not have the basis for putting forward relevant claims on
behalf of Ke Yeying in this case.

      Moreover, Ke Yeying is not even a party under the April 28 Agreement. Ke Yeying is only the estate
administrator of Ke Zhengguang, and does not of course replace Ke Zhengguang as a party under the
April 28 Agreement. Proceeding from his own interests, Ke Yeying maliciously interpreted the April 28
Agreement, refused to recognize the relevant transaction arrangements confirmed by his father under the
April 28 Agreement, and tried to change his father’s intention under the April 28 Agreement. In fact, he
tries to harm the legitimate interests of all other shareholders in order to realize his private interests.

     Therefore, Ke Yeying is not a party under the April 28 Agreement, and has not participated in the
signing and implementation of the April 28 Agreement, but only participated in arbitration as Ke
Zhengguang’s estate administrator, who does not of course inherit Ke Zhengguang’s subject position
under the April 28 Agreement, and has no right to change Ke Zhengguang’s expression of intention,
explain the contents of the April 28 Agreement, and challenge the controlling shareholder’s
implementation of the April 28 Agreement.

     III.       The equity transfer transaction involved in the case is in full compliance with Article
2.3.1 of the April 28 Agreement and the arbitral award order.

     Essentially, it was to execute the fifth order of the arbitral award that the Plaintiff brought this lawsuit.
According to the fifth order of the arbitral award, the arbitral tribunal “ordered the first respondent (i.e.,
Oasis Investment and its controlling shareholder) to arrange and urge Shibang Company (within 2 months
from the date of the award) to acquire 80% of the equity of Sijihuacheng held by Greencourt Properties,
a subsidiary of the first respondent. (Article 2.3.1 of the April 28 Agreement)”.

     According to article 2.3.1 of the April 28 Agreement: “Oasis Investment has newly established
Shibang Co., Ltd. in Hong Kong, and has arranged Shibang Company to acquire 80% equity of Shanghai
Luting Sijihuacheng Real Estate Development Co., Ltd. (hereinafter referred to as ‘Sijihuacheng’) held
by Greencourt Properties Co., Ltd., a Hong Kong subsidiary of Oasis Investment. After the completion of
such equity acquisition, Oasis Investment shall sign an Equity Purchase Right Agreement with Xiying
International Group and Focus Town Limited, to stipulate that after the expiration of the custody period
agreed in the following paragraph 2.3.2, 100% equity of Shibang Company will be transferred to Xiying
International Group Co., Ltd. and Focus Town Limited at a consideration of HK$ 1.”




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     In the above clause, “Oasis Investment has newly established Shibang Co., Ltd. (Shibang Company)
in Hong Kong” does not mean that Oasis Investment directly established Shibang Company. In fact, Oasis
Investment newly established Shibang Company through its 100% shareholding in Greencourt Properties.
Under such circumstance, Oasis Investment indirectly holds 100% equity of Shibang Company. Therefore,
according to the facts, the statement in the April 28 Agreement that “Oasis Investment has newly
established Shibang Co., Ltd. (Shibang Company) in Hong Kong is not contrary to the actual situation.

      What’s more, the evidence submitted by the Plaintiff shows that Shibang Company was established
on November 5, 2009, earlier than the signing date of the April 28 Agreement on April 28, 2010; moreover,
when Shibang Company was founded, Xu Hongbiao and Ke Zhengguang were both directors of Shibang
Company. When the April 28 Agreement was signed, both Ke Zhengguang and Xu Hongbiao knew clearly
that the subject establishing Shibang Company was Greencourt Properties, not Oasis Investment. During
the trial, the defendant stated that Ke Zhengguang was only a director, not a shareholder, and could not
prove that Ke Zhengguang knew the subject establishing Shibang Company. However, the defendant’s
defense could not be established at all, and violated the basic business logic-Shibang Company is an
important part of 80% equity transfer, so Ke Zhengguang could not confirm the corresponding transaction
structure in the April 28 Agreement without even knowing the shareholders of Shibang Company.
Moreover, neither Sijihuacheng nor Ke Yeying are the signatories of the April 28 Agreement, so obviously
there is no reasonable basis to infer that Ke Zhengguang was not clear about the true shareholders of
Shibang Company.

      Moreover, Xu Hongbiao, who is also a director and shareholder of Shibang Company and a signing
subject of the April 28 Agreement, does not deny this fact. He agrees with the plaintiff’s claim in this case,
that is, at the beginning of the signing of the April 28 Agreement, he certainly knew that Shibang Company
was established by Greencourt Properties. Therefore, Xu Hongbiao’s confirmation made by Shibang
Company can fully prove that the establishment of Shibang Company does not violate the April 28
Agreement.

     In fact, when Ke Zhengguang and Xu Hongbiao applied for arbitration, they specifically claimed in
the fourth arbitration request that Shibang Company should acquire 80% equity of Sijihuacheng held by
Greencourt Properties. In particular, Ke Zhengguang (changed to his estate administrator after his death)
entrusted a Hong Kong barrister to participate in the whole trial in the Hong Kong arbitration case. The
80% equity transfer involved in the case was an important controversial focus in the arbitration case.
Whether the establishment of Shibang Company is in line with the interests of participating shareholders
and whether the equity transfer can realize the rights and interests of participating shareholders under the
April 28 Agreement is obviously related to the vital interests of participating shareholders. Neither Ke
Zhengguang nor his lawyers could require the equity transfer as agreed in 2.3.1 without even finding out
the subject establishing Shibang Company.

      Therefore, the defendant’s claim that Ke Zhengguang didn’t know about the establishment of
Shibang Company and the establishment of Shibang Company didn’t conform to the April 28 Agreement
is obviously inconsistent with the objective facts and basic business logic, and it is also contrary to the
arbitration request put forward by Ke Zhengguang in arbitration cases, which obviously violates the
principle of good faith.




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     IV.       The US litigation procedure should not prevent the equity transfer transaction in
this case from completing the change registration.

     The Memorandum Opinion of the American Court submitted by the defendant has no legal effect.
Moreover, any rulings and orders of American courts do not of course have legal effect in China. What’s
more, judging from the contents of the Memorandum Opinion, the content discussed in the full text of the
document is only Paragraph 9 of the arbitral award on whether the monetary payment obligation can be
implemented, and does not involve the equity transfer of Sijihuacheng. Moreover, judging from the
content of the Memorandum Opinion, the US court only expresses the opinion that the arbitration award
involved in the case is enforceable in the United States. However, this cannot be equated with the US
court denying the enforcement of the arbitration award in other jurisdictions. In fact, according to our
understanding, American judges have clearly indicated to all parties that Hong Kong arbitral award can
of course be enforced in other jurisdictions.

      In fact, the Plaintiff and its actual controller have always actively promoted the follow-up
enforcement of the Hong Kong arbitral award in China, and the American court’s order has no right to
interfere with the jurisdiction of Chinese courts in this case. China and the United States are both members
of the Convention on the Recognition and Enforcement of Foreign Arbitral Awards (hereinafter referred
to as “New York Convention”), and Chinese courts are also entitled to accept applications for
enforcement of Hong Kong arbitral awards. Under such circumstance, after the signing of the Equity
Transfer Agreement and the refusal of Sijihuacheng to perform the corresponding change registration
obligations, Greencourt Properties chose to file a lawsuit with the court to require Sijihuacheng to perform
the corresponding change registration procedures, which is not contrary to the Hong Kong arbitration
award and does not conflict with the legal procedures in the United States. Moreover, even if Hong Kong
arbitration award is not considered, after equity transfer among the shareholders of the target company,
the target company originally has the responsibility to perform the change registration. When the dispute
arises due to non-cooperation of the target company, the Chinese courts certainly have the jurisdiction to
decide on the registered items of equity change.

      As for the relevant procedures in the American court, it is completely the relevant legal action put
forward by Ke Yeying for creating obstacles to the performance of the Hong Kong arbitral award. The
purpose is to create the illusion that controlling shareholders such as Oasis Investment and Yu Naifen do
not perform the arbitral award, and to seek corresponding monetary compensation from or corresponding
punishment for Oasis Investment and Yu Naifen in the American court. This obviously violates the
principles of fairness, honesty and credit, and should not be supported by your court. In addition,
objectively speaking, the American court obviously don’t understand Chinese laws. If equity transfer
matters involving Chinese companies are implemented in the United States, unnecessary conflicts such
as law application and tax supervision will inevitably arise, and the equity transfer transactions involved
in this case are not suitable for implementation in the United States.

     In addition, objectively speaking, the target of the equity transfer transaction involved in the case is
a foreign-invested enterprise in China, and the corresponding industrial and commercial change
registration procedures can only be completed in China. This case is a company change registration
dispute. Even if the American court holds that the arbitral award is enforceable, the corresponding
company change registration procedure obviously cannot be completed in the United States. For example,
Ke Yeying does not recognize the Equity Transfer Agreement involved in the case, refuses to arrange
Sijihuacheng under his control to handle the corresponding change registration, and seeks to solve the
corresponding problems in the US court, which will lead to the vicious circle of the equity transfer
involved in the case-the US court cannot implement the industrial and commercial change registration of
Sijihuacheng, which will also cause the equity transfer transaction involved in the case never to be
completed, which obviously violates the original intention of the April 28 Agreement: According to the
April 28 Agreement, 100% equity of Sijihuacheng is one of the consideration paid by the controlling
shareholder to the participating shareholders, and taking these equity as one of the transaction
considerations is also the requirement of the participating shareholders, which meets the interests of the
participating shareholders. However, after Ke Zhengguang’s death, Ke Yeying tries to change the
agreement reached by all parties and force the implementation of the Sijihuacheng equity transfer
transaction in the United States, which is an “impossible task”. Ke Yeying’s mentality of trying to obstruct
the implementation of the April 28 Agreement and refusing to recognize the Hong Kong arbitration award




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is obvious, and his actions obviously should not be supported by the court.

     V.         The defendant’s defense of the order of performance of the award cannot be
established.

      According to Order No. 5 of the Hong Kong arbitration award, Oasis Investment should urge and
arrange Shibang Company to acquire 80% equity of Sijihuacheng held by Greencourt Properties within 2
months from the date of the award; according to Order No. 6, Oasis Investment and its participating
shareholders should sign and urge its subsidiary Greencourt Properties to jointly sign the equity purchase
right agreement and custody agreement of Shibang Company within 2 weeks from the date of the award.

     Although there are corresponding time limit requirements in the above award, these time limit
requirements are not the order of performance of the award obligations. The equity transfer of
Sijihuacheng is a foreign-related equity transfer, and involves the registration and filing procedures for
industrial and commercial changes (the filing system is still applicable when the arbitral award was made),
which will take a relatively long time, so the arbitral tribunal set a two-month period; however, as far as
the signing of the equity purchase right agreement and the custody agreement is concerned, its
performance is relatively simple, and it can be completed only by completing the agreement and sealing
it by all parties. Therefore, the arbitration tribunal set a time limit of 2 weeks. Therefore, the above-
mentioned time requirement is not the order of performance of the award, but a reasonable time limit
based on the difficulty of performance of the award obligations and for the purpose of urging the
performance of the award obligations as soon as possible.

     In addition, paragraph 245 of the arbitral award clearly identifies the signing sequence of the relevant
equity transfer, equity purchase right agreement and custody agreement involved in the award. According
to paragraph 245:

     “With regard to Articles 2.3.1 to 2.3.3, the arbitral tribunal believes that the equity transfer of
Sijihuacheng includes the following three steps to be performed:
     “(1) Firstly, Shibang Company established by Oasis Investment will acquire 80% equity of
Sijihuacheng held by Greencourt Properties (referred to as “the first step of 80% equity transfer”)
     (2) Secondly, Oasis Investment will transfer the equity of Shibang Company to Xiying International
and Focus Town owned by the first and second applicants respectively (referred to as “the second step of
80% equity transfer”)”.

     In view of this, it can be seen from the above paragraph 245 that the time requirements in the orders
of the arbitral tribunal are not to create the order of performance of the award, only the content of
paragraph 245 is the requirement of the order of performance of the corresponding obligations of the
award, that is, 80% of the equity transfer of Sijihuacheng should be completed in the first step.

     In addition, in fact, the controlling shareholder had already sent the purchase right agreement and
custody agreement to the participating shareholders for their review, which is also recognized by Shibang
Company and its legal representative. However, because Ke Yeying has always refused to express his
opinions on the signing of the purchase right agreement and custody agreement, the purchase right
agreement and custody agreement cannot be promoted. On the one hand, Ke Yeying argued that this case
did not meet the execution conditions because it did not sign the purchase right agreement and custody
agreement, on the other hand, he refused to cooperate with the signing of the purchase right agreement
and custody agreement, and implemented “double standards”, which further proved Ke Yeying’s intention
of refusing to perform the April 28 Agreement and not executing the Hong Kong arbitration award.




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     VI.        The two defendants have the legal obligation to complete the change registration.

     1、 The Defendant 1 has the legal obligation to handle the change registration.

     According to Article 32 (3) of the Company Law: “The company shall register the names of
shareholders with the company registration authority; if the registered items are changed, the change
registration shall be handled. In the absence of registration or change registration, no action may be taken
against a third party.” Therefore, after the change of shareholders, the company has the legal obligation to
register the change. Meanwhile, according to Article 26 of the Regulations of the People’s Republic of
China on the Administration of Company Registration: “If a company changes its registered items, it shall
apply to the original company registration authority for change registration.” As far as this case is
concerned, the registration authority of Sijihuacheng is Shanghai Fengxian District Market Supervision
Administration (hereinafter referred to as “Fengxian District Supervision Administration”). Therefore,
the Defendant 1 should handle the corresponding change registration with Fengxian District Supervision
Administration regarding the equity transfer involved in the case.

     In addition, according to the above-mentioned Article 32 (3) of the Company Law, “In the absence
of registration or change registration, no action may be taken against a third party”, the Plaintiff is now
no longer a shareholder of Sijihuacheng. However, the Plaintiff has always been mistakenly registered as
a shareholder of Sijihuacheng, and the defendant has been slow to fulfill the corresponding change
registration obligation, leading to the Plaintiff facing corresponding legal risks (such as being investigated
for corresponding shareholder responsibilities by creditors of Sijihuacheng) and causing damage to the
plaintiff’s interests.

     2、 The Defendant 1 shall fulfill the obligation of information reporting.

     According to Article 34 of the Foreign Investment Law which came into effect on January 1, 2020:
The state establishes an information reporting system for foreign investments. Foreign investors or
enterprises with foreign investments shall submit investment information to the competent commercial
department through the enterprise registration system and the enterprise credit information publicity
system.

     Meanwhile, according to Article 11 of the Measures for Reporting Foreign Investment Information,
which came into effect on the same day, after the initial information of foreign-invested enterprises has
changed, “foreign-invested enterprises should submit change reports through the enterprise registration
system when they apply for enterprise change registration (filing)”; according to Article 12: “When a
foreign-invested enterprise submits a change report, it shall submit the changes in the basic information
of the enterprise, the information of investors and their actual controllers, and the information of
investment transactions.”

     In view of the fact that the shareholders of the Defendant 1 have changed, the Defendant 1 should go
through the information reporting procedures according to the above requirements, that is, submit the
change report through the enterprise registration system when registering (filing) the enterprise change.




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      3、 The Defendant 2 has the corresponding obligation of assistance and cooperation.

      （1）       Regarding the cooperation and assistance obligation in the enterprise change registration

     According to Article 27 of the Regulations of the People’s Republic of China on the Administration
of Company Registration: When applying for change registration, a company shall submit the following
documents to the company registration authority: (1) the application for change registration signed by
the legal representative of the company; (2) the change resolution or decision made in accordance with
the Company Law;(3) other documents required by the State Administration for Industry and Commerce.
If the company change registration items involve revisions of the articles of association, the revised
articles of Association or amendments to the articles of Association signed by the legal representative
of the company shall be submitted. If the change registration items are subject to approval before
registration in accordance with laws, administrative regulations or decisions of the State Council, relevant
approval documents shall also be submitted to the company registration authority. In addition, in the
process of enterprise change registration, the registration authority will also require the enterprise to
submit a power of attorney and an application for registration with the official seal of the company.
Meanwhile, if the shareholder change registration of a foreign-invested enterprise also involves the change
of business license, it should also submit the original business license.

     In view of the fact that the Defendant 2 Xu Liangyan is the legal representative of Sijihuacheng, and
has expressed his intention on behalf of Sijihuacheng, he should hold the corresponding original business
license and official seal of Sijihuacheng. When handling the industrial and commercial change registration
of Sijihuacheng, Sijihuacheng should submit the corresponding application registration documents signed
by the legal representative or stamped with the official seal of Sijihuacheng, and provide the original
business license. If the Defendant 2 fails to perform the corresponding assistance and cooperation
obligations, Sijihuacheng will not be able to complete the corresponding industrial and commercial
change registration. In view of this, the Defendant 2 should fulfill the corresponding obligation of
assistance and cooperation in handling enterprise change registration of Sijihuacheng.

      （2）       Regarding the obligation of cooperation and assistance in information reporting

     As mentioned earlier, according to Article 11 of the Measures for Reporting Foreign Investment
Information, foreign-invested enterprises should submit change reports through the enterprise registration
system when they register (file) the changes of enterprises.

      The registration system for enterprises in Shanghai to handle such information reports is “Shanghai
Unified Online Government Service” (website: http://yct.sh.gov.cn/netdzhy/login/loginSww.do ).
According to the information displayed on the home page of the system, to handle the information
reporting, it is necessary “for the target enterprise to log in to the reporting interface using the legal person-
certificate, electronic business license, enterprise identity verification, etc., and submit the change report.

     As the Defendant 2 is the legal representative of Sijihuacheng, he should hold the necessary
documents such as legal person certificate and electronic business license. If the Defendant 2 fails to fulfill
the corresponding obligation of assistance and cooperation, Sijihuacheng will not be able to fulfill the
corresponding obligation of information reporting. In view of this, the Defendant 2 should handle the
corresponding information reporting on Sijihuacheng and fulfill the corresponding obligation of
cooperation and assistance.




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     To sum up, the plaintiff’s claim has sufficient factual basis and legal basis, and the Plaintiff requests
your court to support all the plaintiff’s claims according to law on the basis of finding out the facts, so as
to safeguard the legitimate rights and interests of the plaintiff.

    To
Shanghai Fengxian District People’s Court
                                                                          Greencourt Properties Co., Ltd.

                                                                              _______________________
                                                                            Lawyer Gu Yi/Lawyer Liu Jiadi
                                                                                           May 28, 2020




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            原告绿庭置业有限公司与被告一上海绿庭四季花城房地产开发有限公司、
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                        公司登记纠纷案件
                                               原告提交之书面代理意见


                                                                         （2019）沪 0120 民初 10021 号


   尊敬的合议庭，

      君合律师事务所上海分所接受绿庭置业有限公司（下称“原告”或“绿庭置业”）
   的委托，指派本所顾依律师及刘佳迪律师，在贵院受理的原告与被告一上海绿庭
   四季花城房地产开发有限公司（下称“被告一”或“四季花城”）、被告二许良彦（下
   称“被告二”）、第三人世邦有限公司（下称“第三人”或“世邦公司”）之间的公
             （2019）沪 0120 民初 8611 号，下称“本案”]中，作为原告
   司登记纠纷案件[案号：
   的代理人。在我们于贵院组织的证据交换及庭审中发表的相关意见基础上，我们
   向贵院提交如下书面代理意见，供合议庭评议时参考。


     原告认为，原告与第三人之间于 2018 年 7 月 18 日签署的《股权转让协议》
   （下称“案涉股权转让协议”）已经成立并生效，且不具备法定无效情形，四季花
   城应当按照法律法规的要求，依法办理相应的股权转让变更登记及信息报告手续。
   具体理由如下：


           一、案涉股权转让协议已经合法成立且生效


           1、 四季花城其他股东已经放弃优先购买权


           四季花城为外商投资企业，投资总额共计 1250 万美元，注册资本为 775 万

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元（单位：人民币，下同）。绿庭置业与世邦公司签署《股权转让协议》之前，绿
庭置业出资 620 万美元，持有四季花城 80%股权，上海绿庭科创生态科技有限公
司（下称“绿庭科创”   ）出资 155 万美元，持股 20%。


  案涉股权转让协议签署之前，绿庭置业已经就该等股权转让事宜取得四季花
城另一股东绿庭科创的同意，绿庭科创也已于同日与绿庭置业共同出具《股东会
决定》，明确表示放弃 80%股权的优先购买权。因此，四季花城的全部股东对于案
涉股权转让交易均已经明确表示同意。


   2、 案涉股权转让协议无需审批，成立即生效


    2016 年之前，我国法律对于外商投资企业的监管适用许可审批制，因此，在
2016 年之前，涉及外商投资企业的股权转让合同需要经审批机关批准后才生效。
至 2016 年 9 月 3 日，全国人大常务委员会通过了《关于修改<外资企业法>等四
部法律的决定》，将不涉及国家规定实施准入管理措施的外商投资企业设立及变
更事项取消审批要求，随后，商务部公布《外商投资企业设立及变更备案管理办
法》，将审批制改为备案制。因此，2016 年 9 月后，外商投资负面清单之外的行
业执行备案制，涉及该等外商投资企业的股权转让协议不再是经审批生效，备案
仅为程序性要求，不影响股权转让协议的效力。


   中国对于外商投资企业的管理执行负面清单制度，四季花城所在行业为房地
产行业，根据国家发展和改革委员会及商务部发布的《外商投资准入特别管理措
施(负面清单)(2018 年版)》及《外商投资准入特别管理措施(负面清单)(2019 年版)》，
房地产企业均不属于负面清单之列。因此，案涉股权转让协议并不属于特别准入
管理措施范畴，不需要取得任何部门的审批。


   根据《中华人民共和国合同法》
                （下称“《合同法》”
                         ）第三十二条规定：
                                 “当事
人采用合同书形式订立合同的，自双方当事人签字或者盖章时合同成立。”鉴于案
涉股权转让协议并不存在法律行政法规规定的审批生效情形，因此，案涉股权转
让协议已于 2018 年 7 月 18 日双方签署时发生法律效力。


   3、 有无董事会决议均不影响案涉股权转让协议的效力


   （1） 董事会已不是四季花城的最高权力机构


  尽管根据四季花城章程，股权转让事项属于董事会的决定权限范围。然而，
四季花城章程的上述约定具有特殊的背景。四季花城章程依据《中华人民共和国



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中外合资经营企业法》 （下称“《合资企业法》”）制定，根据《合资企业法》，董事
会是外商投资企业的最高权力机构。然而，  《中华人民共和国外商投资法》 （下称
“《外商投资法》”）生效后，董事会已经不再是外商投资企业的最高权力机构：


  2020 年 1 月 1 日起，
                 《外商投资法》生效。根据第四十二条规定，《合资企业
法》已经被依法废止；根据第三十一条规定“外商投资企业的组织形式、组织机
构及其活动准则，适用《中华人民共和国公司法》、    《中华人民共和国合伙企业法》
等法律的规定”；同时，根据《中华人民共和国公司法》     （下称“《公司法》”）第三
十六条规定，股东会是公司最高权力机构。因此，目前，四季花城的最高权力机
构已经不再是董事会，而是股东会。


   （2） 董事会的决议仅为程序要件，不影响股权转让协议的有效性


   即使依据原《合资企业法》，董事会的职权范围也并不包括对于股权转让协议
的批准。
   《合资企业法》第六条规定“董事会的职权是按合营企业章程规定，讨论
决定合营企业的一切重大问题：企业发展规划、生产经营活动方案、收支预算、
利润分配、劳动工资计划、停业，以及总经理、副总经理、总工程师、总会计师、
审计师的任命或聘请及其职权和待遇等”，以上法定职权范围并不包括股权转让
事项。并且，股东对于其持有的合资企业股权的处分，属于股东对于其自有财产
的处分范围，并不属于合营企业的重大问题，显然不属于“合营企业一切重大问
题”的范畴。


  并且，根据《合资企业法》第六条第一款“合营企业设董事会，其人数组成
由合营各方协商，在合同、章程中确定，并由合营各方委派和撤换”。以上可见，
中外合资企业的董事是由“合营各方”，即股东方委派，因此，董事本质上是执行
股东的意志，四季花城章程中尽管明确董事会决定公司股权转让事项，然而，该
等约定仅为程序性要件，目的在于完善工商变更登记的程序。实际上，根据《合
资企业法》第三条规定，中外合资企业的章程应由合营各方（股东方）签署，因
此，公司章程原本就是公司股东的意思表示，四季花城全部股东均已经就案涉股
权转让作出明确的意思表示，股东之间的合意已经足以说明，公司章程中有关董
事会之于股权转让事项的职权约定，仅为程序要求，不足以影响股东的真实意思
表示。


  司法实践中，股权转让协议纠纷相关案件中，法院也认同：中外合资企业章
程中对于董事会决议的要求仅为程序性要求，董事会决议并不能够决定股权转让
协议的效力。例如，上海第二中级人民法院审理的蓝德威尔士联合有限公司与洛
                         （2016）沪 02 民终 10017
尔环境科技（上海）有限公司股权转让纠纷上诉案[案号：



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号，下称“蓝德威尔案”]中（详见附件 1），法院认为：


  “虽然洛尔公司合资合同及章程约定公司注册资本进行转让须经董事会决
议一致通过。但根据城邦公司提供的《股份转让协议》及《承诺及担保书》，表明
洛尔公司的三名股东对本案股权转让均不持异议，而三名股东对合资合同及公司
章程的约定都是明知的。按照洛尔公司正常流程，在原法定代表人蒋志鹏卸任后，
其新任法定代表人应当召集董事会就此事项进行决议。故造成本案所涉股权转让
未经董事会决议并非城邦公司所致。虽然洛尔公司的最高权力机构是董事会，但
董事会系由各方股东委派组成，故就公司内部股权变动的重大事项，股东作为直
接的权利主体才是最终的决定者，董事会决议仅仅是程序性的规定，并不妨碍本
案所涉的《股份转让协议》的效力。”


  因此，无论是基于董事会职权的来源、四季花城章程中约定的本意，还是基
于现有法律规定以及已有司法实践，无论四季花城董事会是否就案涉股权转让事
项出具决议，均不影响案涉股权转让协议的效力。


   （3） 四季花城董事会始终怠于履行职责，董事会决议不具备形成可能性


  四季花城董事由四名成员组成，但是四季花城董事会实际上不具备就案涉股
权转让协议出具一致董事会决议的可能性。四季花城现有董事包括董事长许良彦、
董事柯烨颖、董事柯铮夫及董事徐宏标。其中，柯铮夫是柯烨颖的叔叔；柯烨颖
是在其父亲柯铮光去世后、于 2014 年 3 月 31 日成为四季花城的董事。根据四季
花城章程第二十四条规定“注册资本的增加、转让”需要由董事会一致通过。就
本案而言，绿庭置业向世邦公司转让的是其持有的四季花城全部股权，对应其出
资的全部 620 万美元注册资本，根据章程约定，属于需要董事会一致通过的情形。
然而，就本案客观情况来看，四季花城董事会完全不可能出具一致决议：


   首先，四位董事就案涉股权转让事项意见不一致。根据世邦公司的庭审陈述，
徐宏标并不实际掌握四季花城公章及证照，且与柯烨颖存在长期矛盾、冲突；同
时，徐宏标是世邦公司在本案中的法定代表人，世邦公司在本案中表示认同原告
提出的诉讼请求，认为案涉股权转让协议合法有效、四季花城应当办理相应的变
更登记手续。因此，徐宏标对于案涉股权转让事项持有赞成态度，其与柯烨颖、
许良彦及柯铮夫三位董事的对于案涉股权转让的态度显然不一致：结合两被告在
本案中发表的相关意见，就案涉股权转让事项，三位董事许良彦、柯烨颖及柯铮
夫均不赞同转让，而徐宏标则赞同转让，因此，四位董事根本不可能形成一致决
议。




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   其次，四季花城董事长的行动表明，其并不会就案涉股权转让事项召集董事
会进行表决。根据四季花城章程第十九条，董事会会议由董事长召集并主持，就
本案而言，董事长许良彦即为本案被告，其代理人在本案中已经明确表明不认可
案涉股权转让协议的效力，因此，其根本不可能就案涉股权转让协议事项召集董
事会进行表决。事实上，就案涉股权转让事项，绿庭置业及相关实际控制人先后
于 2018 年 7 月 19 日、2018 年 8 月 25 日、2019 年 11 月 8 日多次向四季花城及
其董事/实际控制人发送函件，督促相关董事履行职责。然而，至今已经近两年，
四季花城董事会仍然未就案涉股权转让事项进行表决。


  以上足以说明，四季花城及其三位董事许良彦、柯烨颖及柯铮夫，事实上均
在以各种方式阻止案涉股权转让的履行，四季花城董事会根本不可能就案涉股权
转让事项进行任何形式的表决；退一步而言，即使进行表决，四季花城董事会的
表决机制也决定了案涉股权转让协议在任何情形下也不会得到董事会的认可。因
此，该等情形下，股东对于股权转让事项的权利已经实质上被剥夺，如按被告的
主张，将四季花城章程的程序要求（即董事会决议）作为认定案涉股权转让协议
的效力的要件之一，将导致股东的利益被实质上损害并导致四季花城的现有股东
事实上根本无法处置持有的股权，损害股东的利益。


  基于上述，案涉股权转让协议已经于签署当日依法发生法律效力，无论四季
花城董事会是否就案涉股权转让事项作出意思表示，均不影响案涉股权转让协议
的效力。本案被告主张案涉股权转让协议未经董事会批准因而未发生法律效力的
抗辩，不应得到采纳。


   二、案涉股权转让协议并不存在法定无效情形

   1、 案涉股权转让协议不存在违反效力强制性法律规定的情形


   （1） 被告并未说明案涉股权转让协议违反何等强制性规定


  被告主张，根据《中华人民共和国民法总则》 （下称“
                          《民法总则》”
                                ）第一百
五十三条规定“违反法律、行政法规的强制性规定的民事法律行为无效，但是该
强制性规定不导致该民事法律行为无效的除外”，并据此主张案涉股权转让协议
无效。然而，《民法总则》第一百五十三条适用的前提是“违反法律、行政法规的
强制性规定”，被告始终未能向法院说明，案涉股权转让协议到底违反哪条法律、
行政法规的强制性规定。


   根据《合同法》第五十二条第（五）款规定，违反法律、行政法规强制性规



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定的合同无效；同时，根据《最高人民法院关于适用<中华人民共和国合同法>若
干问题的解释（二）》第十四条规定： “合同法第五十二条第（五）项规定‘强制
性规定’ ，是指效力性强制性规定。”结合《最高人民法院关于印发<全国法院民商
事审判工作会议纪要>的通知》 （下称“《九民纪要》”）第 30 条：
                                 “人民法院在审理
合同纠纷案件时，要依据<民法总则>第 153 条第 1 款和合同法司法解释（二）第
14 条的规定慎重判断“强制性规定”的性质，特别是要在考量强制性规定所保护
的法益类型、违法行为的法律后果以及交易安全保护等因素的基础上认定其性
质。”


  可见，无论是基于《民法总则》、
                《合同法》还是《九民纪要》，合同因违反法
律法规而无效的前提，都是首先要有相应的“强制性规定”，并且，该等强制性规
定所保护的法益属于国家应予强制性保护的范围，如涉及国家安全、市场秩序、
国家宏观政策等公序良俗。然而，就本案而言，被告始终未能向法庭说明，案涉
股权转让交易到底违反何等强制性规定。


   至于被告主张的所谓特殊税务处理的问题，相应的规范为《财政部、国家税
务总局关于企业重组业务企业所得税处理若干问题的通知》 （下称“《59 号文》”），
《59 号文》并未禁止特殊税务处理交易，而是对企业重组交易适用特殊税务处理
安排提供了相应的指引，即，只要符合《59 号文》要求的特殊税务处理安排之交
易，均可以适用相应的税务处理安排。因此，《59 号文》并不涉及企业重组相关
交易的效力问题，是企业重组交易适用特殊税务处理的指引性文件，符合《59 号
文》相应要求的交易，不仅不会被认定为无效，反而会因符合《59 号文》的条件
而享受相应的特殊的税务处理政策。因此，《59 号文》与案涉股权转让协议的效
力之间并无任何关联关系。

  此外，特别需要说明的是，尽管绿庭置业及绿庭科创为四季花城名义上的股
东，然而，四季花城的控制权早已在 428 协议签署之前就已经移交给柯铮光及徐
宏标两位参股股东，这一点在 428 协议第 2.3.5 条中已经由各方确认；同时各方
还对股权转让及托管安排作出约定，约定三年的股权转让过渡期。各方在当时的
考虑是：参股股东先全面接管四季花城，并通过良好经营四季花城公司获得营收、
从而向参股股东分配红利，那么即使案涉股权转让交易适用特殊税务重组，参股
股东将来在三年托管期届满后对外处分四季花城股权时产生的税负也足以通过
前期的收取的红利覆盖，参股股东的利益并不会有任何减损。然而，事实上，柯
铮光去世后，四季花城即陷入控制权争议，继承柯铮光之遗产的柯烨颖及其母亲
全盘接管四季花城，徐宏标作为原始的参股股东无法控制四季花城，双方之间存
在长期的矛盾和冲突，无法共同运营四季花城，导致各方在 428 协议项下原有约
定的愿景无法实现，这完全是柯烨颖拒绝认可及执行 428 协议、拒绝执行香港仲



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裁裁决所导致。即使案涉股权转让交易将来适用特殊税务处理，由此产生的税款
增加也是柯烨颖咎由自取的结果，与案涉股权转让协议项下的交易安排不存在任
何关联性。


   （2） 股权转让协议生效后才产生完税问题，是否完税与协议效力无关


  被告主张涉案股权转让协议因未进行税务申报而未能发生合法效力，该等抗
辩系本末倒置，根本无法成立：


  首先，税收核定发生于股权转让协议生效后、办理变更登记之时。根据《国
家税务总局关于贯彻落实企业所得税法若干税收问题的通知》
                          （国税函[2010]79 号）
第三条规定：
     “关于股权转让所得确认和计算问题 企业转让股权收入，应于转让
协议生效、且完成股权变更手续时，确认收入的实现。转让股权收入扣除为取得
该股权所发生的成本后，为股权转让所得。企业在计算股权转让所得时，不得扣
除被投资企业未分配利润等股东留存收益中按该项股权所可能分配的金额。”因
此，根据税务实践，股权转让协议的生效在先、股权转让收入确认（即税务核定）
在后，并且，只有股权转让协议办理转让登记时，才会产生税额确认问题。因此，
股权转让交易是否完税与股权转让协议效力无关，恰恰相反，只有股权转让协议
依法发生效力并办理变更登记，才会产生税务核定问题。


  其次，税务核定金额取决于税务机关对于目标公司股权实际价值的认定，而
不取决于当事人转让协议中对于股权转让价格的约定。案涉股权转让交易为企业
内部的重组。庭审中，被告也认可，案涉股权转让交易是整个绿洲投资企业重组
的一部分。该等股权转让交易存在特殊性，至于是否能够适用《59 号文》的特殊
税务处理，以及由此产生的税款应当如何承担、承担多少金额，均不取决于案涉
股权转让协议的约定。中国的税务机关对于税款金额的核定，不受当事人之间在
合同中约定的交易价格影响，税务机关通常会按照公允价值核定交易所得税款。


  举个简单的例子，实践中存在大量的“一元”对价交易，但税务机关在实际
核定税款时，绝对不会将“一元”认定为应纳税所得额，反而会按照公允价值确
定，当事人之间的“一元”转让交易也并不因此而违反任何税收法规，也并不会
当然被认定为无效。同样的，就案涉股权转让交易而言，当事人之间确定的股权
转让交易价值为 620 万元美金，该等股权转让对价仅为当事人之间对于四季花城
股权价值达成的合意，并不等同于四季花城股权的实际价值。


  再者，现阶段仅有四季花城才掌握其股权的实际价值，无论是绿庭置业还是
世邦公司均不掌握，无法按照其实际股权价值确认股权转让价格。事实上，根据



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香港仲裁裁决第 4 项，仲裁庭判令申请人（即柯铮光之遗产、徐宏标）于裁决作
出之日起的 2 个月内向相关的审批机关提供一份审计报告（即四季花城的审计报
告），该等裁决命令的用意即在于确定四季花城的股权价值，以供审批机关相应核
定税款。然而，四季花城的实际控制人至今仍然未能按裁决内容提供相应的审计
报告，由此导致案涉股权转让交易至今无法完成税款核定的责任，应当由四季花
城及其实际控制人承担。


  最后，需要强调的是：无论如何，税务机关对于股权转让交易的税款核定，
从来都不是股权转让合同的生效要件，案涉股权转让交易尚未完税，并不影响案
涉股权转让交易的合法效力。被告以案涉股权转让交易尚未完成核税作为其主张
案涉股权转让交易无效的理由，不仅没有任何法律依据，更是不符合基本的商业
逻辑。


   2、 案涉股权转让交易并未损害任何一方的合法利益


  被告主张案涉股权转让交易损害四季花城及其实际控制人的合法利益，因而
导致无效，其主张完全不能成立：


   （1） 参股股东从未在仲裁阶段提出世邦公司的设立与约定不符


  世邦公司设立于 2009 年 11 月 5 日，早于 428 协议签署日 2010 年 4 月 28 日。
并且，世邦公司成立之时，徐宏标及柯铮光都是世邦公司的董事，在 428 协议签
署时，柯铮光及徐宏标均清楚知悉世邦公司的设立主体是绿庭置业而非绿洲投资。

  被告在庭审中表示，柯铮光仅为董事而不是股东、无法证明柯铮光知悉世邦
公司的设立主体，然而，被告的该等抗辩根本无法成立，且违背基本的商业逻辑
——世邦公司是 80%股权转让的重要一环，柯铮光不可能在连世邦公司的股东都
搞不清楚的情况下就在 428 协议中确认相应的交易结构。并且，四季花城及柯烨
颖均非 428 协议的签署主体，其显然没有任何合理依据推断柯铮光不清楚世邦公
司的真实股东。


  事实上，香港仲裁裁决第 6 项命令要求控股股东促使绿庭置业向世邦公司转
让四季花城 80%股权，符合参股股东提出的仲裁裁决，也与 428 协议约定一致。
如果参股股东认为世邦公司的成立不符合 428 协议、认为该等股权转让事项不符
合参股股东的利益，其理应在仲裁案件过程中提出。并且，从世邦公司在庭审中
发表的意见来看，其在本案中的法定代表人徐宏标也从来不认为世邦公司的设立
不符合 428 协议，而柯烨颖并非 428 协议当事人，其提出的意见，既与逻辑不符



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合，也与事实不符，显然不应得到采信。


  并且，香港仲裁案件历时 5 年多，2013 年立案、2018 年作出裁决，在长达五
年的仲裁过程中，柯烨颖一方从未提出世邦公司的成立不符合 428 协议，而直到
控股股东按照仲裁裁决命令执行时，其才提出该项意见，试图为案涉股权转让协
议的执行制造阻碍。柯烨颖一方面在本案中主张世邦公司的成立不符合协议约定，
另一方面又试图在美国申请执行香港仲裁裁决，其行为显然也自相矛盾。


   鉴于香港仲裁裁决已经就案涉股权转让事宜作出有约束力的裁决，各方均应
当按照香港仲裁裁决予以执行，绿庭置业向世邦公司转让四季花城 80%的股权，
符合 428 协议，也符合香港仲裁裁决要求，并不会导致任何一方的利益受到损害。


   （2） 四季花城不具有主张案涉股权转让协议无效的主体资格


  如被告在庭审中确认，案涉股权转让交易是绿洲投资集团（下称“绿洲投资”）
控股股东（俞乃奋、俞乃筠、俞乃雯）及参股股东（柯铮光、徐宏标）进行企业
重组的交易安排之一，案涉股权转让交易属于各方在 2010 年 4 月 28 日签署的
《关于执行<股份重组初步协议>的协议书》（下称“428 协议”）项下之一部分；
事实上，世邦公司、喜盈国际集团有限公司及 Focus Town Limited 的设立，都是
整个债务重组交易的一部分，三者不可分割。


  值得注意的是，四季花城并非 428 协议项下的当事人。因此，四季花城在本
案中主张所谓案涉股权转让交易损害四季花城的利益、所谓违反 428 协议，并不
能够成立，其既然并非 428 协议的当事人，显然不应具备对 428 协议条款的意思
进行解释的权利，也不具备对各方履行情况进行审查、提出意见的资格。四季花
城仅为各方股东之间的交易标的，是股东对于自有资产的处分内容，作为目标公
司，四季花城与其各股东间的股权转让协议之间并无利害关系，四季花城并不会
因股东之间就股权的转让而受到任何利益损害，其无权主张案涉股权转让协议无
效或违反 428 协议。


   （3） 徐宏标同为参股股东，但其并不认为案涉股权转让协议损害其利益


  徐宏标同样是参股股东，但其并不认为案涉股权转让协议损害其利益。在本
案审理过程中，原告向世邦公司代理人发问，询问世邦公司在本案中的法定代表
人徐宏标是否认为案涉股权转让损害其利益，世邦公司的代理人回答是，徐宏标
并不认为案涉股权转让协议损害其利益。并且，即使不考虑世邦公司代理人的答
复，从客观来看，如果徐宏标认为案涉股权转让协议损害其利益，世邦公司根本



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不会提出本案诉讼，也不会签署案涉股权转让协议。


  在香港仲裁案件中，徐宏标与柯铮光同为仲裁案件申请人，由此足以说明，
柯铮光与徐宏标的立场及利益大体是一致的。然而，对于案涉股权转让交易，徐
宏标作为世邦公司的法定代表人，其与世邦公司显然持有相同立场，即其认可案
涉股权转让交易的合法有效性，而并不认为案涉股权转让交易损害其任何利益。
徐宏标作为参股股东，其在本案中通过世邦公司表达的立场足以证明：柯烨颖提
出的所谓案涉股权转让协议损害参股股东利益的抗辩理由并不能够代表全体参
股股东的立场和利益。


   （4） 柯烨颖不具有在本案中提出相关权利主张的资格


  四季花城主张，案涉股权转让交易因损害柯烨颖的利益、导致柯烨颖将来的
税费增加而无效。然而，柯烨颖根本不是本案当事人，四季花城也不具有代表柯
烨颖在本案中提出相关权利主张的依据。


  并且，柯烨颖甚至都不是 428 协议项下的当事人。柯烨颖仅是柯铮光的遗产
管理人，并不当然取代柯铮光成为 428 协议项下的当事人。柯烨颖从其自身利益
出发，对于 428 协议作出恶意解读、拒绝认可其父亲在 428 协议项下确认的相关
交易安排，试图改变其父亲在 428 协议项下的意思表示，实则是以欲实现其私人
利益而试图损害全体其他股东的合法利益。


  因此，柯烨颖并非 428 协议项下当事人，其并未参与 428 协议的签署及履行，
而仅是作为柯铮光的遗产管理人参与仲裁，并不当然继承柯铮光在 428 协议项下
的主体地位，更是无权改变柯铮光的意思表示、无权对 428 协议的内容作出解释，
更是无权对于控股股东对于 428 协议的履行情况提出挑战。


   三、案涉股权转让交易完全符合 428 协议 2.3.1 条及仲裁裁决命令


  原告之所以提出本案诉讼，其实质即是为履行仲裁裁决第 5 项命令。根据仲
裁裁决第 5 项命令，仲裁庭“命令第一被申请人（即绿洲投资及控股股东）安排
及促使世邦公司（从裁决作出之日起的 2 个月内）收购第一被申请人的子公司绿
庭置业所持有的四季花城 80%的股权。（4.28 协议第 2.3.1 条）”。


  根据 428 协议第 2.3.1 条：
                    “绿洲投资已在香港新设立了世邦有限公司（世邦
公司），并已经安排世邦公司收购了绿洲投资香港子公司绿庭置业有限公司所持
有之上海绿庭四季花城房地产开发有限公司（以下称‘四季花城’）80%的股权。



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该等股权收购完成后，绿洲投资应与喜盈国际集团和 Focus Town Limited 签署一
份《股权购买权协议》，约定在下述第 2.3.2 款约定的托管期限届满后，将世邦公
司 100%的股权以港币一元对价转让给喜盈国际集团有限公司和 Focus Town
Limited。”


  上述条款中“绿洲投资已在香港新设立了世邦有限公司（世邦公司）”，并不
等同于绿洲投资直接设立世邦公司。事实上，绿洲投资是通过其 100%持股的绿
庭置业新设世邦公司，该等情形下，绿洲投资间接持有世邦公司 100%的股权。因
此，从事实情况来看，428 协议中表述为“绿洲投资已在香港新设立了世邦有限
公司（世邦公司）”与实际情况并不相悖。


    更何况， 原告提交的证据显示，世邦公司设立于 2009 年 11 月 5 日，早于
428 协议签署日 2010 年 4 月 28 日；并且，世邦公司成立之时，徐宏标及柯铮光
都是世邦公司的董事，在 428 协议签署时，柯铮光及徐宏标均清楚知悉世邦公司
的设立主体是绿庭置业而非绿洲投资。被告在庭审中表示，柯铮光仅为董事而不
是股东、无法证明柯铮光知悉世邦公司的设立主体，然而，被告的该等抗辩根本
无法成立，且违背基本的商业逻辑——世邦公司是 80%股权转让的重要一环，柯
铮光不可能在连世邦公司的股东都搞不清楚的情况下就在 428 协议中确认相应的
交易结构。并且，四季花城及柯烨颖均非 428 协议的签署主体，其显然没有任何
合理依据推断柯铮光不清楚世邦公司的真实股东。


  并且，同为世邦公司的董事及参股股东、428 协议的签署主体，徐宏标对此
事实并不予以否认，其认同原告在本案中的主张，即在 428 协议签署之初，其当
然知晓世邦公司是绿庭置业设立。因此，徐宏标通过世邦公司做出的确认已经能
够充分证明，世邦公司的设立并不违反 428 协议。


   事实上，在柯铮光及徐宏标提出仲裁申请时，其特别在第四项仲裁请求中明
确主张要求由世邦公司收购绿庭置业持有的四季花城 80%股权。特别是，柯铮光
（去世后变更为其遗产管理人）在香港仲裁案件中均委托香港大律师全程参与案
件审理，案涉 80%的股权转让是仲裁案件中的重要争议焦点，世邦公司的成立是
否符合参股股东的利益、该等股权转让能否实现参股股东在 428 协议项下的权益，
显然是关系参股股东切身利益的问题，无论是柯铮光还是其律师，都不可能连世
邦公司的设立主体都没查明清楚就要求按照 2.3.1 条的约定进行股权转让。


  因此，被告主张的，所谓柯铮光不知悉世邦公司的设立情况、世邦公司的设
立不符合 428 协议的主张，显然与客观事实不符，且不符合基本的商业逻辑，更
是与柯铮光在仲裁案件中提出的仲裁请求相违背，显然有违诚信原则。



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   四、美国诉讼程序不应阻碍本案股权转让交易完成变更登记


  被告提交的美国法院《备忘意见书》并未发生法律效力。并且，美国法院的
任何裁决、命令在中国均不当然具有合法效力。更何况，从《备忘意见书》内容
来看，该文件全文讨论的内容也只有仲裁裁决第 9 项关于金钱给付义务是否可以
执行，而不涉及四季花城股权转让。并且，从《备忘意见书》内容来看，美国法
院也仅是表明案涉仲裁裁决在美国具有可执行力，然而，这不能等同于美国法院
否定了其他法域对于仲裁裁决的执行。事实上，根据我们了解的情况，美国法官
已经明确向各方当事人表示，香港仲裁裁决当然也可以在其他法域申请执行。


  事实上，原告及其实际控制人始终积极推动香港仲裁裁决在国内的后续执行，
美国法院的命令无权干涉中国法院对本案的管辖权。中国及美国均是《承认及执
行外国仲裁裁决公约》（下称“《纽约公约》”
                    ）的成员国，中国法院同样有权受理
有关香港仲裁裁决的执行申请。该等情况下，在案涉股权转让协议签署后、四季
花城拒不履行相应的变更登记义务的情况下，绿庭置业选择向法院提起诉讼，要
求四季花城履行相应变更登记手续，与香港仲裁裁决并不相悖，也与美国的法律
程序并不冲突。并且，即使不考虑香港仲裁裁决，目标公司股东之间进行股权转
让后，目标公司原本也具有履行变更登记的责任，在目标公司不予配合导致发生
争议时，中国法院当然享有就股权变更登记事项进行裁决的管辖权。


  至于美国法院的相关程序，完全是柯烨颖为制造香港仲裁裁决的履行障碍而
别有用意提出的相关法律行动，其目的是为制造绿洲投资、俞乃奋等控股股东不
履行仲裁裁决的假象，而在美国法院寻求相应的金钱赔偿或对绿洲投资、俞乃奋
的相应处罚，此举显然违反公平原则及诚实信用原则，不应得到贵院的支持。并
且，从客观上而言，美国法院显然对于中国的法律并不了解，涉及中国境内公司
的股权转让事项如在美国执行，将不可避免产生法律适用、税收监管等不必要的
冲突，本案所涉股权转让交易也并不是适合在美国执行。


   此外，客观上而言，案涉股权转让交易的标的为中国的外商投资企业，相应
的工商变更登记程序等仅能在中国境内完成。本案为公司变更登记纠纷，即使美
国法院认为仲裁裁决具有可执行性，但相应的公司变更登记程序显然不可能在美
国相应完成。如柯烨颖不认可案涉股权转让协议、拒绝安排其控制的四季花城办
理相应的变更登记，而寻求在美国法院解决相应的问题，将导致案涉股权转让陷
入恶性循环——美国法院无法执行四季花城的工商变更登记，也由此导致案涉股
权转让交易永远无法完成，这显然违背 428 协议的初衷：根据 428 协议，四季花
城 100%的股权是控股股东向参股股东支付的对价之一，并且，将该等股权作为



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交易对价之一也是参股股东提出的要求，且符合参股股东的利益需求。然而，柯
烨颖在柯铮光去世后却试图改变各方达成的协议约定，强行要求在美国执行四季
花城股权转让交易这一“不可能完成的任务”，柯烨颖试图阻碍 428 协议的履行、
拒绝认可香港仲裁裁决的心态昭然若揭，其该等行为显然不应得到法庭的支持。


   五、被告主张的裁决履行顺序之抗辩不能成立


  根据香港仲裁裁决第 5 项命令，绿洲投资促使和安排世邦公司从裁决作出之
日起 2 个月内收购绿庭置业所持有的四季花城 80%股权；第 6 项命令，绿洲投资
与参股股东从裁决作出之日起的 2 周内签署及促使其子公司绿庭置业共同签署有
关世邦公司的股权购买权协议及托管协议。


  尽管上述裁决内容中有相应的期限要求，但该等期限要求并非裁决义务之履
行顺序。四季花城的股权转让事项为涉外股权转让，且涉及工商变更登记及备案
程序（仲裁裁决作出时仍然适用备案制），所耗费的时间相对较久，故仲裁庭设定
2 个月期限；然而，就股权购买权协议及托管协议的签署而言，其履行相对简单，
仅需要完成协议并由各方盖章即能够完成，故仲裁庭设定 2 个星期的期限。因此，
上述时间要求，并非裁决履行顺序，而是基于裁决义务履行的难易程度、为督促
裁决义务的尽快履行之目的而设定的合理期限要求。


  此外，仲裁裁决第 245 段对于裁决所涉相关股权转让、股权购买权协议及托
管协议的签署顺序已经做出非常明确的认定。根据第 245 段：


  “关于第 2.3.1 至 2.3.3 条，仲裁庭认为，有关四季花城的转让包括以下三
个需要履行的步骤：
  ‘（1）首先，由绿洲投资成立的世邦公司收购绿庭置业持有的四季花城 80%
股权（简称为‘80%股权转让第一步’）……
   （2）其次，由绿洲投资把世邦公司的股权转让给第一及第二申请人分别拥有
的喜盈国际和 Focus Town（简称为‘80%股权转让第二步’）’”。


  鉴于此，从上述第 245 段内容即可见，仲裁庭各项命令中的时间要求，并非
创设裁决履行顺序，第 245 段的内容才是对裁决相应义务履行顺序的要求，即四
季花城 80%的股权转让应当于第一步完成。


  并且，事实上，控股股东早已将购买权协议及托管协议发送给参股股东方供
其审阅，对此，世邦公司及其法定代表人也予以认可，然而，由于柯烨颖一方始
终拒绝就购买权协议及托管协议的签署发表意见，故导致购买权协议及托管协议



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也无法推进。柯烨颖一方面主张本案因未签署购买权协议及托管协议而不符合执
行条件，另一方面又拒不配合购买权协议及托管协议的签署，执行“双重标准”，
更进一步证明柯烨颖拒不履行 428 协议、不执行香港仲裁裁决的意图。


   六、两被告具有完成变更登记的法定义务


   1、 被告一具有办理变更登记的法定义务


   根据《公司法》第三十二条第三款规定：
                    “公司应当将股东的姓名或者名称向
公司登记机关登记；登记事项发生变更的，应当办理变更登记。未经登记或者变
更登记的，不得对抗第三人。”因此，公司股东发生变更后，公司负有办理变更登
记的法定义务。同时，根据《中华人民共和国公司登记管理条例》第二十六条规
定：“公司变更登记事项，应当向原公司登记机关申请变更登记。”就本案而言，
四季花城的注册登记机关为上海市奉贤区市场监督管理局（下称“奉贤监督管理
局”），因此，被告一应当就案涉股权转让事宜向奉贤监督管理局办理相应的变更
登记。


   并且，根据上述《公司法》第三十二条第三款“未经登记或者变更登记的，
不得对抗第三人”，原告现已经不再是四季花城的股东，然而，原告却始终被错误
登记为四季花城股东，被告迟迟不履行相应的变更登记义务，由此导致原告面临
相应的法律风险（如被四季花城的债权人追究相应的股东责任）、对原告的利益造
成损害。


   2、 被告一应当履行信息报告义务

  根据 2020 年 1 月 1 日生效的《外商投资法》第三十四条：国家建立外商投
资信息报告制度。外国投资者或者外商投资企业应当通过企业登记系统以及企业
信用信息公示系统向商务主管部门报送投资信息。


  同时，根据同日生效的《外商投资信息报告办法》第十一条规定，外商投资
企业的初始信息发生变化后，“涉及企业变更登记（备案）的，外商投资企业应于
办理企业变更登记（备案）时通过企业登记系统提交变更报告”；根据第十二条规
定：
 “外商投资企业提交变更报告，应当报送企业基本信息、投资者及其实际控制
人信息、投资交易信息等信息的变更情况。”


  鉴于被告一的股东已经发生变化，被告一理应按照上述规定的要求，相应办
理信息报告手续，即于办理企业变更登记（备案）时通过企业登记系统提交变更



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报告。


   3、 被告二负有相应的协助及配合义务


   （1） 关于企业变更登记的配合及协助义务


  根据《中华人民共和国公司登记管理条例》第二十七条：公司申请变更登记，
应当向公司登记机关提交下列文件：（一）公司法定代表人签署的变更登记申请书；
（二）依照《公司法》作出的变更决议或者决定；（三）国家工商行政管理总局规
定要求提交的其他文件。公司变更登记事项涉及修改公司章程的，应当提交由公
司法定代表人签署的修改后的公司章程或者公司章程修正案。变更登记事项依照
法律、行政法规或者国务院决定规定在登记前须经批准的，还应当向公司登记机
关提交有关批准文件。此外，企业变更登记过程中，登记机关同时会要求企业提
交加盖公司公章的授权委托书、登记备案申请书，同时；由于外商投资企业的股
东变更登记还涉及营业执照的变更，由此也需要提交营业执照原件。


  鉴于被告二许良彦是四季花城的法定代表人，代表四季花城对外作出意思表
示，其应当持有相应的营业执照原件及四季花城公章，在四季花城办理工商变更
登记过程中，四季花城应当提交由法定代表人签署或加盖四季花城公章的相应申
请变更登记文件，并提供营业执照原件，如被告二不履行相应的协助及配合义务，
四季花城将无法完成相应的工商变更登记。鉴于此，被告二应当就四季花城办理
企业变更登记履行相应的协助及配合义务。


   （2） 关于信息报告的配合及协助义务

  如前所述，根据《外商投资信息报告办法》第十一条，外商投资企业应于办
理企业变更登记（备案）时通过企业登记系统提交变更报告。


      上海地区的企业办理该等信息报告的登记系统为“上海一网通办”（网址：
http://yct.sh.gov.cn/netdzhy/login/loginSww.do）。根据该系统首页显示的信息，办理
信息报告，需要“目标企业使用法人一证通、电子营业执照、企业身份验证等登
入填报界面，提交变更报告。”


  鉴于被告二是四季花城的法定代表人，其应当持有法人一证通、电子营业执
照等必备文件，如被告二不履行相应的协助及配合义务，四季花城也将无法完成
相应的信息报告义务。有鉴于此，被告二应当就四季花城办理相应的信息报告履
行相应的配合及协助义务。



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  综上所述，原告提出的诉讼请求具有充分的事实依据及法律依据，原告请求
贵院在查明事实的基础上，依法支持原告的全部诉讼请求，以维护原告的合法权
益。


  此致
上海市奉贤区人民法院
                                                      绿庭置业有限公司


                                                _______________________
                                                    顾依律师/刘佳迪律师
                                                 二零二〇年五月二十八日




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                  EXHIBIT 18
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                                                                                                                           Junhe Law Firm


                                                                                                                     No. 288, First Shimen Road, Shanghai, China
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                                                                                                                                          Fax: (86-21) 5298 5492
                                                                                                                                              junhesh@junhe.com
         The Plaintiff -- Greencourt Properties Co., Ltd. vs.
              Defendant 1 -- Shanghai Luting Sijihuacheng Real Estate Development Co., Ltd.,
                        Defendant 2 -- Xu Liangyan, and Third Person Shibang Co., Ltd.
                                   Dispute Case over Company Registration
                           Supplementary Agency Opinions Submitted by the Plaintiff

                                                                                                   (2019) Hu 0120 Min Chu No. 10021

        Dear Judicial Panel,

             Regarding the case accepted by your court of dispute over the company registration
        between the plaintiff and the defendant 1 - Shanghai Luting Sijihuacheng Real Estate
        Development Co., Ltd. (hereinafter referred to as “defendant 1” or “Sijihuacheng”), the
        defendant 2 - Xu Liangyan (hereinafter referred to as “ defendant 2”), and the third party
        Shibang Co., Ltd. (hereinafter referred to as “ the third party” [Case No.: (2019) Hu 0120 Min
        Chu No. 8611, hereinafter referred to as “this case”], the plaintiff submitted the written agency
        opinions to your court on May 26, 2020 (see the appendix of the agent opinions for details). On
        the basis of the above written agent opinions, the plaintiff further gives the following
        supplementary agent opinions on the validity of the equity transfer agreement involved in the
        case, which can be used as reference for your court to hear the case.

             The plaintiff believes that the equity transfer agreement involved in the case is legal and
        valid, and does not constitute damage to the interests of any party. The main reasons are
        summarized as follows:

             1. Shibang Company was established before the signing of the 428 Agreement. Xu
        Hongbiao and Ke Zhengguang, two minority shareholders, were both directors appointed
        by Greencourt Properties to Shibang Company at the beginning of Shibang Company’s
        establishment. When the 428 Agreement was signed, they knew clearly that Shibang
        Company was 100% owned by Greencourt Properties and 100% indirectly owned by Oasis
        Investment. Sijihuacheng and its actual controller Ke Yeying have no right to deny the
        objective facts recognized by Ke Zhengguang and Xu Hongbiao at that time with their own
        understanding;

             2. Sijihuacheng is not a party to the 428 Agreement at all, and has no right to
        interpret the contents of the 428 Agreement. Moreover, Article 2.3.1 of the 428 Agreement,
        “Oasis Investment has established Shibang Co., Ltd. in Hong Kong”, is only a statement
        of facts, not the contractual obligations of the parties under the contract; in addition, the
        contents of these factual statements are consistent with the objective situation. Oasis
        Investment directly holds 100% equity of the Greencourt Properties and indirectly holds
        100% equity of the Shibang Company. Oasis Investment is the actual controller and actual
        founder of Shibang Company. The 428 Agreement stated that Oasis Investment established
        Shibang Company in full compliance with the objective situation and more in line with the
Beijing Headquarters                      Shanghai Branch                           Shenzhen Branch                            Guangzhou Branch
                 Tel: (86-10) 8519-1300                    Tel: (86-21) 5298-5488                   Tel: (86-755) 2587-0765                      Tel: (86-20) 2805-9088
           Fax: (86-10) 8519-1350                    Fax: (86-21) 5298-5492                     Fax: (86-755) 2587-0780                     Fax: (86-20) 2805-9099
Dalian Branch                             Haikou Branch                             Tianjin Branch                             Qingdao Branch
               Tel: (86-411) 8250-7578                   Tel: (86-898) 6851-2544                      Tel: (86-22) 5990-1301                   Tel: (86-532) 6869-5000
           Fax: (86-411) 8250-7579                   Fax: (86-898) 6851-3514                    Fax: (86-22) 5990-1302                      Fax: (86-532) 6869-5010
Chengdu Branch                            Hong Kong Branch                          New York Branch                            Silicon Valley Branch
                 Tel: (86-28) 6739-8000                      Tel: (852) 2167-0000                      Tel: (1-212) 703-8702                      Tel: (1-888) 886-8168
           Fax: (86-28) 6739 8001                    Fax: (852) 2167-0050                       Fax: (1-212) 703-8720                       Fax: (1-888) 808-2168
                                                                                                                                                  www.junhe.com
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logic of commercial transactions.

     3. The equity transfer price and payment method of Shibang Company will not
affect the tax verification results. The tax bureau’s verification of the income tax payable
by the equity transferor does not depend on the agreement of the parties on the equity
transfer consideration in the equity transfer contract, let alone the payment method of the
equity transfer price between the parties. What’s more, Sijihuacheng has never submitted
its annual audit report, and is insufficient to determine that the equity transfer price
involved in the case is lower than its equity market value.

     4. Even if the equity transfer in this case can be subject to special tax treatment, it
is also the parties to the 428 agreement, including the true intention expressed by Ke
Zhengguang and Xu Hongbiao. The equity transfer agreement involved in this case does
not harm the interests of any party.

     5. Ke Zhengguang and Xu Hongbiao are both minority shareholders under the 428
agreement, and their interests are consistent. If the signing of the 428 Agreement will cause
Ke Yeying, the successor of Ke Zhengguang, to bear more taxes, so will Xu Hongbiao.
However, Xu Hongbiao’s position in this case is obviously different from Ke Yeying’s. Xu
Hongbiao recognizes the legal validity of the equity transfer agreement involved in this
case, which can be known from his being the legal representative of Shibang Company in
this case and authorizing Shibang Company to make an independent request under this
case.

      6. The essence of this case is caused by Ke Yeying’s unilateral refusal to recognize
his father Ke Zhengguang’s intention under the 428 Agreement after inheriting his father’s
heritage. The court cannot condone the heir’s arbitrary change of the intention of the
decedent and the unilateral malicious interpretation of the previous agreement. Otherwise,
this is an abuse of inheritance rules and a violation of the principle of good faith.

     The specific reasons are as follows:

     I. When the 428 Agreement was signed in 2010, the participating shareholders were
clearly aware that Shibang Company was established by Greencourt Properties in 2009,
and during the arbitration stage in 2013, none of the parties raised any objection to the
establishment of Shibang Company

     Shibang Company was established on November 5, 2009, and the 428 Agreement was
signed on April 28, 2010.

     When Shibang Company was founded, Xu Hongbiao and Ke Zhengguang were both
directors of the Shibang Company, appointed by the shareholder Greencourt Properties.
Therefore, when the 428 Agreement was signed, both Ke Zhengguang and Xu Hongbiao knew
clearly that the main body of the Shibang Company was Greencourt Properties, not Oasis
Investment. In this regard, Xu Hongbiao, the legal representative of Shibang Company, also
confirmed his knowledge of this fact through Shibang Company in the trial.




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     Order No. 6 of the Hong Kong Arbitration Award required the controlling shareholder to
urge Greencourt Properties to transfer 80% of the shares of Sijihuacheng to Shibang Company,
which is in line with the arbitration award put forward by the participating shareholders and
consistent with the 428 Agreement. If the participating shareholders think that the establishment
of Shibang Company does not conform to the April 28 Agreement and that such equity transfer
matters do not conform to the interests of participating shareholders, they should have raised
them in the process of arbitration. Moreover, judging from the opinions expressed by Shibang
Company in the trial, Xu Hongbiao, its legal representative in this case, never thought that
Shibang Company’s establishment did not conform to the April 28 Agreement, and Ke Yeying
was not a party to the April 28 Agreement, so his opinions are inconsistent with both logic and
facts, and obviously should not be accepted.

     II. The statement in Article 2.3.1 of the 428 Agreement conforms to the objective
     situation, and this article is not the contractual obligation of the parties.

      It is stated in Article 2.3.1 of the 428 Agreement that “Oasis Investment has established
Shibang Co., Ltd. in Hong Kong, and has arranged Shibang Company to acquire 80% equity of
Shanghai Luting Sijihuacheng Real Estate Development Co., Ltd. (hereinafter referred to as
“ Sijihuacheng”) held by Greencourt Properties Co., Ltd., a subsidiary of Oasis Investment Hong
Kong”, which is only a statement of facts, and is a confirmation of objective conditions, but not
the contractual obligations of the parties under the contract.

     The contents of these factual statements are also consistent with the objective situation.
Oasis Investment directly holds 100% equity of Greencourt Properties and indirectly holds 100%
equity of Shibang Company. Oasis Investment is the actual controller and the actual founder of
Shibang Company. The 428 Agreement stated that Oasis Investment established Shibang
Company in full compliance with the objective situation and the logic of commercial
transactions.

     According to Article 2.3.1, the acquisition of 80% equity of Sijihuacheng by Shibang
Company is an additional goal of all parties, which is the reason why the equity transfer
agreement involved in the case was signed and the fifth order of the Hong Kong Arbitration
Award was made.

     III. The equity transfer price and payment method will not affect the tax verification
results, nor will the tax verification results affect the validity of the equity transfer
agreement. The Sijihuacheng failed to provide the annual audit reports, which led to the
failure of tax declaration for the equity transfer transaction involved in the case.

     The defendant claimed that the Equity Transfer Agreement involved in the case failed to
take legal effect due to the failure of tax declaration, and such defense was putting the cart before
the horse and could not be established at all:

     First of all, the tax verification occurred after the equity transfer agreement came into
effect and when the change registration was being handled. According to Article 3 of the
Notice of the State Administration of Taxation on Several Tax Issues Concerning the
Implementation of the Enterprise Income Tax Law (Guo Shui Han [2010] No. 79): “With respect
to the confirmation and calculation of equity transfer income, when an enterprise transfers its
equity, the realization of income from equity transfer shall be confirmed when the transfer
agreement comes into effect and the formalities of equity change are completed. The income
from the transfer of equity is the income from the transfer of equity after deducting the cost
incurred for obtaining the equity. When calculating the income from equity transfer, an
enterprise shall not deduct the amount that may be distributed according to the equity in the
retained earnings of shareholders such as undistributed profits of the invested enterprise.”


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Therefore, according to tax practice, the entry into force of the equity transfer agreement comes
first, and the income from equity transfer is confirmed (i.e., tax verification) comes later.
Moreover, only when the equity transfer agreement is registered for transfer will the tax amount
be confirmed. Therefore, whether the equity transfer transaction is tax-paid or not has nothing
to do with the effectiveness of the equity transfer agreement. On the contrary, only when the
equity transfer agreement becomes effective according to law and changes are registered, the tax
verification issue will arise.

     Secondly, the taxable income approved by taxation bureau depended on the tax
authorities’ determination of the actual value of the target company’s equity, and did not
depend on the agreement on equity transfer price in the parties’ transfer agreement. The
equity transfer transaction involved in the case is an internal reorganization of the enterprise.
During the trial, the defendant also acknowledged that the equity transfer transaction involved
in the case was part of the reorganization of the whole Oasis Investment enterprise. Such equity
transfer transaction is special. Whether the special tax treatment in Document No. 59 can be
applied, and how and how much the tax incurred should be borne do not depend on the
provisions of the Equity Transfer Agreement involved in the case. The verification of tax amount
by Chinese tax authorities is not affected by the transaction price agreed in the contract between
the parties, and the tax authorities usually verify the tax income from the transaction according
to the fair value.

      Furthermore, at this stage, only Sijihuacheng knows the actual value of its equity, and
neither Greencourt Properties nor Shibang Company would know it, so it is impossible to
confirm the equity transfer price according to its actual equity value. In fact, according to
Paragraph 4 of the Hong Kong Arbitration Award, the arbitral tribunal ordered the applicants (i.e.
the heir to Ke Zhengguang’s legacy and Xu Hongbiao) to provide an audit report (i.e. the audit
report of Sijihuacheng) to the relevant examination and approval authority within 2 months from
the date of the award. The purpose of the award order is to determine the equity value of
Sijihuacheng for the examination and approval authority to approve the tax accordingly.
However, Ke Yeying, the actual controller of Sijihuacheng, still failed to provide the
corresponding audit reports according to the ruling content, which led to the failure to complete
the tax verification for the equity transfer transaction involved in the case, the responsibility of
which should be borne by Sijihuacheng and its actual controller.

     IV. If special tax treatment can be applied, it is also the true intention of all parties
     under the 428 Agreement.

     The special tax restructuring legal norm claimed by the plaintiff is the Notice of the
Ministry of Finance and the State Administration of Taxation on Several Issues Concerning the
Treatment of Enterprise Income Tax in Enterprise Restructuring Business (Cai Shui [2009]
No.59) (hereinafter referred to as “ No.59 Document”).

     According to No.59 Document:

     Article 1: “The term enterprise restructuring as mentioned in this notice refers to
transactions that have undergone major changes in the legal structure or economic structure of
enterprises outside the daily business activities, including changes in the legal form of
enterprises, debt restructuring, equity acquisition, asset acquisition, merger, division, etc. (3)
Equity acquisition refers to an enterprise (hereinafter referred to as the acquiring enterprise)
purchasing the equity of another enterprise (hereinafter referred to as the acquired enterprise) in
order to achieve transaction of controlling the acquired enterprise. The forms of paying
consideration by the acquiring enterprise include equity payment, non-equity payment or
a combination of the two.”



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     Article 5 “V. If the enterprise restructuring meets the following conditions at the same time,
the special tax treatment provisions shall apply: (1) It has a reasonable commercial purpose, and
its main purpose is not to reduce, exempt or delay the payment of taxes. (2) The proportion of
assets or equity of the acquired, merged or divided parts conforms to the proportion
stipulated in this notice. (3) The original substantive business activities of the restructured
assets shall not be changed within 12 consecutive months after the reorganization of the
enterprise. (4) The proportion of the amount of equity payment involved in the consideration of
the restructuring transaction is in accordance with the provisions of this notice. (5) The original
major shareholders who have obtained equity payment in the reorganization of the enterprise
shall not transfer the acquired equity within 12 consecutive months after the reorganization.”

     Article 6 “If the enterprise restructuring meets the conditions stipulated in Article 5 of this
notice, the parties to the transaction may make special tax treatment for the equity payment
part in their transaction according to the following provisions: ... (2) Equity acquisition: the
equity purchased by the acquiring enterprise is not less than 75% of the total equity of the
acquired enterprise, and the amount paid by the acquiring enterprise in the acquisition when it
happens is not less than 85% of the total transaction payment, which can be handled
according to the following provisions ....”

     Article 7 “When an enterprise has an equity and asset acquisition transaction between
China and overseas (including Hong Kong, Macao and Taiwan), it should not only meet
the conditions stipulated in Article 5 of this notice, but also meet the following conditions
before it can choose to apply special tax treatment regulations: (I) Non-resident enterprise
transfers its equity of an resident enterprise to another non-resident enterprise directly
and 100% controlled by it, which does not cause any change in the withholding tax burden
of the income from the equity transfer in the future, and the transferor’s non-resident
enterprise promises in writing to the competent tax authorities that it will not transfer its
equity of the transferee’s non-resident enterprise within 3 years (including 3 years) ;”

    As far as this case is concerned, the transaction arrangement under the 428 Agreement
meets the requirements of the above-mentioned special tax restructuring, including:

     （1）       Conformity with Article 1: 428 Agreement is an internal reorganization
               transaction, that is, the rearrangement of relevant legal entities held by the
               participating shareholders and the controlling shareholders;
     （2）       Conformity with Article 5 and Article 6: The proportion of assets or equity of the
               acquired, merged or separated parts meets the requirement of not less than 75%,
               and the 80% equity of Sijihuacheng held by Greencourt Properties meets this
               requirement;
     （3）       Conformity with Article 5 and Article 6: The consideration of the acquiring
               enterprise includes equity payment, which is not less than 85% of the total
               transaction payment. The payment method of the equity transfer transaction is
               100% equity payment, which also meets this requirement;
     （4）       Conformity with Article 7: The transferor Greencourt Properties will not transfer
               the equity of Shibang Company within three years. This is the reason for the
               “three-year” custody period stipulated in Article 2.3.3 of 428 Agreement.

     It can be seen that even if the tax authorities think that the equity transfer transaction
involved in the case can be subject to special tax treatment after approval, this is also the true
intention of all parties, including Ke Zhengguang and Xu Hongbiao, under the 428 Agreement.
Otherwise, it is not necessary for all parties to agree on the equity payment method and the three-
year custody method under the 428 Agreement. Therefore, even if special tax treatment can be
applied to the equity transfer transaction, it is consistent with the expectations of all parties when


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signing the 428 Agreement in 2010, and will not harm the legitimate rights and interests of any
party.

    5. Ke Zhengguang and Xu Hongbiao are both participating shareholders with the
same interests. Xu Hongbiao recognizes the equity transfer transaction involved in the case,
which is sufficient for judging that the equity transfer transaction involved in the case
complies with the 428 Agreement and will not harm the interests of participating
shareholders.

     Xu Hongbiao is also a participating shareholder, but he does not thinks that the Equity
Transfer Agreement involved in the case harms his interests. During the trial of this case, the
Plaintiff asked the agent of Shibang Company whether Xu Hongbiao, the legal representative of
Shibang Company in this case, thought that the equity transfer involved in the case harmed his
interests. The agent of Shibang Company replied that Xu Hongbiao did not think that the Equity
Transfer Agreement involved in the case harmed his interests. Moreover, even without
considering the reply from the agent of Shibang Company, from an objective point of view, if
Xu Hongbiao thinks that the Equity Transfer Agreement involved in the case harms his interests,
Shibang Company will not bring a lawsuit or sign the Equity Transfer Agreement involved in
the case at all.

     In the Hong Kong arbitration case, Xu Hongbiao and Ke Zhengguang were both applicants
in the arbitration case, which is sufficient to show that Ke Zhengguang and Hong Xu’s position
and interests are generally consistent. However, Xu Hongbiao, as the legal representative of
Shibang Company, obviously holds the same position as Shibang Company, that is, he
recognizes the legal validity of the equity transfer transaction, and does not think that the equity
transfer transaction damages any of his interests. As a participating shareholder, Xu Hongbiao’s
position expressed by Shibang Company in this case is sufficient to prove: Ke Yeying’s so-called
defense that the Equity Transfer Agreement damages the interests of participating shareholders
can’t represent the positions and interests of all participating shareholders.

     Before the trial of this case, the plaintiff submitted an application for adding a third
person to your court, including adding Xu Hongbiao and Ke Yeying as the third persons
in this case, so that your company can find out the facts. However, your court has never
agreed. If the court does not recognize Xu Hongbiao’s expression of intention in this case
through Shibang Company, Xu Hongbiao should be added to participate in the lawsuit in
this case.

    VI. Ke Yuying unilaterally denied his father’s intention, which is an abuse of
inheritance rules and violation of the principle of good faith, and should not be supported

    Sijihuacheng claims that the equity transfer transaction involved in the case is invalid
because it damages Ke Yeying’s interests and causes Ke Yeying’s future tax increase. However,
Ke Yeying is neither a party to the case nor a party to the 428 agreement, and he has no right to
change the contents confirmed and the meaning expressed by her father under the 428 agreement.

      Ke Yeying is not even a party in any of the clauses under the 428 agreement. Ke Yeying is
only the estate administrator of Ke Zhengguang, and does not of course replace Ke Zhengguang
as a party under the April 28 Agreement. Proceeding from his own interests, Ke Yeying
maliciously interpreted the April 28 Agreement, refused to recognize the relevant transaction
arrangements confirmed by his father under the April 28 Agreement, and tried to change his
father’s intention under the April 28 Agreement. In fact, he tries to harm the legitimate interests
of all other shareholders in order to realize his private interests.

     Therefore, Ke Yeying is not a party under the April 28 Agreement, and has not participated


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in the signing and implementation of the April 28 Agreement, but only participated in arbitration
as Ke Zhengguang’s estate administrator, who does not of course inherit Ke Zhengguang’s
subject position under the April 28 Agreement, and has no right to change Ke Zhengguang’s
expression of intention, explain the contents of the April 28 Agreement, and challenge the
controlling shareholder’s implementation of the April 28 Agreement.

                                         ******************
     To sum up, the plaintiff’s claim has sufficient factual basis and legal basis, and the Plaintiff
requests your court to support all the plaintiff’s claims according to law on the basis of finding
out the facts, so as to safeguard the legitimate rights and interests of the plaintiff.

    To
Shanghai Fengxian District People’s Court
                                                                Greencourt Properties Co., Ltd.

                                                                    _______________________
                                                                  Lawyer Gu Yi/Lawyer Liu Jiadi
                                                                                 June 25, 2020




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                                                                                                       junhesh@junhe.com




            原告绿庭置业有限公司与被告一上海绿庭四季花城房地产开发有限公司、
                    被告二许良彦、第三人世邦有限公司
                        公司登记纠纷案件
                                               原告提交之补充代理意见


                                                                         （2019）沪 0120 民初 10021 号


   尊敬的合议庭，

       就贵院受理的原告与被告一上海绿庭四季花城房地产开发有限公司（下称“被
   告一”或“四季花城”）、被告二许良彦（下称“被告二”）、第三人世邦有限公司（下
   称“第三人”或“世邦公司”）之间的公司登记纠纷案件[案号：         （2019）沪 0120 民初
   8611 号，下称“本案”]中，原告已经于 2020 年 5 月 26 日向贵院递交书面代理意
   见（详见本代理意见附件）。在上述书面代理意见的基础上，原告就案涉股权转让
   协议效力问题进一步发表如下补充代理意见，供贵院审理本案时参考。


     原告认为，案涉股权转让协议合法有效，并不构成对任何一方利益的损害，
   主要理由概括如下：

     1、 世邦公司成立在先、428 协议签署在后，徐宏标及柯铮光两位小股东均是
   世邦公司成立之初由绿庭置业委派至世邦公司的董事，在 428 协议签署时，其清
   楚知悉世邦公司是绿庭置业 100%持股、绿洲投资间接 100%持股。四季花城及其
   实际控制人柯烨颖，无权以其自行理解的内容，否认当时的柯铮光及徐宏标认知
   的客观事实；


     2、 四季花城根本不是 428 协议的当事人，无权对 428 协议条款内容作出限
   缩解释。并且，428 协议第 2.3.1 条“绿洲投资已在香港设立了世邦有限公司”内容，

北京总部   电话: (86-10) 8519-1300    上海分所   电话: (86-21) 5298-5488    深圳分所   电话: (86-755) 2587-0765    广州分所   电话: (86-20) 2805-9088
       传真: (86-10) 8519-1350           传真: (86-21) 5298-5492           传真: (86-755) 2587-0780           传真: (86-20) 2805-9099
大连分所   电话: (86-411) 8250-7578   海口分所   电话: (86-898) 6851-2544   天津分所   电话: (86-22) 5990-1301     青岛分所   电话: (86-532) 6869-5000
       传真: (86-411) 8250-7579          传真: (86-898) 6851-3514          传真: (86-22) 5990-1302            传真: (86-532) 6869-5010
成都分所   电话: (86-28) 6739-8000    香港分所   电话: (852) 2167-0000      纽约分所   电话: (1-212) 703-8702      硅谷分所   电话: (1-888) 886-8168
       传真: (86-28) 6739 8001           传真: (852) 2167-0050             传真: (1-212) 703-8720             传真: (1-888) 808-2168

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仅为事实陈述，而非合同项下当事人的合同义务；并且，该等事实陈述内容也与
客观情况一致，绿洲投资直接持有绿庭置业 100%股权，间接持有世邦公司 100%
股权，绿洲投资就是世邦公司的实际控制人及实际设立者，428 协议表述为绿洲
投资设立世邦公司完全符合客观情况，更符合商业交易逻辑。

  3、 世邦公司股权转让价款及其支付方式并不会影响税务核定结果。税务局
对于股权转让方的应缴纳所得税的核定并不取决于当事人在股权转让合同中对
于股权转让对价的约定，更不取决于当事人之间的股权转让价款支付方式。更何
况，四季花城从未提交其审计报告，不足以认定案涉股权转让价款低于其股权市
场价值。

  4、 即使本案股权转让能够适用特殊税务处理，也是 428 协议当事人，包括
柯铮光及徐宏标的真实意思表示，案涉股权转让协议不构成对任何一方利益的损
害。

  5、 柯铮光及徐宏标同为 428 协议项下的小股东，其利益一致。如果 428 协
议的签署将导致柯铮光的继承者柯烨颖承受更多税款，那么对徐宏标也一样。然
而，徐宏标在本案中明显呈现与柯烨颖不同的立场，徐宏标认可案涉股权转让协
议的合法效力，从其作为世邦公司在本案中的法定代表人、授权世邦公司在本案
项下提出独立请求即可得知。

  6、 本案实质是柯烨颖继承其父亲遗产后，单方拒绝认可其父亲柯铮光在 428
协议项下的意思表示所引发，法院不能纵容继承人任意改变被继承人的意思表示、
单方恶意对于在先协议作出恶意解读的行为，否则，这是对继承规则的滥用，更
是对诚实信用原则的违反。


   具体理由如下：


    一、428 协议于 2010 年签署时，参股股东均明确知悉世邦公司是绿庭置业在
2009 年设立，且 2013 年仲裁阶段，没有任何一方对于世邦公司的设立提出异议


   世邦公司设立于 2009 年 11 月 5 日，而 428 协议签署于 2010 年 4 月 28 日。


  世邦公司成立之时，徐宏标及柯铮光都是世邦公司的董事，系股东绿庭置业
委派，因此，在 428 协议签署时，柯铮光及徐宏标均清楚知悉世邦公司的设立主
体是绿庭置业而非绿洲投资。对此，世邦公司的法定代表人徐宏标也通过世邦公
司在庭审中确认其知悉这一事实。




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    香港仲裁裁决第 6 项命令要求控股股东促使绿庭置业向世邦公司转让四季花
城 80%股权，符合参股股东提出的仲裁裁决，也与 428 协议约定一致。如果参股
股东认为世邦公司的成立不符合 428 协议、认为该等股权转让事项不符合参股股
东的利益，其理应在仲裁案件过程中提出。并且，从世邦公司在庭审中发表的意
见来看，其在本案中的法定代表人徐宏标也从来不认为世邦公司的设立不符合
428 协议，而柯烨颖并非 428 协议当事人，其提出的意见，既与逻辑不符合，也
与事实不符，显然不应得到采信。


   二、428 协议第 2.3.1 条陈述符合客观情况，且该条不是当事人的合同义务


  428 协议第 2.3.1 条“绿洲投资已在香港设立了世邦有限公司，并已安排世邦
公司收购了绿洲投资香港子公司绿庭置业有限公司所持有之上海绿庭四季花城
房地产开发有限公司（以下称“四季花城”）80%的股权”内容，仅为事实陈述，
是对客观情况的确认，而非合同项下当事人的合同义务。


  该等事实陈述内容也与客观情况一致，绿洲投资直接持有绿庭置业 100%股
权，间接持有世邦公司 100%股权，绿洲投资就是世邦公司的实际控制人及实际
设立者，428 协议表述为绿洲投资设立世邦公司完全符合客观情况，也符合商业
交易逻辑。


  从第 2.3.1 条来看，由世邦公司收购四季花城 80%股权是各方追加的目标，
这也正是案涉股权转让协议签署的原因、也是香港仲裁裁决第 5 项命令作出的原
因。

  三、股权转让价款及支付方式不会影响税收核定结果，税收核定结果也不会
影响股权转让协议效力，四季花城怠于提供审计报告才导致案涉股权转让交易无
法进行税务申报


  被告主张涉案股权转让协议因未进行税务申报而未能发生合法效力，该等抗
辩系本末倒置，根本无法成立：


  首先，税收核定发生于股权转让协议生效后、办理变更登记之时。根据《国
家税务总局关于贯彻落实企业所得税法若干税收问题的通知》（国税函[2010]79 号）
第三条规定：“关于股权转让所得确认和计算问题 企业转让股权收入，应于转让
协议生效、且完成股权变更手续时，确认收入的实现。转让股权收入扣除为取得
该股权所发生的成本后，为股权转让所得。企业在计算股权转让所得时，不得扣
除被投资企业未分配利润等股东留存收益中按该项股权所可能分配的金额。”因



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此，根据税务实践，股权转让协议的生效在先、股权转让收入确认（即税务核定）
在后，并且，只有股权转让协议办理转让登记时，才会产生税额确认问题。因此，
股权转让交易是否完税与股权转让协议效力无关，恰恰相反，只有股权转让协议
依法发生效力并办理变更登记，才会产生税务核定问题。


  其次，税务核定的应纳税所得额，取决于税务机关对于目标公司股权实际价
值的认定，而不取决于当事人转让协议中对于股权转让价格的约定。案涉股权转
让交易为企业内部的重组。庭审中，被告也认可，案涉股权转让交易是整个绿洲
投资企业重组的一部分。该等股权转让交易存在特殊性，至于是否能够适用《59
号文》的特殊税务处理，以及由此产生的税款应当如何承担、承担多少金额，均
不取决于案涉股权转让协议的约定。中国的税务机关对于税款金额的核定，不受
当事人之间在合同中约定的交易价格影响，税务机关通常会按照公允价值核定交
易所得税款。


  再者，现阶段仅有四季花城才掌握其股权的实际价值，无论是绿庭置业还是
世邦公司均不掌握，无法按照其实际股权价值确认股权转让价格。事实上，根据
香港仲裁裁决第 4 项，仲裁庭判令申请人（即柯铮光之遗产、徐宏标）于裁决作
出之日起的 2 个月内向相关的审批机关提供一份审计报告（即四季花城的审计报
告），该等裁决命令的用意即在于确定四季花城的股权价值，以供审批机关相应核
定税款。然而，四季花城的实际控制人柯烨颖至今仍然未能按裁决内容提供相应
的审计报告，由此导致案涉股权转让交易至今无法完成税款核定的责任，应当由
四季花城及其实际控制人承担。


   四、如果能够适用特殊税务处理，也是各方在 428 协议项下的真实意思表示

  原告主张的特殊税务重组法律规范为，《财政部、国家税务总局关于企业重组
业务企业所得税处理若干问题的通知》（财税[2009]59 号）（下称“59 号文”）。


   根据《59 号文》：


  第一条：
     “本通知所称企业重组，是指企业在日常经营活动以外发生的法律结
构或经济结构重大改变的交易，包括企业法律形式改变、债务重组、股权收购、
资产收购、合并、分立等……（三）股权收购，是指一家企业（以下称为收购企业）
购买另一家企业（以下称为被收购企业）的股权，以实现对被收购企业控制的交
易。收购企业支付对价的形式包括股权支付、非股权支付或两者的组合。”


   第五条“五、企业重组同时符合下列条件的，适用特殊性税务处理规定：



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（一）具有合理的商业目的，且不以减少、免除或者推迟缴纳税款为主要目的。
（二）被收购、合并或分立部分的资产或股权比例符合本通知规定的比例。  （三）
企业重组后的连续 12 个月内不改变重组资产原来的实质性经营活动。（四）重组
交易对价中涉及股权支付金额符合本通知规定比例。  （五）企业重组中取得股权支
付的原主要股东，在重组后连续 12 个月内，不得转让所取得的股权。”


  第六条“企业重组符合本通知第五条规定条件的，交易各方对其交易中的股
权支付部分，可以按以下规定进行特殊性税务处理：…（二）股权收购，收购企
业购买的股权不低于被收购企业全部股权的 75%，且收购企业在该股权收购发生
时的股权支付金额不低于其交易支付总额的 85%，可以选择按以下规定处理……”


  第七条“企业发生涉及中国境内与境外之间（包括港澳台地区）的股权和资
产收购交易，除应符合本通知第五条规定的条件外，还应同时符合下列条件，才
可选择适用特殊性税务处理规定：
              （一）非居民企业向其 100%直接控股的另一非
居民企业转让其拥有的居民企业股权，没有因此造成以后该项股权转让所得预提
税负担变化，且转让方非居民企业向主管税务机关书面承诺在 3 年（含 3 年）内
不转让其拥有受让方非居民企业的股权；”


   就本案而言，428 协议项下的交易安排符合上述特殊税务重组的要求，包括：


   （1）    符合第一条：428 协议是企业内部重组交易，即参股股东与控股股东
          对于各自持有的相关法律实体的重新安排；
   （2）    符合第五条及第六条：被收购、合并或分立部分的资产或股权比例符
          合不低于 75%的要求，绿庭置业持有的四季花城股权为 80%正是满
          足这一要求；
   （3）    符合第五条及第六条：收购企业的对价包括股权支付，且不低于不低
          于其交易支付总额的 85%，案涉股权转让交易的支付方式为 100%股
          权支付，也正是满足这一要求；
   （4）    符合第七条：转让方绿庭置业三年内不转让世邦公司股权。这正是 428
          协议第 2.3.3 条约定的“三年”托管期的原因。


  可见，即使税务机关核定后认为案涉股权转让交易可以适用特殊税务处理，
这也是各方，包括柯铮光、徐宏标在 428 协议项下的真实意思表示，否则，各方
根本没有必要在 428 协议项下约定股权支付方式及三年托管方式。因此，即使案
涉股权转让交易能够适用特殊税务处理，也与各方在 2010 年签署 428 协议之时
的预期一致，并不会损害任何一方的合法权益。




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  五、柯铮光与徐宏标同为参股股东，利益一致，徐宏标认可案涉股权转让交
易，足以判断案涉股权转让交易符合 428 协议、不会损害参股股东利益


  徐宏标同样是参股股东，但其并不认为案涉股权转让协议损害其利益。在本
案审理过程中，原告向世邦公司代理人发问，询问世邦公司在本案中的法定代表
人徐宏标是否认为案涉股权转让损害其利益，世邦公司的代理人回答是，徐宏标
并不认为案涉股权转让协议损害其利益。并且，即使不考虑世邦公司代理人的答
复，从客观来看，如果徐宏标认为案涉股权转让协议损害其利益，世邦公司根本
不会提出本案诉讼，也不会签署案涉股权转让协议。


  在香港仲裁案件中，徐宏标与柯铮光同为仲裁案件申请人，由此足以说明，
柯铮光与徐宏标的立场及利益大体是一致的。然而，对于案涉股权转让交易，徐
宏标作为世邦公司的法定代表人，其与世邦公司显然持有相同立场，即其认可案
涉股权转让交易的合法有效性，而并不认为案涉股权转让交易损害其任何利益。
徐宏标作为参股股东，其在本案中通过世邦公司表达的立场足以证明：柯烨颖提
出的所谓案涉股权转让协议损害参股股东利益的抗辩理由并不能够代表全体参
股股东的立场和利益。


  本案开庭前，原告已经向贵院递交追加第三人申请，包括追加徐宏标及柯烨
颖为本案第三人，以便于贵司查明事实，然而，贵院始终未能同意。如法院不认
可徐宏标通过世邦公司在本案中作出的意思表示，应当追加徐宏标参加本案诉讼。


  六、柯烨颖单方否认其父亲的意思表示，滥用继承规则，违反诚实信用原则，
不应当得到支持

  四季花城主张，案涉股权转让交易因损害柯烨颖的利益、导致柯烨颖将来的
税费增加而无效。然而，柯烨颖根本不是本案当事人，也不是 428 协议当事人，
其无权改变其父亲在 428 协议项下确认的内容及作出的意思表示。


    柯烨颖甚至都不是 428 协议项下的当事人。柯烨颖仅是柯铮光的遗产管理人，
并不当然取代柯铮光成为 428 协议项下的当事人。柯烨颖从其自身利益出发，对
于 428 协议作出恶意解读、拒绝认可其父亲在 428 协议项下确认的相关交易安排，
试图改变其父亲在 428 协议项下的意思表示，实则是以欲实现其私人利益而试图
损害全体其他股东的合法利益。


  因此，柯烨颖并非 428 协议项下当事人，其并未参与 428 协议的签署及履行，
而仅是作为柯铮光的遗产管理人参与仲裁，并不当然继承柯铮光在 428 协议项下



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的主体地位，更是无权改变柯铮光的意思表示、无权对 428 协议的内容作出解释，
更是无权对于控股股东对于 428 协议的履行情况提出挑战。


                           ******************


  综上所述，原告提出的诉讼请求具有充分的事实依据及法律依据，原告请求
贵院在查明事实的基础上，依法支持原告的全部诉讼请求，以维护原告的合法权
益。


  此致
上海市奉贤区人民法院
                                                       绿庭置业有限公司


                                                _______________________
                                                  顾依律师/刘佳迪律师
                                                二零二〇年六月二十五日




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                            TRANSLATION CERTIFICATION

Date: July 29, 2020

To whom it may concern:
This is to certify that the attached translation is an accurate representation of the documents
received by this office. The translation was completed from:
      •    Chinese (PRC)
To:
      •    English (USA)
The documents are designated as:
   • 20200316 A13028 Final Award

Eugene Li, Project Manager in this company, attests to the following:
“To the best of my knowledge, the aforementioned documents are a true, full and accurate
translation of the specified documents.”




Signature of Eugene Li




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Arbitration under the 2008 Hong Kong International Arbitration Centre Administered Arbitration
                                             Rules
                                   Case No.: HKIAC/A13028

Xu Hongbiao                                                                      First Claimant
Estate of Ke Zhengguang                                                        Second Claimant
                                                  (Collectively referred to as the "Claimants")
Oasis Investment Group Limited                                                 First Respondent
(Oasis Investment Group Limited)
Yu Stephany Naifen                                                          Second Respondent
Yu Naiwen                                                                     Third Respondent
Yu Naijun                                                                    Fourth Respondent
                                                                 (Collectively referred to as the
                                                                                "Respondents")



                        Final Award on Arbitration fees and Interest



A. Preamble
1.      On February 28, 2018, the arbitral tribunal made a final award on the case (excluding the
arbitration fees and interest). The final award was delivered to the parties by HKIAC on March 7,
2018.


2.      On December 19, 2018, the arbitration tribunal issued their decision on Interpretation,
Correction and Supplementation to the Arbitration Award based on the Second Claimant's
Application for Interpretation/Correction/Supplementation submitted by the second Claimant. The
decision was delivered by HKIAC to the parties on January 9, 2019.




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3.       According to the email of the arbitration tribunal on September 21, 2018, the parties were
directed to deal with the issues related to arbitration fees and interest after the arbitration tribunal
made decisions on the application for interpretation, correction and supplementation.


4.       On February 11, 2019, the first Claimant sent an email to the arbitration tribunal,
attaching again the statements for the arbitration fees and interest submitted by the first Claimant
to the arbitration tribunal on April 21, 2018.


5.       The first Claimant requests the arbitration tribunal to make the following directions on the
issues related to the arbitration fees and interest:


(1)      The second Claimant and the Respondents shall, within 14 days, submit a written
submission to the arbitral tribunal on the issues related to the arbitration fees and interest.
(2)      The first Claimant requests to submit a response to the second Claimant’s and
Respondents’ submissions to the arbitral tribunal within 14 days.


6. On February 15, 2019, the second Claimant informed the arbitration tribunal regarding the
schedule on issues related to the arbitration fees and interest which were proposed by the first
Claimant on February 11, 2019. The second Claimant and the Respondents had carried out
negotiations and reached a unanimous agreement on the following views, which they hoped to be
adopted by the arbitration tribunal.


(1)      Within 21 days from the date when the arbitration tribunal directs the parties to start
negotiations for issues related to the arbitration fees and interest, the parties shall firstly carry out
negotiations for issues related to the arbitration fees and interest on a without prejudice basis and
try to reach settlement.


(2)      If the parties fail to reach settlements on all the issues related to the arbitration fees and
interest at the end of the 21 days, the parties shall, within 35 days thereafter, submit their
respective statements to the arbitral tribunal for the issues related to the arbitration fees and
interest that have not been settled. The statements shall include the liabilities of the parties on the
issues related to the arbitration fees and interest, the amount claimed, and the evidentiary materials
and legal basis for the statements of the parties.




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(3)         There is no need to provide information other than each bill amount in the bill of
attorney’s fees and those protected by privilege in other evidentiary materials.


(4)         Each party shall submit its own response to the other party’s statements within 21 days
after submitting the statements for the issues related to the arbitration fees and interest.


7. On February 19, 2019, the arbitral tribunal gave the following directions for the parties to
follow:


(1)         The parties shall carry out negotiations for the issues related to the arbitration fees and
interest within 14 days from the same day (i.e. February 19, 2019), and the parties shall firstly
carry out negotiations for issues related to the arbitration fees and interest on a without prejudice
basis and try to reach settlements.


(2)         If the parties fail to reach settlements on all the issues related to the arbitration fees and
interest by March 5, 2019, the parties shall, within 21 days thereafter (i.e. March 26, 2019), submit
their respective statements for the issues related to the arbitration fees and interest that have not
been settled to the arbitral tribunal. The statements shall include the liabilities of the parties on the
issues related to the arbitration fees and interest, the amount claimed, and the evidentiary materials
and legal basis for the statements of the parties.


(3)         There is no need to provide information other than each bill amount in the bill of
attorney’s fees and those protected by privilege in other evidentiary materials.


(4)         Each party shall submit its own response to the other party’s statements within 14 days
(i.e. April 9, 2019) after submitting the statements for the issues related to the arbitration fees and
interest.


8.          On March 24, 2019, the arbitration tribunal, at the joint request of the parties, approved
the extension of the statements for the issues related to the arbitration fees and interest submitted
by the parties to April 4, 2019, and the extension of the time for the parties to submit their
responses to April 18, 2019 accordingly.




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9.       On April 4, 2019, the arbitration tribunal, at the joint request of the parties, approved the
Respondents to apply for a short-term extension for the parties to submit their statements for the
arbitration fees and interest to April 8, 2019, and the time for the parties to submit their responses
to April 23, 2019 accordingly (taking into account that April 22 is the Easter holiday).


10.      On April 8, 2019, the first Claimant submitted the claimed amount for the arbitration fees
of the first Claimant and the statements for the arbitration fees and interest of the first Claimant.
On the same day, the second Claimant submitted the statements for the fees and interest and the
regulations of legal basis. In the early morning on April 9, 2019, the Respondents submitted the
statements for the issues related to the arbitration fees and interest of the Respondents.


11.      On April 24, 2019, at the joint request of the parties, the arbitration tribunal approved the
extension for two weeks, and the parties submitted the responses to the arbitration fees and interest
on May 7, 2019.


12.      On May 8, 2019, after hearing the objections of the second Claimant and the Respondents
against the application for extension made by the first Claimant on May 7, the arbitration tribunal
approved the parties to submit the responses to the arbitration fees and interest on May 10, 2019.
The arbitral tribunal emphasized that it would not approve any application for extension again
unless there were some very special reasons.


13.      On May 10, 2019, the parties submitted their statements for their responses to the
arbitration fees and interest.


14.      The arbitration tribunal has carefully and fully read and considered the written statements
submitted by the parties, and made the Final Award on Arbitration fees and interest after collegial
discussions. As the statements submitted by the parties were quite detailed and lengthy, the
arbitral tribunal does not list all the views and claims of the parties in this award, but this does not
mean that the arbitral tribunal has not fully considered those views or claims.




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B. Statements of the first Claimant


15. The first Claimant relied on the Statements for Arbitration fees and interest submitted on April
21, 2018. In the statements, the first Claimant indicated that, two points were indicated by the
Respondents in the statements for the arbitration fees in Part F in the closing statements on July 13,
2017:


(1)     The arbitration fees shall be apportioned proportionally depending on the liabilities in the
result of the award;


(2)     If the Respondents are required to pay the arbitration fees, the arbitration fees of the
second Claimant shall not be paid.


16. The first Claimant claims that the arbitration fees (including the attorney’s fees of the first
Claimant) shall be borne by the Respondents for the following reasons:


(1)     Unless under special circumstances, the arbitration fees shall be borne by the unsuccessful
party in principle: Article 36.4 in the Hong Kong International Arbitration Centre Administered
Arbitration Rules (effective from September 1, 2008);


(2)     Under the arbitration award, the arbitral tribunal obviously accepted the positions of the
first Claimant with respect to most of the disputes and ruled that the Respondents lost in the case.
The first Claimant listed the paragraphs and decisions in the final award: Paragraphs 246, 254, 267,
268, 269, 271, 274, 281 (on equity considerations); 274 (on property swap); 314, 318, 320, 322,
324 (on settlement of the bonds and debts of Si Ji Hua Cheng).


17.     The first Claimant also indicates that, the Respondents have expressly indicated that the
Respondents are willing to pay the arbitration fees of the first Claimant if required to pay the
arbitration fees for the arbitration: See Paragraph 161 of the Respondents’ closing statement.


18.     The total amount of the first Claimant’s claim for the arbitration fees is HK$ 28,000,000,
including the first Claimant’s expenses on lawyer, barrister and arbitration center and arbitration
tribunal. However, the arbitral tribunal noted that the first Claimant did not provide evidentiary
support for the amount, which was not in line with the directions made by the arbitral tribunal on
February 19, 2019, and also made it impossible for the arbitral tribunal to know whether the
amount was accurate.


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19.     With respect to the interest, the first Claimant claims that the Respondents shall pay
interest for the period from December 31, 2012 to the actual payment date for the delayed
payment of the final installment of the consideration of RMB 150 million.


20.     The first Claimant suggested that the arbitral tribunal should adopt an appropriate interest
rate of 8% for the ruled debts as shown by the Hong Kong court. Alternatively, if the arbitral
tribunal considers that the interest rate for the ruled debt is applicable to the period after the award
is issued, the first Claimant proposes to adopt the appropriate interest rate from December 31,
2012 to the effective date of the award, which is the most preferential interest rate of HSBC’s
Hong Kong dollar plus 1%: See Hong Kong Civil Procedure 2018 Vol. 1, Pages 99-105.


21.     Finally, the first Claimant requested the arbitral tribunal to clarify the effective date of the
award, because the date of the award was February 28, 2018, but the parties did not receive the
documents until March 7, 2018.


C. Statements of the second Claimant


22.     The second Claimant indicated that the arbitration tribunal decided on April 6, 2016 to
allow the counsel of the second Claimant at that time (Baker McKenzie) to participate in the
arbitration on behalf of the second Claimant for the administration of the estate. Based on the fact
that the second Claimant, as the successful party of the arbitration, won for all the disputes and
provided intellectual cooperation and assistance to the work of the arbitration tribunal in the whole
arbitration process, the second Claimant claims that the arbitration tribunal shall rule that the
second Claimant shall be awarded the fees incurred in the arbitration.




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23.        The second Claimant has prepared a list of summary of the arbitral tribunal in the final
award and the correction award, and intends to prove that the second Claimant is the successful
party.


24.        In addition, the second Claimant indicated that the arbitration tribunal accepted the
second Claimant’s claims, ruled that the Respondents should compensate the Claimants for the
loss of RMB 10,346,211 (Paragraph 303 and Order No.9 in the final award), and rejected all the
counterclaims of the Respondents in Paragraph 222 in the final award. Therefore, the second
Claimant claims that the Respondents shall bear the fees incurred by the second Claimant for
arbitration.


25.        The second Claimant cited and relied on Section 74 in the Hong Kong Arbitration
Ordinance (Chapter 609 of the Laws of Hong Kong) which provides for the right of the arbitral
tribunal to make an award on arbitration fees, and the provisions in Article 36 in the 2008 Hong
Kong International Arbitration Centre Administered Arbitration Rules.


26.        Section 74 in the Hong Kong Arbitration Ordinance (Chapter 609 of the Laws of Hong
Kong) provides for the right of the arbitral tribunal to award the arbitration fees:


“74. Arbitral tribunal may award costs of arbitral proceedings


(1) An arbitral tribunal may include in an award directions with respect to the costs of arbitral
      proceedings (including the fees and fees of the tribunal).


(2) The arbitral tribunal may, having regard to all relevant circumstances (including the fact, if
      appropriate, that a written offer of settlement of the dispute concerned has been made), direct
      in the award under subsection (1) to whom and by whom and in what manner the costs are to
      be paid.




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(3) The arbitral tribunal may also, in its discretion, order costs (including the fees and fees of the
   tribunal) to be paid by a party in respect of a request made by any of the parties for an order
   or direction (including an interim measure).


(4) The arbitral tribunal may direct that the costs ordered under subsection (1) are to be paid
   forthwith or at the time that the tribunal may otherwise specify.


(5) Subject to Section 75, the arbitral tribunal must –


(a) assess the amount of costs to be awarded or ordered to be paid under this section (other than
   the fees and fees of the tribunal); and


(b) award or order those costs (including the fees and fees of the tribunal).


(6) Subject to subsection (7), the arbitral tribunal is not obliged to follow the scales and practices
   adopted by the court on taxation when assessing the amount of costs (other than the fees and
   fees of the tribunal) under subsection (5).


(7) The Arbitral tribunal –


(a) must only allow costs that are reasonable having regard to all the circumstances; and


(b) unless otherwise agreed by the parties, may allow costs incurred in the preparation of the
   arbitral proceedings prior to the commencement of the arbitration.




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(8)     A provision of an arbitration agreement to the effect that the parties, or any of the parties,
must pay their own costs in respect of arbitral proceedings arising under the agreement is void.


(9)     A provision referred to in subsection (8) is not void if it is part of an agreement to submit
to arbitration a dispute that had arisen before the agreement was made.”


27. In addition, Article 36 in the 2008 Hong Kong International Arbitration Centre Administered
Arbitration Rules (the "2008 Arbitration Rules") provides as follows:


"36.4 Except as provided in Article 36.5, the costs of arbitration shall in principle be borne by the
unsuccessful party. However, the arbitral tribunal may apportion all or part of such costs between
the parties if it determines that apportionment is reasonable, taking into account the
circumstances of the case.


36.5 With respect to the costs of legal representation and assistance referred to in Article 36.1(5),
the arbitral tribunal, taking into account the circumstances of the case, shall be free to determine
which party shall bear such costs or may apportion such costs between the parties if it determines
that apportionment is reasonable."


28. In addition, the second Claimant also cited the following documents and cases:


(1) Arbitration in Hong Kong, A Practical Guide, Fourth Edition 2017, § 15.223-15.226;


(2) Re Eligndata Ltd No.2 [1992] 1 WLR 1207;


(3) Kwan Siu Wa Becky v. Cathay Pacific Airways Ltd (CACV 92/2010, 19/04/2011)




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 29. Based on the above legal arguments, the second Claimant claims that the successful party
     should not be deprived of its costs generally unless the unsuccessful party can prove that the
     issues or accusations raised by the successful party lead to significant extension of the
     arbitration procedures or significant increase of the arbitration fees.


 30. The second Claimant itemized the legal fees incurred in the arbitration as follows:


Serial      Content                                                   Estimation of Amount (HK$)
No.

1.          Prepare and review the documents to defend in the Half of the fees claimed by the
            arbitration (including but not limited to the Notice of first Claimant
            Arbitration, reply to the Notice of Arbitration,
            Application for Arbitration, Statement of Defense,
            counterclaim, etc.)



2.          Prepare and respond to the witness testimony              1,920,000.00

3.          Assist in the preparation of expert reports               915,000.00

4.          Prepare trial files                                       620,000.00

5.          Prepare opening statement, relationships and events       450,000.00

6.          Attend the session                                        1,800,000.00




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7.         Prepare the closing statement for two rounds               510,000.00

8.         Participate in the closing session                         200,000.00

9.         Provide general legal advice for arbitration, and          1,938,367.23
           contact the arbitration tribunal, barrister, parties and
           third parties


           Total                                                      8,353,367.23


 The main third party expenses and miscellaneous expenses incurred by the second Claimant in the
 arbitration are shown as follows (see [Attachment-2] for the relevant bills):


 No.         Content                                                   Amount (HK$)

 1.          Barrister fees                                            2,084,000.00

             Fees for senior Barrister Xu Weiqiang 810,000
             to participate in pretrial meeting and
             fees for engagement to attend the
             session


             Fees for Barrister Zheng Xinqi to 282,000
             participate in pretrial meeting and fees
             for engagement to attend the session




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         Fees for Senior Barrister Xu Weiqiang 324,000
         to prepare the closing
         statements in two rounds

         Fees for Barrister Zheng Xinqi to 108,000
         prepare the closing statements in two
         rounds


         Fees for renewal of engagement of        270,000
         Senior Barrier Xu Weiqiang

         Fees for renewal of engagement of        90,000
         Barrier Zheng Xinqi

         Fees for Senior Barrister Xu Weiqiang 140,000
         to prepare an application for
         corrections of the award


         Fees for Barrister Zheng Xinqi to 60,000
         prepare an application for corrections
         of the award

2.       Expert fees for Ye Yongqing                           396,953.00

3.       Fees for the arbitration tribunal                     2,136,542.52

4.       Fees for Hong Kong International Arbitration Centre   41,120.50




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5.          DTI costs                                                75,475.00

6.          Fees for session room                                    89,898

7.          Total                                                    4,823,989.02


 Total amount: HK$ 13,177,356.20


 31. As for the claim of the Respondents in Paragraph 161 of their closing statement, namely, even
     if the Respondents are required to pay the costs for this arbitration, they only need to pay the
     costs of the first Claimant. The second Claimant cited the reference given by the Hong Kong
     Court in Eric Edward Hotung v. Ho Yuen ki (HCA 857/2011, 18/05/2017). In this case, when
     the court decided the necessity of the second and third defendants to be represented
     respectively by different teams of attorneys, it cited the representation of the court in Xiamen
     XinJingDi Group Co., Ltd. formerly known as v. Eton properties Ltd & ors (HCCL
     13/2011, 20/11/2012), and put forward the following analysis:


 “29 Accordingly if, as Mr Barlow strongly pressed, ‘necessity’ indeed is the appropriate
 benchmark when considering the separate representation of multiple defendants, then it seems to
 me that this must be qualified in terms of the ‘necessity’ of such separate representation being
 reasonably apparently when viewed through the factual prism existing at the time of the
 retention of such representation, and not simply as a post-facto conclusion based upon that
 which did, or did not, occur at trial.




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30 In the present case thereof, at the time of retention of the representation in question - and as we
know in this case eventually there were four ‘clusters of defendants and four legal teams - was it
reasonable or unreasonable to have taken the view that separate representation was ‘necessary”
in order to guard against the possibility of conflicts of interest arising between the multiple
defendants?”


5. It would appear that the learned judge considered the applicable test to be whether it was
reasonably necessary for two (or more) legal teams to be engaged for a number of defendants
when viewed at the time of retention of such representation, and not as a matter of hindsight.”


32. Therefore, in order to determine whether the joint plaintiffs have the reasonable and obvious
   necessity to engage different attorneys, it must be based on the facts at the time of engaging
   the attorneys.


33. The second Claimant stated why the original acting attorneys of the second Claimant, Zhou
   Zhuoli, Chen Qiqiu and Chen Yili, could not continue to represent the administrator of Mr. Ke
   Zhengguang’s estate after the death of the second Claimant, Mr. Ke, on or about December 15,
   2013, and why the arbitral tribunal decided on April 6, 2016 to allow Baker McKenzie Law
   Firm to represent the administrator of Mr. Ke’s estate to participate in the arbitration.


34. The second Claimant also stated that the team of attorneys did their best to assist and cooperate
   with the work of the arbitral tribunal.




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35. In addition to the main procedures and documents in the general arbitration process, the second
      Claimant also claimed in Paragraphs 36-58 of the statement that the second Claimant has the
      right to recover the fees from the Respondents or the first Claimant for the ten intermediate
      procedures of the arbitration. The relevant statements have been considered in detail by the
      arbitration tribunal and it is unnecessary to reiterate them here.


36. With respect to the interest, the second Claimant’s statement is divided into two parts:


(1) Interest before the issuance of the final award; and


(2) Interest after the issuance of the final award.


37.        With respect to Part (1) (i.e., the interest before issuance of the final award), the second
Claimant cited the relevant provisions of Section 79 of the Hong Kong Arbitration Ordinance on
the right of the arbitral tribunal to make an award on the interest.


38.        As for the applicable principal for the interest, the second Claimant claims that the
Respondents shall pay the sum awarded to the second Claimant under the final award, which is the
interest generated by one half of the amounts in Order No.8 (RMB 150 million minus RMB
41,244,613.21 plus RMB 30 million) and Order No.9 (RMB 10,346,211) respectively.


39.        As for the period of interest, the second Claimant claims that it shall be the period from
the expiration of the performance period under the 4.28 Agreement to the date when the arbitral
tribunal makes an award. For Order No.8 of the final award, according to Article 2.2.1 (3) of the
4.28 Agreement, the calculation shall start from December 31, 2012 and end on February 28, 2018
which is the date of the final award. For Order No.9 of the final award, the calculation shall start
from August 8, 2017 and end on February 28, 2018 which is the date of the final award.


40.        With respect to the interest rate, the second Claimant claims that the traditional interest
rate of Hong Kong Court shall apply, that is, the annual interest rate shall be the most preferential
loan interest rate of HSBC, which is often applicable, plus 1%. The second Claimant cited the
cases of Hong Kong Court - Komala Deccof & Co. S.A. and Others v. Perusahaan
Pertambangan Minyak Dan Gas Bumi Negara (Pertamina) [1984] HKLR 219 and
Waddington Ltd. v. Chan Chun Hoo Thomas CACV 10/2014, 20.2.2016).




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41.     The second Claimant also claims that the interest of Order No.8 of the final award shall be
calculated at the compound interest rate, so as to actually reflect the loss of the Claimants being
deprived of the relevant funds as a result of the Respondents’ breach, and the legal basis is A-G v.
Shimizu Corp [1996] HKLY 88.


42.     With respect to Part (2) (i.e., the interest after issuance of the final award), the second
Claimant cited the provisions of Article 80 of the Hong Kong Arbitration Ordinance on the right
of the arbitral tribunal to make an award on interest.


43.     The second Claimant claims that the Respondents shall pay to the second Claimant the
interest under Orders No.8 and No.9 of the final award at the interest rate of 8%. The time of
interest calculation shall start from the payment deadline stipulated in the final award; that is, for
Order No.8, it shall start from the date of reaching 3 months from the date of making the award
and end when the appropriate amount is paid. For Order No.9, it shall start from the date of
making the award until the appropriate amount is paid.


D. Statements of the Respondents


44. In the summary of the Respondents’ statements, it is indicated that:


"In the Respondents’ opinion, the arbitral tribunal has full discretion with respect to the
apportionment of fees and interest. In this case, the parties have their claims that are supported.
The position of the Respondents in the procedure of this case is reasonable. Respondents’s position
had always been that Respondents agree to fulfill the 4.28 Agreement. The Respondents have never
objected the implementation of the agreement, but the implementation of the agreement requires
the cooperation of all the parties. The current implementation situation just proves the view the
Respondents have been holding. The implementation by "division" cannot move forward because
of failure in cooperation arising from different opinions of the parties. The biggest dispute among
the parties in this case is the apportionment of the liabilities of taxes in China arising from the
transfer of 80% of equities of Si Ji Hua Cheng when performing the "division" in the agreement,
and in this regard, the position of the Respondents is supported by the arbitral tribunal.




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After considering the comprehensive situations of this case, the Respondents claim that, in this
case, except for the costs that the arbitral tribunal has already decided to be borne by one party
(for example, the costs incurred when the first Claimant requested to revise the pleadings in 2016
shall be borne by the first Claimant), the arbitration tribunal shall decide that the parties shall
bear their own arbitration fees.


To make a concession, alternatively, if the arbitration tribunal deems it necessary to make other
decisions on the arbitration fees, then the Respondents claim that, in this case, the time and costs
of the proceedings are significantly increased due to the conflicts between the Claimants and
other reasons, and the Respondents shall not bear the following expenses: (1) The expenses that
have been decided by the arbitration tribunal to be borne by the first Claimant; (2) The expenses
related to the Claimants' multiple counsels; (3) The expenses incurred in handling with the
conflicts between the Claimants; and (4) The expenses incurred for the Respondents to gain
support (including the Claimants' objection and question to the substitute arbitrator, the
Claimants' interpretation, correction and supplementation, etc.). These expenses shall be borne by
the Claimants. Please refer to Attachment I (Summary of Attorney’s fees for the Related Matters of
the Respondents).


With regards to interest, the Respondents consider that they are not required to pay the interest.
To make a concession, alternatively, if, in the opinion of the arbitration tribunal, the Respondents
are required to pay interest for the third installment of the payment, the principal of the interest
shall be calculated in accordance with the amount in Paragraph 57 herein, and the interest period
and interest rate shall be adjusted and calculated in accordance with Paragraphs 59-65."




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45.     The Respondents cited Subsection 36.1 of the Arbitration Rules, Article 74 (2) of the
Hong Kong Administered Arbitration Ordinance (Chapter 609 of the Laws of Hong Kong),
Articles 36.4 and 36.5 of the Arbitration Rules and believed that the principle of "costs follows
the event" was not the only way for the arbitration tribunal to apportion the arbitration costs. The
other guiding principles include the one that the arbitral tribunal exercises its discretion to
determine the apportionment of the expenses if it "decides what kind of expenses is reasonable
after considering the circumstances of the case".


46.     The Respondents also cited two British cases: In re Elgindata Ltd (No. 2) [1992] 1
WLR 1207 and AEI Rediffusion Music Ltd v. Phonographic Performance Ltd [1999] 1 WLR
1507, PP. 1523-1524.


47.     In the opinion of the Respondents, for example, in the analysis of the case for AEI
Rediffusion Music Ltd v Phonographic Performance Ltd, the arbitral tribunal should not
overemphasize that a party was the ultimate successful party in determining the apportionment of
expenses, without distinguishing between good and bad opinions, or considering whether they
would cause excessive expenses. On the contrary, the arbitral tribunal should consider the
reasonableness of the costs as a whole. If a party causes unreasonable time and expenses,
resulting in significant increase of the length or costs of the proceedings, it may be deprived of all
or part of the expenses, and it shall pay all or part of the expenses of other parties.


48.     The Respondents indicated that its position in the procedures of this case was reasonable.
The Respondents’ position have always that the respondents are willing to perform the 4.28
Agreement, and agreed to request all the parties to push forward all matters in accordance with the
provisions of the 4.28 Agreement. However, the parties had different understandings of the
provisions of the 4.28 Agreement (mainly some steps and understanding of the liabilities of the
parties for "division"), which requires the instructions of the arbitration tribunal. In this case,
although the arbitration tribunal ruled that the Respondent had breaches, the final order was to
request the parties to move forward with all matters in accordance with the provisions of the 4.28
Agreement, which was essentially consistent with the Respondents' claim. A detailed analysis was
made from the four disputes concerning the perspective of equity consideration, cash
consideration, debt settlement and property swap:




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(1)     With regards to equity consideration, this can be reflected in the following three points.
Firstly, the biggest dispute in this case is the apportionment of the liabilities for taxes in China
arising from transfer of 80% of the equities in Si Ji Hua Cheng. It is the disagreement on this
point that leads to the delay of the whole "division" procedure of the parties, which is also the
cause for the disputes among the parties. With regards to this, the Respondents' position is
supported by the arbitration tribunal: Paragraphs 232 and 233 of the Final Award indicate that, in
accordance with the provisions of Article 2.2.1 (4) (a) of the 4.28 Agreement, if a price must be
defined for the equity transfer of Si Ji Hua Cheng, the relevant taxes shall also be borne by the
Claimants and shall be deducted from the cash consideration to be paid by the Respondents.
Furthermore, the arbitration tribunal also supported the position of the Respondents in the
Interpretation, Correction and Supplementation for the Arbitration Award, i.e., it is agreed that
Paragraphs 232 and 233 of the Final Award had made a clear representation on this issue, so there
was no need to make correction or supplementation. Secondly, although the arbitration tribunal
deems that the Respondents are in breach when determining the liabilities for the equity transfer,
the order given by the arbitration tribunal is not in conflict with the Respondents' claim. The
arbitration tribunal requests the parties to move forward the transfer as agreed in the agreement,
which is also the result the Respondents hoped to see (especially considering the legal and tax
risks that may exist in the many years of operation of the other party). Thirdly, the
implementation of Order No.5 of the Final Award shows that the cooperation among the parties is
indeed required in order to complete the equity transfer. The lack of cooperation from the
Claimants made it difficult for the equity transfer to move forward. This proves the view put
forward by the Respondents in the arbitration process: The precondition for the performance of
equity consideration is that the Claimants must cooperate, but the Claimants are not willing to
cooperate with the Respondents to implement the relevant matters. Therefore, the Claimants and
the Respondents shall bear their own arbitration costs related to the equity transfer.




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(2)     With respect to the cash consideration, Order No.8 of the Final Award of the arbitration
tribunal expressly indicates that the parties shall make adjustments (including tax deduction) and
then payment in accordance with Article 2.2.1 (4) (a) of the 4.28 Agreement and Paragraphs 232
(4) and 233 of the Final Award after completing the equity transfer, property swap, debt
settlement and other matters. The position of the Respondents has always been that the
Respondents agree to pay the adjusted third installment of the payment in the condition that all the
preconditions for the third installment of the payment are met. It shows that the position of the
Respondents is reasonable, and the steps for the parties to make final implementation of the cash
consideration are as requested by the Respondents, that the preconditions must be met and the
adjustments shall be made.


(3)     With respect to the debt settlement, not all claims of the Claimants received approval
from the arbitration tribunal. With regards to the six disputes, the arbitration tribunal supported the
claims of the Respondents for two disputes (for example, the salary expenses from January to
November 2009 for Ke Zhengguang and Xu Hongbiao should be returned to the first Respondent;
the Respondents do not need to pay any interest for the use of Sij Ji Hua Cheng fund by Oasis
Investment and its subordinate companies as well as the current accounts that were not paid to the
Claimants), and the arbitration tribunal held that two disputes were beyond its jurisdiction and did
not handle them.
(4)     With respect to the property swap, the Respondents do not object the property swap, but
only considers that the villa does not comply with the agreement. Although the arbitral tribunal
ruled that the villa was in conformity with the agreement, it ruled in Orders No.1 and No.2 of the
Final Award that the relevant documents of Jiuting Shop and the villa were signed at the same
time, which was consistent with the requests of the Respondents. The amount of rent loss (RMB
10,346,211) that the arbitration tribunal requests the Respondents to pay has also been reduced
compared to the amount claimed by the Claimants in Attachment I of the Closing Statements of
the Second Claimant on July 11, 2017.




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49. In contrast, many of the positions and costs of the two Claimants in this case are unreasonable.
The specific analysis is as follows:


(1)     Although the two Claimants took the same position in the end, disputes arose between the
two Claimants since 2015. The second Claimant engaged a lawyer and a barrister separately and
actively participated in the trial of the case, and the parties spent a lot of time and work to deal
with the disputes between the two Claimants. In fact, this changed the arbitration case for disputes
between two parties to disputes among three parties.


(2)     In addition, the Claimants have taken unreasonable positions in this case in many
occasions. For example, the Claimants insisted that the arbitration tribunal take the place of the
court to appoint Ms. Zhang as the representative of Mr. Ke’s estate, and the first Claimant put
forward the request to "remove the second Claimant and make the estate the fifth Respondent",
but was objected by the second Claimant, and still made challenges after the Hong Kong High
Court appointed the personal representative of the estate of the second Claimant, and so on. These
positions did not have legal basis and were not supported by the arbitration tribunal. They also
wasted a lot of time and work of the parties and the arbitration tribunal.


(3)     To sum up, in this case, the "reasonable" result is that the parties shall bear their own
arbitration costs respectively.


50. In addition, the Respondents also propose an alternative claim, that is, if the arbitral tribunal
deems that other decisions should be made regarding the arbitration fees, then in this case, due to
the significant increase of the time and costs of the procedures arising from the disputes between
the Claimants and other reasons, the Respondents shall not bear the following expenses:




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(1) The expenses decided by the arbitration tribunal to be borne by one party or to be retained for
    apportionment;


(2) Unreasonable and unnecessary expenses incurred by the two Claimants for using multiple
      counsels;


(3) Expenses incurred due to conflicts between the Claimants;


(4) The relevant expenses incurred in the outcome of the award that the Respondents won or
      expected to be consistent with the Respondents’ request in the case.


51.        In view of the above four major items, the Respondents provided the expenses for
handling each item, and also requested the arbitral tribunal to determine the amount of relevant
expenses of the arbitral tribunal.


52.        As for the issue regarding interest, the Respondents indicated that the parties did not reach
any agreement on the interest in the 4.28 Agreement or the reorganization agreement.


53.        Under such circumstances, under the Article 79.1 of the Hong Kong Arbitration
Ordinance, the arbitral tribunal has full discretion on the issues regarding the interest. The
Respondents also cited the High Court Ordinance of Hong Kong (Chapter 4 of the Laws of Hong
Kong), claiming that this principle also applies in Hong Kong civil cases. The Respondents also
cited two British cases: Business Computers Ltd v. Anglo-African Leasing Ltd [1977] 1 WLR
578 and Claymore Services Limited v. Nautilus Properties Limited [2007] EWHC 805 (TCC).


54.        The Respondents holds that the arbitration tribunal shall rule that the Respondents are not
required to pay interest to the Claimants for the following reasons:


(1)        In the consideration in the “division”, apart from the payment for the third installment of
the cash consideration, the Claimants have obtained economic benefits from the other
considerations.




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(2)     The 4.28 Agreement stipulates that preconditions have been established for the third
installment payment. The parties have no dispute that such preconditions are not yet mature. Order
No.8 of the Final Award of the arbitration tribunal also indicates that the payment shall be made
after the equity transfer, property swap, debt settlement and other matters have been completed by
the parties and adjustments (including tax deduction) are made in accordance with Article 2.2.1 (4)
(a) of the 4.28 Agreement and Paragraphs 232 (4) and 233 of the Final Award.


55.     On May 4, 2010 and June 27, 2011, the Respondents paid RMB 100 million out of the
RMB 250 million in the cash consideration;


56.     Although the ownership of Si Ji Hua Cheng and Jiuting shops has not been formally
transferred, the Claimants have already been enjoying the economic benefits therefrom. Moreover,
before signing the 4.28 Agreement, the control of Si Ji Hua Cheng had been fully handed over to
the Claimants, and the shops had been handed over to the Claimants for management through the
power of attorney. All the profits from the development and sale of Ban Dao Jun Wang Villas
under Si Ji Huang Cheng belong to the Claimants. According to the court statements of Miss Ke,
the personal representative of the estate of the second Claimant, 29 units of the villas had been
sold at that time, and Si Ji Hua Cheng/the Claimants obtained at least RMB 1 billion of total sales
amount. Moreover, the arbitral tribunal has determined the amount of the loss of the shop rent paid
by the Respondents to the Claimants.


57.     On the contrary, the Respondents have not yet acquired the ownership of the villas or
moved into the villas, and have no way to use the villas or realize their economic value. However,
the Claimants, in fact, are controlling some Jiuting shops and gain benefits therefrom. Obviously,
this is not consistent with the original intention of the swap of the parties and is unfair to the
Respondents. In addition, the total market value of the two villas was about RMB 94.17 million
(the time of valuation was September 30, 2016). During the trial, Miss Ke Yeying stated that the
value of the shops exceeded RMB 100. Mr. Xu Hongbiao also said that the value of the villas was
much lower than that of the shops when inquired.




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58.     The arbitration procedures were delayed due to the contradictions and conflicts between
the two Claimants and other reasons. The liabilities did not lie with the Respondents, so the
Respondents should not be punished for this.


59.     To make a concession, alternatively, if the arbitration tribunal considers that the
Respondents should pay interest for the third installment of the payment, the Respondents
consider that the principal amount for the interest to be paid should be RMB 22,289,896, and the
following corresponding adjustments shall be made for the interest period, and the interest rate for
the second installment shall be calculated on the basis of the Hong Kong Association of Banks
Hong Kong Dollars Interest Settlement Rates (HKAB HKD Interest Settlement Rates) (also
known as the "Hong Kong InterBank Offered Rate "HIBOR") + 2%.


60.     With regards to the calculation of principal for the interest, first of all, the Respondents
consider that the total principal for the interest to be paid to the Claimants should be RMB
22,289,896 (i.e., RMB 150 million - RMB 41.224613 million - RMB 3.127591 million - RMB
42.0664 million - RMB 26.2915 million - RMB 15 million). The reasons are as follows:


(1)     According to Article 2.1 of the 4.28 Agreement, the final settlement amount shall be RMB
150 million less the carryover current accounts undertaken by the Claimants which was more than
RMB 41 million. In view of the fact that the parties have no dispute about such amount and the
arbitral tribunal supports this view, RMB 41.224613 million shall be deducted from the final
settlement.


(2)     RMB 3,127,591.77 was the salary expenses for Ke Zhengguang and Xu Hongbiao from
January to November 2009. The arbitration tribunal supported the position of the Respondents and
ruled that Si Ji Hua Cheng (the Claimants) shall pay the first Respondent such amount. Therefore,
this amount should be deducted from the principal.


(3)     According to the net assets reflected in the accounting reports of Si Ji Hua Cheng in 2009
and the possible profits generated by the villa project, the income tax payable from transfer of 80%
equities of Si Ji Hua Cheng held by Greencourt Property is about RMB 42.0664 million (experts
in the parties agree that, according to the Law on Enterprise Income Tax and its implementation
regulations, the enterprise income tax is calculated at the special tax rate applicable to non-resident
enterprise, i.e., 10% of the income from equity transfer); the income tax payable from the transfer
of 20% equities of Si Ji Hua Cheng held by Greencourt Science and Technology Innovation is
about RMB 26.2915 million (for the transfer for residential enterprises, the tax rate of 25% is
based on for calculation).
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(4)     On January 29, 2016, the Respondents paid RMB 15 million to Sheng Yuan through the
related party on behalf of Si Ji Hua Cheng. Both the Respondents and the second Claimant agree
that such RMB 15 million "shall be deemed that the first Respondent has paid the current account
of RMB 15 million in advance on behalf of Si Ji Hua Cheng according to the provisions in the
Agreement on Advance Payment of Current Accounts", which can be used to offset the current
accounts. For this matter, although the arbitration tribunal holds the opinion that the issue of
"whether the amount can be used to offset RMB 41.224613 million for the current accounts" falls
beyond the jurisdiction of the arbitration tribunal, it does not deny that the amount had been paid.
Therefore, the amount should be deducted from the principal for interest in calculation.


(5)     Article 2.1.2 of the 4.28 Agreement expressly indicates that RMB 30 million is the
"conditional payment" for "one-off additional compensation", and the payment condition is that
"the payment of the consideration for the share repurchase by Oasis Investment has been
completed and there is no major dispute between the two parties". However, the parties have
major disputes on the consideration payment during the performance of the 4.28 Agreement and
the consideration payment for share repurchase has not been completed, so the additional
compensation of RMB 30 million shall not be included in the scope of calculation for interest.


61. With regards to the applicable period of interest calculation and the applicable interest rate, the
Respondents consider that appropriate adjustments should be made for the following reasons:




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(1)      It shall start from January 1, 2013 and end on March 7, 2018, lasting about 62 months.
During which, the period of suspension of arbitration proceedings not caused by the Respondents
shall be deducted.


(2)      Unfortunately, Mr. Ke, the second Claimant, died in December 2013. From January 2014
to April 2015, the procedures were suspended while waiting for the appointment of the personal
representative of the estate by the Hong Kong High Court. However, during the period between
April and August 2015 and the period between January and July 2016, conflicts arose between the
two Claimants. The first Claimant tried to remove the second Claimant, and questioned the
qualifications of the estate administrator of the second Claimant, resulting in the delay of the
procedures. Such delay was not caused by the Respondents, so the Respondents consider that the
period (26 months in total) should not be included in the period for interest calculation. Therefore,
the total period for interest calculation should be 36 months (i.e., 62 months minus 26 months).


62. With regards to the interest rate, based on the analysis in Paragraphs 51-56 above, the arbitral
tribunal shall also exercise its discretion to determine the reasonable interest rate. The
Respondents claim that the reasonable interest rate in this case is the Hong Kong Association of
Banks Hong Kong Dollars Interest Settlement Rates (HKAB HKD Interest Settlement Rates) (also
known as the "Hong Kong InterBank Offered Rate (HIBOR)") + 2% in the corresponding period.
There were also precedents in the cases in Hong Kong:


(1)      In the case of Waddington Ltd v. Chan Chun Hoo Thomas & ORS (No 2), the court held
the opinion that the interest rate in Hong Kong had been stable at a low level in the past ten years
or for a longer time, so the traditional interest rate (the most preferential interest rate + 1%) was
not used to calculate the pre-judgment interest rate. In the end, the court used a 2.5% interest rate
in the case to calculate the interest.




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(2)     Furthermore, in the case of Tadjudin Sunny v. Bank of America, NA (No. 2), when
determining the interest rate that should be applied before judgment, the court indicated, "for
many years, Hong Kong has been in an environment of continuous low interest rate, with
sufficient fund supply. Both the savings rate and the fixed deposit rate are extremely low. In such
environment, the most preferential interest rate seems not to be favored. The Hong Kong
Interbank Offered Rate (especially for 12-month period) seems to better reflect the situations of
the money market and serve as a more realistic index to assess the cost of money. It is used as the
base rate for a large number of borrowings. Many mortgage loans and commercial loans bear
interest at the Hong Kong Interbank Offered Rate plus a cap indicating whether an addition or
subtraction is made based on the most preferential interest rate. This fixed percentage is
determined as a result of negotiations, depending on the bargaining power of the borrower, the
scale of the loan and the state of the money market. “In view of this consideration, the court
finally adopted the interest rate of 2.85% (i.e., 0.85% of the Hong Kong Interbank Offered Rate
plus 2% for 12-month period) to calculate the interest.


63. The Respondents consider that the Respondents shall not bear the interest incurred from the
time the award was issued until now. The reasons are as follows:


(1) In the implementation stage of the arbitration award, either because the two Claimants put
forward contradictory directions many times, or Si Ji Hua Cheng, which was under the actual
control of the two Claimants, refused to cooperate and provide the relevant necessary documents
or cooperate (for example, the Claimants have yet to fulfill Order No.4 and provide the audit
report of Si Ji Hua Cheng so far), so the Respondents cannot actually move forward the
implementation of the Final Award. Therefore, the interest of this period shall not be borne by the
Respondents.




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64. The contradictory directions of the two Claimants made after the award is shown in the
summary of the Respondents' letter to the arbitral tribunal on October 29, 2018. The current
performance of each order sorted out by the Respondents is as follows:


(1)     Order No.1 of the Final Award: (1) The second Claimant appointed Shanghai Qingxuan
Enterprise Management Consulting Co., Ltd. on September 11, 2018 to accept 50% of the equities
of Jiuting shops, which also differs from the provisions of Order No.1 of the Final Award. In this
respect, the first Claimant did not indicate whether he agreed with or objected to it. (2) On
September 19, 2018, the first Claimant changed the transferee of Jiuting shops (i.e., Shanghai
Suquan Culture Development Co., Ltd.) previously designated by the first Claimant to Xu
Hongbiao, i.e., the first Claimant, on the ground that the ownership of the shops cannot be jointly
owned by two or more legal person companies in specific operations. In this respect, the second
Claimant did not indicate whether it agreed with or objected to it. However, so far, the
Respondents have not received the confirmation from the transferee of Jiuting shops jointly
designated by the two Claimants, or from the two Claimants on how to divide the shops. Under
such circumstances, the Respondents are unable to carry out the transfer of Jiuting shops.


(2)     With regards to Order No.2 of the Final Award, the arbitral tribunal makes corrections in
accordance with the consensus reached by the parties. At present, the Claimants have not
transferred the villas to the Respondents.


(3)     With regards to Order No.3 of the Final Award, the first Claimant wrote to the
Respondents on May 25, 2018, claiming, "the personal financial seal of Si Ji Hua Cheng of the
first Claimant has been illegally cancelled which made the first Claimant unable monitor the
financial situations of Si Ji Hua Cheng, so the first Claimant solemnly requests that the
Respondents can only make the payment determined in Order No.3 into the jointly monitored
account of Si Ji Hua Cheng after the Claimants jointly provide the Respondents with a bank
account of Si Ji Hua Cheng under the joint supervision of the first Claimant and the second
Claimant...If the Respondents make payment to the account provided by the second Claimant
without the consent of the first Claimant, the first Claimant states that the first Claimant reserves
the right to hold the Respondents liable. “[Emphasis added] The second Claimant disagrees with
such claim. So far, the Respondents have not received the account information or further
directions about Si Ji Hua Cheng jointly given by the two Claimants.




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(4)    With regards to Order No.4 of the Final Award, to the knowledge of the Respondents, the
Claimants have not fulfilled the Order so far to provide the audit report of Si Ji Hua Cheng.


(5)     With regards to Orders No.5, No.6 and No.7 of the Final Award, the first Claimant wrote
to the Respondents many times from May to October 2018, requesting that the equity transfer of
Si Ji Hua Cheng can only be carried out after the board members, legal representative and general
manager of Si Ji Hua Cheng have been changed. For this reason, the first Claimant repeatedly
requested the Respondents to change the governance structure and management personnel of Si Ji
Hua Cheng (although the Respondents already handed over the control of Si Ji Hua Cheng to the
two Claimants about eight years ago). From May to September 2018, the second Claimant
repeatedly objected the first Claimant’s proposal to change the directors and legal representative
of Si Ji Hua Cheng. It shows that the equity transfer of Si Ji Hua Cheng cannot be advanced
because of the different opinions and directions of the two Claimants and the failure of the two
Claimants and Si Ji Hua Cheng to fulfill their cooperation obligations in time.


(6)     With regards to Order No.8 of the Final Award, the Order itself expressly indicates that
the payment is to be made within 4 weeks after the implementation of Orders No.1-6, and
therefore it has not been implemented.


(7)     With regards to Order No.9 of the Final Award, the Respondents have paid 50% of the
amount to the first Claimant. Although the Respondents have made many requests to the second
Claimant to provide a valid RMB account in China, the second Claimant has refused to provide a
RMB account in China.




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E. Response statements of the first Claimant


65.       In the response statements of the first Claimant, the first Claimant adopted the general
statements of the second Claimant that the successful party should be paid the arbitration fees, and
denied the claim of the Respondents that the arbitration fees should be bore by each party
respectively.


66.       The claims of the first Claimant, and more importantly, some of the claims indicated by
Respondents and recognized and supported by the arbitration tribunal, are in fact not the main
factors leading to and triggering the commencement of this arbitration. Paragraphs 271 and 274 of
the Award state that the arbitration tribunal finally determines that the Respondents have
obviously violated the contractual obligations of Articles 2.3.1, 2.3.2 and 2.3.3 of the 4.28
Agreement, so the Respondents are the breaching party. On the contrary, the arbitral tribunal has
not ruled that the acts of so-called failure in cooperation or recognition of the Claimants, as
indicated by the Respondents, were the breaches. The first Claimant holds the view that, as a result
of this prejudice, the only reasonable award must be that the Respondents bear the arbitration fees
as a consequence of losing.


67.       With regards to the four main points of the Respondents’ alternative claims (see
Paragraph 50 above), the first Claimant’s responses to each point are as follows:-


(1) The expenses decided by the arbitration tribunal to be borne by one party or to be retained for
      apportionment


The first Claimant does not object to the basic claim that the relevant orders issued by the arbitral
tribunal for the first Claimant to bear the expenses should be maintained; the first Claimant agrees
that there is no reason the final award will be overturned or cause the need to re-process the order
that the arbitration fees have been issued in respect of the intermediate application. On the
contrary, the first Claimant objects the claim that the Respondents shall be entitled to the costs
retained by the arbitral tribunal in respect of the expenses incurred by the second Claimant’s
application for the estate administrator. This application was the prelude to the final accession of
the second Claimant’s estate to this arbitration, and shall be handled together with the subsequent
application and related matters.




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(2) Expenses incurred by the two Claimants for using multiple counsels


The positions and claims of the first Claimant and his legal team in the arbitration from the very
beginning have been confirmed in the final award; any so-called extra expenses can only be
attributed to the representation expenses derived from the second Claimant’s engagement of
another legal team after the arbitration started. Therefore, the first Claimant holds that all the
arbitration fees of one party should be borne by the Respondents. As mentioned above, the first
Claimant keeps a neutral position about whether the legal team of the second Claimant should
obtain the arbitration fees at the same time; however, this action has been approved by the
arbitration tribunal, which does affect the arbitration fees that the first Claimant needs to
continuously engage the same legal team from the start of court to handle entire arbitration. If
necessary, the first Claimant alternately indicates that the first Claimant and the second Claimant,
prior to his death, held mutual trust and had no conflicts. The legal team of the first Claimant was
also initially commissioned by the second Claimant to represent the Claimants in the arbitration.
The unfortunate death of the second Claimant was not the wish of the first Claimant, and the first
Claimant has no control over the fact that the surviving spouse and daughter of the second
Claimant did not cooperate with and did not trust the first Claimant. Throughout the development
of the matter, the first Claimant had no inappropriate conducts that hold the first Claimant liable.


(3) Expenses incurred due to conflicts between the Claimants




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With regards to the second Claimant’s engagement of another legal team after the commencement
of the arbitration, the Respondents only stated that the Respondents keep a neutral position or do
not oppose regarding the applications by the Claimants. In essence, the Respondents did not and
need not participate in it, far from needing special arbitration fees. The first Claimant objects the
need to pay the Respondents the so-called expenses for this issue.


(4) The relevant expenses incurred in the outcome of the award that the Respondents won or
   expected to be consistent with the Respondents’ request in the case


It is mainly divided into three items. (i) The replacement of the arbitrator was actually a matter of
the arbitration procedures. The first Claimant has no control over the fact that one of the
arbitrators left after the final award was issued, and the objection claimed by the first Claimant
also had evidentiary basis. The first Claimant considers that the appropriate arbitration fees are
attributed to the case through the order. (ii) With regards to the application for interpretation,
correction and supplementation, the arbitral tribunal did accept some of the requests of the
Claimants and also confirmed the needs of the application; however, the position of the
Respondents in each objection was the main factor that made the application complicated. The
first Claimant also considers that the appropriate arbitration fees are attributed to the case through
the order. (iii) Finally, the first Claimant also reiterates the above statements to refute the claim
that the Respondents was so-called recognized and supported by the arbitral tribunal and that each
Claimant shall bear their own expenses. The Respondents failed to provide any special reason for
the arbitral tribunal to divide the arbitration fees for these individual claims.


68. With regards to the claim of the second Claimant for the arbitration fees of some intermediate
procedures, the basic position of the first Claimant is that since the second Claimant insisted on
continuing to participate in the arbitration at the beginning together with the first Claimant as the
Claimants, in principle, the second Claimant waived the right to recover the arbitration fees from
the first Claimant. The first Claimant also refuted each of the second Claimant’s claims for the
intermediate procedure expenses.




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F. Response statements of the second Claimant to arbitration fees and interest


69. Key points of the second Claimant in the response statements are as follows:


(1)        The case of the principle for the arbitration fees cited by the Respondents (i.e., AEI
Rediffusion Music Ltd v. Phonographic Performance Ltd) does not apply to this case at all,
because the case was about the exercise of special discretion granted by law by the UK Intellectual
Property Office. There is a clear case in Hong Kong that the special discretion mentioned in the
Rediffusion case does not apply to ordinary civil and commercial disputes;


(2)        The claims that the positions taken by the Respondents in this arbitration are reasonable
are not consistent with the facts at all. It is shown in the evidence and statements presented by the
parties during the arbitration and in the final award that the Respondents have always raised
objections to the important items in the 4.28 Agreement, such as the equity consideration, debt
settlement and audit report, and none of their arguments and evidence have been accepted by the
arbitration tribunal;


(3)        The Respondents claim that the first and second Claimants caused additional costs to arise
from their conflicts and engagement of legal representation teams by phases, which shall be borne
by the Claimants. This argument completely ignores the fact that the arbitral tribunal has made
appropriate orders on the engagements of attorneys by the first and second Claimants, respectively.
Before and after the orders were issued, no objection was raised by the Respondents. Therefore, it
is unfair to the Claimants and contradictory to the Respondents’ position that the Respondents
request the Claimants to bear the arbitration fees for the above reasons after losing the case. In
addition, the second Claimant has clearly stated in the statements for the arbitration fees and
interest that the second Claimant has been making efforts to provide reasonable, effective and
appropriate assistance to the arbitral tribunal under the representation of the attorneys, with the
arguments and evidence thereof accepted by the arbitral tribunal, so the arbitration fees shall be
granted;




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(4)      With regards to the interest, the Respondents refuse to perform the 4.28 Agreement, so the
Claimants have not been able to enjoy the money and rights and interest under the agreement. As
the unsuccessful party, the Respondents shall undoubtedly pay the interest to the Claimants to
compensate the loss of the Claimants.


70. The second Claimant discussed the above four key points in the other parts of his response
statements. The arbitration tribunal has read them carefully, so there is no need to repeat here.


G. Response statements of the Respondents to arbitration fees and interest


71. In the response statements of the Respondents, the key points are as follows:


(1)      The first Claimant fails to comply with the order of the arbitration tribunal to submit a list
of the costs as the evidence for the arbitration fees, which makes it impossible for the arbitration
tribunal to assess the reasonableness of the costs. Obviously, in the amount of RMB 28 million
claimed by the first Claimant, at least the expenses to be borne by the first Claimant as determined
by the arbitral tribunal has not been deducted, which shows that the claim of the first Claimant is
unreasonable. Therefore, the arbitration tribunal shall reject the claim of the first Claimant for the
costs, support the claim of the Respondents, and rule that each party shall bear their own
arbitration fees.


(2)      To make a concession, alternatively, if the arbitration tribunal considers that it is
necessary to make other decisions regarding the arbitration fees, then the Respondents claim that,
in this case, the time and costs of the proceedings are significantly increased due to reasons such
as the conflicts between the Claimants, and the Respondents shall not bear the following expenses:


(i)      The expenses that have been decided by the arbitration tribunal to be borne by the first
Claimant;




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(ii)      The expenses incurred by the first Claimant to resolve the conflicts between the Claimants;


(iii)     The expenses incurred by the first Claimant in the matters that the Respondents obtained
support (including the Claimant's objection and question to the substitute arbitrator, the Claimant’s
interpretation, correction and supplementation, etc.); and


(iv)      Half of the costs incurred during the period before the second Claimant engaged another
counsel


72. With regards to the claim of the first Claimant for interest, the Respondents claim that the
interest shall not be supported for the reasons in Paragraphs 51-55 of the Statements of the
Respondents for Arbitration fees and interest. To make a concession, if the arbitration tribunal
considers that the Respondents need to pay interest for the third installment payment, then (1) the
principal in the interest calculation shall be adjusted to RMB 22,289,896, (2) the interest shall be
simple interest (the interest rate shall be HKBOR + 2%), and (3) the applicable period shall be 36
months.


73. With regards to the Statements of the Second Claimant for Arbitration fees and interest, the
Respondents hold the opinions that:


(1)       Firstly, with respect to the costs claimed by the second Claimant, the Respondents
consider that it is unnecessary for the second Claimant to engage a counsel, and the second
Claimant has no right to request the Respondents to bear such costs.


(2)       To make a concession, even if it is necessary and/or reasonable for the second Claimant to
engage an agent (denied by the Respondents), the Respondents shall not bear all the costs arising
therefrom. The arbitral tribunal shall consider the additional costs incurred from the one counsel if
the two Claimants engaged only one counsel and only support such additional costs (for example,
referring to the case of Eric Edward, 10% of the costs reasonably incurred by the second Claimant
is supported).




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(3)       Secondly, with regards to the claim of the second Claimant for calculation of interest
(especially the claim for compound interest), the Respondents consider that the claim shall not be
supported. For the reasons stated in Paragraphs 51-55 of the Statements of the Respondents for
Arbitration fees and interest, the Respondents claim that the arbitral tribunal shall rule that the
Respondents are not required to pay interest to the Claimants.


(4)       To make a further concession, if the arbitration tribunal considers that the Respondents
are required to pay interest for the third installment payment, the interest shall not be calculated by
the compound interest claimed by the second Claimant. If the arbitration tribunal considers that
the Respondents are required to pay interest for the third installment payment, then (1) the
principal for calculating the interest shall be adjusted to RMB 22,289,896, (2) the interest shall be
simple interest (the interest rate shall be HKBOR + 2%), and (3) the applicable period shall be 36
months.


H. Analysis and grounds of the arbitration tribunal


Apportionment of arbitration fees


74.       With regards to the issues related to the arbitration fees and interest, the parties have made
a lot of written statements, which involved many details and disputes. In the opinions of the
arbitral tribunal, injustice may arise if the issues related to the arbitration fees and interest are dealt
with in a microscopic way, and it is more appropriate and fair to determine the way to apportion
the arbitration fees and the interest from a macroscopic perspective.


75.       In the opinion of the arbitration tribunal, it is impractical in the claim of the second
Claimant and the Respondents to list the intermediate procedures one by one and request the
arbitration tribunal to confirm the expenses incurred from the intermediate procedures and to order
the apportionment of the expenses incurred.


76.       From a macroscopic perspective, the arbitral tribunal classifies the arbitration fees into the
following three categories:


(1) Fees for the arbitral tribunal;


(2) Fees for HKIAC; and




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(3) The attorney’s fees for the parties (including fees for attorneys and barristers).

77. After reviewing to the statements of the parties and the cases cited, the arbitral tribunal holds
the opinion that there are several principles applicable to this case in terms of the arbitration fees,
namely:


(1) The arbitration tribunal has a high level of discretion to decide how to apportion the costs;


(2) The exercise of the discretion must be in accordance with the justice of laws rather than
      random or arbitrary;


(3) Generally speaking, the unsuccessful party shall bear the costs of the successful party. The
      right to costs cannot be denied simply because some claims made by the successful party are
      not supported.


78.        In this case, the claims of the Respondents have been supported by the arbitration tribunal
for some issues (for example, the issue of salary expenses between January and November 2009
for Ke Zhengguang and Xu Hongbiao, the interest generated by Oasis Investment and its
subordinate companies for occupying the funds of Si Ji Hua Cheng, and the interest for the unpaid
items of the controlling shareholders), but the Respondents is the unsuccessful party in the
procedure as a whole.


79.        Therefore, the arbitration tribunal holds the opinion that the Respondents shall bear the
arbitration costs of the Claimants.


80.        However, the arbitration tribunal has to further consider whether the Respondents should
bear the arbitration fees of one or two Claimants.


81.        Under the laws of Hong Kong, the general legal principle is that if there are joint plaintiffs
in a case, the joint plaintiffs shall be represented by the same counsel in the absence of conflicts of
interest and differences of opinions. See Lewis v. Daily Telegraph (No 2) [1964] 2 QB 601 and
Ong v. Ping [2015] 6 Costs LR 997. In this case, the first Claimant and the second Claimant are
represented by different law firms (and barristers), respectively. The reasons have been described
and explained in the final award (excluding the arbitration fees and interest).




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82.     Under such circumstances, the arbitral tribunal allowed the two Claimants to engage
different attorneys. At that time, the position of the second Claimant was that the counsel of the
second Claimant would attend the court session as an observer. However, in the actual court
session, the attorney of the second Claimant participated in the whole session. Moreover, there
was no substantive difference between the positions of the second Claimant and that of the first
Claimant at the session. In fact, the reason that the two parties could not engage the same law firm
previously stated no longer existed.


83.     In addition, the position of the second Claimant in the case in the session was to a large
extent the same as that of the first Claimant.


84.     Taking these factors into account, the arbitral tribunal holds the opinion that it was
inappropriate and unreasonable to request the Respondents to bear the attorney’s fees of two
Claimants. The arbitral tribunal also holds the opinion that most of the work of the teams of
attorneys of the first Claimant and the second Claimant was repeated.


85.     Therefore, a more equitable approach is to give an appropriate discount for attorneys’ fees
for the first Claimant and the second Claimant. After comprehensive considerations, the arbitral
tribunal holds the opinion that the reasonable discount rate is 40%. In other words, the
Respondents only need to bear 60% of the attorney’s fees of the first Claimant and 60% of the
attorney’s fees of the second Claimant.


86.     With regards to the fees for the arbitration tribunal and HKIAC, there are no issue of
repeated work like the attorney’s fees. However, taking into account during the applications in
some intermediate procedures, the arbitral tribunal ordered the Claimants to bear the expenses of
the Respondents. After comprehensive considerations, the arbitration tribunal considers that the
Respondents shall bear 80% of the total fees for the arbitration tribunal and HKIAC, while the first
and second Claimants shall bear 20% of the fees for the arbitration tribunal and HKIAC.


87.     Paragraphs 81 to 83 above reflect not only the general principle of apportionment of costs,
but also the individual directions previously made by the arbitral tribunal for the apportionment of
fees for certain applications.




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88.        As for the amount of the attorney’s fees, the first Claimant only claimed the total amount
of HK$ 28,000,000 in the Statements of the First Claimant for Arbitration fees and interest, but
did not provide any details or evidentiary supports. Later, in the response statements of the first
Claimant, Attachment I was provided, but Attachment I only listed the expenses, and the bills or
other evidence were not attached.


89.        In view of this situation, the arbitral tribunal is unable to determine whether the total
amount reported by the first Claimant is reasonable. The arbitral tribunal can only make references
to the attorney’s fees of the second Claimant for evaluation. The total amount of the attorney’s
fees of the second Claimant (including the fees of the barrister) is HK$ 13,177,356.20. Judging by
the amount of the attorney’s fees provided by the second Claimant, the amount of the attorney’s
fees of the first Claimant seems to be twice that of the second Claimant. Although the attorneys of
the first Claimant started involvement in the arbitration earlier than the attorneys of the second
Claimant, the arbitral tribunal holds the opinion that the amount should not exceed twice of the
attorney’s fees of second Claimant.


90.        Based on a more conservative estimation, the amount of reasonable attorneys' fees
assessed by the arbitral tribunal for the first Claimant should not exceed HK$ 15,000,000.


91.        By analogy, the amount of attorney’s fees of the first and second Claimant to be borne by
the Respondents is HK$ 9,000,000 and HK$ 7,800,000 respectively.


92.        The second Claimant also made another claim that the first Claimant must bear the
arbitration fees of the second Claimant for certain issues, as stated in Paragraph 35 above. The
arbitration tribunal holds the opinion that the main reason for these issues was the unfortunate
death of Mr. Ke Zhengguang after the commencement of the arbitration, after which his surviving
spouse and daughter had opinions on handling the case different from Xu Hongbiao, the first
Claimant. The arbitral tribunal did not have enough evidence to determine which party should be
responsible for the issue (also, this issue was not related to the case involved), so it did not support
this claim of the second Claimant.


Interest




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93. With regards to the interest, the parties have the following differences:

(1) Calculation of the principal;


(2) Calculation of the period;


(3) Issues about the interest rate;


(4) Simple interest or compound interest.


94. With regards to the principal, the amount claimed by the first Claimant should be RMB 150
     million.


95. The amount claimed by the second Claimant is the interest generated by one half of RMB
     150 million less RMB 41,244,613.21 plus RMB 30 million and the amount in Order No.9
     (RMB 10,346,211), respectively. According to the method for calculation claimed by the
     second Claimant, one-half of RMB 149,101,597.79 is obtained, that is, RMB 74,550,798.89.


96. The principal claimed by the Respondents should be RMB 22,289,896 (refer to Paragraph 56
     above).


97. The arbitration tribunal holds the opinion that except for the deduction of RMB
     41,244,613.21 (the undisputed amount of the carryover current accounts that the Claimants
     should bear) and RMB 3,127,591.77 (the salary expenses of Mr. Ke Zhengguang and Mr. Xu
     Hongbiao from January to November 2009), the remaining amount claimed by the
     Respondents that should be deducted and RMB 30,000,000 should not be included in the
     scope of interest calculation could not be supported.


98. Therefore, the amount of the principal should be RMB 149,101,597.79 less RMB
     3,127,591.77 = RMB 145,974,006.


99. With regards to the period for interest, the first Claimant claims that the interest from
     December 31, 2012 to the date of actual payment shall be paid.




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100. With regards to the period for interest, the second Claimant claims that the period shall be
     from the date of expiration of performance under the 4.28 Agreement to the date when the
     arbitral tribunal made an award. With regards to Order No.8, under the Article 2.2.1 (3) of the
     4.28 Agreement, the calculation shall start from December 31, 2012 and end on February 28,
     2018, which was the date of final award. With regards to Order No.9, the calculation shall
     start from August 8, 2017 and end on February 28, 2018, which was the date of the final
     award.


101. The period claimed by the Respondents is 36 months (See Paragraph 58 above).


102. The arbitration tribunal holds the opinion that the method of calculation of the Respondents is
     reasonable and adopted.


103. With regards to the interest rate, the arbitration tribunal holds the opinion that the most
     appropriate interest rate is the most preferential loan interest rate of HSBC plus 1%. The
     interest rate is applicable before and after the arbitration award until the Respondent makes
     payment. The amount of principal for calculating the interest is RMB 145,974,006. Under the
     Article 80 (1) of the Arbitration Ordinance, the interest is payable on money awarded by an
     arbitral tribunal from the date of the award at the judgment rate, except when the award
     otherwise provides. This means that the arbitral tribunal may, at its discretion, determine the
     interest to be paid for the amount awarded not at the judgment rate (currently 8% per annum).
     In this case, considering the relatively long time from the date of the award to the final award
     for the arbitration fees and interest, the arbitration tribunal decided that a more reasonable
     approach should be to adopt the most preferential loan interest rate of Hong Kong HSBC plus
     1% as the applicable interest rate after the arbitration award until the Respondents pay off the
     money.


104. With regards to whether the interest should be calculated by simple interest or compound
     interest, the claim of the second Claimant is that it should be calculated by compound interest.
     In the opinion of the arbitral tribunal, the interest shall not be calculated by way of compound
     interest unless under special circumstances. There is no special circumstance in this case, so
     the arbitration tribunal does not support the claim of the second Claimant.




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I. Orders of the arbitral tribunal for arbitration fees and interest


105. The arbitral tribunal makes the following orders:


106. The Respondents shall pay the first Claimant HK$ 9,000,000 for attorney’s fees and
     HK$ 4,961,030 for arbitration fees (including the fees for the arbitral tribunal and the fees for
     HKIAC).


107. The Respondents shall pay the second Claimant HK$ 7,800,000 for attorney’s fees and
     HK$ 4,961,030 for arbitration fees (including the fees for the arbitral tribunal and the fees for
     HKIAC).


108. With regards to Orders No.8 and No.9 in the final award of the arbitral tribunal (excluding
     the arbitration fees and interest), the Respondents shall pay the interest. The method to
     calculate the interest is as follows: Simple interest with the principal amount of RMB
     145,974,006 multiplied by the interest rate which is the most preferential loan interest rate of
     HSBC in Hong Kong plus 1%.


109. All other claims of the parties are rejected.


Issued on March 16, 2020


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         [Signature of Huang Xulun]                             [Signature of Wang Xuehua]


       Huang Xulun, Senior Barrister                                 Mr. Wang Xuehua
               Arbitrator                                                Arbitrator




          [Signature of Yang Yanlong]                 [Official Seal]:


               Mr. Yang Yanlong                         Hong Kong International Arbitration Centre
Chief Arbitrator on behalf of the Arbitral Tribunal




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                            TRANSLATION CERTIFICATION

Date: July 31, 2020

To whom it may concern:
This is to certify that the attached translation is an accurate representation of the documents
received by this office. The translation was completed from:
      •    Chinese (PRC)
To:
      •    English (USA)
The documents are designated as:
   • 20200626 A13028 Award on Interpretation and Clarification

Eugene Li, Project Manager in this company, attests to the following:
“To the best of my knowledge, the aforementioned documents are a true, full and accurate
translation of the specified documents.”




Signature of Eugene Li




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     Arbitration in accordance with Hong Kong International Arbitration
                    Centre Administered Arbitration Rules 2018
                              Case No.: HKIAC/A13028

Xu Hongbiao                                                                 the first claimant

Ke Zhengguang’ s estate                                                  the second claimant

                                                     (collectively referred to as “claimants”)

                                              &

Oasis Investment Group Limited                                           the first respondent

Yu Stephany Naifen                                                    the second respondent

Yu Naiwen                                                               the third respondent

Yu Naijun                                                              the fourth respondent

                                                   (collectively referred to as “respondents”)

       Decision of the Arbitral Tribunal on the Application of the Respondents for
          Correcting/Explaining “Final Award on Arbitration Fees and Interest”

1.     The arbitral tribunal issued the Final Award (Except Interest and Arbitration Fees
       (“Final Award”) on 28 February 2018.

2.     The arbitral tribunal issued the Final Award on Arbitration Fees and Interest (“Fee
       Award”) on 16 March 2020.

3.     The respondents submitted the Application of the Respondents for
       Correcting/Explaining “Final Award on Arbitration Fees and Interest”
       (“Application”) on 15 April 2020.

4.     In the Application, the respondents mentioned the emails of Hong Kong International
       Arbitration Centre dated 10 March 2020 and 17 March 2020 as well as the Fee Award
       of the arbitral tribunal dated 16 March 2020, and confirmed that the Fee Award was
       received in form of an email on 17 March 2020.

5.     The arbitral tribunal confirmed reception of the Application of the Respondents for
       Correcting/Explaining “Final Award on Arbitration Fees and Interest” and annexes


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        thereof on 15 April 2020. In accordance with Article 33.1 of the Hong Kong
        International Arbitration Centre Administered Arbitration Rules 2018, the arbitral
        tribunal required the first claimant and the second claimant to provide opinions on this
        application of the respondents to the arbitral tribunal not later than 15 May 2020.

6.      The first claimant submitted a reply on 13 May 2020.

7.      The second claimant submitted a reply on 15 May 2020.

8.      Without the approval of the arbitral tribunal, the respondents responded to the replies
        of the first claimant and the second claimant on 26 May 2020.

9.      On the same date, the first claimant opposed the arbitral tribunal to consider the
        response of the respondents.

10.     On 27 May 2020, the second claimant opposed the arbitral tribunal to consider the
        response of the respondents.

11.     The arbitral tribunal informed the parties on 29 May 2020 that it intends to consider the
        issue of whether to accept the respondents’ response dated May 26 in the decision of
        the arbitral tribunal on the Application, so the parties do not need to debate this issue
        any further.

Initial question: Should the arbitral tribunal consider the content of the email of the
respondents dated 26 May 2020?

12.     In response to this question, the arbitral tribunal believes that the email of the
        respondents dated 26 May 2020 should be divided into two parts to discuss: The first
        part is the response of the respondents to the reply opinions of the first claimant and the
        second claimant; the second part is a new request made by the respondents regarding
        Paragraph 108 of the Fee Award (see Point 7 of the email of the respondent dated May
        26).

13.     With regard to the first part, the arbitral tribunal believes that it has the discretion to
        allow the respondents to respond to the opinions of the first and the second claimants.
        Since the Application was filed by the respondents, the applicant has the final say in
        accordance with the arbitration procedure in Hong Kong law. Although the
        respondents have not officially filed an application for response to the arbitral tribunal,
        the arbitral tribunal can handle this issue as appropriate in consideration of the above



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        principles.

14.     With regard to the second part, the arbitral tribunal believes that the request of the
        respondents has exceeded the time limit under Article 33.1 of the Arbitration Rules
        and therefore will not be considered.

15.     In order to avoid doubts, the arbitral tribunal considered the response of the
        respondents dated May 26 (except Point 7), and believed that the response has no
        substantial impact on the decision of the arbitral tribunal on the Application.

Content of the Application

16.     The Application consists of two parts:

        (I)    Request the arbitral tribunal to correct the instructions in Paragraphs 106 and
               107 of the Fee Award;

        (II)   Request the arbitral tribunal to correct and/or explain the interest period in
               Paragraph 108 of the Fee Award.

(I)     Request the arbitral tribunal to correct the instructions in Paragraphs 106 and
        107 of the Fee Award

17.     The respondents request the arbitral tribunal to correct Paragraph 106 of the Fee
        Award [original text: “The respondents must pay the first claimant HK$ 9,000,000 of
        lawyer fee and HK$ 4,961,030 of arbitration fee (including the fee of the arbitral
        tribunal and the fee of the HKIAC)”] as “the respondents must pay the first claimant
        HK$ 7,800,000 of lawyer fee and HK$ 1,377,978.55 of arbitration fee (including the
        fee of the arbitral tribunal and the fee of the HKIAC).”

18.     The respondents request the arbitral tribunal to correct Paragraph 107 of the Fee
        Award [original text: “The respondents must pay the second claimant HK$ 7,800,000
        of lawyer fee and HK$ 4,961,030 of arbitration fee (including the fee of the arbitral
        tribunal and the fee of the HKIAC)”] as: “the respondents must pay the second
        claimant HK$ 6,599,822 of lawyer fee and HK$ 1,377,978.55 of arbitration fee
        (including the fee of the arbitral tribunal and the fee of the HKIAC).”

Reasons of the respondents

19.     The main reason of the respondents: The arbitral tribunal elaborates the analysis and
        determination of the arbitral tribunal on the sharing of lawyer fees in Paragraphs 82 to


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        92 of the Fee Award. The respondents believe that the arbitral tribunal has calculation
        errors in the sharing of the lawyer fees of the first claimant and the second claimant,
        that is: the arbitration fee was incorrectly included in the lawyer fee of the second
        claimant (which also led to the problem of repeated sharing of the arbitration fee).

Reply opinions of the first claimant on 13 May 2020

20.     Opinions of the first claimant: According to the award in Paragraph 106 of the Fee
        Award, the total arbitration fee awarded to the first claimant by the arbitral tribunal is
        approximately HK$ 14,000,000, less than half of the amount claimed by the first
        claimant, which is approximately HK$ 28,200,000. This judgment amount is
        absolutely consistent and has no contradiction and conflict with the judgments in
        Paragraph 85 of the Fee Award “the respondents only need to bear 60% of the lawyer
        fee of the first claimant” and Paragraph 86 “the arbitral tribunal believes that the
        respondents must bear 80% of the total fees of the arbitral tribunal and the HKIAC”.
        Moreover, the arbitral tribunal emphasized in the court verdict time and time again that
        the judgment of the arbitral tribunal on fees and interest applies the principle of “a high
        degree of discretion” from the “macroscopic direction”. According to the analysis and
        reasons of the arbitral tribunal in the court verdict cited above, the arbitral tribunal is
        obviously in line with the legal justice rather than arbitrary or dogmatical when
        exercising this discretion, so there is not “calculation error, any clerical error, printing
        error or any errors of a similar nature”

Reply opinions of the second claimant on 15 May 2020

21.     Opinions of the second claimant: The second claimant has no objection in principle to
        the request of the respondents for correction of Paragraphs 106 and 107 of the Fee
        Award. However, the second claimant pointed out that the respondents certainly could
        and should discuss the above correction request with the claimants first and solicit the
        consent of the claimants in advance rather than took great pains to file a detailed
        correction application to the arbitral tribunal without prior notice to the second
        claimant, causing unnecessary expenses.

22.     The second claimant also stated that the arbitral tribunal clearly indicates in Paragraph
        77 of the Fee Award that one of the principles on which the arbitral tribunal is based
        when making a decision is “the arbitral tribunal has a high degree of discretion to
        determine how to share legal costs”, so if the arbitral tribunal agrees to the claim of the

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        first claimant and rejects the application of the respondents regarding Paragraphs 106
        and 107 of the Fee Award, the decision of the arbitral tribunal on the arbitration fees is
        in line with the principle of the arbitral tribunal exercising a high degree of discretion.

Decision of the arbitral tribunal

23.     First of all, the arbitral tribunal has noticed that the second claimant has no objection in
        principle to the request of the respondents for correction of Paragraphs 106 and 107 of
        the Fee Award. However, because the content of Paragraph 106 of the Fee Award is
        linked to the first claimant, while Paragraph 107 of the Fee Award is linked to the fees
        of the second claimant, the consent of the second claimant in principle cannot bind on
        the first claimant (i.e.: Paragraph 106 of the Fee Award). The first claimant objects to
        the application for correction of Paragraph 106 of the Fee Award.

24.     Next, the arbitral tribunal considered the statement of the respondents in Paragraph 9
        of the Application. The content is as follows:

        “9.   The respondents think that the arbitral tribunal has the following calculation
              errors regarding the sharing of the lawyer fees of the first claimant and the
              second claimant:

              9.1   The arbitration fee was incorrectly included in the lawyer fee of the second
                    claimant (which also led to the problem of repeated sharing of the
                    arbitration fee) by the arbitral tribunal. Paragraph 30 of the Fee Award lists
                    all the details of the fees of the second claimant in the arbitration and the
                    total amount is HK$ 13,177,356.20, which includes both the lawyer fee,
                    and the Hong Kong International Arbitration Centre fee of HK$ 41,120.50
                    and the arbitral tribunal fee of HK$ 2,136,542.52. The arbitral tribunal did
                    not deduct the Hong Kong International Arbitration Centre fee of
                    HK$ 41,120.50 and the arbitral tribunal fee of HK$ 2,136,542.52 from the
                    total fee amount submitted by the second claimant when calculating the
                    lawyer fee of the second claimant. After deduction of the above two
                    arbitration fees, the lawyer fee claimed by the second claimant should be
                    HK$ 10,999,703. In view of the arbitral tribunal's decision that the
                    respondents only need to bear 60% of the lawyer fee of the second
                    claimant, the respondents need to bear: 6,599,822 Hong Kong dollars
                    (10,999,703 Hong Kong dollars *60% = 6,599,822 Hong Kong dollars) of

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                    the lawyer fee of the second claimant.

              9.2   Correspondingly, the basis (i.e., the lawyer fee of the second claimant) that
                    the arbitral tribunal uses to analogize the reasonable lawyer fee of the first
                    claimant is incorrect, resulting in incorrect calculation of the lawyer fee of
                    the first claimant that should be shared by the respondents. It can be seen
                    from Paragraphs 88 to 90 of the Fee Award that the arbitral tribunal was
                    based on the lawyer fee of the second claimant when it estimated the
                    lawyer fee of the first claimant. On the basis of HK$ 13,177,356.20 of the
                    lawyer fee of the second claimant, the arbitral tribunal estimated that the
                    reasonable lawyer fee of the first claimant is HK$ 15,000,000. Given that
                    the lawyer fee of the second claimant actually needs to be corrected to
                    HK$ 10,999,703 (a decrease of approximately 2.17 million Hong Kong
                    dollars), the lawyer fee of the first claimant should be reduced to
                    HK$ 13,000,000 (a decrease of 2 million Hong Kong dollars) according to
                    the estimation method of the arbitral tribunal. Therefore, the respondents
                    should share 7,800,000 Hong Kong dollars (13,000,000 Hong Kong
                    dollars * 60% = 7,800,000 Hong Kong dollars) of the lawyer fee of the first
                    claimant.”

25.     The arbitral tribunal agrees to the statement of the respondents in Paragraph 9.1 of the
        Application, i.e.: the arbitral tribunal did not deduct the Hong Kong International
        Arbitration Centre fee of HK$ 41,120.50 and the arbitral tribunal fee of
        HK$ 2,136,542.52 from the total fee amount submitted by the second claimant when
        calculating the lawyer fee of the second claimant. After deduction of the above two
        arbitration fees, the lawyer fee claimed by the second claimant should be
        HK$ 10,999,703. In view of the arbitral tribunal's decision that the respondents only
        need to bear 60% of the lawyer fee of the second claimant, the respondents need to
        bear: 6,599,822 Hong Kong dollars (10,999,703 Hong Kong dollars *60%＝
        6,599,822 Hong Kong dollars) of the lawyer fee of the second claimant.

26.     However, the arbitral tribunal does not accept the statement of the respondents in
        Paragraph 9.2 of the Application. Although the arbitral tribunal considered the lawyer
        fee of the second claimant in the process of evaluating the reasonable lawyer fee of the
        first claimant, the arbitral tribunal reached its conclusion from the macroscopic


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        direction and the use of its discretion, rather than calculated the reasonable lawyer fee
        of the first claimant by a fixed equation on the basis of the lawyer fee of the second
        claimant.

27.     In addition, the arbitral tribunal also agrees to the statements of the respondents in
        Paragraphs 12, 13 and 14 of the Application. The content is as follows:

        “12. From the arbitral tribunal and HKIAC fee schedule of HKIAC dated 9 March
              2020, it can be seen that up till this date, the total amount of arbitration fees is
              HK$ 9,922,059.51 (including HK$ 164,252.80 of the HKIAC fee,
              HK$ 9,711,566.71 of the arbitral tribunal fee incurred and HK$ 46,240 of fees to
              be paid to Arbitrator Wang). After rounding, the total amount is HK$ 9,922,060.
              At the same time, the fourth column of the last row of the schedule also clearly
              shows that the respondents have paid HK$ 5,181,690.90 in the total amount of
              the above arbitration fees.

        13.   Based on Paragraph 86 of the Fee Award, the respondents need to bear 80% of
              the arbitral tribunal and HKIAC fees (i.e., total arbitration fee), i.e., 7,937,648
              Hong Kong dollars (9,922,060 Hong Kong dollars * 80%＝7,937,648 Hong
              Kong dollars). Therefore, when issuing a payment order, the arbitral tribunal
              needs to deduct the arbitration fee that has been paid by the respondents, i.e.,
              HK$ 5,181,690.90. Therefore, the total amount of arbitration fees that the
              respondents need to pay to the two claimants is 2,755,957.1 Hong Kong dollars
              (7,937,648 Hong Kong dollars - 5,181,690.90 Hong Kong dollars = 2,755,957.1
              Hong Kong dollars). In other words, the respondents need to pay the first
              claimant and the second claimant HK$ 1,377,978.55 of arbitration fees
              respectively.

        14.   According to Paragraphs 106 and 107 of the Fee Award: The arbitral tribunal
              ordered the respondents to pay the first claimant and the second claimant
              HK$ 4,961,030 of arbitration fees respectively, in total of HK$ 9,922,060. This
              amount is not deducted by the amount of arbitration fees that has already been
              paid by the respondents. It can be seen that the instruction of the arbitral tribunal
              has an error in the calculation of the shared amount of arbitration fees.”

28.     Therefore, the arbitral tribunal can only partially support respondents' application
        regarding Paragraph 106 of the Fee Award, that is: the arbitral tribunal will only

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       correct the arbitration fee of the first claimant payable by the respondents, and does not
       need to correct the lawyer fee of the first claimant payable by the respondents.

29.    As for the application of the respondents regarding Paragraph 107 of the Fee Award,
       since the second claimant has no objection to it in principle, the arbitral tribunal
       supports it.

(II) Request the arbitral tribunal to correct and/or explain the interest period in
Paragraph 108 of the Fee Award

30.    The respondents request the arbitral tribunal to correct and/or explain Paragraph 108 of
       the Fee Award [original text: “According to the 8th and 9th orders of the arbitral
       tribunal in the Final Award (Except Interest and Arbitration fees), the respondents
       must pay interest. The calculation method of the interest is: RMB 145,974,006 of the
       principal × simple interest (HSBC prime rate + 1%)”] as:

       “According to the 8th and 9th orders of the arbitral tribunal in the Final Award (Except
       Interest and Arbitration fees), the respondents must pay interest. The calculation
       method of the interest is: (i) RMB 135,627,795 of the principal × simple interest
       (HSBC prime rate + 1%) × 36 months of interest period , + (ii) RMB 10,346,211 of
       the principal × simple interest (HSBC prime rate + 1%) × 204 days of interest
       period (from 8 August 2017 to 28 February 2018).”

Reasons of the respondents

31.    The reasons provided by the respondents are included in Paragraph 22 of the
       Application. The respondents believe that the language in Paragraph 108 of the Fee
       Award is ambiguous, and is misunderstood that the interest period applicable to the
       entire RMB 145,974,006 is 36 months. This ambiguity is inconsistent with the original
       intention of the arbitral tribunal (as reflected in the following paragraph of the Fee
       Award).

32.    The following is the statement of the respondent, which refines this claim in
       Paragraphs 22.1 to 22.6 of the Application:

       “22.1 Firstly, the arbitral tribunal provides the relevant principal amount for interest
             calculation of the 8th and 9th orders in Paragraph 98 of the Fee Award, i.e., “the
             principal amount should be RMB 149,101,597.79 - RMB 3,127,591.77 = RMB


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             145,974,006”.

       22.2 At the same time, regarding the calculation of the principal amount, the arbitral
             tribunal is based on the amount claimed by the second claimant, which is RMB
             149,101,597.79 (see Paragraph 95 of the Fee Award for details). It can be seen
             that this amount includes both RMB 135,627,795 related to the 8th order and
             RMB 10,346,211 related to the 9th order, which are interest bearable and
             determined by the arbitral tribunal.

       22.3 At the same time, the arbitral tribunal supports the claim of the respondents for
             the interest period, which is 36 months (see Paragraph 101 of the Fee Award for
             details).

       22.4 But in fact, the RMB 10,346,211 related to the 9th order and the RMB
             135,627,795 related to the 8th order are different in the interest calculation time.
             It is relevant to the different natures of the 8th and 9th orders: The 9th order is the
             award of damages, which becomes effective after the Final Award comes into
             force, and the 8th order is the Obligatio ex contractu under the 4.28 Agreement.

       22.5 Because of this, the original intention of the arbitral tribunal should be that the
             interest-bearing time of compensation related to the 9th order is from 8 August
             2017 to 28 February 2018, which is 204 days (not 36 months). This has been
             confirmed in Paragraph 303 of the Final Award and also explained in Paragraph
             100 of the Fee Award. Moreover, it is the own claim of the second claimant (see
             Paragraph 39 of the Fee Award), the second claimant does not claim that the
             interest-bearing time of compensation related to the 9th order is 36 months, and
             neither does the first claimant claim for interest of the compensation related to
             the 9th order (see Paragraphs 19 to 20 of the Fee Award), so it is impossible for
             the arbitral tribunal to make a ruling beyond the claims of the parties.

       22.6 The respondents sincerely speculate that the above ambiguity may be because
             the arbitral tribunal, when calculating the principal, mistakenly added up the
             amount related to the 9th order to the amount related to the 8th order. If so, the
             respondents request the arbitral tribunal to correct it.”

Reply opinions raised by the first claimant on 13 May 2020

33.    The first claimant claims in Paragraph 10 of his written opinion that the award of the


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       arbitral tribunal does not have any ambiguity in the content, so no correction is needed.

Reply opinions raised by the second claimant on 15 May 2020

34.    The second claimant claims in Paragraph 36 of his written opinion as follows: The
       decision of the arbitral tribunal on interest calculation in the 8th order and 9th order is
       clear and definite, that is, the principal applicable to interest is RMB 145,974,006 and
       the interest rate is the simple interest (HSBC prime rate + 1%) and the payer is the
       respondents. As for the period that the interest rate is applicable to, the arbitral tribunal
       has given clear instructions in Paragraphs 101 to 103:

       “101. The period that the respondents claim is 36 months (see Paragraph 58 above).

       102.   The arbitral tribunal believes that the period calculation method of the
              respondents is reasonable and adopted.

       103.   With regard to the interest rate, the arbitral tribunal believes that the most
              suitable interest rate is HSBC prime rate + 1%. This interest rate applies to
              before and after issuance of the arbitral award until the respondents have settled
              all payments.” (Emphasize an addition)

35.    According to Paragraph 61 of the Statement of the Respondents on Issues Concerning
       Arbitration fees and Interest, the claim of the respondents for a 36-month interest
       period is specific to the 8th order of the Final Award. Therefore, based on the natural
       and objective understanding on Paragraphs 101 to 103 of the Fee Award, the interest
       period before issuance of the 8th order of the Final Award is 36 months. In addition,
       Paragraph 103 of the Fee Award of the arbitral tribunal definitely specifies that the
       respondents shall also pay interest at HSBC prime rate + 1% after the award is issued
       in the 8th and 9th orders of the Final Award until the respondents have settled all
       payments. The above statement does not have any room for ambiguity or different
       understandings.

36.    Therefore, the so-called ambiguity pointed out by the respondents and the speculation
       in Paragraph 22.6 are obviously inconsistent with the original intention of the arbitral
       tribunal. The respondents raised the current claim, apparently hoping to overturn the
       award of the arbitral tribunal.

Decision of the arbitral tribunal



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37.    After careful and full consideration of the opinions of all the parties, the arbitral
       tribunal believes that Paragraph 108 of the Fee Award does not have any calculation
       error, or clerical error, or any understanding ambiguity, or any substantive error.
       However, the arbitral tribunal also considers that it clearly distinguishes the 8th order
       and the 9th order of the Fee Award regarding the interest period in Paragraph 100 of the
       Fee Award. In order to avoid any doubt, the arbitral tribunal can make appropriate
       explanation in accordance with Article 33.2 of the Arbitration Rules. The arbitral
       tribunal believes that if Paragraph 108 of the Fee Award is corrected/explained as:

       “According to the 8th and 9th orders of the arbitral tribunal in the Final Award (Except
       Interest and Arbitration Fees), the respondents must pay interest. The calculation
       method of the interest is: (i) RMB 135,627,795 of the principal × simple interest
       (HSBC prime rate + 1%) × 36 months of interest period (applicable to the 8th order of
       the Final Award); + (ii) RMB 10,346,211 of the principal × simple interest (HSBC
       prime rate + 1%) × 204 days of interest period (from 8 August 2017 to 28 February
       2018) (applicable to the order of the Final Award).”

       it will express the original intention of the arbitral tribunal more clearly and avoid
       unnecessary misunderstanding. In view of this, the arbitral tribunal supports the
       request of the respondent regarding Paragraph 108 and adds supplementary words.

Fee allocation of the application

38.    The arbitral tribunal has noticed that the first claimant and the second claimant claimed
       that the respondents should bear the lawyer fee incurred to the second claimant in
       dealing with the Application.

39.    The second claimant stated that: the respondents certainly could and should discuss the
       above correction request with the claimants first and solicit the consent of the
       claimants in advance rather than took great pains to file a detailed correction
       application to the arbitral tribunal without prior notice to the second claimant, causing
       unnecessary expenses.

40.    The arbitral tribunal believes that Articles 33 and 34 of the Arbitration Rules grant “the
       applicant” (i.e., the respondents in this case) the right to apply to the arbitral tribunal
       for correction and explanation of the award, but this does not impose an obligation of
       consulting with other parties before such application on the respondents.


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41.    The Application of the respondents is partially supported by the arbitral tribunal, and
       the rest is rejected, so from a macroscopic perspective, the arbitral tribunal believes
       that it is fair for each party to bear their respective lawyer fees.

Conclusion

42.    The arbitral tribunal agrees to correct Paragraph 106 of the Fee Award [original text:
       “The respondents must pay the first claimant HK$ 9,000,000 of lawyer fee and
       HK$ 4,961,030 of arbitration fee (including the fee of the arbitral tribunal and the fee
       of the HKIAC)”] as:

       “The respondents must pay the first claimant HK$ 9,000,000 of lawyer fee and
       HK$ 1,377,978.55 of arbitration fee (including the fee of the arbitral tribunal and
       the fee of the HKIAC).”

43.    The arbitral tribunal agrees to correct Paragraph 107 of the Fee Award [original text:
       “The respondents must pay the second claimant HK$ 7,800,000 of lawyer fee and
       HK$ 4,961,030 of arbitration fee (including the fee of the arbitral tribunal and the fee
       of the HKIAC)”] as:

       “The respondents must pay the second claimant HK$ 6,599,822 of lawyer fee and
       HK$ 1,377,978.55 of arbitration fee (including the fee of the arbitral tribunal and
       the fee of the HKIAC).”

44.    The arbitral tribunal agrees to correct and/or explain Paragraph 108 of the Fee Award
       [original text: “According to the 8th and 9th orders of the arbitral tribunal in the Final
       Award (Except Interest and Arbitration fees), the respondents must pay interest. The
       calculation method of the interest is: RMB 145,974,006 of the principal × simple
       interest (HSBC prime rate + 1%)”] as:

       “According to the 8th and 9th orders of the arbitral tribunal in the Final Award (Except
       Interest and Arbitration fees), the respondents must pay interest. The calculation
       method of the interest is: (i) RMB 135,627,795 of the principal × simple interest
       (HSBC prime rate + 1%) × 36 months of interest period (applicable to the 8th order of
       the Final Award); + (ii) RMB 10,346,211 of the principal × simple interest (HSBC
       prime rate + 1%) × 204 days of interest period (from 8 August 2017 to 28 February
       2018) (applicable to the order of the Final Award).”



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Seat of arbitration: Hong Kong

     [Signature] [Wang Xuehua]

            Wang Xuehua                             Huang Xulun

              Arbitrator                             Arbitrator



                                 Yang Yanlong

                                 Chief Arbitrator



           [Seal: HONG KONG INTERNATIONAL ARBITRATION CENTRE]




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Seat of arbitration: Hong Kong


                                                       [Signature] [Illegible]


            Wang Xuehua                                    Huang Xulun

              Arbitrator                                     Arbitrator


                             [Signature] [Illegible]


                                    Arbitrator

                                 Chief Arbitrator



          [Seal: HONG KONG INTERNATIONAL ARBITRATION CENTRE]




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                  EXHIBIT 21
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                      Shanghai Fengxian District People’s Court
                                       Civil Judgment



                                            (2019) Hu 0120 Min Chu No. 10021

       Plaintiff: Greencourt Properties Limited., located at Room 12, 10/F, Wing On Plaza, 62
Mody Road, Tsim Sha Tsui, Kowloon, Hong Kong SAR, China
       Legal representative: Yu Naifen, director.
       Agent ad litem: Gu Yi, a lawyer of Junhe Law Firm Shanghai Branch
       Agent ad litem: Liu Jiadi, a lawyer of Junhe Law Firm Shanghai Branch
       Defendants: Shanghai Luting Sijihuacheng Real Estate Development Co., Ltd., located at
No. 12, Lane 218, Baziqiao Road, Fengxian District, Shanghai, People’s Republic of China.
       Legal representative: Xu Liangyan, chairman of the board
       Defendants: Xu Liangyan, male, born on November 17, 1938, Han nationality, living at
Room 1605, No. 2, Lane 92, Yude Road, Xuhui District, Shanghai, People’s Republic of China.
       Common agent and litem of the above two defendants Zhang Yusheng, a lawyer of
Shanghai Zhengce Law Firm.
       Third Party: Shibang Co., Ltd., located at Room 1205-1208, 12/F, Xingye Commercial
Center, No. 272-284 Des Voeux Road Central, Sheung Wan, Hong Kong SAR, People’s Republic
of China.
       Legal representative: Xu Hongbiao, director.
       Agent ad litem: Liu Hongliang, a lawyer of Shanghai Huili Law Firm.
       With respect to the case of dispute over company registration change between the plaintiff
Greencourt Properties Limited (hereinafter referred to as: “Greencourt Properties”) and the
defendants Shanghai Luting Sijihuacheng Real Estate Development Co., Ltd. (hereinafter referred
to as: “Sijihuacheng Company”), Xu Liangyan, third party Shibang Co., Ltd. (hereinafter referred
to as: “Shibang Company”), after the case was filed on May 5, 2019, the court applied ordinary
procedures according to law and held a public hearing on May 20, 2020. Gu Yi and Liu Jiadi,
agents and litem of the plaintiff, Zhang Yusheng, agent ad litem of the two defendants, and Liu
Hongliang, agent ad litem of the third party, all attended the proceedings. This case has now been
concluded.



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       The plaintiff Greencourt Properties filed the litigation requests with our court: 1. The
defendant Sijihuacheng Company should go to Fengxian District Market Supervision
Administration of Shanghai for registration (filing) of equity change, change the registration of
80% equity of the defendant Sijihuacheng Company originally registered under the plaintiff’s
name to the third party, and submit a change report through the enterprise registration system when
handling this enterprise change registration (filing); 2. The defendant Xu Liangyan should perform
the corresponding obligation of assistance and cooperation in handling the registration (filing) and
information reporting procedures by the defendant Sijihuacheng Company as stated in the
foregoing paragraph 1. Facts and Reasons: The defendant Sijihuacheng Company is a subsidiary
jointly established by the plaintiff and an outsider Shanghai Oasis Biological Technology Co., Ltd.
(hereinafter referred to as: “Oasis Technology”). The plaintiff holds 80% equity of Sijihuacheng
Company, and Oasis Technology holds 20% equity of Sijihuacheng Company. The defendant Xu
Liangyan is the chairman and legal representative of Sijihuacheng Company. On July 18, 2018, the
plaintiff signed the Equity Transfer Contract with the third party, which stipulated that the plaintiff
would transfer all the 80% equity of Sijihuacheng Company held to the third party. In order to sign
and perform the above-mentioned Equity Transfer Contract, the shareholders’ meeting of
Sijihuacheng Company issued a resolution of the shareholders’ meeting, and Oasis Technology
agreed that the plaintiff would transfer all the 80% equity of Sijihuacheng Company held by it to
the third party and to give up its preemptive right. According to relevant laws and regulations,
Sijihuacheng Company has the obligation to handle the corresponding filing and registration
procedures for the equity transfer between the plaintiff and the third party. However, although the
plaintiff has communicated with Sijihuacheng Company on the filing and registration of equity
transfer for many times, Sijihuacheng Company has never fulfilled the corresponding filing and
registration obligations. Xu Liangyan is the chairman and legal representative of Sijihuacheng
Company, and has an unshakable responsibility for failing to fulfill its legal obligations. In addition,
Xu Liangyan holds the official seal and business license of Sijihuacheng Company, and without Xu
Liangyan’s cooperation, the Sijihuacheng Company cannot fulfill the corresponding filing and
registration obligations. Therefore, Xu Liangyan should fulfill the corresponding cooperation and
assistance obligations for such equity transfer filing and change registration. In accordance with
Article 119 of the Civil Procedure Law of the People’s Republic of China and other relevant laws,
the plaintiff filed a lawsuit in our court, requesting the judgment as its requests.




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       The Third Party Shibang Company filed the litigation requests with our court: 1. If the
defendants, Sijihuacheng Company and Xu Liangyan, fail to go through the filing formalities for
the change of 80% equity of Sijihuacheng Company within the time specified in the judgment of
this case, the third party will go through the filing formalities with the competent government
department in its own name; 2. To confirm that the third party is a shareholder of the Sijihuacheng
Company and owns 80% of the registered capital of the Sijihuacheng Company; 3. Sijihuacheng
Company should issue a certificate to the third party and records the third party in the register of
shareholders. Facts and Reasons: According to the Equity Transfer Contract and its supplementary
agreement concluded between the plaintiff and the third party, the third party has already been
admitted to have 80% of the equity of Sijihuacheng Company without violating the mandatory
provisions of laws and regulations. According to the Company Law, the company should issue a
capital contribution certificate and prepare a register of shareholders. Therefore, in order to protect
its own legal rights, the third party specially filed an application, hoping that the judgment can be as
requested.

       The defendants Sijihuacheng Company and Xu Liangyan jointly argued that they disagreed
with the claims of the plaintiff and the third party. According to the “Agreement on Implementing
the Preliminary Agreement on Share Restructuring” signed by all parties on April 28, 2010 (i.e.,
“April 28 Agreement”), Oasis Investment Group Co., Ltd. (i.e., Oasis Company), the parent
company of the plaintiff, shall repurchase the equity of Oasis Company held by Ke Zhengguang
(heirs Zhang Yuejin and Ke Yeying) and Xu Hongbiao. The consideration shall be cash and 100%
equity and real estate of Sijihuacheng Company. Therefore, this case is not an independent legal
relationship of equity transfer contract, but a part of equity repurchase, which cannot be tried
separately. The plaintiff, the third party and the defendants in this case are all trading subjects of the
April 28 Agreement, and are bound by the content of the agreement. According to the “April 28
Agreement”, Oasis Company newly established a third party company, and the third party shall
acquire 80% equity of Sijihuacheng Company held by the plaintiff. Oasis Company shall then
transfer 100% equity of the third party to Xiying International Group and Focus Town Limited at
the price of HK$ 1. However, in fact, the third party was established by the plaintiff, and now the
plaintiff and the third party have changed the transaction structure of the “April 28 Agreement”,
and Article 5 of the Equity Transfer Contract promises, under the condition of applying special tax
treatment, to ultimately reduce the tax payable by Oasis, transferring the tax to the participating
shareholders. To sum up, the Equity Transfer Contract and supplementary agreements signed by



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the plaintiff and the third party are invalid contracts because of false expression of will, damage to
national tax interests, and damage to the interests of the participating shareholders and the
defendant company. According to the articles of association of Sijihuacheng Company, the
company is a foreign-invested enterprise, and its highest authority is the board of directors, but the
board of directors of the company has not passed a resolution on this equity transfer. As the legal
representative, the defendant Xu Liangyan should perform his duties according to the company’s
articles of association and laws, so there is no factual and legal basis for the claim that Xu Liangyan
should bear the responsibilities.
       The parties submitted evidence according to law around the litigation requests, and the court
organized the parties to exchange evidences and conduct cross-examination. Evidences to which
the parties have no objection, such as the articles of association of Sijihuacheng Company and
previous amendments provided by the plaintiff, are recognized, filed and supported by the court.
The court confirms the facts to which the parties have no objection. For disputed evidences and
facts, this court recognizes as follows: 1. The third party has no objection to the Company
Registration Certificate of Shibang Company, the Resolution of Shareholders’ Meeting of
Sijihuacheng Company, and the Statement of Waiver of Preemption Right of Oasis Technology
provided by the plaintiff, and the two defendants have no objection to their authenticity, but raise
objections to their relevance and legality. The court believes that this group of evidences is related
to this case and involves no illegality, so the court recognizes this group of evidence. 2. The third
party has no objection to three groups of e-mails and attachments provided by the plaintiff, and the
two defendants have no objection to their authenticity, but do not recognize the purpose of proof.
The court confirms the authenticity of the three groups of evidence. 3. The third party has no
objection to the letters and express delivery forms provided by the plaintiff, and the two defendants
do not recognize their authenticity and relevance due to no receipt record. In view of the plaintiff’s
failure to provide a receipt record, the court does not recognize its authenticity. 4. The third party
has no objection to the business registration documents of Shibang Company provided by the
plaintiff, and the two defendants do not recognize their authenticity for no notarization certification.
The court adopts the view of the two defendants and does not recognize their authenticity. 5. The
plaintiff has no objection to the supplementary agreement and certificate of equity transfer
provided by the third party, and neither defendant approves it. As the certificate has been notarized,
the court confirms its authenticity; the supplementary agreement is an agreement signed between
the plaintiff and the third party, which is confirmed by both the plaintiff and the third party, and the
court also confirms its authenticity. 6. The defendant Xu Liangyan has no objection to the arbitral


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award provided by the defendant Sijihuacheng Company, the plaintiff has no objections to its
authenticity and legality, but does not recognize its purpose of proof, and the third party has no
objection to its authenticity but does not recognize its relevance and purpose of proof. The court
believes that the evidence has a certain relevance to the case and therefor, recognizes it. 7. The
defendant Xu Liangyan has no objection to the materials provided by the defendant Sijihuacheng
Company for executing the Hong Kong arbitration award in the United and the memorandum
opinion of the US Federal District Court. Both the plaintiff and the third party have objections to
their authenticity for not being notarized. The court adopts the opinions of the plaintiff and the third
party and does not recognize their authenticity. 8. The defendant Xu Liangyan has no objection to
the Agreement on Implementing the Preliminary Agreement on Equity Restructuring and the
registration information of Shibang Company provided by the defendant Sijihuacheng Company,
the plaintiff has no objection to their authenticity and legality, but does not recognize the purpose of
proof, and the third party has no objection to their authenticity, but does not recognized their
relevance and proof content. The court believes that the evidence has a certain relevance to the case,
and therefore, recognize it. 9. To the Notice of the State Administration of Taxation on the
Collection and Management of Enterprise Income Tax on Non-monetary Assets Investment
provided by the defendant Sijihuacheng Company, the defendant Xu Liangyan has no objection,
the plaintiff has no objection to its authenticity and legality, but does not recognize the purpose of
proof, and the third party thinks that it belongs to the normative documents in form but does not
belong to the category of evidence. The court recognizes the third party’s point of view and makes
no recognition. 10. To the comparative structure table provided by the defendant Sijihuacheng
Company, the defendant Xu Liangyan has no objection, and the plaintiff and the third party think
that it was produced unilaterally by the defendant, so do not recognize their authenticity. The court
does not recognize its authenticity.




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       Upon trial, the court found the facts as follows: The defendant Sijihuacheng Company is a
Sino-foreign joint venture, and the current shareholder is the plaintiff, who holds 80% equity of the
company; Shanghai Oasis Ecological Technology Co., Ltd. (hereinafter referred to as: “Oasis
Technology”), which holds 20% equity of the company. According to the articles of association of
the company, the company has a board of directors, which is the highest authority of the company
and decides all major matters of the company. Its main functions and powers include: To decide the
increase of registered capital and the transfer of equity, except for major matters such as the
revision of the articles of association, other matters shall be adopted by a simple majority at the
board meeting. The board of directors of the company is composed of Ke Yeying, Xu Liangyan, Ke
Zhengfu and Xu Hongbiao.
       On July 18, 2018, the plaintiff signed the “Equity Transfer Contract” with the third party,
which was a wholly-owned subsidiary of the plaintiff, to transfer 80% of the equity of Sijihuacheng
Company it held to the third party; the transfer price was USD 6.2 million, and the payment method
was that the third party would issue shares to the plaintiff in exchange for 80% of the equity of the
Sijihuacheng Company held by the plaintiff; the plaintiff promised that it would not transfer the
third party’s equity within 3 years (including 3 years) after the completion of this equity transfer.
On the same day, the plaintiff and Oasis Technology reached a resolution of the shareholders’
meeting, agreeing that the plaintiff would transfer 80% equity of Sijihuacheng Company to the
third party. On the same day, Oasis Technology made a Statement of Waiver of Preemption Right,
saying that it gave up the preemption right in the plaintiff transferring 80% equity of Sijihuacheng
Company. However, the Equity Transfer Contract was not approved by the board meeting of
Sijihuacheng.




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       It was also found that on April 28, 2010, Oasis Investment Group Co., Ltd. (hereinafter
referred to as: “Oasis Investment Company”), the participating shareholders (referring to Ke
Zhengguang and Xu Hongbiao), the controlling shareholders (referring to Yu Naifen, Yu Naiwen
and Yu Naijun), Xiying International Group Co., Ltd. (hereinafter referred to as: “Xiying
Company”) and Focus Town Limited (hereinafter referred to as: “Focus Town”), the plaintiff and
Shanghai Oasis Ecological Technology Co., Ltd. (later renamed to “Oasis Technology Company”)
signed the Agreement on Implementing the Preliminary Agreement on Equity Restructuring
(hereinafter referred to as: “April 28 Agreement”), negotiated on the repurchase of equity held by
the participating shareholders by Oasis Investment Company, made it clear that the consideration
for equity purchase was foreign exchange equivalent to 250 million yuan and 100% equity of
Sijihuacheng Company, and further agreed: …Article 2 Consideration of Repurchase by Oasis
Investment Company… 2.3.1 Oasis Investment Company has newly established Shibang
Company in Hong Kong, and has arranged Shibang Company to acquire 80% equity of
Sijihuacheng Company held by Greencourt Properties Company, a subsidiary of Oasis Investment
Company. After the completion of such equity acquisition, Oasis Investment Company shall sign
an Equity Purchase Right Agreement with Xiying Company and Focus Town to stipulate that after
the expiration of the custody period agreed in the following paragraph 2.3.2, 100% equity of
Shibang Company shall be transferred to Xiying Company and Focus Town at a consideration of
HK$ 1. …2.3.5 In view that Oasis Investment and the controlling shareholders had transferred the
effective control of the defendant to the participating shareholders prior to the signing of this
Agreement,
       On February 22, 2013, the participating shareholders applied to Hong Kong International
Arbitration Center for arbitration on the performance of April 28 Agreement.
       On February 28, 2018, the Hong Kong International Arbitration Center issued an award
(with the applicant being the participating shareholders, and the respondent being Oasis Investment
Company and the controlling shareholder), stating: VII. Analysis and reasons of the arbitral
tribunal…245…. The equity transfer of the Sijihuacheng Company shall include the following
three steps to be performed: (1) Firstly, Shibang Company established by Oasis Investment
Company shall acquire 80% equity of Sijihuacheng Company held by Greencourt Properties
Company (simply called “the first step of the 80% equity transfer”). Article 2.3.1 clearly states that
Oasis Investment Company has established Shibang Company in Hong Kong and has arranged
Shibang Company to acquire 80% equity of Sijihuacheng Company held by Greencourt Properties
Company. In other words, the first step of 80% equity transfer should have been completed when

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the April 28 Agreement was signed. But in fact, the first step has not yet been completed. ······VIII.
The award and order of the arbitral tribunal …5. Order the first respondent (i.e. Oasis Investment
Company) to arrange and urge Shibang Company (within 2 months from the date of the award) to
acquire 80% equity of Sijihuacheng Company held by Greencourt Properties, a subsidiary of the
first respondent (Article 2.3.1 of April 28 Agreement).
       It is found that Greencourt Properties Company is a one-person limited liability company
and its shareholder is the Oasis Investment Company. Shibang Company is a one-person limited
liability company and its shareholder is the Greencourt Properties Company. Oasis Technology
Company is a one-person limited liability company, and its shareholder is the Greencourt
Properties Company.
       According to the facts found out by our court, the court holds that the disputed Equity
Transfer Contract in this case is actually a middle link of the April 28 Agreement, which is an
Equity Restructuring Agreement signed by the controlling shareholder and the participating
shareholders of Oasis Investment Company. Therefore, the request of the plaintiff and the third
party to confirm the performance of the above-mentioned Equity Transfer Contract is not just a trial
of the transfer contract, but must be comprehensively considered in combination with the
provisions concerning the equity transfer contract in the April 28 Agreement between the
controlling shareholder and the participating shareholders of Oasis Investment Company.
       According to the April 28 Agreement, Oasis Investment Company has newly established
Shibang Company in Hong Kong, and has arranged Shibang Company to acquire 80% equity of
Sijihuacheng Company held by Oasis Properties Company, a subsidiary of Oasis Investment
Company. However, the actual situation is that Shibang Company is a wholly-owned subsidiary
established by the Oasis Properties Company, not by the Oasis Investment Company. This change
is mainly reflected in Article 7 of the Notice of the Ministry of Finance and the State
Administration of Taxation on Several Issues Concerning the Treatment of Enterprise Income Tax
in Enterprise Restructuring Business: “Enterprises involved in the acquisition of equity and assets
between China and overseas (including Hong Kong, Macao and Taiwan regions) should not only
meet the conditions stipulated in Article 5 of this Notice, but also meet the following conditions
before they can choose to apply special tax treatment regulations: (1) The non-resident enterprise
transfers the equity of the resident enterprise owned by it to another non-resident enterprise directly
100% controlled by it, which does not cause any change in the withholding tax burden of the
income from the equity transfer in the future, and the non-resident enterprise of the transferor



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promises in writing to the competent tax authorities that it will not transfer the equity of the
non-resident enterprise of the transferee within 3 years (including 3 years)…; according to this
article, if Greencourt Properties transfers its owned equity of Sijihuacheng Company to Shibang
Company, which is 100% directly controlled by it, and Greencourt Properties promises to the
competent tax authorities in writing that it will not transfer its equity of Shibang Company within 3
years (including 3 years), the special tax treatment may apply. But, according to the April 28
Agreement, Shibang Company is a wholly-owned company of Oasis Investment Company, and in
this case, the special tax treatment cannot apply. The biggest difference in whether the special tax
treatment applies lies in Article 6 of the Circular of the Ministry of Finance and the State
Administration of Taxation on Several Issues Concerning the Treatment of Enterprise Income Tax
in Enterprise Restructuring Business: “If the enterprise restructuring meets the conditions
stipulated in Article 5 of this Notice, the parties to the transaction may apply special tax treatment
for the equity payment part in their transactions according to the following provisions: …(2) For
and equity acquisition, in which the equity purchased by the acquiring enterprise is not less than
75% of the total equity of the acquired enterprise, and the equity payment amount of the acquiring
enterprise at equity purchase is not less than 85% of the total transaction payment, it can choose to
handle it according to the following provisions: 1. The tax basis for the acquired enterprise’s
shareholders to obtain the acquiring enterprise’s equity shall be determined by the original tax basis
of the acquired equity. 2. The tax basis for the acquiring enterprise to obtain the acquired
enterprise’s equity shall be determined by the original tax basis of the acquired equity. 3. The tax
basis and other related income tax items of the original assets and liabilities of the acquired
enterprise and the acquired enterprise remain unchanged. …According to this provision, if special
tax treatment is applied, which is different from general tax treatment, it may have tax impact on
the transferee, i.e., the participating shareholders, of 100% equity of Shibang Company. Of course,
before the relevant tax authority makes a decision, the equity transfer involved may not necessarily
be subject to special tax treatment, but even if it may increase the extra tax burden that the
participating shareholders could not foresee when signing the April 28 Agreement, this is contrary
to the commercial arrangement between the controlling shareholder and the participating
shareholders when signing the April 28 Agreement. In view of the above reasons, the court holds
that the controlling shareholder and the participating shareholders should negotiate on the tax
burden under the circumstance that special tax treatment may be applied to the equity transfer
involved in the case, in order to reach a new agreement, and the plaintiff may not separately request
the equity transfer before a new agreement is formed.


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         As for the defendant Sijihuacheng Company’s claim that the company’s articles of
association stipulates that the resolution of the board of directors is a must, the court believes that
according to the articles of association of Sijihuacheng Company, the board of directors is the
highest authority of the company, and the decision on the transfer of the company’s equity should
be passed by a simple majority at the board meeting, but the equity transfer contract involved has
not been passed by the board meeting of the company with a resolution. Although the general view
is that the board of directors is appointed by shareholders of all parties, and shareholders are the
ultimate deciders as direct rights subjects, so the board meeting is only a procedural regulation. But
the shareholders of Sijihuacheng Company are the plaintiff and Oasis Technology Company, both
of which are controlled by the controlling shareholder of Oasis Investment Company, while the
board of directors of the company mainly represents the interests of the participating shareholders,
and according to the April 28 Agreement, the controlling shareholder has transferred the actual
control of Sijihuacheng Company to the participating shareholders. This complex composition
balances the interests of the participating shareholders and the controlling shareholders and is
reflected in the company’s articles of association. Therefore, the shareholders’ decision cannot be
simply taken as the company’s final decision. For example, matters such as the transfer of equity
still need to comply with the provisions of the company’s articles of association, which should be
approved by a simple majority of the board meeting. Now the equity transfer between the plaintiff
and the third party has not been approved by the majority of the board meeting, so it is difficult for
the court to support the claims of the plaintiff and the third party.
         To sum up, the plaintiff’s and the third party’s claims have no corresponding factual and
legal basis, so this court does not support them. According to Article 90 of the Interpretation of the
Supreme People’s Court on the Application of the Civil Procedure Law of the People’s Republic of
China, the court rules as follows:




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        I. Reject all claims of the plaintiff Greencourt Properties Co., Ltd.
        II. Reject all claims of the third party Shibang Co., Ltd.
        The case acceptance fee of 40 yuan shall be borne by the plaintiff Greencourt Properties Co.,
Ltd.
        If you refuse to accept this judgment, you can submit an appeal to our court within 15 days
from the date of service of the judgment, and make copies according to the number of the opposite
parties, and appeal to Shanghai No. 1 Intermediate People’s Court.
                                                     Presiding judge             Gao Lei
                                                     Judge                Fei Zhengquan
                                                     People’s Juror      Huang Shunkun




                         [seal:] Shanghai Fengxian District People’s Court
                                                       June 30, 2020


                       [stamp:] This document is the same as the original one.


                                                     Clerk                       Li Yiliu




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                                                            Worldwide Express Mail Service
                                                                                                       Details Sheet of Court
                                                            WORLDWIDE EXPRESS MAIL SERVICE
                                                                                                       Courier Mail
                        Receiving and                      Date of receipt and delivery: June 30, 2020
                        sending office                                      MM/DD/YYYY                HH
                                                           ACCEPTED DATE
                        ORIGINAL OFFICE
                        Sender’s unit name:                                    Customer                            Name of addressee           Greencourt          Mobile:       13524669012
                The completed EMS details sheet is posted in the code:                                             Properties                                      Home phone:
                      Shanghai Fengxian       Court
                blank space of this envelope.                                                                                                                      Office phone:   [signature]
                        Address:                                               Contact
                                                                               number:                             Unit name
                        Case No. ((2019) Hu 0120 Min Chu No.                                                       COMPANY NAME
                        10021)
                           Notice of Case Acceptance                                        Summons                  Address
                           Notice of Responding to Litigation                               Notice of Appearance     ADDRESS      25/F, Building 1, Xingye Taikoo Hui, No. 288 First Shimen Road, Jing’an
                           (Notice of Participating in Litigation)                          in Court                              District, Shanghai
                           Copy of Bill of Complaint                                        Notice
                           (Counterclaim)                                                   Notice of
                           Copy of Application                                                                                                              Postal Code
                                                                                            Enforcement                                                                                                                                 EMS WeChat Self-Service
                           Copy of Bill of Defense                                          Order of Property                                                                                                                                 Platform
                           Notice to Produce Evidence                                       Reporting            Weight (kg) 0.1                                        Fee (yuan)
                           Notice of Litigation Rights and                                  Notice of Paying
                   Please     do not carry cash, dangerous goods and any
                           Obligations                                                      Litigation Fees
                           Notice ofitems.
                                      Members of Collegiate                                                      Signature  of recipient or                        Name of         ID card
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                             of sender                 Li Yiliu    Signature of handler:Ruling                                                                     certificate             r


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                           Confirmation of Service Address
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                No such person/unit found at the of “Court Courier”   mail
                                                                   Phone refusal/no answer for long
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                receiving address                                                                                  Brothers




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                                                                   Refused by the recipient                                      Mailroom  Legal representative
                No person/not at home for long at                                                               and sisters
                                                               The recipient requested a change of
                the receiving address
                                                                                                                Front          Other                             Seal of recipient
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                Undetailed /incorrect /relocated
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                                                               The recipient asked self-pick up but
                receiving address
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                                                               did not pick    up after a long time           Mail received on:           Signature of the courier on MM             DD
                No contact number/wrong                        of supervisor:                                                             YY :
                number/suspended number                                                                     Reminder: This legal document has legal effect and must be filled out truthfully,
                                                                                                            otherwise, the legal responsibility shall be borne by you.
                Other                                                                                       This form can only be used when delivering the court courier mail. Please fill it out
                Signature of handler:                                                                       clearly!
                                                                                                            WeChat enquiry public number: EMS-CNPL                         service phone: 11183
1.   If the recipient signs for it himself, he/she must show his/her valid ID card, sign and fill in the ID
     number.                                                                                                                                                                                          Envelope code: B-FT-100
2.   If the recipient is a unit, the recipient must show a valid ID card, sign and fill in the ID number, and                                                                                         Printing unit: Ningbo Hongda Printing Co., Ltd.
     must indicate the relationship with the recipient.                                                                                                                                               Print volume: 1 million

3.   If an agent signs for it, he/she shall present a valid ID card, sign and fill in the ID number, and at the                                                                                       Production date: March 2019

     same time, must indicate the relationship with the recipient (only for adult family members living                                                                                               Prepared under Supervision of Market Supervision

     with the recipient).                                                                                                                                                                             Department of State Post Bureau

4.   If the delivery is successful, the receipt should be returned in time; if the delivery is unsuccessful, the                                                                                      Supervised Preparation Certificate No. 31-07-79

     reason should be marked on the details sheet.
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                  EXHIBIT 22
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                                        Civil Petition for Appeal

Appellant (plaintiff in the first instance trial): GreenCourt Properties Limited.
Domicile: Room 12, 10/F, Wing On Plaza, No.62 Mody Road, Tsim Sha Tsui, Kowloon, Hong Kong
Special Administrative Region
Legal representative: Yu Naifen, director

Appellee (defendant in the first instance trial): Shanghai Luting Sijihuacheng Real Estate Development
Co., Ltd.
Domicile: No.12, Lane 218, Baziqiao Road, Fengxian District, Shanghai
Legal representative: Xu Liangyan, Chairman

Appellee (defendant in the first instance trial): Xu Liangyan, male, born on November 17, 1938, Han
nationality
ID number: 31011019381117507X
Domicile: Room 1605, No.2, Lane 92, Yude Road, Xuhui District, Shanghai

Appellee (the third party in the first instance trial): Shibang Co., Ltd.
Domicile: Room 1205-1208, 12/F, Xingye Commercial Center, No. 272-284 Des Voeux
Road Central, Sheung Wan, Hong Kong, China
Legal representative: Xu Hongbiao, director

      With respect to the dispute between the appellant Greencourt Properties Co., Ltd. (hereinafter
referred to as “Greencourt Properties”) and the appellees Shanghai Luting Sijihuacheng Real Estate
Development Co., Ltd. (hereinafter referred to as “Sijihuacheng”), Xu Liangyan, and Shibang Co., Ltd.
(hereinafter referred to as the “Shibang Company”) over the change of company registration (hereinafter
referred to as “this case”), Greencourt Properties refuses to accept the civil judgment ([2019] Hu 0120
Min Chu No. 10021 (hereinafter referred to as the “first-instance judgment”) made by Fengxian District
People’s Court of Shanghai (hereinafter referred to as the “ first-instance court”), and now files an appeal
according to law.


Appeal request:

1.   Request your court to cancel the civil judgment (2019) Hu 0120 Min Chu No. 10021 made by
     Fengxian District People’s Court of Shanghai according to law, and change the judgment according
     to law to support all the claims of Greencourt Properties in the first instance trial:
     (1) Request ordering Sijihuacheng to go through the formalities of equity change registration
             (filing) with Fengxian District Market Supervision Administration of Shanghai, register the
             change of the 80% equity of Sijihuacheng originally recorded under the name of Greencourt
             Properties to the Shibang Company, and submit the change report through the enterprise
             registration system when going through the enterprise change registration (filing);
     (2) Request Xu Liangyan to fulfill the corresponding obligation of assistance and cooperation in
             handling the registration (filing) and information submission procedures of the equity
             change mentioned in the preceding paragraph for Greencourt Properties;
2.   Request ordering Sijihuacheng and Xu Liangyan to bear all the court costs of the first and second
     instance trials of this case.




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Facts and Reasons:

      Greencourt Properties holds that there were major flaws in the first-instance legal procedure, and
there were errors in fact finding and law application in the judgment content. The specific facts and reasons
are as follows:


      I.        Background description of the facts involved in the case

       The purpose of the lawsuit filed by Greencourt Properties is to cooperate with the execution of the
final award HKIAC/A13028 of Hong Kong International Arbitration Center (hereinafter referred to as
“Hong Kong Arbitration Award”). On March 22, 2013, Xu Hongbiao and Ke Zhengguang (hereinafter
collectively referred to as “participating shareholders”) as arbitration applicants, and Yu Naifen, Yu
Naijun and Yu Naiwen (hereinafter referred to as “controlling shareholders”) as arbitration respondents,
initiated arbitration proceedings in Hong Kong, requesting resolving the dispute among the controlling
shareholders, the participating shareholders and their related entities, which arose from “Agreement on
Implementing the Preliminary Agreement on Equity Restructuring” (hereinafter referred to as “April 28
Agreement” signed by all parties on April 28, 2010. In this case, the Shibang Company was to acquire
80% equity of Sijihuacheng held by Greencourt Properties (hereinafter referred to as the “case-involved
equity transfer arrangement”), which is one of the arbitration requests of the participating shareholders
(see the first instance trial evidence of Sijihuacheng 1.1, page 34). Finally, Hong Kong International
Arbitration Center supported this arbitration request of the participating shareholders (see the first
instance trial evidence of Sijihuacheng 1.1, page 59). According to Item 5 of the arbitration order, the
arbitration tribunal requested the first respondent in the case, namely Oasis Investment Co., Ltd.
(hereinafter referred to as “Oasis Investment”), to urge the Shibang Company to acquire 80% equity of
Sijihuacheng held by Greencourt Properties.

      Therefore, the transfer of the equity of Sijihuacheng held by Greencourt Properties to Shibang
Company is the requirement of the arbitral award order and also the arbitration request put forward by the
participating shareholders. According to the requirements of the arbitration award, Greencourt Properties
signed an equity transfer agreement with Shibang Company and sent several letters to Sijihuacheng,
asking it to cooperate with the company’s change registration.

      Because Sijihuacheng had delayed fulfilling its obligation to register the change of the company,
Greencourt Properties filed a lawsuit in accordance with law in order to fulfill the obligation determined
by the Hong Kong arbitration award, which is legal and well-founded.

       II.         According to the trial idea of the court of first instance, there were major flaws in the
trial procedure of first instance.

        The court of first instance associated the April 28 Agreement with the registered items of the change
of equity transfer involved in the case. On one hand, it took the interests of the participating shareholders
under the April 28 Agreement as a factor to be considered in its judgment, and on the other hand, it did
not allow the participating shareholders to participate in litigation and be added as the defendant or the
third party in this case. The judgment is contradictory. According to the judgment logic of the court of
first instance, there were serious flaws in the trial procedure of first instance:

      1.        Sijihuacheng has no right to put forward corresponding claims on behalf of the
participating shareholders.

      Sijihuacheng and the actual controller of Sijihuacheng, Ke Yeying, are neither signatories nor the
participating shareholders of the April 28 Agreement, and have no right to interpret the meaning of the
terms under the April 28 Agreement.

      According to the April 28 Agreement, Sijihuacheng is only one of the consideration for equity
transfer delivered by the controlling shareholder to the participating shareholders in the whole internal
restructuring transaction of Oasis Investment. Sijihuacheng has no right to interfere with the restructuring
arrangements between the controlling shareholders and the participating shareholders and the equity
transfer arrangement among the shareholders of Sijihuacheng. In fact, such restructuring arrangements



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and equity transfer arrangements will not infringe any interests of Sijihuacheng.

        However, in this case, Sijihuacheng put forward relevant claims on behalf of some participating
shareholders, claiming that the equity transfer agreement involved in the case was suspected of damaging
the interests of participating shareholders, which was obviously to replace others, and there was no
evidence that Sijihuacheng was authorized by the participating shareholders to put forward corresponding
claims.

       2.         The participating shareholders did not participate in this lawsuit case, and they were not
parties to this case. The first-instance judgment violated the basic principle of “no trial without complaint”
in the Civil Procedure Law.

         At the trial stage of the first instance, in order to help the court find out the facts of the case,
Greencourt Properties submitted a request to the court of first instance to add Ke Yeying, the heir of Ke
Zhengguang, another shareholder Xu Hongbiao and another director Ke Zhengfu of Sijihuacheng, as co-
defendants in this case. However, Greencourt Properties never received a reply from the court of first
instance. After that, Greencourt Properties again applied to the court of first instance for adding Ke Yeying,
Xu Hongbiao and Ke Zhengfu as the third parties in this case, but still received no reply from the court of
first instance. The court of first instance even made no mention of the request of Greencourt Properties to
add defendants and third parties in the judgment of first instance!

         However, according to the judgment of the first instance, in the view of the court, the equity
transfer agreement involved in the case was a part of the transaction under the April 28 Agreement,
which might involve damage to the interests of the participating shareholders. However, on the one
hand, the court of first instance paid attention to the interests of the participating shareholders, but on the
other hand, it did not allow the participating shareholders or their representatives to participate in the
litigation, which was obviously contradictory. In fact, whether the equity transfer transaction involved in
the case harms the interests of the participating shareholders could have been fully ascertained in the
first-instance procedure of this case. However, the court of first instance deliberately ignored the
corresponding evidence and the statements of the parties, and selectively accepted the opinions
involving the private interests of Ke Yeying, representative of Sijihuacheng.

      (1)    Although Xu Hongbiao, one of the participating shareholders, was not approved by the
             court of first instance to participate in the lawsuit as a party to the case, Xu Hongbiao, as
             the authorized representative of the Shibang Company, explicitly agreed to the lawsuit on
             equity transfer put forward by Greencourt Properties when Shibang Company filed an
             independent lawsuit on the equity transfer arrangement involved in the case. If Xu
             Hongbiao also held that the equity transfer transaction involved in the case might harm his
             interests, Shibang Company could not agree at all with the claim of Greencourt Properties;
      (2)    In the questioning session of the second hearing of the case, the appellant’s agent asked
             Shibang Company whether its designated authorized representative (i.e. Xu Hongbiao, a
             participating shareholder) thought that the equity transfer transaction involved in the case
             harmed its interests, and Shibang Company’s reply was no damage. Otherwise Shibang
             Company would not have filed an independent claim in the first-instance procedure.
             However, the court of first instance did not pay attention to the facts of this section;
      (3) The interests that the court of first instance actually paid attention to were the interests of Ke
          Yeying, not the interests of the participating shareholders. After Ke Zhengguang’s death, his
          daughter Ke Yeying, as one of the inheritors of the estate, did not of course obtain the contract
          subject status under the April 28 Agreement, and had no right to change his father Ke
          Zhengguang’s true intention when signing the April 28 Agreement without authorization. Ke
          Yeying made a malicious interpretation of the April 28 Agreement through Sijihuacheng she
          actually controlled, trying to change the true meaning expressed by Ke Zhengguang under the
          April 28 Agreement, and denying the consensus already reached by all parties under the April
          28 Agreement, the essence of which was to realize her personal interests.




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       To sum up, when the participating shareholders did not participate in the litigation nor they claimed
that the equity transfer agreement involved in the case would harmed their interests, the court of first
instance made a judgment against the registration of change of Sijihuacheng based on the subjective
inference that “the equity transfer agreement involved in the case might harm the interests of the
participating shareholders”, which seriously violated the basic trial rules set forth in the Civil Procedure
Law, such as “no trial without complaint” and “taking the facts as the basis and the law as the criterion”.

      3.        The court of first instance has no jurisdiction over the disputes under April 28 Agreement.

      April 28 Agreement is an agreement on implementing the Supplementary Agreement on Equity
Restructuring signed by the controlling shareholders and the participating shareholders on November 9,
2009 (hereinafter referred to as “Restructuring Agreement”, see Evidence 1 of Second Instance for details),
and April 28 Agreement is a part of Restructuring Agreement. According to Article 4.1 of the April 28
Agreement, all matters not covered by the April 28 Agreement shall be subject to the provisions in the
Restructuring Agreement. According to the Restructuring Agreement, the applicable law of the
Restructuring Agreement and the April 28 Agreement is Hong Kong law. This is also the basis of Hong
Kong’s arbitration award.

       According to Article 4.2 of the April 28 Agreement, any and all disputes arising from the April 28
Agreement shall be settled by arbitration by Hong Kong International Arbitration Center. As a matter of
fact, the dispute arising from the April 28 Agreement has been decided by the Hong Kong International
Arbitration Center. As the applicant of the arbitration procedure, the participating shareholders recognized
the contents of the April 28 Agreement and the equity transfer arrangement involved in the case, and the
aforesaid expression of intention was also recorded in the Hong Kong arbitration award, which is binding
on both the participating shareholders and the controlling shareholders.

      However, the court of first instance accepted the wrong view of Sijihuacheng while having no right
to review and not making substantial review of the contents of the April 28 Agreement, and made
interpretation the terms under the April 28 Agreement, which was not conducive to the relevant subjects.
In the case that Xu Hongbiao, the participating shareholder, had explicitly recognized the validity of the
equity transfer agreement involved in the case, the court arbitrarily determined that the equity transfer
transaction involved in the case might increase the tax burden of the participating shareholders, which
was contrary to the commercial arrangement between the controlling shareholder and the participating
shareholders when signing the April 28 Agreement, and made an adverse judgment to Greencourt
Properties based on the aforementioned behavior.

      It can be seen from the above that the court of first instance broke through the agreement of the
parties to the April 28 Agreement on the applicable law and arbitration jurisdiction, and improperly
interpreted the April 28 Agreement without making substantial review of its contents, abusing judicial
power and seriously violating the basic rules of civil litigation.

       III. The court of first instance omitted finding out the important facts of the case, and there was an
error in finding out the facts.

     1. The first-instance judgment omitted finding out the relevant facts of the establishment time of the
Shibang Company.

      The court of first instance omitted finding out the establishment time of the Shibang Company, and
the key fact that its shareholders Xu Hongbiao and Ke Zhengguang who served as directors of the Shibang
Company at the beginning of its establishment fully knew that Shibang Company was 100% owned by
Greencourt Properties, thus leading to errors in ascertaining facts in the judgment of first instance.
        Greencourt Properties established the Shibang Company on November 5, 2009, and its
participating shareholders Xu Hongbiao and Ke Zhengguang had served as directors since the
establishment of the Shibang Company (see Shibang Company’s business registration document and
pages 130 and 131 of the first instance trial evidence of Greencourt Properties for details; the Shibang
Company also submitted this registration document in the trial of first instance). Therefore, the
participating shareholders, Xu Hongbiao and Ke Zhengguang knew clearly at the beginning of the
establishment of the Shibang Company that the shareholder of the Shibang Company was Greencourt



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Properties, not Oasis Investment Group Co., Ltd.. The participating shareholders Xu Hongbiao and Ke
Zhengguang, while knowing the equity relationship between Shibang Company and Greencourt
Properties, signed the April 28 Agreement on April 28, 2010, indicating that all parties were fully aware
of and recognized the fact that Shibang Company equity was 100% held by Greencourt Properties.
        In the first-instance procedure, Greencourt Properties, Sijihuacheng and Xu Liangyan respectively
submitted the business registration documents of the Shibang Company (none of which were notarized)
as evidence. However, under the condition that the contents of the aforementioned documents were
consistent, the court of first instance recognized only the version of the business registration documents
submitted by Sijihuacheng and Xu Liangyan, but did not recognize the version submitted by Greencourt
Properties, which was obviously biased towards Sijihuacheng and Xu Liangyan, which is obviously
incredible!

        2. The court of first instance omitted finding out Article 2.3.2 of the April 28 Agreement, the fifth
arbitration request of the participating shareholders and the sixth order of the arbitral award, and made a
one-sided, mechanical and erroneous interpretation of the contents of Article 2.3.1 of the April 28
Agreement.

        According to Article 2.3.2 of the April 28 Agreement, “After Oasis Investment signs the Equity
Purchase Right Agreement for transferring the equity of the Shibang Company to Xiying International
Group Co., Ltd. and Focus Town Limited, Greencourt Properties shall sign the relevant custody
agreement with Xiying International Group Co., Ltd. and Focus Town Limited, which shall stipulate
that: (1) Xiying International Group Co., Ltd. and Focus Town Limited shall be entrusted by Greencourt
Properties to manage the Shibang Company and exercise shareholder rights for three years (custody
period)”. (See page 5 of April 28 Agreement, page 82 of the first instance evidence of Sijihuacheng and
Xu Liangyan )

        What needs special attention is that the content of the custody agreement is that Greencourt
Properties entrusts its shareholder rights to Shibang Company to third parties for three years. This proves
that the shareholder of the Shibang Company is Greencourt Properties, not Oasis Investment, and this fact
was clearly known by all parties when signing the April 28 Agreement.

        Furthermore, the fifth arbitration request put forward by the participating shareholders and the
sixth order of the Hong Kong arbitration award also prove that the participating shareholders and the
arbitral tribunal knew and recognized the objective fact that Shibang Company was established by
Greencourt Properties:
       (1)     The fifth arbitration request of the participating shareholders (paragraph 220 of the
               arbitral award, page 34 of the arbitral award) is: “To order the first respondent (Oasis
               Investment) to sign and urge its subsidiary, Greencourt Properties , to jointly sign the
               equity purchase right agreement and the custody agreement concerning the Shibang
               Company; (Article 2.3.1 and Article 2.3.2 of the April 28 Agreement) “;( see page 34 of
               the Hong Kong Arbitration Award, page 36 of the first instance trial evidence of
               Sijihuacheng and Xu Liangyan).

      (2)      Paragraph 201 of the arbitral award also makes it clear that after the signing of the Equity
               Purchase Agreement concerning Shibang Company: “In the Custody Agreement signed
               by Greencourt Properties, Xiying International and Focus Town, the parties will agree
               that (a) Xiying International and Focus Town will be entrusted by Greencourt Properties
               to manage the Shibang Company and exercise shareholders’ rights for three years”.
               Therefore, if the Shibang Company was not established by Greencourt Properties, then
               the parties and the arbitration tribunal would not have reached the above consensus;

      (3)      According to Article 6 of the arbitration order: “To order the first respondent (Oasis
               Investment) to sign and urge its subsidiary, Greencourt Properties, to jointly sign the
               equity purchase right agreement and custody agreement concerning the Shibang
               Company”;( see page 59 of the Hong Kong Arbitration Award, page 61 of the first
               instance trial evidence of Sijihuacheng and Xu Liangyan)




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       The above-mentioned arbitration requests of the participating shareholders and the above-
mentioned arbitration orders of the Hong Kong arbitration award clearly put Greencourt Properties in the
equity purchase and custody arrangements of the Shibang Company, which indicates: The participating
shareholders and the arbitral tribunal were fully aware of the fact that Shibang Company was established
by Greencourt Properties. Otherwise, if Shibang Company was not established by Greencourt Properties,
the signing of the Shibang Company’s equity purchase right agreement and custody agreement should not
have been related to Greencourt Properties. It would have been illogical for both the participating
shareholders and the arbitral tribunal to require Greencourt Properties to sign the corresponding equity
purchase right agreement and custody agreement.

       It is particularly noteworthy that Ke Yeying, the actual controller of Sijihuacheng, has applied for
enforcement of the arbitral award in the United States, and his request also includes the sixth order of the
arbitral award. This behavior also fully shows that Ke Yeying, the actual controller of Sijihuacheng,
confirmed the fact that the equity purchase right agreement and the custody agreement should be signed
by Greencourt Properties. In this case, Ke Yeying put forward her claim through Sijihuacheng that the
establishing subject of the Shibang Company was inconsistent, which obviously contradicted her claim
when applying for enforcement of arbitration award. The determination of the facts in this section by the
court of first instance completely contradicts the contents of the Hong Kong arbitration award.

       3. The court of first instance based its judgment on the so-called “extra tax burden” to outsiders
that did not actually happen, which lacked basis.

      On page 10 of the first-instance judgment, in the view of the court, the equity transfer involved in
the case may increase the additional tax burden that the participating shareholders could not foresee when
entering into the April 28 Agreement, and accordingly it is contrary to the commercial arrangement of the
April 28 Agreement, and therefore, the court does not support the request of Greencourt Properties.

      However, the first-instance judgment simply failed to find out what the “extra tax burden” was and
whether the “extra tax burden” was real and reasonable, including the corresponding tax base, tax rate and
the amount of tax incurred.

      During the trial of the case, Sijihuacheng once claimed that its actual equity value was higher than
the equity value agreed in the equity transfer agreement, and accordingly claimed that the equity transfer
involved in the case would lead to additional tax burden for the participating shareholders in the future.
However, Sijihuacheng failed to submit relevant evidence of the actual value of its equity. When the
equity value of Sijihuacheng was not clear, how could there be “extra tax burden”? In the case that the so-
called “extra tax burden” for outsiders was not actually occurred, the judgment made in the first instance
is completely without basis.




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      In addition, the court of first instance added a new obligation without contract and legal basis for
the outsider, requiring the participating shareholders and controlling shareholders who did not participate
in the lawsuit to reach a new agreement on special tax treatment, and indicated that the equity transfer
could not be carried out before the new agreement was reached, which obviously had no basis.

       4.    The court of first instance made an error in finding out the authority of the board of directors
of Sijihuacheng.

       The fact-finding content in the second paragraph of page 6 of the first-instance judgment
mechanically copies the statement in the articles of association of Sijihuacheng, and holds that the equity
transfer transaction involved in the case should be approved by a simple majority of the board of directors
of Sijihuacheng, which is a mistake in finding out the facts. In fact, according to the articles of association
of the company, the equity transfer involved in the case must be unanimously agreed by the board of
directors of Sijihuacheng.

       According to Article 16 (6) of the articles of association of Sijihuacheng, the terms of reference of
the board of directors include “deciding the increase of the registered capital and the equity transfer of the
company”. Meanwhile, according to Article 24, “the following major issues must be unanimously passed
by all members of the board of directors before a resolution can be formed: ... 4. Increase and transfer of
the registered capital of the company”. (See the Articles of Association of Sijihuacheng 2005 for details,
and pages 11, 12 of the first instance trial evidence of Greencourt Properties.)

      It is important to note that under the legal environment at that time, the registered capital of Sino-
foreign joint ventures corresponded to the total investment of the company, and the registered capital was
the capital contribution registered by all shareholders. The registered capital transfer in Article 24 (4) of
the Articles of Association of Sijihuacheng Company is the concept of equity transfer. Therefore,
according to the Articles of Association of Sijihuacheng, the board of directors shall form a unanimous
resolution on the equity transfer transaction.

      5.     The voting mechanism of the board of directors of Sijihuacheng is out of control
      Since the court of first instance thought that the indication of the board of directors of Sijihuacheng
played a decisive role in the change registration of the equity transfer involved in the case, it should have
found out whether the board of directors of Sijihuacheng could make a legal and effective resolution on
the equity transfer involved in the case.

       In fact, it is an obvious fact that the four directors of Sijihuacheng disagree on the equity transfer
involved in the case. According to the trial statement of the Shibang Company, Xu Hongbiao did not
actually master the official seal and business license of the Sijihuacheng, and there was a long-term
contradiction and conflict between him and Ke Yuying; meanwhile, Xu Hongbiao, as the authorized
representative of the Shibang Company in this case, agreed with the litigation request put forward by
Greencourt Properties, and thought that the equity transfer agreement involved in the case was legal and
valid, and Sijihuacheng should go through the corresponding change registration procedures. Therefore,
Xu Hongbiao is in favor of the equity transfer involved in the case, which is obviously inconsistent with
the attitudes of other three directors, namely Ke Yeying, Xu Liangyan and Ke Zhengfu. Therefore,
regarding the equity transfer involved in the case, the three directors Xu Liangyan, Ke Yeying and Ke
Zhengfu did not agree with the transfer, while Xu Hongbiao agreed with the transfer. Therefore, it is
impossible for the four directors to form a unanimous resolution.

       Secondly, the actions of the chairman of Sijihuacheng show that he will not call the board of
directors to vote on the equity transfer involved in the case. According to Article 19 of the Articles of
Association of Sijihuacheng, the board meeting is convened and presided over by the chairman. As far as
this case is concerned, Xu Liangyan, the chairman of the board of directors, is the defendant in this case,
and his agent has clearly stated that he does not recognize the validity of the equity transfer agreement
involved in this case. Therefore, it is impossible for him to call the board of directors to vote on the equity
transfer agreement involved in this case. In fact, regarding the equity transfer involved in the case,
Greencourt Properties and its relevant actual controllers sent letters to Sijihuacheng and its directors/actual
controllers on July 19, 2018, August 25, 2018 and November 8, 2019, urging relevant directors to perform
their duties. However, in the past two years, the board of directors of Sijihuacheng has not voted on the
equity transfer.




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      The above facts are enough to show that Sijihuacheng and its three directors Xu Liangyan, Ke
Yeying and Ke Zhengfu are actually preventing the performance of the equity transfer involved in the
case in various ways. It is impossible for the board of directors of Sijihuacheng to vote in any form on the
equity transfer involved in the case; to take a step back, even if a vote is held, the voting mechanism of
the board of directors of Sijihuacheng determines that the equity transfer agreement involved in the case
will not be recognized by the board of directors under any circumstances. Therefore, under these
circumstances, the shareholders’ rights to equity transfer have been substantially deprived. If, according
to the opinions of Sijihuacheng and Xu Liangyan, the procedural requirements of the Sijihuacheng
Articles of Association (i.e., the resolution of the board of directors) are taken as one of the important
elements to determine the validity of the equity transfer agreement involved in the case, the interests of
shareholders will be substantially damaged, resulting in the fact that the existing shareholders of
Sijihuacheng cannot dispose of the equity they hold at all, which will seriously damage the legitimate
interests of the shareholders.

      IV. Wrong application of law in first-instance judgment

      1.       The first-instance judgment takes the tax issue involved in equity transfer as the precondition
for the registration of equity transfer change,
which has no legal basis

      The equity transfer agreement involved in the case is legal and valid, and Sijihuacheng has the legal
obligation to handle the change registration. The equity transfer agreement involved in this case is legal
and valid, and there is no invalid or revocable situation. Although Sijihuacheng claimed that the equity
transfer agreement involved in the case was invalid, the court of first instance did not determine that the
equity transfer agreement involved in the case was invalid, indicating that the court of first instance also
confirmed its validity. Article 32 (3) of the Company Law stipulates: “The company shall register the
names of shareholders with the company registration authority; if the registered items are changed, the
change registration shall be handled. In the absence of registration or change registration, no action may
be taken against a third party.” Therefore, after the signing of the equity transfer contract involved in the
case, Greencourt Properties was no longer a shareholder of Sijihuacheng, and Shibang Company has
become a shareholder holding 80% equity of Sijihuacheng. Failure to register the change of Sijihuacheng
will have legal effect against the third party.

       There is no tax-precondition problem in the registration of change of equity transfer, and it lacks
legal basis for the court of first instance to judge that tax problem should be solved first. According to
Article 3 of the Notice of the State Administration of Taxation on Several Tax Issues Concerning the
Implementation of the Enterprise Income Tax Law (Guo Shui Han [2010] No. 79): “With respect to the
confirmation and calculation of equity transfer income, when an enterprise transfers its equity, the
realization of income from equity transfer shall be confirmed when the transfer agreement comes into
effect and the formalities of equity change are completed.” Therefore, according to tax practice, the entry
into force of the equity transfer agreement comes first, and the confirmation of income from equity transfer
is confirmed (i.e., tax verification) comes later. Moreover, only when the equity transfer agreement is
registered for transfer will the tax amount be confirmed. Therefore, whether the equity transfer transaction
is tax-paid or not has nothing to do with the effectiveness of the equity transfer agreement. On the contrary,
only when the equity transfer agreement becomes effective according to law and changes are registered,
the tax verification issue will arise. On the contrary, only when the equity transfer agreement becomes
effective according to law and changes are registered, the tax verification issue will arise. The court of
first instance regards tax treatment as the precondition for handling the registration of change of equity
transfer, which obviously puts the cart before the horse, has no basis in law, and runs counter to the
practice.

       The amount of tax verification depends on the tax authorities’ determination of the actual value of
the target company’s equity, and does not depend on the agreement on equity transfer price in the parties’
transfer agreement. The equity transfer transaction involved in the case is a part of the reorganization of
the whole Oasis investment enterprise. Such equity transfer transaction is special. Whether the special tax
treatment in the Notice of the Ministry of Finance and the State Administration of Taxation on Several
Issues Concerning the Treatment of Enterprise Income Tax in Enterprise Restructuring Business
(hereinafter referred to as “No. 59 Document”) can be applied, and how and how much the resulting tax
should be borne does not depend on the agreement of the equity transfer agreement involved in the case.
The verification of tax amount by Chinese tax authorities is not affected by the transaction price agreed



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in the contract between the parties, and the tax authorities usually verify the tax income from the
transaction according to the fair value.

      To take “ten thousand steps” back, even if special tax treatment can be applied to the equity transfer
arrangement involved in the case, this is the true intention of all parties under the April 28 Agreement.
The arrangements for the equity transfer transactions under the April 28 Agreement can show that both
the participating shareholders and the controlling shareholders expect to solve the tax problems arising
from the equity transfer transactions through special tax treatment arrangements. Specifically:


      (1)       The equity transaction involved in the case conforms to the applicable scope of Article 1 of
                No. 59 Document and the subject requirements of Article 7: April 28 Agreement is an
                internal reorganization transaction of enterprise, that is, the rearrangement of relevant legal
                entities held respectively by the participating shareholders and the controlling shareholders;
                meanwhile, the equity transfer transaction involved in the case occurs between Greencourt
                Properties and Shibang Company, which is in line with the subject requirements of Article
                7 “A resident enterprise transfers the equity of an resident enterprise it holds to another non-
                resident enterprise directly and 100% controlled by it”;
      (2)       The equity transaction involved in the case complies with the acquisition ratio requirements
                of Articles 5 and 6 of No. 59 Document: That is, the assets or equity ratio of the acquired,
                merged or split part meets the requirement of not less than 75% (the equity of Sijihuacheng
                held by Greencourt Properties is 80%);
      (3)       The equity transaction involved in the case complies with the equity payment ratio
                requirements of Articles 5 and 6 of No. 59 Document: The consideration for acquiring an
                enterprise includes equity payment, which is not less than 85% of the total transaction
                payment. The payment method of the equity transfer transaction involved in the case is 100%
                equity payment, which also meets this requirement;
      (4)       The equity transaction involved in the case complies with the three-year non-transfer
                requirement stipulated in Article 7 of No. 59 Document: Article 2.3.2 of the April 28
                Agreement stipulates that Greencourt Properties has made it clear that the transferor
                Greencourt Properties will not transfer the equity of the Shibang Company within three
                years. This is the reason why Article 2.3.3 of April 28 Agreement stipulates a “three-year”
                custody period.
       It can be seen that no matter whether the tax authority determines that the equity transfer transaction
involved in the case can be subject to special tax treatment after review, this arrangement is the true
intention of all parties including Ke Zhengguang and Xu Hongbiao under the April 28 Agreement.
Otherwise, it was not necessary for all parties to agree on the equity payment method and the three-year
custody method under the April 28 Agreement. In particular, paragraphs 281 and 282 of the Hong Kong
Arbitration Award also made it clear that the parties did not explicitly specify the tax undertaker in the
case of No.59 Document in the April 28 Agreement, that is, in the transaction structure arrangement under
the April 28 Agreement, since No. 59 Document would be applicable to the stage where 80% of the equity
would be transferred to Shibang Company by Greencourt Properties, no tax would be incurred at this
stage. This was also the reason that the parties did not make special provisions on the tax undertaker in
the case where No. 59 Document was applicable in the April 28 Agreement.

        Therefore, even if the equity transfer transaction involved in the case can be subject to special tax
treatment, it is completely consistent with the expectations of all parties when signing the April 28
Agreement in 2010, and will not harm the legitimate rights and interests of any party at all. The court of
first instance held that the equity transfer transaction involved in the case should not be executed because
it might increase the tax burden of the participating shareholders than expected in signing the April 28
Agreement, so it did not support the request of Greencourt Properties for change registration, which is
unfounded in law.




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      2.      The court of first instance held that the equity transfer contract involved in the case should
be approved by the board of directors, and that the equity transfer involved in the case was a matter that
should be passed by a simple majority of the board of directors of Sijihuacheng, which is an error in
applicable law.

       (1)      The equity transfer contract will take effect immediately without the approval of the board
of directors.

       According to Article 32 of the Contract Law of the People’s Republic of China (hereinafter referred
to as the “Contract Law”): “If the parties conclude a contract in the form of a contract, the contract shall
be established when both parties sign it or affix their seals on it.” The equity transfer contract involved in
the case is not a contract that can take effect only after examination and approval as stipulated by laws
and regulations, so the equity transfer agreement involved in the case came into legal effect when both
parties signed it on July 18, 2018.

       As for the agreement of the Articles of Association of Sijihuacheng on the voting of the board of
directors on equity transfer matters, the resolution authority of the board of directors is limited to whether
to approve the transfer, and does not include the approval of the equity transfer contract itself. As
mentioned earlier, the equity transfer transaction involved in the case is the requirement of Hong Kong
arbitration award, the requirement of April 28 Agreement, and the enforcement requirement put forward
by Ke Yeying, the actual controller of Sijihuacheng, in American courts. Then, regarding the equity
transfer involved in the case, whether Greencourt Properties, Ke Yeying, the actual controller of
Sijihuacheng, Xu Hongbiao, the shareholding shareholder, or the Hong Kong arbitration award, the
opinions of all parties are consistent, that is, the equity must be transferred.

      However, both the Sijihuacheng and the court of first instance, their consistent position is to steal
the concept, replace the equity transfer itself with the equity transfer contract, and require the board of
directors to approve the equity transfer contract, which is obviously inconsistent with the Articles of
Association of the Sijihuacheng, especially with the legal logic. Does the content of the equity transfer
contract in which shareholders dispose of their own assets need to be approved by the directors appointed
by shareholders?

       (2)     The voting mechanism of the board of directors has nothing to do with the control right of
Sijihuacheng, and is not to balance the shareholders’ interests.

       The authority requirements and voting mechanism of the board of directors of Sijihuacheng were
established as early as in the 2005 edition of the Articles of Association. At that time, Greencourt
Properties was not a shareholder of Sijihuacheng (see the Articles of Association of Sijihuacheng in 2005,
page 11 of the first instance trial evidence of Greencourt Properties ); since then, Sijihuacheng only filed
two amendments to the Articles of Association when Greencourt Properties made equity investment in
2007 and the registered capital of Sijihuacheng increased on November 12, 2009, respectively. In the
above amendments, the voting mechanism of Articles 16 and 24 of the Articles of Association was not
changed ( see the amendments to the Articles of Association of Sijihuacheng in 2007 and 2009, and page
4 of the first instance trial evidence of Greencourt Properties)

      Before the implementation of the Foreign Investment Law, the board of directors was the highest
authority of a Sino-foreign joint venture, so the articles of association of Sino-foreign joint ventures
generally stipulate broader terms of reference of the board of directors. Equity transfer is actually the
behavior of shareholders to dispose of their own property, while the authority of the board of directors
should be the management behavior of the company, and the disposition of property by shareholders and
the management of the company by the board of directors are basically independent of each other.

      As far as this case is concerned, the directors’ voting on equity transfer is not a newly added term
of reference of the board of directors after the participating shareholders took over the control of
Sijihuacheng, but based on the legislative environment at that time, i.e., the legal background where the
board of directors was the highest authority of Sino-foreign joint ventures. Therefore, the board of
directors’ decision-making power on shareholders’ equity transfer is only a procedural arrangement,
which reflects the procedural requirement that the board of directors is the highest authority, but not a
substantive requirement.




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        In fact, before the signing of the April 28 Agreement, the controlling shareholder handed over the
control of Sijihuacheng to the participating shareholders through the appointment of directors, the essence
of which was the behavior that the controlling shareholder paid for the equity transfer to the participating
shareholders. The management right of Sijihuacheng was handed over to the participating shareholders
first, and the personnel appointed by the participating shareholders served as directors of Sijihuacheng,
which does not mean that the participating shareholders have the right to interfere in the disposition of
their own equities by the controlling shareholders. The directors of Sijihuacheng only have the right to
make decisions on the operation and management of Sijihuacheng, but have no right to interfere with the
equity disposition of the controlling shareholders. What’s more, the disposition of the controlling
shareholders’ equities is in full compliance with the requirements of April 28 Agreement and Hong Kong
Arbitration Award, and more in line with the true intention expressed by all parties at that time.

       The wrong understanding of the terms of reference of the board of directors of Sijihuacheng in the
first-instance judgment and the misunderstanding of the background of the voting mechanism of the board
of directors led to the wrong judgment result.

       (3)     According to judicial practice, the board of directors’ right to decide on equity transfer is
only a procedural requirement.

      In this case, the board of directors of Sijihuacheng fundamentally refused to issue a resolution on
the equity transfer transaction involved in the case. If, according to the requirements of the court of first
instance, the directors of Sijihuacheng do not vote or disagree, the company change registration for the
transfer of equities from Greencourt Properties to Shibang Company will never be realized, which will
seriously damage the legitimate interests of Greencourt Properties.

       In the judicial practice cases related to disputes over equity transfer agreements, the courts also
agree: The resolution of the board of directors in the articles of association of Sino-foreign joint ventures
is only a procedural requirement, and the resolution of the board of directors cannot determine the validity
of the equity transfer agreement. For example, the Shanghai No. 2 Intermediate People’s Court heard the
appeal case of equity transfer dispute between Rand Wales United Co., Ltd. and RAW Environmental
Technology (Shanghai) Co., Ltd. [Case No.: (2016) Hu 02 Min Zhong No. 10017, hereinafter referred to
as the “Landwell Case”], the court held that:

       “Although the joint venture contract and Articles of Association of RAW Company stipulate that
the transfer of the registered capital of the company must be unanimously approved by the resolution of
the board of directors. However, according to the Share Transfer Agreement and Commitment and
Guarantee provided by Chengbang Company, it shows that all three shareholders of RAW Company had
no objection to the equity transfer in this case, and all three shareholders were aware of the joint venture
contract and the Articles of Association. According to the normal process of RAW Company, after the
former legal representative Jiang Zhipeng left office, his new legal representative should convene the
board of directors to make a resolution on this matter. Therefore, it was not due to Chengbang Company
that the equity transfer involved in this case did not have the resolution of the board of directors. Although
the highest authority of RAW Company was the board of directors, the board of directors was composed
of members appointed by shareholders of all parties. Therefore, regarding the major issues of changes in
equity within the company, shareholders are the ultimate deciders, and the resolutions of the board of
directors are only procedural provisions, which do not hinder the effectiveness of the Share Transfer
Agreement involved in this case.”

       V. Other problems existing in the judgment of first instance




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      The appellant Greencourt Properties is a company registered in Hong Kong. According to Article
269 [1] of the Civil Procedure Law, the appeal period of Greencourt Properties should be 30 days, while
the court of first instance only gave 15 days for appeal, which is obviously an error in applicable law and
violates legal procedures.

                                                ********************

      To sum up, the litigation claims put forward by Greencourt Properties have sufficient factual basis
and legal basis, and in the first-instance judgment, there are serious procedural flaws, omissions or wrong
ascertaining of a number of important facts, and also wrong law applications. Greencourt Properties
earnestly requests your court to revise the judgment according to law after finding out the facts, and
support all the litigation claims put forward by Greencourt Properties in the first instance.

      To

Shanghai No.1 Intermediate People’s Court



                                                              Appellant: Greencourt Properties Co., Ltd. (Seal)
                                                                      [stamp:] Greencourt Properties Co., Ltd.
                                                                  GREEN COURT PROPERTIES LIMITED
                                                                                    Date: [hw:] July 15, 2020

                                                                                           [hw:] Agent: [signature]




[1]
   Article 269 of the Civil Procedure Law stipulates: If a party who has no domicile within the territory of the
People’s Republic of China refuses to accept the judgment or order of the people’s court of first instance, he has the
right to appeal within 30 days from the date of service of the judgment or order.




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                                                                                                                                                                   ten yuan




                                                                                                                                                                                                                                                            For receiving/sending office
                                             Addressee: [hw:] Fei Zhengquan, Telephone/cell phone:                                   Delivery fee:                            [hw:] July 16, 2020 [hw:]
                                             Gao Lei                         (very important) [hw:] 021-37190666 * 26121
                                                                                                                                    Postage:    Yuan Insurance fee:
Bureau




                                             Unit name: [hw:] Fengxian District People’s Court Customer code:                       Packaging fee:   Yuan
                                             of Shanghai                                                                               Yuan
                                                                                                                                                     Other expenses:
                                                                                                                                                     Yuan                       Recipient’s receipt:
                                             Address:                                                                                                                          Signature:
Wenzhou Cifang Security Printing Co., Ltd.




                                             [hw:] No. 199 East Jiefang Road, Fengxian District, Shanghai



                                                                                                                                    Total fee:                        Yuan
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                                                                                                 Zip                                 Payment method:
                                             Destination city: [hw:] Shanghai                          [hw:] 201499
                                                                                                 code:
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                                             Email details:
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                                             Total number of Actual weight Billing weight (total Total volume      length                                □          Monthly Remarks:
                                             pieces          (kg)          weight kg)            x width x height cm                □ Card swiping
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                                                                                                                                    □ Payable by the
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                                                                                                                                    third party


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                                             Name of internal item: [hw:] Bill of Civil Appeal of Greencourt Properties in
                                             quadruplicate
                                                                                Please make sure that the value of single item to be Deliverable         Delivered by:
                                                                                delivered does not exceed 50,000 yuan, and the accepting person:
                                             letter  document  item
                                                                                valuables must be insured. The compensation for
                                                                                uninsured goods is 3 times of the postage paid.
                                             Insurance price: Declared value: Ten thousand                  thousand  hundred
                                             Yes  No           ten yuan     (      ￥yuan)                                                                                                             10 72369901 5 34
                                                                                       Please fill it out clearly!
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                   EXHIBIT 23
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                                    Civil Petition for Appeal
Appellant (a third party in the first instance): Shibang Co., Ltd.
Domicile: Room 1205-1208, 12/F, Xingye Commercial Center, No.272-284 Des Voeux Road
Central, Sheung Wan, Hong Kong, China
Legal representative: Xu Hongbiao                          Position: Director


Appellee (plaintiff of the first instance): Greencourt Properties Limited.
Domicile: Room 12, 10/F, Wing On Plaza, No.62 Mody Road, Tsim Sha Tsui, Kowloon, Hong
Kong, China
Legal representative: Yu Naifen                            Position: Director


Appellee (defendant of the first instance): Shanghai Luting Sijihuacheng Real Estate
Development Co., Ltd.
Domicile: No.12, Lane 218, Baziqiao Road, Fengxian District, Shanghai, China
Legal representative: Xu Liangyan                          Position: Chairman


Appellee (defendant of the first instance): Xu Liangyan, male, born on November 17, 1938,
Han nationality
Domicile: Room 1605, Lane 2, No.92 Yude Road, Xuhui District, Shanghai, China


      The appellant refused to accept the civil judgment of Fengxian District People’s Court of
Shanghai (2019) 0120 Min Chu No.10021, and hereby appeals to your court.


Appeal request:


I.    To revoke the civil judgment of Fengxian District People’s Court of Shanghai (2019) 0120
         Min Chu No.10021.
II.   To support the appellant all claims in the first instance, namely: 1. Issue a judgement to
         confirm that the appellant is a shareholder of the appellee Shanghai Luting
         Sijihuacheng Real Estate Development Co., Ltd., and owns 80% of the registered
         capital of Shanghai Luting Sijihuacheng Real Estate Development Co., Ltd.; 2. To
         order the appellee Shanghai Luting Sijihuacheng Real Estate Development Co., Ltd.
         and Xu Liangyan to go through the filing formalities for the change of 80% equity of
         Shanghai Luting Sijihuacheng Real Estate Development Co., Ltd. within the time
         specified in the judgment of this case, and if they fail to do so, the appellee will go
         through the filing formalities with the competent government authority in his own
         name; 3. To order the appellee Shanghai Luting Sijihuacheng Real Estate Development
         Co., Ltd. to issue a capital contribution certificate to the appellant and record the
         appellant in the register of shareholders.
                                                 1
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Facts and Reasons:
      The appellant holds that the civil judgment (2019) 0120 Min Chu No.10021 made by
Fengxian District People’s Court of Shanghai (hereinafter referred to as the “first-instance
judgment”) has errors in fact-finding and determination, as well as in the application of law.
The reasons are as follows:
      1. The first-instance judgment decided that the appellee Greencourt Properties Co., Ltd.
“shall not solely transfer the equity” on the grounds that “it is contrary to the “commercial
arrangement” of the outsider in this case and “a new agreement has not been formed”. The
implication is that if there is no consensus among the outsiders (even the parties not-involved in
this case) on the tax burden, even if the seller and the buyer reach an agreement, their legally
owned shares cannot be transferred. This decision logic is tantamount to replacing others in
other’s affairs and violates the basic legal principles concerning property rights.
      2. The legal relationship involved in this case is based on the “equity transfer contract”
between the buyer and the seller, and not the “428 Agreement”. Whether the equity transfer
conforms to the “428 Agreement” is a problem to be dealt with separately, and it belongs to the
scope of arbitration jurisdiction. The judgment of the first instance not only took the “428
Agreement”, in which the signatory was even not the party to the case, as the basis for the
judgement of the case, but also took the “commercial arrangement”, rather than the “legality”,
as the basis, which was unbelievable.
      3. The first-instance plaintiff filed a lawsuit based on the “Equity Transfer Contract”,
and the first-instance judgment rejected all the litigation claims while identifying and
confirming the “Equity Transfer Contract” and its “Supplementary Agreement”. Then, what is
the nature of the “Equity Transfer Contract” and its “Supplementary Agreement”: Are they
invalid, ineffective, revoked, or is the original litigation claim in the first instance inconsistent
with the “Equity Transfer Contract” or its “Supplementary Agreement”? The first-instance
judgment did not make clear of the facts in this vital issue.
      4. The first-instance judgment also referred to the section that the board of directors of
Sijihuacheng “mainly represents the interests of participating shareholders” and that the
transfer of competing shares “should be approved by a simple majority at the board meeting”,
which also belonged to errors in fact-finding and determination. There is more than one
shareholder, but the board of directors of Sijihuacheng is actually controlled by one of them and
does not represent all shareholders. There was no evidence in the first trial, proving that the
outsiders agreed to “balance” the “interests” among the outsiders by the board of directors of
Sijihuacheng. However, from the perspective of balance of interests of others, the first-instance
judgment denied the legal rights and interests of the parties to the case in disposing of their own
property.
      5. The mistake of law application in the first-instance judgment is that the taxation laws
and regulations were regarded as the main basis of judgment instead of those on
foreign-invested enterprises and contracts, and relevant judicial interpretations.
                                                 2
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     To sum up, there are obvious mistakes in the first-instance judgment. The appellant’s
claims have sufficient factual and legal basis. On the basis of finding out the facts of the case,
please apply the law correctly, revoke the first-instance judgment and support all the appellant’s
claims.


                                      To



Shanghai No.1 Intermediate People’s Court




                                   Appellant: Shibang Co., Ltd.



                                   Specially authorized agent:



                                   Date: 15 July 2020




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                           民事上诉状


上诉人（一审第三人）：世邦有限公司
住所：中国香港上环德辅道中 272-284 号兴业商业中心 12 楼 1205-1208 室
法定代表人：徐宏标                             职务：董事


被上诉人（一审原告）：绿庭置业有限公司
住所：中国香港九龙尖沙咀么地道 62 号永安广场 10 楼 12 室
法定代表人：俞乃奋                            职务：董事


被上诉人（一审被告）：上海绿庭四季花城房地产开发有限公司
住所：中国上海市奉贤区八字桥路 218 弄 12 号
法定代表人：许良彦                            职务：董事长


被上诉人（一审被告）：许良彦，男，1938 年 11 月 17 日出生，汉族
住所地：中国上海市徐汇区裕德路 92 弄 2 号 1605 室


   上诉人因不服上海市奉贤区人民法院（2019）0120 民初 10021 号民事判决
书，特向贵院提起上诉。


上诉请求：


一、 撤销上海市奉贤区人民法院（2019）0120 民初 10021 号民事判决书。
二、 改判支持上诉人一审中的全部诉讼请求，即：1、判令确认上诉人为被上
     诉人上海绿庭四季花城房地产开发有限公司的股东，拥有占上海绿庭四季
     花城房地产开发有限公司注册资本 80%的股权；2、判令被上诉人上海绿
     庭四季花城房地产开发有限公司和许良彦在本案判决指定的时间内、就上
     海绿庭四季花城房地产开发有限公司 80%股权变更事宜不履行备案手续
     的，由上诉人以自己的名义向政府主管部门办理备案手续；3、判令被上
     诉人上海绿庭四季花城房地产开发有限公司向上诉人签发出资证明书、并

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     将上诉人记载于股东名册。


事实和理由：


    上诉人认为，上海市奉贤区人民法院作出的（2019）0120 民初 10021 号民
事判决书（以下简称“一审判决”）存在事实查明和认定，以及法律适用方面的
错误。理由如下：
    1、    一审判决以与本案案外人的“商业安排相背”、尚“未形成新的合意”
为由，认定被上诉人绿庭置业有限公司“不得单独进行股权转让”。言下之意，
如果没有案外人相互之间（甚至不涉及本案当事人）就税负问题协商一致的话，
卖方即使和买方达成一致，其合法拥有的股权也不能转让。这一认定逻辑，不啻
越俎代庖，更是违背有关财产权的基本法律原则。
    2、    本案所涉法律关系的基础依据是买卖双方的“股权转让合同”，不是
“428 协议”。股权转让是否符合“428 协议”的约定，属于另案处理的问题，更
是属于仲裁管辖的范畴。一审判决不仅以签约方甚至都不是本案当事人的“428
协议”作为本案认定基础，还以是否符合“商业安排”为依据，而不是以“合法
性”为依据，令人难以置信。
    3、    一审原告基于“股权转让合同”提起诉讼，一审判决在查明和认定
“股权转让合同”及其“补充协议”的同时，却驳回全部诉讼请求。那么，“股
权转让合同”及其“补充协议”到底属于什么性质：是无效、未生效、被撤销，
还是一审原告诉请不符合“股权转让合同”或其“补充协议”约定？一审判决对
此关键问题事实不清。
    4、    一审判决对四季花城董事会“主要代表了参股股东的利益”、系争股
权转让“应该由董事会会议简单多数通过”一节，也属于查明和认定事实错误。
参股股东不是只有一方，四季花城董事会只是被其中一方实际控制，并不代表所
有参股股东。一审中不存在任何证据，证明案外人约定以四季花城董事会“平衡”
案外人之间的“利益”。一审判决却从他人利益平衡角度，否定了本案当事人处
置自己财产的合法权利和利益。
    5、    一审判决适用法律的错误体现在本末倒置地将税务法规作为判决主
要依据，而没有适用有关外商投资企业和合同的法律法规及相关司法解释。
                                 2
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   综上所述，一审判决存在明显错误。而上诉人的诉讼请求具有充分的事实和
法律依据。恳请贵院在查明案件事实的基础上，正确适用法律，撤销一审判决，
支持上诉人的全部诉讼请求。

                              此致


上海市第一中级人民法院




                          上诉人：世邦有限公司


                          特别授权代理人：


                          日   期：2020 年 7 月 15 日




                                   3
